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          EXHIBIT 6
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Appendix C
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     GO TO HOMEPAGE




               WORLD NEWS PRINCE HARRY ROYAL FAMILIES UNITED KINGDOM


British Press In A Tizzy Over How Harry's Admitted
         Drug Use Could Risk His U.S. Visa
One expert told The Telegraph that Prince Harry “would have been asked” about
                drug use as part of the visa application process.

                                   By Mary Papenfuss
                      Jan 14, 2023, 10:01 PM EST | Updated Jan 15, 2023




                                                                          APP. C 001
  Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 4 of 416
 The British press has speculated in a flurry of news articles that
GO TO HOMEPAGE
 Prince Harry’s admitted drug use in his new memoir could threaten
 his American residency.


 “Harry could be barred from the U.S. ... after his admission he has
 taken drugs,” speculated The Daily Mail last week.


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 Harry could “lose his visa after admitting taking cocaine and magic
 mushrooms,” the Mirror reported.


 “Harry’s frank drug-taking admissions could land him in hot water
 with the immigration authorities in America,” The Sunday Times of
 London reported.


 The Duke of Sussex — who currently resides with wife Meghan
 Markle and his two children in Montecito, California — revealed in his
 new book, “Spare,” that he has enjoyed cannibis, magic mushrooms
 and cocaine, and that the psychedelic ’shrooms helped him perceive
 “the truth.”


 United States immigration rules warn that an applicant’s “current
 and/or past actions, such as drug or criminal activities ... may make
 [an] applicant ineligible for a visa,” the Sunday Times noted.
                                                                      APP. C 002
  Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 5 of 416
 A U.S. State Department representative told the newspaper that visa
GO TO HOMEPAGE
 records are confidential, adding simply that decisions on applications
 are made on a “case by case” basis.


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 It’s not clear what kind of visa Harry has. He could have a spousal
 visa since his wife is a U.S. citizen. It’s also possible he was granted a
 special O-1 visa for people with “extraordinary abilities,” such as
 athletes or actors.


 One expert told The Telegraph that Harry “would have been asked”
 about drug use as part of the visa application process.


 If he was “truthful in his answers, he should have been denied,”
 insisted Professor Alberto Benítez, director of George Washington
 University’s Immigration Clinic. If he lied, his visa could now be
 revoked, Benítez told The Telegraph.


 Benítez speculated, however, that officials may have cut Harry some
 slack because of his status as a member of the royal family.


 “If it was ‘Fred Jones’ and he had this kind of a [drug] background ...
 he’d have a lot more scrutiny, and I could certainly see the green
 card being denied,” Benítez said.
                                                                       APP. C 003
     Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 6 of 416

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    But immigration lawyer Chrissie Fernandez told the newspaper that
    without any kind of drug conviction, Harry’s past drug use is “unlikely
    to cause a real problem for him” regarding his visa.



Prince Harry admits taking cocaine and mushrooms in l…




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                                  Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 7 of 416
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             Conservative group demands to know if Prince Harry admitted
             drug use on US visa application
             The Heritage Foundation think tank wants California-based royal’s application published

             Abe Asher             · Wednesday 22 March 2023 11:28 · 3 Comments




             Prince Harry says marijuana ‘really helped' him deal with trauma



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A conservative think tank is calling for Prince Harry’s US visa application to be released so Americans can see whether or not he
admitted to his past drug use before moving to California in the summer of 2020.

The Heritage Foundation, one of the country’s preeminent right-wing think tanks, is arguing that US officials should release the
details of the prince’s application so Americans can see whether or not he was “properly vetted” before being allowed to enter
the country. Applicants for US visas are typically asked about their criminal history and drug use.




                                                                                                                                  APP. C 005
                    Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 8 of 416




“This request is in the public interest in light of the potential revocation of Prince Harry’s visa for illicit substance use and
further questions regarding the Prince’s drug use and whether he was properly vetted before entering the United States,” Mike
Howell, director of the foundation’s Oversight Project, told the Daily Mail.

The foundation’s push for information on Harry’s visa application comes after the Prince revealed his use of a range of
substances including marijuana, mushrooms, and cocaine during his promotion of his new book Spare.

Recommended
          Prince Harry reveals drugs were a ‘comfort’ to help deal with trauma




          Queen quizzed Meghan on Donald Trump during first meeting, says Harry




Harry writes in the book that he first took cocaine at the age of 17 and used it sparringly since then but has said that his use of
marijuana and mushrooms helped him deal with past trauma.

The recreational use of marijuana is legal in California, while the state has also taken steps towards decriminalising the use of
psychedelics like mushrooms. Oregon, just to the north, legalised the use of small amounts of hallucinogenic mushrooms in
2020.

During an interview to promote his book, Harry told Dr Gabor Maté in an interview that his use of the psychedelic drug
ayahuasca “brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for a period of time” and
were a “fundamental part” of his life.

Nevertheless, if Harry failed to disclose his past drug use on his visa application, he could be barred from applying for US
citizenship and even deported from the country where he has lived for nearly three full years. Meghan Markle, Harry’s wife, is an
American citizen who was born in the Los Angeles area. Their two children were both born in the US as well.

The federal government making the details of Harry’s visa application public would be highly unusual — visa applications are
confidential under the terms of the Immigration and Nationality Act — but Harry’s past drug use could also theoretically affect
future visa applications.




                                                                                                              APP. C 006
                           Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 9 of 416




It is not currently clear what kind of US visa Harry holds, though the Daily Mail reported that he is believed to hold either a
spousal visa or an O-1 visa granted to people possessing an “extraordinary ability in the sciences, arts, education, business, or
athletics” or a record of extraordinary achievement in film or television.

O-1 visas are initially granted for three years, meaning that if Harry has that type of visa, he may have to re-apply this year with
elements of his past drug use now public.

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              Prince Harry is second least popular royal behind Andrew, poll shows




              Prince Harry and Jill Biden celebrate veterans at Warrior Games event




The Heritage Foundation, which has promoted nativist policies and a hard-line approach to immigration that had a significant
influence on the Donald Trump administration, has reportedly sent a dossier with info on Harry’s drug use to officials at the
Department of Homeland Security, US Customs/Border Protection and US Citizenship Immigration Services.




Harry and Ms Markle have aligned themselves with liberal political causes, opposing, for instance, the reversal of Roe v Wade.
More about: Prince Harry Meghan Markle Harry And Meghan Visas US Royals Drugs


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Could Prince Harry’s Recent Drug Use Revelations Affect His U.S.
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                Prince Harry has been quite candid lately, but could his
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                revelations in his memoir Spare and in subsequent interviews
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                to promote the book potentially prove problematic for him?                         miscarriage. We need to talk
                                                                                                   more about losing a baby
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              MAIL       reports
                      NEWS        that in the
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                                                                       LIFE  Harry
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                revealed that he drank heavily, used cocaine, and smoked                     Search for
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                pot throughout his life. While Harry said he only used                        1. REHAB CENTERS NEAR ME                               ❯Mail

                cocaine as a teen, he also told trauma expert Gabor Maté
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                                                                                        Shopping     TO PASS A URINE
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                recently in an online chat to promote Spare that he
                                                                                              3. LOCAL REHAB CENTERS                                 ❯
                experimented with psychedelics well into adulthood, and
                that he considers hallucinogenic drugs to be a “fundamental”                  4. TREATMENT CENTER NEAR ME                            ❯
                part of his life.                                                                   EMPLOYMENT SCREENING
                                                                                              5.                                                     ❯
                                                                                                    TESTS
                “It was the cleaning of the windscreen, the removal of life’s
                filters—these layers of filters—it removed it all for me and
                brought me a sense of relaxation, relief, comfort, a lightness
                that I managed to hold back for a period of time,” he said
                earlier this month to Maté. “I started doing it recreationally
                and then started to realize how good it was for me.”

                Former federal prosecutor Neama Rahmani says that, per
                Harry’s U.S. visa status that allows him to live in the country,
                “an admission of drug use is usually grounds for
                inadmissibility. That means Prince Harry’s visa should have
                been denied or revoked because he admitted to using
                cocaine, mushrooms, and other drugs.” Rahmani adds that
                there is “no exception for royalty or recreational use.”

                To every point there is a counterpoint, and attorney James
                Leonard—who represented The Real Housewives of New
                Jersey’s Joe Giudice in his immigration case—says that Harry
                is not at a high risk of his visa being overturned.

                “Absent any criminal charge related to drugs or alcohol or
                any finding by a judicial authority that Prince Harry is a
                habitual drug user, which he clearly is not, I don’t see any
                issue with the disclosures in his memoir regarding
                recreational experimentation with drugs,” he says.

                Leonard explains that drug users who are not U.S. citizens
                would have to give immigration officials a reason to launch
                an investigation into the individual—like a criminal act.

                “You’ve got to give them something that would trigger it and
                revealing it in a book—that you experimented with drugs
                when you were a young man—I don’t think gets you there,”
                he says. “Immigration is not going to do anything based on
                that. If he got arrested or he got a DWI, then we’re having a
                different conversation.”
                                                                                                                       APP. C 009
                     Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 12 of 416
   HOME         Immigration
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                “unlikely that these admissions will present a problem. If
                                                                                                                              Sign in                  Mail
                there had been a conviction, it would have likely been a
                significant issue in getting a visa. This isn’t to say that drug
Life      Featured         Well-being      Parenting      Style & Beauty   Food   Horoscopes   Shopping    COVID-19          Inspiring Stories
                use could not be a problem in the immigration process, but
                in this circumstance, it is unlikely that this would present an
                issue. It isn’t clear to me what the Duke’s visa status is in the
                U.S., but breaking the law could be an issue in getting a visa
                renewed or for readmission to the U.S. But recreational drug
                use that has not been the subject of criminal scrutiny is
                unlikely to present an issue for someone’s visa status.”

                Rahmani argues that there is “no requirement that the
                person actually be convicted of a drug offense” and adds
                that there is a loophole for drug users to stay in the U.S. if
                they can get a waiver to prove that their substance abuse is
                in remission. “Someone is considered in remission after one
                year of sobriety,” Rahmani says. “A waiver request requires a
                doctor to submit medical records, but it’s unclear whether
                Prince Harry made such a request, because immigration files
                are not public.”

                Adair says past recreational drug use is “not something that
                is likely to have been raised in a visa interview,” so it was
                likely not an issue during Harry’s approval process. “The drug
                use could be an issue if there had ever been an arrest,
                charge, or conviction, but recreational use would not likely
                come up in the visa interview,” he says.

                Page Six cites a 2021 article from The Times that states that
                Harry has no plans to seek a permanent U.S. residency,
                citizenship, or a “green card at any point.”



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ENTERTAINMENT


Why Prince Harry is at risk of
being deported from US over visa
issues | Explained
Prince Harry’s US visa is at risk now because of his memoir Spare in which the Duke of
Sussex admitted to using recreational drugs before he left the UK after stepping down
from the royal duties and shifted to the United States.

Lachmi Deb Roy           March 23, 2023 09:37:39 IST




 Harry’s visa at risk; to be deported from US for drug addiction

According to reports, a conservative think tank is calling for Prince Harry’s US visa
application to be released so Americans can see whether or not he admitted to his past
drug use before moving to California in the summer of 2020. Now the question is what
will happen to Meghan Markle if Harry gets deported from USA over visa issues? Will
Harry go back to Britain? Will Meghan continue to live in US? Lets wait and watch.

The Heritage Foundation, one of the country’s preeminent right-wing think tanks, is
arguing that US officials should release the details of the prince’s application so
Americans can see whether or not he was properly vetted before being allowed to enter
the country. Applicants for US visas are typically asked about their criminal history and
drug use.

The Duke of Sussex, 38, wrote that he smoked marijuana while he and his family were
staying at US actor Tyler Perry’s house in Los Angeles in 2020, after they left Canada. In
the memoir he wrote: “Late at night, with everyone asleep, I would walk the house,
checking the doors and windows. Then I would sit on the balcony or the edge of the
garden and roll a joint.”

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“This request is in the public interest
                                  Businessin light of the potential revocation
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visa for illicit substance use andEntertainment
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                                                News     regarding the Prince’s drug use and
whether he was properly vetted before entering the United States,” Mike Howell, director
                                  Cricket

of the foundation’s Oversight Project,
                                  Tech    told the Daily Mail.
                                   Health

The foundation’s push for information
                                 Photos on Harry’s visa application comes after the Prince
                                 Videos
revealed his use of a range of substances   including marijuana, mushrooms, and cocaine
                                 Press Release
during his promotion of his new book Spare.
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Harry writes in the book that heLong
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                                          took cocaine at the age of 17 and used it sparingly
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since then but has said that his use of marijuana and mushrooms helped him deal with
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past trauma. The recreational use of marijuana is legal in California, while the state has
                                  Latest Laptops
also taken steps towards decriminalising the use of psychedelics like mushrooms.
Oregon,  just to the north,
 Network18 sites
                            legalised the use of small amounts of hallucinogenic
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mushrooms in 2020.
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Harry also confessed to taking cocaine, ketamine   and magic mushrooms, and described
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how he hallucinated that a bin was talking to him. He felt that the use of psychedelic
drugs helped him deal with the grief and trauma he felt after the death of his mother,
Lady Diana. He said using psychedelics when he got older ‘cleared away the idea’ that he
needed be sad to prove he ‘missed’ his mother. During an interview to promote his book,
Harry told Dr Gabor Maté in an interview that his use of the psychedelic drug ayahuasca
“brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on
to for a period of time” and were a “fundamental part” of his life.

In the memoir Spare, the Duke of Sussex also describes being dragged into the office of
an unnamed member of the Royal Household staff during his grandmother the Queen’s
Golden Jubilee in 2002 after a journalist asked the Palace about his drug-taking habits.

He revealed that he was offered a line of cocaine during a hunting weekend. Admitting
that he lied to the Royal Household staff during his interrogation, Harry mentioned that
taking cocaine wasn’t much fun and he did it partly to be different and because he was a
seventeen-year-old willing to try almost anything that would upset the established order.

He wrote: ‘It wasn’t much fun, and it didn’t make me feel particularly happy the way the
others seemed to, but it did make me feel different, and that was my main goal. To feel.
To be different.’

Nevertheless, if Harry failed to disclose his past drug use on his visa application, he could
be barred from applying for US citizenship and even deported from the country where he
                                                                                                                          APP. C 012
                  Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 15 of 416
has lived for nearly three full years. Meghan Markle, Harry’s wife, is an American citizen
who was born in the Los Angeles area. Their two children were both born in the US as
well.

The federal government making the details of Harry’s visa application public would be
highly unusual — visa applications are confidential under the terms of the Immigration
and Nationality Act — but Harry’s past drug use could also theoretically affect future visa
applications.

It is not currently clear what kind of US visa Harry holds, though the Daily
Mail reported that he is believed to hold either a spousal visa or an O-1 visa granted to
people possessing an “extraordinary ability in the sciences, arts, education, business, or
athletics” or a record of extraordinary achievement in film or television.

O-1 visas are initially granted for three years, meaning that if Harry has that type of visa,
he may have to re-apply this year with elements of his past drug use now public.

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Updated Date: March 23, 2023 23:03:00 IST
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Heritage Foundation Requests Records on How Drug
User Prince Harry Acquired US Visa
Elizabeth Troutman / March 23, 2023

A leading American think tank is trying to determine how Britain’s Prince Harry acquired a U.S. visa
after revealing his affinity for drugs such as cocaine, marijuana, “magic mushrooms” and other
psychedelics.

The Heritage Foundation’s Oversight Project submitted a request under the Freedom of Information
Act to find out if the Duke of Sussex admitted his once-heavy drug use before moving to Montecito,
California, from London with his American wife, former actress Meghan Markle in May 2020. (The Daily
Signal is the multimedia news organization of The Heritage Foundation).

“This request is in the public interest in light of the potential revocation of Prince Harry’s visa for illicit
substance use and further questions regarding the prince’s drug use and whether he was properly
vetted before entering the United States,” Mike Howell, director of Heritage’s Oversight Project, said in
a request for documents March 8.

The Oversight Project first submitted the FOIA request Feb. 22. It currently is appealing a denial of the
request March 9 by U.S. Customs and Border Enforcement, which along with U.S. Citizenship and
Immigration Services is one of two agencies of the Department of Homeland Security that the
Oversight Project’s request also names.

If the Department of Homeland Security was aware of Harry’s drug use, it may have given special
treatment to the prince because of the couple’s fame, according to the Oversight Project. Usually, the
U.S. throws out visa applications from candidates with any history of illicit drug use.

The Immigration and Nationality Act, Howell wrote, “should make him inadmissible to the United
States absent the requisite waiver available to non-immigrants.”

The prodigal prince chronicles his drug use in his bestselling memoir “Spare,” published Jan. 10.
Harry, now 38, has said that psychedelics “really helped” him to deal with mental health issues
following the 1997 death of his mother, Princess Diana, sparking criticism that he glorifies dangerous
drug use.

                                                                                              APP. C 014
           Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 17 of 416
Samuel Dewey, the lawyer representing The Heritage Foundation on the FOIA request, said it seeks
documents to help determine whether U.S. officials enforced immigration laws fairly. Dewey said he
wants to find out whether the Department of Homeland Security appropriately processed Harry’s
paperwork or gave him preferential treatment based on his left-leaning political ideology.

Prince Harry has commercialized every part of his life, and the legitimacy of his U.S. visa is of public
interest, Dewey said, so Harry’s visa application should be released to the public.

“He has no reasonable expectation of privacy because he’s commercialized every aspect of his life,
which is his decision to make,” Dewey told The Daily Signal. “And the second point is that there is a
public interest. Did someone who’s very politically active, aligned with one agenda, get preferential
treatment?”

“If a bunch of people are spending a lot of time to give him preferential treatment, they may not be
able to spend that time processing an applicant who doesn’t have those issues, who did everything
right,” Dewey said.

Media outlets, including CBS News, The Daily Mail, The Daily Beast, and The Daily Mirror, have
reported on Harry’s abuse of illicit substances.

“From media reports, it appears this drug use was continuous and substantial, at the very least from
the prince’s teenage years into his ‘late 20s,'” Heritage’s Howell said.

Neither Prince Harry nor the Department of Homeland Security responded to The Daily Signal’s
request for comment.

Have an opinion about this article? To sound off, please email letters@DailySignal.com and we’ll
consider publishing your edited remarks in our regular “We Hear You” feature. Remember to include the
url or headline of the article plus your name and town and/or state.




                                                                                          APP. C 015
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     SKY NEWS LIVE                        1:46pm Wednesday, March 29th, 2023




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World News               United Kingdom

Intimate details of Taliban kill count and drug use in Prince
Harry's book Spare could have repercussions for Sussex family
The future of Prince Harry’s US visa has come into question as a result of the drug confessions made in
his tell-all memoir Spare, while his kill count admission is also "not helping".

Patrick Staveley Digital Reporter
  3 min read March 27, 2023 - 2:20PM                                                            0 comments




                                                                                    APP. C 016
                   Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 19 of 416




A royal commentator has slammed Prince Harry as "not very bright" for sharing intimate details in his book that may
negatively impact his family's safety.

Prince Harry penned in his memoir Spare that he killed 25 Taliban fighters, an admission that writer and broadcaster
Esther Krakue fears could place his family under a potential threat.

“The reality is the man is not very bright,” Ms Krakue told Caroline Di Russo Sunday night's The Royal Report.

“I’m sure many people would’ve told him that if you’re in an illegal dispute with the home office regarding your
                                                       Advertisement
security and think that you face a high level of security, probably putting your Taliban kill count in your book is not
helping matters.

“There’s also implications for his children in the regard where you raise your level of risk if you reveal intimate details
about your time in combat.

“That has repercussions on your children and most people have the sense to see that but unfortunately the Sussexes
seem to have other priorities with regards to that.”




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Prince Harry killed 25 people while serving the British Army in Afghanistan, he revealed in Spare. Picture: John Stillwell - WPA
Pool/Getty Images


Iranian officials accused Harry of committing war crimes in January following his death count revelation.

                                                                                                               APP. C 017
                      Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 20 of 416
The Iran Foreign Ministry took to Twitter to publicly criticise the 38-year-old’s actions in Afghanistan.

“The British regime, whose royal family member, sees the killing of 25 innocent people as removal of chess pieces
and has no regrets over the issue, and those who turn a blind eye to this war crime, are in no position to preach
others on human rights,” the tweet read.


Spare was released in January, offering a further look into the life of the Duke of Sussex after the release of the
Netflix series Harry and Meghan.

The couple’s high profile in the media - despite not being working members of the royal family - has led to Ms
Krakue suggesting they have the wrong priorities.




  'Everyone's terrified': Prince Harry and Meghan becoming 'more outrageous'



“It just goes to show how short-sighted the couple are, putting 'my truth' ahead of logic and reason, even ahead of
the safety of their own family because there will be repercussions,” she said.


The royal writer said that as two mature-aged adults, they should be capable of making the right choices without
the need for guidance.


“I’ve made the point that the people that were around the Sussexes at the time that they’ve done all these media
exposes just saw dollar signs when they saw the couple so I don’t think they got any decent counsel but at the same
time these are grown people,” she said.


“The reality is this is a short-sighted couple that had clearly other priorities other than ones that would more concern
the average-day person like safety, security and dignity for that matter.”

Prince Harry also publicised his history of recreational drug-taking including marijuana, magic mushrooms and
cocaine which may bring his United States visa under scrutiny.
                                                                                                    APP. C 018
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Prince Harry admitted to drug use in his younger years. Picture: Chris Jackson/Getty Images.




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Different laws apply to US and non-US citizens and punishment for the revelations in his tell-all could force him to
return to the United Kingdom.

“You have to remember that Prince Harry Is not an American citizen and even some states that have legalised the
use of marijuana – that’s just for American citizens,” Ms Krakue said.


“Federal law with regards to non-citizens is far, far stricter with regards to drug use and any sort of illegal activities
that include DUIs.

“All eyes will be on him because obviously situations that involve high-profile individuals you want to fairly apply the
law because it could become quite scandalous if it’s seen that Prince Harry is getting favourable treatment.”

Harry and Meghan are yet to confirm their attendance at the coronation of King Charles, which is set to occur at
Westminster Abbey on May 6.




                                                                                                      APP. C 019
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                                                                         NEWSLETTER SIGNUP


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Entertainment | Royalty

Lawyers discuss if Prince Harry risks US visa status
over drug use
  The Duke of Sussex admitted to having used cocaine, marijuana, and magic mushrooms
in the past.
                                                                               APP. C 020
            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 23 of 416
           By Tanya Diente   @mystidrift                                                  NEWSLETTER SIGNUP
           03/22/23 AT 8:14 AM GMT                                                                             
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Prince Harry revealed in "Spare" that he used cocaine, magic mushrooms, and marijuana in the past.      (PHOTO:
REUTERS)




P    rince Harry may find himself having his U.S. visa revoked following
     revelations that he used illegal drugs during his wild partying days.




                                                                                                 APP. C 021
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The Duke of Sussex admitted in his memoir "Spare" that he has tried magic
mushrooms and marijuana, snorted cocaine when he was a teen, and used other
drugs. "Of course, I had been taking cocaine at that time. At someone's house,
during a hunting weekend, I was offered a line, and since then I had consumed
some more," reads a passage from his book quoted by HuffPost.

Being candid about his past experience with illicit drugs may land him back in
the U.K. Former federal prosecutor Neama Rahmani said that is "usually
grounds for inadmissibility" telling Page Six, "That means Prince Harry's visa
should have been denied or revoked because he admitted to using cocaine,
mushrooms, and other drugs" and there is "no exception for royalty or
recreational use."

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                                                                                  APP. C 022
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However, Attorney James Leonard, who represented "The Real Housewives of
New Jersey" alum Joe Giudice in his immigration case, does not agree with
Rahmani. He does not see any risk to the 38-year-old's visa status unless there
was a criminal charge involved.

He explained, "Absent any criminal charge related to drugs or alcohol or any
finding by a judicial authority that Prince Harry is a habitual drug user, which
he clearly is not, I don't see any issue with the disclosures in his memoir
regarding recreational experimentation with drugs."

The New Jersey-based celebrity lawyer added that Prince Harry would have to
give immigration officials valid reason to launch an investigation into his visa
status, like criminal acts.




                                                                           APP. C 023
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"You've got to give them something that would trigger it, and revealing it in a
book, that you experimented with drugs when you were a young man, I don't
think gets you there. Immigration is not going to do anything based on that. If
he got arrested or if he got a DWI, then we're having a different conversation."

Immigration lawyer Sam Adair, an executive partner at Graham Adair, agrees
with Leonard and said it is unlikely that the royal's "admissions will present a
problem." He pointed out that had there "been a conviction, it would have likely
been a significant issue in getting a visa."

"This isn't to say that drug use could not be a problem in the immigration
process, but in this circumstance, it is unlikely that this would present an issue.
It isn't clear to me what the duke's visa status is in the US, but breaking the law
could be an issue in getting a visa renewed or for readmission to the US. But
recreational drug use that has not been the subject of criminal scrutiny is
unlikely to present an issue for someone's visa status," he explained.




                                                                          APP. C 024
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Adair said that past recreational drug use is "not something that is likely to have
been raised in a visa interview" so this was likely not an issue during Prince
Harry's visa approval process. He reiterated that "drug use could be an issue if
there had ever been an arrest, charge or conviction, but recreational use would
not likely come up in the visa interview."

Leonard agreed and said that if Prince Harry had a criminal charge, then it
could absolutely affect his U.S. visa status and "whether it gets renewed or
terminated." But just to admit that you used illicit drugs in the past does not.


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                                                                                                    APP. C 025
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Rahmani argued that there is "no requirement that the personNEWSLETTER
                                                             actually beSIGNUP
convicted of a drug offense." He suggested that Prince Harry could "get a
            World     Politics   Business     Markets     Fintech   Technology   Sports   Money
waiver" as proof he is "in remission" so he can avoid getting his U.S. visa
revoked. This would require a doctor to forward medical records to
immigration. But the duke has not disclosed whether or not he had to go to
rehab for his past drug use.




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 Prince Harry could lose US visa for being a 'druggie': expert
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     Prince Harry opens up about drug use and William's 'red mist'

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 Prince Harry could lose his US visa after admitting taking cocaine
 and magic mushrooms
 The Duke of Sussex's shock revelation in his Spare memoir could see him miss out on extending his visa

 By Sean McPolin
 14:12, 8 Jan 2023   UPDATED 17:04, 8 Jan 2023

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 Prince Harry 's shock cocaine and magic mushrooms admission could put his US visa at risk.
 The Duke of Sussex, who moved to the US in 2020, admitted taking drugs in leaked extracts from his
 upcoming Spare memoir.




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 Entry to the States is granted on a "case-by-case" basis with rules stating an individuals "current or past
 actions, such as drug or criminal activities" could cause the applicant to be ineligible for a visa.
      PRIVACY
                                                                                                                         APP. C 027
                       Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 30 of 416
The 38-year-old has revealed he took cocaine when he was 17 and on a shooting weekend and had done
"a few more lines" on other occasions.
He has also taken magic mushrooms at a celebrity party in California, which caused him to hallucinate, as
well as admitting to smoking cannabis after his first date with Meghan Markle in London back in 2016.
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In Harry's new book he reveals he first took cocaine at the age of 17 (    Image: Tim Graham Photo Library
via Get)

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It's unknown what visa Prince Harry has, with most suggesting it would most likely be a spousal visa due to
the Duchess of Sussex's US citizenship.
                                                                                                                           4
But the prince may have been granted special dispensation for people with "extraordinary ability".




      PRIVACY
                                                                                                              APP. C 028
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Entertainment | Royalty

Prince Harry could lose US visa for being a
'druggie': expert
 The Duke of Sussex admitted in "Spare" that he used cocaine, marijuana, and magic
mushrooms.
                                                                          APP. C 029
          Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 32 of 416
         By Tanya Diente   @mystidrift                                              NEWSLETTER SIGNUP
         02/03/23 AT 3:18 AM GMT                                                                       
           World     Politics       Business        Markets     Fintech     Technology       Sports       Money



P    rince Harry's revelations about his use of illicit drugs may have dire
     consequences, according to an immigration expert who said that substance
abusers are normally barred from getting visas to the U.S.A.

In his memoir "Spare," the 38-year-old admitted to having used cocaine,
marijuana, and magic mushrooms during his wild, partying days. He said that it
was his coping mechanism since it helped him numb the pain he felt from losing
his mother, Princess Diana.

But this revelation puts the Duke of Sussex in danger of being evicted from the
Montecito mansion he shares with Meghan Markle and their children Archie
and Lilibet. It could allegedly lead to his U.S. visa being revoked.




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Prof. Alberto Benitez, director of the Immigration Clinic at George Washington
University, pointed out that when Prince Harry applied for a U.S. visa he would
have been asked about drug use.



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 Prince Harry labelled paranoid and delusional by psychiatrist



He told Globe, "If he was truthful in his answers, he should have been denied"
and added that if he did deny using illicit drugs, then he would be guilty of
perjury.

Prof. Benitez noted, "If he wasn't Prince Harry, if it was "Fred Jones" and he had
this kind of a background, he'd have a lot more scrutiny and I could certainly see
the green card being denied."

It is believed that the duke currently has a three-year "0-1" U.S. visa given to
athletes and celebrities, which would expire at the end of 2023. He might face
hurdles getting it renewed following his revelations in "Spare."

Prince Harry moved to the U.S.A. after he and Meghan Markle left their royal
duties in 2020. They initially lived in Canada but after King Charles III removed
their security detail and with the paparazzi stalking them, they had to act
quickly and move out of the country.

                                                                               APP. C 031
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Thankfully, Tyler Perry offered his Beverly Hills mansion as a NEWSLETTER
                                                               temporary home
                                                                          SIGNUP
for the couple until they could find their own place in Montecito, Santa Barbara,
               World       Politics      Business       Markets       Fintech      Technology        Sports   Money
California. It is unlikely for Prince Harry and Meghan Markle to return to the
U.K. as the duke himself told Anderson Cooper in an interview that he has no
intention of returning as a working royal.


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  Harry and his elder brother William are reportedly no longer on speaking terms    (PHOTO: AFP NEWS)




                                                                                                    APP. C 032
               Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 35 of 416
BY JACK ROYSTON ON 3/22/23 AT 11:36 AM EDT
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P         rince Harry's account of taking an array of illegal drugs in his memoir
          Spare has led a conservative think tank to raise the prospect of "the
potential revocation of Prince Harry's visa for illicit substance use."

The Washington, D.C.-based Heritage Foundation wants U.S. authorities to
                                                                                                                                
publish the Duke of Sussex's visa application to determine whether he was asked


                                                                                                            APP. C 033
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to disclose any drug use. InStay
                              Spare,     Harry
                                 up to date        describes
                                            with the              taking drugs such as cocaine,
                                                     latest from Newsweek

marijuana, mushrooms andNotifications
                         ayahuasca.   can be turned off any time from browser settings.




Mike Howell, director of the foundation's Oversight Project, told the Daily Mail:
"This request is in the public interest in light of the potential revocation of Prince
Harry's visa for illicit substance use and further questions regarding the Prince's
drug use and whether he was properly vetted before entering the United States."




In 2020, Harry and Meghan Markle left Britain for a new life in America to escape
a wave of hostile media coverage, which they said the royal family was not
helping them deal with. Much of their criticism focused on the British press,
particularly the tabloids, which the couple said were uniquely intrusive and hostile.

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 Prince Harry and Meghan Markle are seen onstage at Global Citizen Live in New York City's Central Park on September
 25, 2021. The Heritage Foundation wants U.S. officials to release Prince Harry's visa application.
 GOTHAM/WIREIMAGE



Some observers may have expected the couple's experience in America to be
more positive. For a long time it was, though this has become more complicated
during their time in California and particularly in the months since the publication
of Spare.




                                                                                                                       



                                                                                                       APP. C 035
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There has been a significant swing against the couple in U.S. polling. They are
now significantly less popular in America than they were in Britain at the time they
chose to leave.

In January, Meghan was liked by 26 percent of Americans and disliked by 39
percent, giving her a net approval rating of -13, in polling done by Redfield &
Wilton for Newsweek.

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By contrast, a majority of Brits liked Meghan as late as November 2019, two
months before they announced they were stepping down as working royals and
moving to Canada. That data, collected by YouGov, showed 54 percent liked the
duchess and 34 percent disliked her, giving her a net approval rating of +20.

Harry was liked by 31 percent and disliked by 38 percent of Americans in January,
giving him a net approval rating of -7. This compares with the 72 percent of Brits
who liked him and 21 percent who disliked him in November 2019, adding up to a
net approval rating of +51.

In addition, some American comedians have ridiculed Harry's memoir, including
Jimmy Kimmel, Jimmy Fallon, Chris Rock and Trevor Noah.

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If the Heritage Foundation is successful in its campaign and the result is "the
potential revocation of Prince Harry's visa," that would be a major milestone for
                                                                                                APP. C 036
             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 39 of 416

the prince's critics on eitherStay
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Harry and Meghan have faced genuine threats to their security, including a
suspicious white powder—which turned out to be harmless—that was intercepted
in a racist letter sent to St. James's Palace in 2018. However, nothing in Britain
has yet had consequences comparable to the prospect of Harry being deported
from the U.S.

In Spare's account of his drug use, Harry wrote: "Psychedelics did me some good
as well. I'd experimented with them over the years, for fun, but now I'd begun to
use them therapeutically, medicinally. They didn't simply allow me to escape
reality for a while, they let me redefine reality.

"Under the influence of these substances I was able to let go of rigid preconcepts,
to see that there was another world beyond my heavily filtered senses, a world
that was equally real and doubly beautiful—a world with no red mist, no reason
for red mist. There was only truth."

He went on: "After the psychedelics wore off my memory of that world would
remain:                                                                                                           
This is not all there is. All the great seers and philosophers say our daily life is

                                                                                                     APP. C 037
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an illusion. I always felt theStay
                               truth   indate
                                   up to  that.
                                              withBut   how
                                                  the latest    reassuring
                                                             from Newsweek it was, after
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nibbling a mushroom, or ingesting        ayahuasca, to experience it for myself."




Jack Royston is chief royal correspondent for Newsweek, based in London. You
can find him on Twitter at @jack_royston and read his stories on Newsweek's The
Royals Facebook page.

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Home / World News / Prince Harry to be deported from US? He's at risk. Here's why

Prince Harry to be deported from US? He's at risk. Here's why
By Mallika Soni


Mar 22, 2023 01:01 PM IST

Prince Harry: The Heritage Foundation claimed that Prince Harry's visa application should be made
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Prince Harry may be struggling to keep his US visa in place following the release of his memoir Spare
in which the Duke of Sussex admitted to using recreational drugs before he left the UK afterOPEN
                                                                                               stepping
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down from the royal duties and shifted to the United States. A report in the Daily Mail revealed that a
conservative research institute is in a heated dispute with US officials who are rejecting requests to
publish details of Prince Harry's visa application.




                                                                                               APP. C 039
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Prince Harry: Britain's Prince Harry follows the coffin of Queen Elizabeth II during her funeral procession.(Reuters)

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Read more: Prince Harry 'was asked to give a month's notice before UK trips'. Here's why

The Heritage Foundation claimed that Prince Harry's visa application should be made public so that it
can be known whether he revealed about his use of drugs before entering the US or not. The director
of the Heritage Foundation’s Oversight Project, Mike Howell, said as per Daily Mail, “This request is in
the public interest in light of the potential revocation of Prince Harry’s visa for illicit substance use and
further questions regarding the Prince’s drug use and whether he was properly vetted before entering
the United States”.

A spokesman for the US State Department said as per the report, “Visa records are confidential under
Section 222(f) of the Immigration and Nationality Act (INA); therefore, we cannot discuss the details of
individual visa cases.”

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Read more: Argument in royal family? Over Prince William's son in coronation. Here's why

In his tell-all memoir Spare, Prince Harry admitted to using cocaine, cannabis and magic mushrooms,
claiming that psychedelics and marijuana “really helped” him deal with his “trauma”, while cocaine
use for him was more of a “social thing”.

Prince Harry said in an interview while promoting his memoir, "(Cocaine) didn’t do anything for me, it
was more a social thing and gave me a sense of belonging for sure, I think it probably also made me
feel different to the way I was feeling, which was kind of the point. Marijuana is different, that actually
really did help me.”


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 ABOUT THE AUTHOR

         Mallika Soni

 When not reading, this ex-literature student can be found searching for an answer to the question, "What is the
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     Prince Harry’s Admitted Drug Use Could A ect His Ability To Fly To The Coronation
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   Prince Harry’s Admitted Drug Use Could Affect His Ability To Fly To The Coronation
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In his bombshell memoir, Spare, Prince Harry, 38, admitted using the drugs cocaine, cannabis, and magic mushrooms in the past. A lawyer says
that this could threaten his US visa, saying that there was “no exception for royalty.” The conservative think tank, Heritage Foundation, is calling
for the Duke of Sussex’s US visa application to be released to see whether he admitted his drug use before coming to California with his wife
Meghan Markle, 41, in 2020.




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Prince Harry’s US Visa Could Be At Risk After
Admitting To Drug Use In Memoir
by Favour Adegoke (https://theblast.com/author/favouradegoke/) Posted on March 24, 2023 at 12:00 am

Prince Harry’ (https://theblast.com/444011/prince-harry-virginity-taker-slams-meghan-markle/)s US visa status is reportedly being
questioned following his admission to using drugs in his memoir, Spare (https://theblast.com/412760/prince-harry-spare-records-sales-
leaks/). One argument posits that the Duke’s visa should have been revoked as there is “no exception for royalty.”


Harry admitted to using cocaine, weed, and mushrooms, in his memoir and interviews. In a chat with trauma expert Gabor Maté, the Prince
said hallucinogenic drugs are “fundamental” in his life. He moved to America with his family in 2020 and doesn’t plan to “seek a permanent
US residency” soon.


Read on to find out more.




                                                                                                                     APP. C 044
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Lawyers Are Debating On Prince Harry’s Visa Status




                                                                     MEGA

Former Federal prosecutor Neama Rahmani is one of the multiple lawyers who recently spoke to Page Six
(https://pagesix.com/2023/03/21/lawyers-reveal-prince-harrys-drug-use-could-affect-us-visa/) about the possibility of Prince Harry’s
admission to using drugs affecting his visa to stay in America. He said, “An admission of drug use is usually grounds for inadmissibility.”


Rahmani continued, “That means Prince Harry’s visa should have been denied or revoked because he admitted to using cocaine,
mushrooms and other drugs.” He insisted that there should be “no exception for royalty or recreational use.”


Attorney James Leonard, who famously represented reality star Joe Giudice (https://theblast.com/431036/joe-giudice-shady-comment-
theresa-giudice/) in his immigration case, disagreed with Rahmani’s statement that Harry’s visa is at any real risk. He explained that the
Royal has no “criminal charge related to drugs or alcohol” and is clearly not a “habitual drug user.”




                                                                                                                    APP. C 045
                     Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 48 of 416


Prince Harry Admitted To Using Various Drugs




                                                                       MEGA


In Harry’s recently released memoir, Spare, he admitted that he used to drink heavily and used weed and cocaine multiple times in the
past. During an online interview with trauma expert Gabor Maté, Harry said hallucinogenic drugs are a “fundamental” part of his adult life.


He stated, “It was the cleaning of the windscreen, the removal of life’s filters — these layers of filters — it removed it all for me and brought
me a sense of relaxation, relief, comfort, a lightness that I managed to hold back for a period of time.”


The Duke of Sussex explained that he only ever did cocaine as a teenager and said it was a social thing that “wasn’t much fun.” However,
about weed, Harry said he “started doing it recreationally and then started to realize how good it was for me,” so it’s still present in his life.




                                                                                                                        APP. C 046
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It’s Unlikely His Visa Will Be Affected




                                                                          APP. C 047
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                                                             APP. C 048
                    Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 51 of 416


                                                                      MEGA


Attorney Leonard explained to Page Six that normally, all drug users have to raise certain red flags to make immigration officials investigate
their status. He said, “You’ve got to give them something that would trigger it, and revealing it in a book, that you experimented with drugs
when you were a young man, I don’t think gets you there.”


Sam Adair, another immigration lawyer and specialist with decades of experience, also agrees that it’s unlikely Harry’s drug admissions will
“present a problem.” He said, “If there had been a conviction, it would have likely been a significant issue in getting a visa.”


Adair also added that usually, drug use could still be an issue in many cases, but “in this circumstance, it is unlikely that this would present
an issue.” Despite the contrary opinions, Rahmani insisted that there’s no specific “requirement that the person actually be convicted of a
drug offense.”


Prince Harry Moved To America With His Family




                                                                      MEGA




                                                                                                                      APP. C 049
                        Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 52 of 416


Prince Harry moved to America with his wife, Duchess Meghan Markle, and their young son, Prince Archie, in 2020. The move came after
the couple quit their roles as senior officials in the British Royal Family.


Harry and Meghan now live in an £11 million mansion in Santa Barbara with their son and daughter, Princess Lilibet. In 2021, a source
claimed to The Times that Harry has made no plans to obtain US citizenship, permanent residency, or a “green card at any point.”


If any issues do come up with Harry’s visa, another immigration attorney has told Page Six (https://pagesix.com/2023/03/21/lawyers-reveal-
prince-harrys-drug-use-could-affect-us-visa/) that Markle, a US citizen by birth, can sponsor her husband. One method could be through
the O-1 visa, which is already used by non-American celebrities like Justin Bieber and Rachel McAdams.




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                                                                                                                                       APP. C 050
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 Prince Harry’s past drug use
 raises questions about US visa
 A conservative think tank wants to know if the Duke of
 Sussex failed to disclose his past drug use on his visa
 application, a potential violation that could lead to
 deportation




 Prince Harry pointed out that he has done everything for the past six years privately to
 get through to his family. (Henry Nicholls/WPA Pool/Getty Images)


 By MARTHA ROSS | Bay Area News Group
 PUBLISHED: March 22, 2023 at 6:00 a.m. | UPDATED: March 22, 2023 at 6:22 a.m.




                                                                                  APP. C 051
Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 54 of 416
 Prince Harry continues to learn that not everyone in his adopted homeland is
 happy about him being here. The latest group of Americans to come after the
 renegade British royal is the Heritage Foundation, which is pushing to find out
 whether the husband of Meghan Markle admitted to his past drug use when he
 applied for a visa to live in the United States.

 The conservative think tank said it is in a battle with the U.S State Department,
 which is refusing to release any details about the Duke of Sussex’s visa
 application, the Daily Mail said. The group wants to know if Harry admitted using
 marijuana, cocaine and psychedelics on his application when he moved to the
 United States in 2020. If he failed to disclose his prior drug use, he could be
 accused of lying on his application, the group says. U.S. immigration law imposes
 harsh penalties for visitors and potential immigrants who lie to officials, including
 deportation and being barred from applying for citizenship.

 The demand to see Harry’s application comes after Harry openly discussed using
 marijuana and cocaine in his book “Spare” and in the accompanying media
 blitz. While Harry claimed he only used cocaine as a teen, he admitted to
 experimenting with psychedelics well into his adulthood. In a recent online
 conversation with trauma expert Gabor Maté, Harry spoke openly about his
 recreational use of psychedelics and said the drugs helped him deal with past
 traumas.

 “I started doing it recreationally and then started to realize how good it was for
 me,” Harry said. “I would say it is one of the fundamental parts of my life that
 changed me and helped me deal with the traumas and the pains of the past.”

 Mike Howell, director of the Heritage Foundation’s Oversight Project, told the
 Daily Mail that Harry’s admitted use of illegal substances raises questions about
 what he said on his application, whether he was properly vetted before entering
 the United States and whether he continues to use drugs.

 Thus far, the State Department has refused to make Harry’s visa application
 public, with a spokesperson telling the Daily Mail: “Visa records are confidential
 under Section 222(f) of the Immigration and Nationality Act (INA); therefore, we
 cannot discuss the details of individual visa cases.”




                                                                               APP. C 052
Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 55 of 416
 Legal experts are divided over whether Harry’s past drug use jeopardizes his
 ability to stay in the United States to live and work. Harry and Meghan, a former
 Hollywood TV actor, live in Montecito, where they are raising their two young
 children. The son of King Charles III also has a position as “a chief impact officer”
 for a San Francisco mental health startup, BetterUp, and presumably uses
 Montecito as his base for working on the couple’s production deals with Netflix
 and Spotify.

 “An admission of drug use is usually grounds for inadmissibility,” former federal
 prosecutor Neama Rahmani told Page Six. “That means Prince Harry’s visa
 should have been denied or revoked because he admitted to using cocaine,
 mushrooms and other drugs.”

 Rahmani, president of Los Angeles-based West Coast Trial Lawyers, also said that
 there is “no exception for royalty or recreational use.”

 But James Leonard, a New Jersey-based attorney who represented “The Real
 Housewives of New Jersey” star Joe Giudice in his immigration case, disagreed
 with Rahmani that Harry’s U.S. status was at risk.

 “Absent any criminal charge related to drugs or alcohol or any finding by a
 judicial authority that Prince Harry is a habitual drug user, which he clearly is not,
 I don’t see any issue with the disclosures in his memoir regarding recreational
 experimentation with drugs,” Leonard told Page Six.

 Leonard said immigration officials need a reason to launch an investigation into
 a person’s status, such as the person being arrested for a criminal act. “You’ve
 got to give them something that would trigger it, and revealing it in a book, that
 you experimented with drugs when you were a young man, I don’t think gets you
 there,” he said.

 It’s not known what type of visa Harry holds, but analysts speculate he either
 holds a spousal visa — sponsored by his American wife — or an O-1 visa which is
 given to people with “extraordinary ability,” the Daily Mail said. Other celebrities
 known to be in the United States on an O-1 visa include Canadian singer Justin
 Bieber and Australian actor Hugh Jackman.

 That the Heritage Foundation has made Harry’s visa an issue probably shouldn’t
 come as a surprise. Since Harry and Meghan’s acrimonious departure from royal
 life, the couple have irked U.S. conservatives with their progressive politics and
 with the perception that they are lecturing regular people from a position of
 wealth and entitlement.


                                                                               APP. C 053
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 The foundation said that “public confidence” in the U.S. government would be
 undermined if it appeared that its agencies failed to properly vet such a high-
 profile individual or if Harry admitted his past drug use but “received preferential
 treatment” and was allowed to stay in the United States anyway.

 US officials can stop people who have committed drug offenses from entering
 the country. Suspected drug abusers applying for visas also may be required to
 answer additional questions about their medical history or take a medical exam
 to prove that they are not still using drugs. For example, TV chef Nigella Lawson
 was initially banned from flying to the United States in 2014, four months after
 she admitted she once used cocaine with her husband in 2010.



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                                                                              APP. C 054
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  PRINCE'S PAPERS Prince Harry’s US visa
  under scrutiny after duke’s shocking
  drug admissions, lawyer claims
  Sarah Grealish
  Published: 10:55, 22 Mar 2023    Updated: 10:56, 22 Mar 2023




  PRINCE Harry's US visa could be under scrutiny after
  he admitted using drugs, a lawyer has claimed.

  The Duke of Sussex detailed his past drug use in his
  bombshell book Spare as well as in several TV
  interviews.




                                                                                                  APP. C 055
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                                                                 2
  Harry's Visa status could be called into question because of
  his past drug use, lawyers claim




                                                                                    APP. C 056
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                                                               2
  In his explosive autobiography, Prince Harry confesses to
  snorting cocaine several times


  In his memoir, Harry admits he regularly smoked
  cannabis and misused alcohol as a teenager.

  And in a TV interview, he admitted using Class A
  ayahuasca, a high from Amazon rainforest vines, to
  help him cope with the trauma of his mum Princess
  Diana’s 1997 death.

  Now legal experts have claimed his admission could
  put him in hot water with US immigration.


                                                                                  APP. C 057
            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 60 of 416
  Former federal prosecutor Neama Rahmani told Page
EWS  MONEY HEALTH DEAR DEIDRE TECH TRAVEL MOTORS              PUZZLES   SUN BINGO   SUN VOUCHER
  Six: “An admission of drug use is usually grounds for
  inadmissibility.


      MORE ON HARRY




       HAZ              HARRY'S            MEGA
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  “That means Prince Harry’s visa should have been
  denied or revoked because he admitted to using
  cocaine, mushrooms and other drugs.”

  She added that there is “no exception for royalty or
  recreational use.”

  However, Immigration expert Attorney James Leonard,
  disagrees, saying Harry is "clearly not" a "habitual drug
  user" currently.

  In his book Harry wrote: “Of course I had been
  doing cocaine around this time.


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                       PAUL'S PAIN Paul O'Grady's heartbreaking
                       final post days before he died


                                                                             APP. C 058
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                         O'Grady dies 'unexpectedly but peacefully'
                         aged 67



                         NEW FACE This Morning reveals huge
                         comedian as Phillip Schofield's replacement

  “At someone’s country house during a hunting
  weekend, I’d been offered a line, and I’d done a few
  more since.

  “It wasn’t much fun, and it didn’t make me particularly
  happy, as it seemed to make everyone around me.

  “But it did make me feel different, and that was the
  main goal. Feel. Different.

  “I was a deeply unhappy 17-year-old willing to try
  almost anything that would alter the status quo. That
  was what I told myself anyway.”

  He goes on to describe his experiences under the
  effects of magic mushrooms.

  Harry described how his pals went to the fridge for a
  drink, writing: “While the door was open, we spotted a
  huge box of black diamond mushroom chocolates.

  “Someone behind me said they were for everybody.
  Help yourself, boys.

  “My mate and I grabbed several, gobbled them,
  washed them down with tequila.”

  But it soon turned into a nightmare as he began
  hallucinating in a bathroom.

  Harry said: “Beside the toilet was a round silver bin, the
  kind with a foot pedal to open the lid. I stared at the
  bin. It stared back. Then it became . . . a head.

                                                                           APP. C 059
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        People are only just           Reid speechless after
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  “I stepped on the pedal and the head opened its
  mouth. A huge open grin.

  “I laughed, turned away, took a p***. Now the loo
  became a head too. The bowl was its gaping maw, the
  hinges of the seat were its piercing silver eyes. It said,
  ‘Aaah’.”




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          group insists government comes clean
          on Prince Harry, demanding to know
          how he got his US visa despite his                                                                                          EVERYTHING
          admitted illegal drug use                                                                                      HOME IMPROVEMENT
            The Heritage Foundation is investigating Prince Harry's immigration filings to
            determine if he disclosed his previous illegal drug use or got a special waiver
            Harry admitted to taking cocaine, mushrooms and cannabis – an admission that                                                  Shop Now
            could have resulted in his visa application being denied if declared on the form
            'I think the public will be really outraged if he was admitted to the US through a
            system of preference and privilege,' a think tank rep told DailyMail.com

          By JOSH BOSWELL FOR DAILYMAIL.COM
          PUBLISHED: 15:58 EDT, 23 March 2023 | UPDATED: 18:17 EDT, 23 March 2023


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          A think tank's probe into Prince Harry's immigration filings could have 'major
          implications' for his future in the United States, investigators told DailyMail.com –
          and could soon end up in court.

          The Heritage Foundation, a conservative research institute focused on public policy,
          is currently battling with the Department of Homeland Security (DHS) to get a copy
                                                                                                                       TOP STORIES
          of the Duke of Sussex's visa filings under the Freedom of Information Act.
                                                                                                                         'I would do it again':
                                                                                                                       Jeremy Renner fights
          A director at the think tank and their lawyer told DailyMail.com the immigration                             tears in first interview
          documents could expose a thorny diplomatic issue: whether Harry declared his                                 since horrific snowplow
                                                                                                                       accident where he
          previous illegal drug use, and whether DHS officers gave him special treatment.                              describes breaking 30
                                                                                                                       bones after being
                                                                                                                       crushed by snowplow

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                                                                                                                       'Gwyneth looked like a
                                                                                                                       snotty so-and-so':
                                                                                                                       Journalist details
                                                                                                                                                    APP. C 061
                      Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 64 of 416
ISEMENT                                                                                                       'enervating' exchange
          While applying for his residency permit, Harry had to fill out a form asking if he has             with Gwyneth Paltrow
                                                                                                             who was 'not pleasant'
          ever used illegal drugs.

          An answer of 'yes' often results in the application's denial, or a raft of extra hurdles
          that can even   include drug tests and interviews before getting a special waiver
                      00:05                                                                 01:00 to
          allow a visa.


                                                                                                               'Trans Day of
                                                                                                             Vengeance' WILL go
                                                                                                             ahead at the Supreme
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          US think tank,The Heritage Foundation is investigating Prince Harry's immigration filings to
          determine if he disclosed his previous illegal drug use on his application or obtained a special    Female Russian
          waiver                                                                                             medics 'are being
                                                                                                             pressured into
                                                                                                             becoming sex slaves
                                                                                                             and are "passed
                                                                                                             around" between
                                                                                                             officers or beaten'


                                                                                                               EXCLUSIVE: What
                                                                                                             crime? Australian,
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                                                                                                             melts fat WITHOUT
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          The Duke of Sussex openly discussed how he experimented with drugs in his youth, including
          cocaine, magic mushrooms, and marijuana, in his new memoir and in recent interviews
                                                                                                               Horrifying moment
                                                                                                             thief who stole police
                                                                                                             car leaps from driver's
                                                                                                             seat of speeding
                                                                                                             cruiser, then dies after
                                                                                                             smashing his head and
                                                                                                             neck on road

                                                                                                                                         APP. C 062
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          A rather tipsy and red faced Prince Harry is pictured leaving the Embassy nightclub in London
          with several boozy pals and his brother William in 2006




                                                                                                            I was with my husband
                                                                                                          for 17 years and had
                                                                                                          three children when a
                                                                                                          DNA test revealed we're
                                                                                                          COUSINS




                                                                                                           EXCLUSIVE Andie
                                                                                                          MacDowell, 64, cuts a
                                                                                                          glam figure in a hot pink
                                                                                                          suit as she joins Helen
          Harry admitted to taking cocaine, magic mushrooms and cannabis in his memoir,                   Mirren, 77, to shoot
                                                                                                          L'Oreal advert in Paris
          Spare, and in interviews.

          The Heritage Foundation argues that means he either lied on his form – usually a                 How to banish your
                                                                                                          belly fast: This is the
          surefire way to get kicked out of the country – or DHS gave him a special waiver.               simple trick to reducing
                                                                                                          bloat - and how it can
                                                                                                          help you shed 2kg in a
          In an attempt to find out, they filed a                                                         week
          request with the government agency
          under the Freedom of Information Act on
                                                                                                            Brooke Shields looks
          March 8 this year.                                                                              incredible in sun-
                                                                                                          soaked bikini snaps
                                                                                                          from family getaway to
          In an exclusive interview with                                                                  Turks and Caico... after
          DailyMail.com, the Foundation's attorney                                                        addressing Pretty Baby
                                                                                                          controversy
          and former top Congressional counsel
          Samuel Dewey revealed that DHS                                                                   'It works like a charm!'
          officials are currently scrambling to find                                                      Professional organizer
                                                                                                          reveals genius $20
          records on the Prince, who has several                                                          decluttering hack that
                                                                                                          will help people get rid
          different official titles and legal names                                                       of unused junk (but not
          that he may have used on his US                                                                 everyone agrees with ...

          immigration application.
                                                                                                            Heiress daughter of
                                                                                                          billionaire pharma
          Dewey added that if he doesn't get a                                                            tycoon is branded
                                                                                                          'entitled' by judge, as he
          satisfactory response by April 12, they                                                         refuses to award her
          will be suing the government in a                                                               $228m she demanded
                                                                                                +11       after brother quadrupled
          Washington DC federal court.                                                     View gallery   firm's valu...

                                                          In Spare and the TV interviews that followed,   EXCLUSIVE: Barack
          'Even if he came in through a visa, it still                                                    and Michelle Obama are
                                                          Harry admitted taking cocaine, cannabis and     given permission to
          has to be cleared by DHS, because you           magic mushrooms                                 break an important rule
          also have to be admissible to the                                                               as they climb the
                                                                                                          Sydney Harbour Bridge
          country,' Dewey said.
                                                                                                                                       APP. C 063
                     Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 66 of 416
ISEMENT                                                                                                 - as the ex-President
                                                                                                       shares a mome...




                                                                                                         Nashville school
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                                                                                                       spotlight on mental
                                                                                                       health problems,
                                                                                                       hormone treatments
                                                                                                       and growing militancy
                                                                                                       in the trans community

          'Our request concerns whether or not he's admissible without a waiver, given his              Halsey flashes her
                                                                                                       nipple piercings in a
          long history of narcotics use.                                                               cropped sheer tank top
                                                                                                       as she leaves a
                                                                                                       Depeche Mode concert
          'Individuals in the past with that history have not been let into the country.'

          In 2014 celebrity chef Nigella Lawson was banned from flying to the US because she
                                                                                                         Happiest cities in US
          confessed to taking drugs.                                                                   revealed: Fremont,
                                                                                                       California, tops list with
          Libertines frontman Pete Doherty was also famously banned from the US due to                 best wages, home
                                                                                                       prices and mental
          drug-related arrests.                                                                        health, with Detroit in
                                                                                                       last place - and NYC
                                                                                                       coming 57th

                                                                                                       ADVERTISEMENT




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                                                                                                       Ad By Sponsor                     See More




                                                                                                        REVEALED: Hero
                                                                                                       Nashville cop who took
                                                                                                       down transgender
                                                                                                       school shooter is
                                                                                                       Marine Corps vet who
                                                                                                       responded to Christmas
                                                                                                       2020 bombing - while
                                                                                             +11       work partner was
                                                                                                       award...
                                                                                        View gallery
                                                                                                         World Health
          The Heritage Foundation has requested access to Prince Harry's records from DHS through      Organization says
          the Freedom of Information Act                                                               healthy children and
                                                                                                       teens probably don't
                                                                                                       need a Covid vaccine




                                                                                                       'Where billionaires
                                                                                                       come to play!' Stunning
                                                                                                       mega mansion in ultra-
                                                                                                       exclusive ski resort Vail

                                                                                                                                    APP. C 064
                                                                                                       hits the market for $21
                      Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 67 of 416
ISEMENT                                                                                                     MILLION - and comes
                                                                                                           complete with
                                                                                                           breathtaki...




                                                                                                            Australian porn star
                                                                                                           Angela White breaks
                                                                                                           her silence on horror
                                                                                                           on-set injury after
                                                                                                           reports she 'almost died
                                                                                                           during hour-long sex
                                                                                                           scene'

                                                                                                             Brazen serial squatter
                                                                                                           is forced to flee Texas
                                                                                                           home after changing
                                                                                                           locks, faking LEASE
                                                                                                           and going on camera to
                                                                                                           insist she was entitled
                                                                                                           to stay there with her
                                                                                                           fam...

                                                                                                             Dakota and Elle
                                                                                                           Fanning make a rare
                                                                                                           joint appearance as
                                                                                                           they enjoy a sisters'
                                                                                                           night out at Hollywood
                                                                                                           Reporter and Jimmy
                                                                                                           Choo dinner


                                                                                                             First ever case of
                                                                                                           human being struck
                                                                                                           down by killer plant
                                                                                                           fungus: Healthy Indian
                                                                                                           mushroom hunter was
                                                                                                           left with agonising
                                                                                                           abscess in his windpipe

                                                                                                             Woman who had a
                                                                                                           flower seed lodged
                                                                                                           inside her cheek for
                                                                                                           THREE WEEKS
                                                                                                           captures the horrifying
                                                                                                           (yet satisfying) moment
                                                                                                           it popped out of her
                                                                                                           salivary gland after do...

                                                                                                             Is Adam Sandler the
                                                                                                 +11       luckiest man in
                                                                                            View gallery   Hollywood? Star, 56,
                                                                                                           kisses model wife
                                                                                                           before holding hands
          Attorneys at the foundation told DailyMail.com, DHS officials are currently scrambling to find   with Jennifer Aniston at
          records on the Prince, who has several different official titles and legal names that he may     Murder Mystery 2
                                                                                                           premiere
          have used on his documents

                                                                                                             Rita Ora goes braless
                                                                                                           in a sheer dress with
                                                                                                           racy cut outs at fittings
                                                                                                           ahead of her stint on
                                                                                                           The Voice Australia




                                                                                                           ADVERTISEMENT




                                                +11                                              +11
                                           View gallery                                     View gallery


          British celebrity chef Nigella Lawson was banned from flying to the US in 2014 because she
          confessed to taking drugs. Libertines frontman Pete Doherty was also famously banned from
          the US due to drug-related arrest



                                                                                                                                        APP. C 065
                      Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 68 of 416
ISEMENT   The attorney, who was formerly in charge of oversight and investigations on the US
          House of Representatives Financial Services Committee, told DailyMail.com that in
          order to get Harry's records, there needs to be a public interest that defeats any
          privacy concerns.

          'There's a precedent for getting this immigration information from the immigration
          authorities,' he said.

          'The first question that a court will ask is, how much of a privacy interest is there
                                                                                                           REVEALED: LIV Golf
          here? And we think it's as low as it can be.                                                   stars 'will have to pay
                                                                                                         up to FOUR TIMES their
          'This is a public figure who's been notoriously open for commercial gain,' the                 signing fee if they
                                                                                                         decide to pull out of
          attorney said.                                                                                 Saudi-backed series'...
                                                                                                         leaving some players
                                                                                                         facing ...
          'He has so aggressively put himself into the public for his commercial benefit that it's
          a perfect storm of diminished privacy rights.'                                                   I'm a professional
                                                                                                         cleaner and these are
                                                                                                         the 10 huge mistakes
          The lawyer joked that he would ask the judge to 'watch the South Park episode' –               almost everyone makes
                                                                                                         that are ruining your
          referring to the satirical, irreverent cartoon which skewered Prince Harry and                 home
          Meghan Markle by portraying 'the Prince of Canada and his wife' embarking on a
          'worldwide privacy tour', loudly demanding 'privacy' while also hawking a tell-all               Brad Pitt sells his Los
          book and media appearances.                                                                    Feliz compound in LA
                                                                                                         for $39M nearly three
                                                                                                         DECADES after
          'The second question the court will ask is what is the public interest?' Dewey said.           snapping up the
                                                                                                         property for $1.7M from
                                                                                                         horror icon Elvira
          'We've got a serious problem with our immigration system in this country. And a big
          part of that problem is laws are not being enforced.
                                                                                                           What a catch! Jennifer
                                                                                                         Aniston, 54, shines in
          'So the question is, was preferential treatment given to Prince Harry because of who           silver netted mini dress
                                                                                                         that showcases her legs
          he was? Was the process not followed? If it wasn't, that's a big deal.                         as she leads stars at
                                                                                                         Murder Mystery 2
                                                                                                         premiere in LA


                                                                                                           Michelle Obama
                                                                                                         flaunts her figure in
                                                                                                         activewear as she takes
                                                                                                         in the sights of Sydney
                                                                                                         with her husband - after
                                                                                                         former First Lady
                                                                                                         revealed her diet
                                                                                                         secrets


                                                                                                          iPhone users say
                                                                                                         Apple's new iOS 16.4
                                                                                                         update is RUINING their
                                                                                                         battery life - with
                                                                                                         reports of charge
                                                                                                         draining within a few
                                                                                                         hours

                                                                                                           No laughing matter:
                                                                                                         Biden is slammed for
                                                                                                         cracking a JOKE when
                                                                                                         asked his views on
                                                                                                         transgender school
                                                                                                         shooter's motive


                                                                                               +11
                                                                                          View gallery     Shocking moment
                                                                                                         French police KNOCK
                                                                                                         OUT protester during
          Harry spoke about his 'positive' experience of psychedelic drug ayahuasca which allegedly      'Blood and Fire' pension
          helps treat people suffering from mental illness                                               clashes: Locals say
                                                                                                         'Paris is a mess' as
                                                                                                         support for
                                                                                                         demonstrators
                                                                                                         dwindles

                                                                                                           King Charles and
                                                                                                         Queen Consort Camilla
                                                                                                         are greeted by delighted
                                                                                                         fans in Germany as they
                                                                                                         meet president Frank-
                                                                                                         Walter Steinmeier and
                                                                                                         his wife on first State
                                                                                                         Visit of their reign


                                                                                                          'My life has changed
                                                                                                         so much': Singer Lily
                                                                                                         Allen looks
                                                                                                         unrecognizable as she
                                                                                                         discusses four years of
                                                                                                         sobriety after quitting
                                                                                                         drinking in lifestyle

                                                                                                                                     APP. C 066
                                                                                                         overhaul
                      Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 69 of 416
ISEMENT                                                                                                    EXCLUSIVE: Nashville
                                                                                                         mass school shooter
                                                                                                         Audrey Hale was
                                                                                                         rejected by her
                                                                                                         Christian parents who
                                                                                                         'couldn't accept' she
                                                                                                         was gay and trans - as
                                                                                                         cops reveal she also...

                                                                                                          The 25 most disaster
                                                                                                         prone counties in the
                                                                                                         US: Where Americans
                                                                                                         are most at risk from
                                                                                                         wildfires and hurricanes




                                                                                                           Woman who wrote a
                                                                                                         'message in a bottle' in
                                                                                                         a bid to re-discover the
                                                                                                         'beautiful Aquaman
                                                                                               +11       lookalike' she met on
                                                                                                         holiday FINDS him - as
                                                                                          View gallery
                                                                                                         the mystery 29-year-old
                                                                                                         hunk...
          Ayahuasca is a drink made by boiling together vine stems along with leaves from a chacruna
          shrub — both native to the Amazonia region                                                       How the giant hole on
                                                                                                         the sun could wreak
                                                                                                         HAVOC on Earth: 1.8
          'If they're spending a lot of time giving a special unjustified preference to Prince           MILLION mph solar
                                                                                                         winds could knock out
          Harry, how does that affect the common immigration applications where people                   power grids, disrupt
                                                                                                         GPS signals and see the
          have carefully dotted every I and crossed every T?'                                            skies light u...

          In his autobiography 'Spare', Harry revealed that he first took cocaine on a shooting            The Roy effect!
                                                                                                         Succession fans go wild
          weekend at age 17. He did a 'few more lines' on other occasions.                               for 'ludicrously
                                                                                                         capacious' $3,000
                                                                                                         Burberry tote bag
          He also admitted to hallucinating during a celebrity-filled event in California and            mocked in the HBO
          smoking cannabis after his first date with Meghan.                                             show - and now
                                                                                                         everyone wants one

          He spoke about his 'positive' experience of psychedelic drug ayahuasca saying it               ADVERTISEMENT

          'brought me a sense of relaxation, release, comfort, a lightness that I managed to
          hold on to for a period of time'. Ayahuasca is illegal ni the United States unless it is
          for religious use.

          The duke, 38, made the comments in an interview with therapist Dr Gabor Maté,an
          outspoken supporter of decriminalizing drugs who has allegedly used the
          Amazonian plant to treat patients suffering from mental illness.

          Nile Gardiner, Director of the Margaret
          Thatcher Center for Freedom at the
          Heritage Foundation, told DailyMail.com
          that the FOIA request could have severe
          consequences for Harry's ongoing
          immigration status – if it is shown that he
          lied on official forms.

          'I think what happens with this FOIA
          request has a direct impact on what            The Duke of Sussex , 38, claimed he used
          happens with Harry's future in the US, if      psychedelics like ayahuasca and magic
          indeed he wants to become a permanent          mushrooms (pictured) as 'medicine' after the
                                                         death of his mother Princess Diana in 1997
          US resident or a US citizen,' he said.

          'The stakes are very high here. This issue
          of a visa application has major implications for his future in the United States.'

          Gardiner added that he believes the Prince has now given up any credible claims of
          privacy regarding the DHS documents.

          'Harry can talk all he likes about protecting privacy, but he's just written a massive           Moment brave cop
                                                                                                         takes down Nashville
          book outlining all of his drug use. I'd say this isn't a very smart move,' he said.            school shooter with
                                                                                                         precision shots before
          'No one should be above the law. It doesn't matter if you're a member of the Royal             colleague finishes her
                                                                                                         off on the ground:
          Family, everyone should be treated the same.                                                   Police release six
                                                                                                         minutes of hellish...

                                                                                                          EXCLUSIVE Olivia
                                                                                                         Wilde feels 'BETRAYED
                                                                                                         by pal Emily
                                                                                                         Ratajkowski' after
                                                                                                         model's VERY public
                                                                                                                                    APP. C 067
                      Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 70 of 416
ISEMENT                                                                                                     kiss with her ex Harry
                                                                                                            Styles




                                                                                                              Is the key to anti-aging
                                                                                                            in YOUR backyard?
                                                                                                            Common weed shows
                                                                                                            promise in early study

                                                                                                              Human remains found
                                                                                                            in Lake Mead when
                                                                                                            water levels dropped to
                                                                                                            historic low are
                                                                                                            identified as 39-year-old
                                                                                                            from Las Vegas who
                                                                                                            drowned in the
                                                                                                            reservoir almost 50 y...

                                                                                                              Oh what a lovely
                                                                                                            pandemic! Anthony
                                                                                                            Fauci 'sells his memoir
                                                                                                            to Penguin Random for
                                                                                                            $5 MILLION' that will
                                                                                                            chart his life from
                                                                                                            Brooklyn schoolboy to
                                                                                                            nation's COVID ...
                                                                                                   +11        'Hate has
                                                                                             View gallery   consequences': Trans
                                                                                                            support group blames
                                                                                                            GOP 'anti-trans
          Prince Harry is pictured after a night out at the Cuckoo Club in London in August 2006            legislation' for
                                                                                                            Tennessee school
                                                                                                            shooting, calls Audrey
          'I think it's in the public interest to know whether or not Harry was completely                  Hale's death a
          transparent in documenting all of his drug use that he outlined in Spare.                         'TRAGEDY' and
                                                                                                            demand...

          'I think that the public will be really outraged if he was admitted to the United States           Gwyneth Paltrow's
                                                                                                            daughter Apple tells
          through a system of preference and privilege, or he got in without revealing the full             court she had never
          information.'                                                                                     seen her mom 'shaken
                                                                                                            up like that' after the
                                                                                                            ski-slope smash saying
          The State Department told DailyMail.com that an immigration law makes visa records                she was 'frantic'
          confidential.
                                                                                                              Gwyneth Paltrow trial
          'Visa records are confidential under Section 222(f) of the Immigration and Nationality            LIVE: Actress' lawyers
                                                                                                            set to grill retired doctor
          Act (INA); therefore, we cannot discuss the details of individual visa cases,' a                  over claims she plowed
                                                                                                            into him in $300,000 ski
          spokesperson said.                                                                                crash case

          But Dewey said this law only pertains to a 'small slice' of immigration documents
          held by the Department of State, and not to the main bulk of files held by DHS                      Are you ready for
                                                                                                            POSTBIOTICS? Goli just
          departments such as United States Customs and Immigration Services (USCIS) or                     launched the first of its
                                                                                                            kind: a probiotic that's
          Customs and Border Protection (CBP).                                                              also a prebiotic AND a
                                                                                                            postbiotic! Give your
                                                                                                            gut a makeover for only
          He said DHS routinely publishes immigration documents related to notable                          $17 a bottle
          individuals, pointing to records of Kamala Harris's mother Shyamala Gopalan Harris
          in 2020, actor Peter Mayhew in 2019 and George Harrison in 2001 on the                              'As an actor, you don't
          department's website.                                                                             have power over
                                                                                                            anything': Eva Longoria
                                                                                                            puts on a leggy display
                                                                                                            in stunning photoshoot
          Share or comment on this article: Prince Harry's visa filings could have 'major                   as she discusses
                                                                                                            becoming a director
          implications' on his future in US, think tank says

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                  Gronk's Favorite "Dressy" Shoes Feel Like Walking On                                                                    APP. C 068
                   Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 71 of 416




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ROYAL FAMILY
U.S. group want to know details about Prince Harry’s visa
Conservative group America’s Heritage Foundation want to know more details on the prince’s American
visa.

Kelsey Rivera
Update: March 21st, 2023 18:19 EDT




                                                                                              0




                                                                                   APP. C 069
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                                                                                           Toby Melville / REUTERS


An American group called The Heritage Foundation is calling for the U.S. government to release details about
Prince Harry’s visa to see if he admitted to drug use prior to receiving it.

The Heritage Foundation is a conservative think tank that was created in 1973 that took a prominent position
in creating policies during Ronald Reagan’s presidency in the 1980s.


Harry openly admits drug use in ‘Spare’ memoir
                                                    PUBLICIDAD




                                                                                          APP. C 070
               Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 73 of 416
The Heritage Foundation is battling with Washington to get details of Prince Harry’s visa application released
to the public. No details have been released out of respect for the Duke of Sussex’s privacy.

“Visa records are confidential under Section 222(f) of the Immigration and Nationality Act (INA); therefore, we
cannot discuss the details of individual visa cases,” a U.S. State Department spokesman said.

“This request is in the public interest in light of the potential revocation of Prince Harry’s visa for illicit
substance use and further questions regarding the Prince’s drug use and whether he was properly vetted
before entering the United States,” said Mike Howell, the director of The Heritage Foundation’s Oversight
Project, which seeks to spot questions of accountability in Washington.

The foundation’s interest in Prince Harry’s visa application came after the prince revealed his past drug use in
his recent memoir ‘Spare’. In the book, he opened up about his family life as a royal and his time as a young
person, including his experimentation with drugs while visiting friends in the United States.

Harry explains that he first tried cocaine when he was 17 years old, but says that he found marijuana and
hallucinogenic mushrooms to be most useful in helping him come to terms with his past trauma.

In his recent live interview with Dr. Gabor Maté earlier this month, Harry also explained how taking the
psychedelic drink known as ayahuasca brought him a “sense of relaxation, release, comfort, a lightness that I
managed to hold on to for a period of time.”


Does it matter if Prince Harry disclosed past drug use on his visa application?
Some experts say that admitting to past drug use can be used as grounds to reject someone’s visa application.

“An admission of drug use is usually grounds for inadmissibility,” Neama Rahmani said, who is a former federal
prosecutor.

“That means Prince Harry’s visa should have been denied or revoked because he admitted to using cocaine,
mushrooms and other drugs,” he added.

Meanwhile, other lawyers, such as James Leonard, who represented Joe Giudice from ‘The Real Housewives of
New Jersey’ for his immigration case, say otherwise.

“Absent any criminal charge related to drugs or alcohol or any finding by a judicial authority that Prince Harry is
a habitual drug user, which he clearly is not, I don’t see any issue with the disclosures in his memoir regarding
recreational experimentation with drugs,” Leonard said.

“You’ve got to give them something that would trigger it, and revealing it in a book, that you experimented
with drugs when you were a young man, I don’t think gets you there,” he added.
                   ROYAL FAMILY
                   King Charles’ grandchildren to have starring role in coronation




                   ROYAL FAMILY



                                                                                                APP. C 071
                       Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 74 of 416
                                                                                                               NEWSLETTER SIGNUP


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Media & Culture | Entertainment

Will Prince Harry's Admission Of Drug Use In Memoir 'Spare' Affect His
Visa? Lawyers Speak Up
By Catherine Armecin
03/21/23 AT 9:28 PM EDT
                                                                                                                            




                                                                                                            APP. C 072
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                                                                                                                   NEWSLETTER SIGNUP


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 (PHOTO: REUTERS)




KEY POINTS

    Neama Rahmani believes Prince Harry's admission of drug use puts his visa at risk
    James Leonard said there's no issue unless Harry would give immigration officials a reason for an investigation
    Sam Adair agreed with Leonard and said breaking the law could be an issue in the visa renewal



P    rince Harry's admission of drug use in his memoir, "Spare," has drawn mixed responses from legal experts.




                                                                                                                 APP. C 073
                 Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 76 of 416
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The Duke of Sussex got candid about his history of drug use in his bombshell memoir that dropped in January.
However, a legal expert claimed that being too honest about his previous drug use might put him in trouble.

"An admission of drug use is usually grounds for inadmissibility," former federal prosecutor Neama Rahmani
told Page Six.

"That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine,
mushrooms and other drugs."

Rahmani, the president of West Coast Trial Lawyers, added that there is "no exception for royalty or recreational
use."

Attorney James Leonard, who represented "The Real Housewives of New Jersey" alum Joe Giudice in his
immigration case, argued that Prince Harry's admission would cause him trouble.

                                                      ADVERTISEMENT




"Absent any criminal charge related to drugs or alcohol or any finding by a judicial authority that Prince Harry is
a habitual drug user, which he clearly is not, I don't see any issue with the disclosures in his memoir regarding
recreational experimentation with drugs," the high-profile lawyer told the outlet.

The New Jersey-based lawyer explained that drug users who are not U.S. citizens would have to give immigration
officials a reason to launch an investigation like a criminal act. Otherwise, the officials won't do anything about it.

"You've got to give them something that would trigger it, and revealing it in a book, that you experimented with
drugs when you were a young man, I don't think gets you there," the celebrity lawyer said. "Immigration is not


                                                                                                       APP. C 074
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going to do anything based on that. If he got arrested or if he got a DWI, then we're having a different
                                                                                                  NEWSLETTER SIGNUP
conversation."
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Sam Adair, an immigration lawyer with more than two decades of experience, agreed with Leonard that it is
"unlikely that these admissions will present a problem."

"If there had been a conviction, it would have likely been a significant issue in getting a visa," Adair noted. "This
isn't to say that drug use could not be a problem in the immigration process, but in this circumstance, it is
unlikely that this would present an issue."

He added, "It isn't clear to me what the duke's visa status is in the U.S., but breaking the law could be an issue in
getting a visa renewed or for readmission to the U.S. But recreational drug use that has not been the subject of
criminal scrutiny is unlikely to present an issue for someone's visa status."




                                                                                                              APP. C 075
              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 78 of 416
I REALLY do hope the [...], 2023 WLNR 11228593




                                                   3/29/23 Express (UK) 13
                                                    2023 WLNR 11228593

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                                                       March 29, 2023

                                                        Section: News

                                               I REALLY do hope the [...]

                                                      Ann Widdecombe

                                                      Ann Widdecombe

I REALLY do hope the United States renews Harry's visa despite his glorification of drug-taking, because the last thing this
country deserves is to have that pair back here with whingeing and whining psychology gurus.

Harry, left, and revelling in the of refusing to say whether they will come the Coronation.

pai their whingein and weird psy Meanwhile Meghan are re petty power o whethe to th The the ththa

King should tell them to make up their minds now or the seats will be allocated to politer souls.


---- Index References ----


News Subject: (Campaigns & Elections (1CA25); Global Politics (1GL73); World Elections (1WO93))



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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 79 of 416
Prince Harry: Can He Spare his U.S. Visa?, 2023 WLNR 11288741




                                          3/29/23 Nat'l L. Rev. (Pg. Unavail. Online)
                                                   2023 WLNR 11288741

                                                    National Law Review
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                                                        March 29, 2023

                                     Prince Harry: Can He Spare his U.S. Visa?

                                                   Norris McLaughlin P.A.

Mar 29, 2023

Raymond G. LahoudNorris McLaughlin P.A.Immigration Law Blog - Norris McLaughlin
 Article By
Prince Harry's memoir Spare (2023) documents salacious accusations about the Royal Family and describes, in detail, Prince
Harry's past and continued use of marijuana, cocaine, psychedelic mushrooms, and other drugs. The author admits to his prior
and ongoing addictions to drugs, as well as his possession and continued use. Prince Harry writes that his past use was necessary
for him to handle his then-royal duties, ongoing rifts within the Royal Family, and public scrutiny of his life. He writes that
more recently, psychedelic mushrooms were critical in helping him find peace in his life – opening his eyes to a world that
is not as he first imagined it.

While Prince Harry's candor is admirable, his words may seriously impact his immigration status in the United States. It is
reported that the prince has never applied for lawful permanent residence in the United States by virtue of his marriage to Megan
Markle – a United States Citizen. Rather, he is in the United States under a non-immigrant visa. When someone seeks a non-
immigrant visa, attempts to enter the United States with a non-immigrant visa, or seeks to become a lawful permanent resident,
questions about prior and current drug use, addictions, and for that matter, prior simple possession of drugs, are fair game.
Prince Harry's admissions in Spare could bar him from renewing visas or entering the United States, and quite possibly prevent
the approval of any future applications for lawful permanent resident status.

Admitting to drug use can have serious implications for non-citizens in the United States, regardless of an arrest or conviction.
In general, drug use can be seen as a violation of federal law, and non-citizens who admit to drug use can be found inadmissible
to the United States DOJ.
 Drug Use and United States Immigration Law
Under United States immigration law, non-citizens who admit to drug use or have been convicted of drug offenses can be
found inadmissible to the United States. Moreover, the Immigration and Nationality Act (INA) prohibits the admission of non-
citizens who are "drug abusers or addicts." This includes both recreational drug users and those who use drugs for medical
purposes without a prescription. A conviction is not required; rather, admitting to certain actions can form sufficient basis for
denying a non-citizen entry into the United States.

Non-citizens who are found to be inadmissible due to drug use can be barred from entering the United States or denied certain
immigration benefits, such as a visa or green card. Non-citizens may be eligible for a waiver of inadmissibility, but this can
be a difficult and time-consuming process.


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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 80 of 416
Prince Harry: Can He Spare his U.S. Visa?, 2023 WLNR 11288741


 Prince Harry's Admissions to Drug Use in Spare
In Spare , Prince Harry details his drug use throughout his life. His own words provide a basis for findings that he has possessed,
used, and been dependent on drugs that are unlawful under federal law in the United States. These admissions, in and of
themselves, could provide a basis for denial of non-immigrant visa renewals, requests to enter the United States after traveling
internationally, and any future application by Prince Harry to become a lawful permanent resident of the United States.

It is important to note, however, that Prince Harry's admissions to drug use do not necessarily mean that he would be found
inadmissible to the United States. A finding of inadmissibility based on an admission of unlawful conduct, rather than a
conviction, requires one to affirm violating specific elements of a particular federal controlled substance offense. Arguably,
Spare makes it clear: Price Harry says, in no uncertain terms, that he used marijuana, cocaine, and psychedelic mushrooms, and,
when using those drugs, he effectively possessed them. For purposes of determining if an individual is a drug abuser or drug
addict, the abuse and/or addiction must be current or recent. In Spare , Prince Harry writes of his ongoing use of psychedelic
mushrooms as a tool to help alleviate the pressures of his past royal life and the ongoing public and media scrutiny.

Should the prince seek lawful permanent residence in the United States, his admissions to drug use will present an additional
barrier. Federal law requires non-citizens who apply for lawful permanent residence to undergo a medical examination. This
medical examination necessitates a detailed review of current and past drug use, which, in turn, becomes a factor in determining
whether a non-citizen is medically admissible to the United States. Lacking medical admissibility because of drug abuse and
addiction is a stand-alone basis to deny an application for lawful permanent residence in the United States.
 Will Prince Harry Be Spared?
Admitting to drug use creates serious implications on the immigration status and applications of non-citizens. While Prince
Harry's admissions to drug use may not immediately impact him, the future is uncertain. Words are not "just" words, particularly
when those words make up the biographic life story of an individual as published in a globally-circulated memoir. The day may
very well come when a United States Immigration or Customs Officer who read, or was briefed on, Spare interviews Prince
Harry for a non-immigrant visa renewal, lawful permanent residence, or permission to enter the U.S. upon arrival at an airport
after international travel.

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---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Blockchain (1BC01); I.T. (1IT96))

Region: (Americas (1AM92); North America (1NO39))




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 81 of 416
Prince Harry: Can He Spare his U.S. Visa?, 2023 WLNR 11288741


Language: EN

Other Indexing: (United States DOJ) (Prince Harry)

Keywords: (Immigration); (Global); (All Federal); (United Kingdom)

Word Count: 1090

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Prince Harry tipped to avoid US deportation as pressure..., 2023 WLNR 11076761




                                     3/28/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 11076761

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                                                       March 28, 2023

          Prince Harry tipped to avoid US deportation as pressure mounts for visa papers release
                    Prince Harry has been facing calls to release the details of his visa
              application after his drug use admission sparked questions about his entry in...

                                                        Aurora Bosotti

Prince Harry has been facing calls to release the details of his visa application after his drug use admission sparked questions
about his entry into the US.

Prince Harry could be spared the ignominy of being deported from the US for his drug use, a celebrity lawyer has claimed.
The Duke of Sussex has been facing mounting pressure to release his visa details after admitting in his book, Spare, he had
taken recreational drugs to cope with his trauma when he was younger. Hundreds of Britons have been denied entry into the
US because of their drug use but attorney James. J Leonard argued Harry is unlikely to face any consequences for his actions.

Leonard, who represented Real Housewives of New Jersey's Joe Giudice in his deportation hearing, argued the only scenario
likely to result in a threat of deportation would be if the Duke had been involved in a criminal case over his drug use.

Speaking to The Mirror, he said: "I do not envision any viable scenario where revelations in a memoir related to experimental
and recreational drug use would lead to any immigration consequences for Prince Harry.

"Where this would become an absolute issue is if there was a criminal case of any kind and if those allegations were related
to drugs or alcohol and it was determined that he was a habitual user, which I do not believe is the case here, that would raise
concerns and create real problems."

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Leonard added: "Should a scenario like that occur, which I don't see happening, Prince Harry's status as a royal would make
subject the review of his matter to heightened scrutiny which would likely have a detrimental effect on the outcome."

Harry has been facing demands from the conservative think tank The Heritage Foundation to release the details of the visa
application he filled out to enter the country in 2020.

The foundation argues US taxpayers are entitled to know whether he declared his drug use – and if so, to question if he received
preferential treatment and was allowed in despite strict immigration regulations.




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Prince Harry tipped to avoid US deportation as pressure..., 2023 WLNR 11076761


Responding to The Heritage Foundation's demands, a spokesman for the US State Department said: "Visa records are
confidential under Section 222 of the Immigration and Nationality Act ; therefore, we cannot discuss the details of individual
visa cases."

READ MORE: Amazon's 3-day sale is now on - top deals on electronics, home and fashion

Harry opened up about his drug use in Spare and later expanded on what had brought him to use psychedelics in a televised
therapy session with Dr Gabor Mat&eacute;.

The Duke claimed the drugs helped him peel back the "filters" of his life and made him feel relaxed.

He said: "It was the cleaning of the windscreen, the removal of life's filters — these layers of filters — it removed it all for me
and brought me a sense of relaxation, relief, comfort, a lightness that I managed to hold back for a period of time," he shared.

"I started doing it recreationally and then started to realise how good it was for me.

"I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and the pains
of the past."

He added: "They're unlocking so much of what we've suppressed."

Harry said he was first offered cocaine while on a weekend shooting and continued taking the drug because it did "make him
feel different".

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---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Pharmaceuticals & Biotechnology (1PH13))


Language: EN

Other Indexing: (US State Department; The Heritage Foundation) (Prince Harry)

Word Count: 601

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Prince Harry won't be deported or face US visa probe after..., 2023 WLNR 11008482




                                  3/27/23 Daily Mirror Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 11008482

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                                                       March 27, 2023

       Prince Harry won't be deported or face US visa probe after drug admissions, lawyer claims
               Prince Harry has faced calls to have his US visa application made public
               after he admitted taking drugs in the past -but one lawyer says it's unlik...

                                           By, Amber O'Connor & Jennifer Newton

Prince Harry has faced calls to have his US visa application made public after he admitted taking drugs in the past -but one
lawyer says it's unlikely the duke will face action

There were calls for Prince Harry'sUS visa application to be made public after he sensationally confessed to using drugs in
the past.

In his controversial memoir Spare, the Duke of Sussex admitted to taking cocaine, cannabis and magic mushrooms

And in a recent interview, he also spoke of how psychedelic drugs have helped him "deal with the traumas and pains of the past".

However, despite strict laws and harsh penalties surrounding America's immigration policies -including deportation -a lawyer
claims Harry is unlikely to face any 'immigration consequences'. Hundreds of Brits are banned from the US after over their
drug misuse.

But celebrity lawyer James. J Leonard -who represented the Real Housewives of New Jersey's Joe Giudice in his deportation
case -has said he does not envision a probe into Harry's immigration status.

The Atlantic City-based attorney told the Mirror: "I do not envision any viable scenario where revelations in a memoir related
to experimental and recreational drug use would lead to any immigration consequences for Prince Harry.

"Where this would become an absolute issue is if there was a criminal case of any kind and if those allegations were related
to drugs or alcohol and it was determined that he was a habitual user, which I do not believe is the case here, that would raise
concerns and create real problems.

"Should a scenario like that occur, which I don't see happening, Prince Harry's status as a royal would make subject the review
of his matter to heightened scrutiny which would likely have a detrimental effect on the outcome."

America's Heritage Foundation has been calling for Harry's visa application to be released so the US taxpayer can understand
whether the royal declared his drug use.



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Prince Harry won't be deported or face US visa probe after..., 2023 WLNR 11008482




The Heritage Foundation argues if immigration officials did know about the royal's drug use, Harry's case raises questions
over whether he was given special treatment because he is a prince and his wife is a TV star, which they insist would be illegal.

In response to the Foundation's calls, a US State Department spokesman said: "Visa records are confidential under Section 222f
of the Immigration and Nationality Act INA; therefore, we cannot discuss the details of individual visa cases."

And Mr Leonard added: "From what I have seen, I believe that Prince Harry is going to acclimate quite well to life in America
thanks in large part to the way that he was raised by his mother, Princess Diana.

"I think that she was well versed in the social and cultural ways of the west and raised both Harry and Prince William to honour
and respect the traditions of their lineage, but also with an understanding of how the rest of the world works. I think Prince
Harry is going to do just fine."

It comes as earlier today, Prince Harry back in UK as he makes surprise court appearance in latest legal row, where he was seen
arriving at the High Court to attend a hearing in his latest legal row.

It is believed to be the first time he has been back in the UK since his grandmother the late Queen's funeral in September.

His surprise return also comes nearly three months after he laid bare his troubled relationship with his father King Charles and
brother William in his controversial autobiography Spare.

The hearing today was also due to coincide with Charles and Queen Camilla's state visit to France, which was meant to start
yesterday but was shelved due to unrest in the country.

But according to the Telegraph, Harry is not expected to meet up with his father while in the UK -e Prince Harry 'won't meet
up with Charles' on surprise UK trip as King is 'busy'

Buckingham Palace said the King was not in Windsor or London and would be leaving for a state visit to Germany on Wednesday
morning.


---- Index References ----


News Subject: (Crime (1CR87); Health & Family (1HE30); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade
(1SM35); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Americas (1AM92); Europe (1EU83); New Jersey (1NE70); North America (1NO39); U.S. Mid-Atlantic Region
(1MI18); USA (1US73))

Language: EN

Other Indexing: (America's Heritage Foundation; US State Department) (Prince Harry)

Word Count: 676

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Harry and Meghan 'cannot win campaign' against Royal..., 2023 WLNR 10974041




                                    3/27/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                 2023 WLNR 10974041

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                                                      March 27, 2023

    Harry and Meghan 'cannot win campaign' against Royal Family as King Charles has upper hand
            As their popularity plummets, Meghan Markle and Prince Harry are "losing
              the power struggle" against King Charles, according to one royal expert.

                                                      Matthew Dooley

Meghan Markle and Prince Harry "cannot win" their campaign against the Royal Family, suggests one royal commentator.
Daniela Elser cited the Sussexes' falling popularity as well as jokes made at their expense as evidence that the couple's "PR
campaign" against the royals has backfired.

"Harry and his wife Meghan, the Duchess of Sussex, might have spent the last two years waging an exhausting, never-ending
battle of wits and PR strategy against The Firm, but they have actually ended up on the losing side," claimed Ms Elser.

She added: "Over the last two years, the Sussexes have thrown a hell of a lot of criticism at Charles, Queen Camilla, William
and Kate, and the institution of the monarchy as a whole."

Most recently, Prince Harry released a tell-all memoir, Spare, which slammed several members of the Firm and revealed
numerous intimate moments in the Duke's life. The book became an overnight best seller but has cost the Sussexes, according
to Ms Elser.

She pointed out that Meghan and Harry had become the butt of jokes in the US with comedians Chris Rock, Jimmy Kimmel and
Trever Noah all hitting out at the Duke and Duchess while the hit TV show South Park dedicated a whole episode to mocking
the couple.

Meghan Markle 'should have warned' Prince Harry about drug use visa riskMeghan Markle should have warned Prince Harry
that revealing his past drug use could put his US visa status at risk, a royal biographer has said.

In his tell-all memoir Spare, Harry detailed his past use of cocaine, magic mushrooms and marijuana. Now the Duke has been
warned that his admission could see him booted out of America.

Read more HERE.

"This is the price that the Sussexes are paying for their Palace campaign having failed to really gain a huge amount of PR
ground," Ms Elser added, writing for news.com.au.




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Harry and Meghan 'cannot win campaign' against Royal..., 2023 WLNR 10974041


She continued: "Harry might be fighting to squeeze some sort of admission or acknowledgment or even an apology gluten-free
muffin basket from his family, but instead he ended up with an immovable palace, a King who has refused to give an inch and
large chunks of Americans having gone off them."

Polls show the Duke and Duchess's popularity has fallen significantly in America since the release of Spare. Prince Harry has a
net approval rating of -10, down 38 points since December, according to a Redfield & Wilton for Newsweek taken in February
after the release of Spare.

Similarly, Meghan Markle had a dismal net approval rating of -17, a drop of 40 points since December.

READ MORE: Meghan and Harry trying to recreate 'royal court' in US - claim

"Harry cannot win the campaign he has been waging against the royal family. Soz," Ms Elser quipped.

Although she admitted that no one could be certain what would happen in the future, she said: "Right now, it certainly looks
like the Duke and Duchess of Sussex are losing the power struggle with Charles."

Meghan and Harry have been invited to King Charles's Coronation, but it's unclear whether the Duke and Duchess will attend.
The Coronation will take place on May 6 but, so far, there has been no RSVP from the Sussexes.

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---- Index References ----


News Subject: (Business Management (1BU42); Health & Family (1HE30); Politically Exposed Persons (1PO01); Sales &
Marketing (1MA51))

Industry: (Advertising & Public Relations (1AD83); Celebrities (1CE65); Entertainment (1EN08); Public Relations (1PU66))


Language: EN

Other Indexing: (Redfield & Wilton) (Prince Harry; Meghan Markle; King Charles)

Word Count: 548

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Denise Welch fumes at 'disgusting' Harry and Meghan..., 2023 WLNR 10917284




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                                                  2023 WLNR 10917284

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                                                       March 27, 2023

           Denise Welch fumes at 'disgusting' Harry and Meghan attack amid GB News backlash
                   Denise Welch hit out on social media at GB News presenter Nana
                    Akua's brutal commentary of Prince Harry and Meghan Markle.

                                                      Michelle Marshall

Denise Welch was admittedly left stunned after Nana Akua took aim at Prince Harry and Meghan Markle on Saturday's
instalment of her GB News programme. The Loose Women panellist branded the broadcaster's scathing monologue "disgusting".

It comes after Nana took aim at Harry's visa affair adding it would be "hilarious" if Harry had to leave the United States
before branding Meghan "narcissistic".

She began: "Prince Harry might be in a spot of bother after being evicted from Frogmore [Cottage] in replace of disgraced
Prince Andrew.

"The Duke of Montecito may well be objected from America as well. Oh, my heart bleeds. It's hilarious."

She continued: "After Prince Harry opened his big mouth and admitted to taking cocaine and magic mushrooms and cannabis
before moving to the States in his pathetic memoir Spare...

READ MORE: Harry Styles pats Emily Ratajkowski's bottom during sloppy kiss

Prince Harry bumps into cameraman as he arrives at High Court for privacy case hearingPrince Harry has made a surprise
return to the UK to attend in person a high-profile hearing at the Royal Court of Justice.

The Duke of Sussex was spotted by reporters as he walked inside the building.

See the latest pictures HERE.

"An investigation is now underway to confirm whether he disclosed his drug taking when he applied for his residency permit."

She laughed: "If Prince Harry has lied he may find himself out on his big old ear - hilarious."

Taking to Twitter, Denise shared the video with her 535,000 followers as she hit out at the coverage.




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Denise Welch fumes at 'disgusting' Harry and Meghan..., 2023 WLNR 10917284


The Loose Women presenter tweeted: "Wow!! Nana professed to care about mental health when she had me on her show to
talk about my own struggles."

Denise added she thought the opening monologue was "disgusting".

Nana also highlighted how the couple is in partnership with a group which wants boyhood to be seen as "fluid" and aims to
eradicate the phrase "boys will be boys".

Earlier this week, it was reported Meghan and Harry's organisation Archewell and podcast Archetypes have teamed up with
the Global Boyhood Initiative.

Nana fumed: "Who wants a drug addict Prince and his narcissistic wife telling the world how to live?

"From what I can see when they advise you to do something, do the opposite of what they tell you to do."

The Duke of Sussex has faced criticism in recent weeks after detailing his repeated drug use in his controversial memoir, Spare.

Earlier this month Harry revealed during an online chat with trauma expert Gabor Mat&eacute; that drugs have helped him
deal with his past traumas.

"I started doing it recreationally and then started to realise how good it was for me," Harry added.

"I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and the pains
of the past."


---- Index References ----

Company: GB News Ltd

News Subject: (Health & Family (1HE30))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
Healthcare Services (1HE13); Internet (1IN27); Internet Media (1IN67); Psychiatric Services (1PS61))


Language: EN

Other Indexing: (Royal Court of Justice; Global Boyhood Initiative; GB News) (Denise Welch; Prince Harry)

Word Count: 479

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Prince Harry appeared before a London court over a..., 2023 WLNR 10976399




                               3/27/23 NOTICIASFINANCIERAS - ENG. (Pg. Unavail. Online)
                                                2023 WLNR 10976399

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                                                          March 27, 2023

   Prince Harry appeared before a London court over a defamation claim against a British newspaper

Prince Harry was in a London courtroom Monday as the lawyer for a British tabloid group prepared to ask a judge to dismiss
lawsuits by the prince, Elton John and several other celebrities alleging wiretapping and other invasions of privacy.

The hearing involves one of several lawsuits Harry, also known as the Duke of Sussex, has filed against the media. It is expected
to last four days.

Harry's presence in London's High Court is a sign of the importance he attaches to the case.

Associated Newspapers, which publishes titles including the Daily Mail, is asking the High Court to stop claims brought by a
group of high-profile individuals seeking damages for the misuse of private information. Other plaintiffs include John's husband
David Furnish and actresses Liz Hurley and Sadie Frost.

The complaint is against the publisher dates back to a text published in February 2022 alleging that the Prince tried to keep
quiet about a family dispute over the British government's refusal to allow him to pay for a private police security service after
it was taken away from him when he stepped down from the throne.

The media outlet then published a text that read: "Exclusive: How Prince Harry tried to keep his legal battle with the Government
over police bodyguards a secret... then, just minutes after the story broke, his PR machine tried to put a positive spin on the
dispute."

According to Duque's defense, the newspaper slandered him by claiming that he lied in his initial public statements about the
lawsuit against the Government and asserts that the facts presented in the text do not support the argument presented by the
counterpart that it is, in fact, an "honest opinion".

The article is "fundamentally inaccurate," argued attorney Justin Rushbrooke.

The conflict over the personal safety of Harry and his family began in 2020, after they decided to settle in the United States.
Since then, the couple has been battling with the British government to provide them with police security during their visit to
the country, which is financed with public funds.

Faced with the refusal of this request, the Prince has asked to pay personally for the security so that he can travel with his partner
and their two children -Archie, almost 4 years old, and Lilibet, almost 2. However, he was again denied, although in 2022 a
judge authorized Harry to sue the government - a case that has not yet gone to trial.



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The publisher's lawyer, Andrew Caldecott, defended the media, arguing that the complaint amounted to "straitjacketing the
newspaper's right to comment" and stressed the importance of the media being able to speak truths, even to those who govern
the country.

"Expressing an opinion to power is just as important, if not more so", as long as the opinion is based on facts, he added.

(with information from AP)

Warning to Prince Harry: his U.S. visa could be revoked after admitting to drug use

Prince Harry filed a libel suit against a British newspaper

Archie and Lilibet, Harry and Megan's children, claimed the titles of prince and princess


---- Index References ----

Company: ASSOCIATED NEWSPAPERS LIMITED

News Subject: (Crime (1CR87); Criminal Law (1CR79); Defamation, Libel & Slander (1DE07); Government Litigation
(1GO18); Judicial Cases & Rulings (1JU36); Legal (1LE33); Liability (1LI55); Social Issues (1SO05))


Region: (England (1EN10); Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Associated Newspapers) (Prince Harry)

Keywords: (america); (realeza)

Word Count: 512

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Prince Harry puts his U.S. residency at risk after revealing..., 2023 WLNR 11047488




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                                                          March 27, 2023

                   Prince Harry puts his U.S. residency at risk after revealing he used drugs

After revealing that he tried different types of drugs in his youth, Prince Harry could be putting at risk the visa that allows him
to be in the United States, where he resides with his wife Meghan Markle since 2020.

It was in a promotional interview he conducted for his autobiographical book In the Shadow, with the therapist Gabor Maté,
a specialist in addictions, where Harry gave revealing details about his substance use. Among them, cocaine, cannabis and
magic mushrooms.

In these moments of honesty, Harry also said he had tried ayahuasca, a drink with hallucinogenic effects that is used as medicine
by indigenous peoples of Latin America.

According to the youngest son of Charles III, cocaine was more of a "social thing. It gave me a sense of belonging and probably
also made me feel different from the way I felt." While marijuana, in his view, delivered feelings of liberation and really helped
him heal.

"I started doing it recreationally and then I started to realize how good it was for me. I would say it's one of the fundamental
parts of my life that changed me and helped me deal with the traumas and pains of the past," he said.
 Prince Harry's risk
The prince's confessions had almost immediate effects. It should be recalled that at the time of applying for his residence permit
in the United States, Harry - like all those who make this application - completed a declaration in which he was asked if he
had ever used drugs.

Sometimes, if the applicant admits to having used such substances, the visa application is rejected or a series of additional tests
are required in order to obtain the visa.

On the other hand, U.S. law establishes harsh penalties for those who are identified as having lied in their statements to
immigration officials. The harshest measures involve expulsion from the country, as well as a ban on applying for citizenship.

Due to the above, a conservative group in that country decided to take action to verify if the Duke of Sussex lied in his declaration
to apply to live in the United States, and at the same time, if there was any kind of preferential treatment because he comes
from the British royal family and because his wife is a famous actress.

According to information from the British website Daily Mail, it is the Heritage Foundation, a conservative institute dedicated
to public policy research.



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Prince Harry puts his U.S. residency at risk after revealing..., 2023 WLNR 11047488




The entity would be asking the Department of Homeland Security (DHS) for a copy of the 38-year-old prince's visa application,
within the framework of a U.S. law.

Speaking to Page Six, former federal prosecutor Neama Rahmani noted that "an admission of drug use is usually grounds for
inadmissibility."

"That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs," he added. "There is no exception for royalty or recreational use."

While journalist and royal family expert Kinsey Schofield told GB News that "immigration lawyers here in the U.S. say there
are two ways deportation could threaten Prince Harry."

"That's if he's caught committing a crime, which we heard him say in his pay-per-view interview, where he talked openly about
illegal drug use, or if on this visa application he lied about his drug use, that could also result in deportation," she adds.

Despite Heritage Foundation's wishes, a U.S. State Department spokesperson cautioned Daily Mail that "visa records are
confidential under Section 222(f) of the Immigration and Nationality Act (INA); therefore, we cannot discuss the details of
individual visa cases."


---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade (1SM35); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Homeland Security (1HO11); Security (1SE29))

Region: (Americas (1AM92); North America (1NO39))

Language: EN

Other Indexing: (Department of Homeland Security; U.S. State Department; Heritage Foundation) (Prince Harry)

Word Count: 603

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(https://story.snapchat.com/p/009329c9-f9a3-413b-89fa-3a0e1dd1b4c4/375202034741248?timestamp=14092&chapterid=1436230755612675?
share_id=IZDFeQ1iRtSJ8AXXC1qfIA&locale=en_GB&sid=02ff2f7401a44eda96837226cc6ea780)




'This is serious!' Harry slammed over drug use
as Americans ask 'do we still want him'
Prince Harry has found himself in the crosshairs of a conservative think-tank demanding to see his visa application
now a royal expert claims Americans are rethinking whether they want the Duke to remain in the US.

 Prince Harry: Jobson on possible issues with US citizenship




                                                                                                        APP. C 093
Prince HarryCase
             (/latest/prince-harry)
                   1:23-cv-01198-CJNhas been Document
                                               slammed over   his drug
                                                            7-7   Fileduse with Americans
                                                                         05/05/23   Pageasking
                                                                                           96 of whether
                                                                                                  416      they still
"want him" in the US, according to a royal (/latest/royal-family) expert. The Duke admitted to using cocaine,
marijuana and psychedelics, something which has drawn the ire of a group in Washington which is demanding to
look over Harry's US visa (/latest/united-states) application to make sure he didn't receive special treatment.

RELATED ARTICLES




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(/news/royal/1750173/prince-harry-usa-visa-drug-use-            (/news/royal/1750201/meghan-markle-prince-harry-
dxus)                                                           coronation-invite-dxus)


Typically in the United States, visa applicants are asked about their criminal history and past drug use and experts
have warned that Prince Harry (https://www.express.co.uk/latest/prince-harry) could even face deportation if he lie
on his application.

"When you apply for a visa in any country, it's the same when you come here, you're essentially a guest. You might
come to work or to live but you're basically expected to be on your best behaviour," royal expert Richard Eden said
on Palace Confidential (https://www.youtube.com/watch?v=eunIRLs093o&ab_channel=DailyMailRoyals).

He added: "When you move to a country, like Harry has to the USA, and then you start bringing out a book [detailing
drug use, talking about how great it was for you and then you appear in that interview with [Dr Gabor Maté], again, h
was talking about the benefits of drug use - I think people in America, from what I hear, they're starting to ask 'do w
still want him here? Is he a guest that we welcome?'"

The visa row kicked off when the conservative think-tank The Heritage Foundation demanded to view the Prince's
application after he admitted to using illegal drugs. Although the Duke said cocaine "did nothing for me" he touted
the use of marijuana and psychedelics to help him with his mental health issues.




                                                                                                   APP. C 094
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Americans may be turning on Prince Harry as a think-tank demands to see his visa application. (Image: GETTY)




Meghan and Harry moved to the US in 2020 after stepping down as working royals. (Image: GETTY)


 Meghan Markle ‘should have warned’ Prince                           In a televised therapy session with trauma expert and
 Harry about drug use visa risk                                      outspoken proponent of decriminalising drugs Dr Gabor Maté
                                                                     the Prince said that psychedelics helped him as a "cleaning o
                                                                     the windshield [and] removal of life's filters".
                                                                                                                 APP. C 095
 Meghan Markle
             Caseshould   have warned PrinceDocument
                    1:23-cv-01198-CJN               But7-7
                                                        thoseFiled
                                                              comments     drew the
                                                                    05/05/23      Pageattention
                                                                                          98 ofof416The Heritage
 Harry that revealing his past drug use could put   Foundation, which says it wants to make sure Harry was
 his US visa status at risk, a royal biographer has "properly vetted" before entering the States.
 said.
 In his tell-all memoir Spare, Harry detailed his   "This request is in the public interest in light of the potential
 past use of cocaine, magic mushrooms and           revocation of Prince Harry
 marijuana. Now the Duke has been warned that       (https://www.express.co.uk/latest/prince-harry)’s visa for illici
 his admission could see him booted out of          substance use and further questions regarding the Prince’s
 America.                                           drug use and whether he was properly vetted before entering
                                                    the United States," Mike Howell, director of the foundation’s
 Read more HERE.                                    Oversight Project, told the Daily Mail
 (/news/royal/1749962/meghan-markle-                (https://www.dailymail.co.uk/news/article-11884759/So-DID-
 prince-harry-drug-visa-dxus)                       Prince-Harry-visa-despite-drug-use-Campaigners-demand-
                                                    know.html).

Richard Eden said the action was "serious" and shows Americans may be rethinking the Prince's move across the
pond.

He said: "From what I can see, this is serious. It's a conservative think-tank now but there are people asking to see h
application form for the visa and what he put in that. Also there are people saying 'should we rethink whether we
allow him to stay?'"

READ MORE: Harry may have to 'pack his bags and move back home' -claim (/news/royal/1749710/prince-harr
us-visa-drugs-dxus)




Prince Harry is married to American actress Meghan Markle. (Image: GETTY)




                                                                                                 APP. C 096
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Meghan Markle and Prince Harry's daughter are US citizens while Archie is likely eligible. (Image: GETTY)



TRENDING




  Gwyneth Paltrow accuser dealt blow by internet      Girl gunned down by Nashville shooter was trying to
  sleuth's findings                                   pull fire alarm
(https://www.express.co.uk/news/us/1752242/Gwyneth- (https://www.express.co.uk/news/us/1752039/nashville- (
Paltrow-accuser-private-data-dxus)                  shooting-hero-girl-fire-alarm-victims-named-dxus)


Visa applications in the US typically remain confidential under the Immigration and Nationality Act, however, Prince
Harry (https://www.express.co.uk/latest/prince-harry)'s admission could come back to haunt him over any new visa
applications.

Additionally, if the Duke lied on his original application he could be deported back to the UK and barred from ever
applying for US citizenship. It's long been speculated Harry holds an O-1 visa for people with an "extraordinary abilit
in the sciences, arts, education, business, or athletics" or an "extraordinary achievement in motion picture or
television industry".

That visa typically runs out after three years meaning that Prince Harry (https://www.express.co.uk/latest/prince-
harry) could need to reapply in the near future as he's been living in the States for almost three years.

The Duke's immediate family are all likely US citizens: Meghan Markle (https://www.express.co.uk/latest/meghan-
markle) is an American and Princess Lilibet Diana was born in the US granting her automatic citizenship. Prince
Archie Harrison, although born in London, is likely eligible for US citizenship though his mother.APP. C 097
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Meghan and Harry 'used LA club front door when secret..., 2023 WLNR 10871568




                                     3/26/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10871568

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                                                        March 26, 2023

           Meghan and Harry 'used LA club front door when secret entrance was offered instead'
                Meghan Markle and Prince Harry were pictured going out for dinner at an
             elite Hollywood hotspot on the same day the news broke that the couple were...

                                                       Matthew Dooley

Meghan Markle and Prince Harry were pictured going out for dinner at an elite Hollywood hotspot on the same day the news
broke that the couple were being kicked from their UK residence of Frogmore Cottage.

It has been claimed that Meghan Markle and Prince Harry called people ahead of time to "take their photo" as they arrived
at an elite Hollywood restaurant. The Duke and Duchess were pictured arriving at A-lister hangout San Vicente Bungalows
in Hollywood earlier this month.

Prince Harry, 38, is now believed to be a member at the elite club which has a £3,400 a year membership price tag. The hotspot
is a hangout for celebrities and film industry figures in Tinsel Town.

However, a club member told Page Six there was no reason for the Sussexes to enter the club through the front as it has a private
"celebrity door". It's also a two-hour drive each way from Meghan and Harry's Montecito mansion.

The outing came just hours after the news broke that the Sussexes would have to give up their UK home, Frogmore Cottage,
something which the club member called a "bold move".

"I think it was definitely a statement coming on the evening of the Frogmore news," they said, adding: "I know that San Vincente
has a back door for celebrities, so no one needs to see you coming and going. They're really all about privacy."

Meghan Markle 'should have warned' Prince Harry about drug use visa riskMeghan Markle should have warned Prince Harry
that revealing his past drug use could put his US visa status at risk, a royal biographer has said.

In his tell-all memoir Spare, Harry detailed his past use of cocaine, magic mushrooms and marijuana. Now the Duke has been
warned that his admission could see him booted out of America.

Read more HERE.

The member continued adding that "bigger stars" than Meghan and Harry come into the restaurant meaning, if they wanted
to, the couple most likely could have quietly entered the establishment.



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Meghan and Harry 'used LA club front door when secret..., 2023 WLNR 10871568




The member claimed: "They have way bigger stars than Harry and Meghan coming in and no one will ever know they're
there. But Harry and Meghan said, 'We're fine' and that they didn't need to use it. And even when they left, they used the
main entrance."

The Page Six article caught the eye of royal commentator Kinsey Schofield, who accused Meghan and Harry of calling
paparazzi ahead of time to photograph them entering the restaurant.

Sharing a screengrab of the article's headline to Twitter, the To Di For Daily podcast host said: "I will save you a click, it's so
the people they called ahead of time will take their photo."

READ MORE: Harry slammed over drug use as US asks 'do we still want him' - claim

I will save you a click… it's so the people they called ahead of time will take their photo. pic.twitter.com/J8RkgyXAuo

Meghan and Harry moved to Montecito, California in 2020 after stepping back from the Royal Family. In a Netflix documentary
released in December last year, the Duke and Duchess blamed, at least partly, the paparazzi and Britain's tabloid media for
the move.

However, someone who knows Meghan and Harry told Page Six that the outing didn't mean the couple were going "all
Hollywood" and added that the Duke and Duchess had "only been out for dinner with friends and at the Archwell office recently,
as well as a meeting with Netflix".

At the San Vicente, the Sussexes were reportedly joined by two friends and chatted with actress Kate Hudson who was also at
the club. The following week, Meghan, 41, drove to West Hollywood and celebrated a ladies lunch with Archwell employees
to celebrate International Women's Day.

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---- Index References ----



Industry: (Celebrities (1CE65); Entertainment (1EN08); Internet (1IN27); Internet Media (1IN67); Motion Pictures (1MO51);
Online Social Media (1ON38))


Language: EN

Other Indexing: (Meghan Markle; Prince Harry)

Word Count: 638

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 102 of 416
Prince Harry must 'waive' drug use on US visa to avoid..., 2023 WLNR 10862268




                                     3/26/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10862268

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                                                        March 26, 2023

            Prince Harry must 'waive' drug use on US visa to avoid deportation, lawyers claims
                       The Duke of Sussex has faced criticism in recent weeks after
                    detailing his repeated drug use in his controversial memoir, Spare.

                                                        Claire Anderson

Prince Harry has been warned his US visa status could have "major implications" on his future as the royal is facing demands
to reveal his immigration filings after revealing he has used drugs in the past. The Conservative research institute, the Heritage
Foundation is investigating the Duke of Sussex's immigration documents to find out if he disclosed his drug use. But CEO of
West Coast trial lawyers Neama Rahmani has explained Harry could waive any issues with his visa with three simple steps.

He told Us Weekly: "Normally an admission of drug use can get a visa denied or revoked even if it's recreational.

"There is an exception however that if you've been sober for a year, you're in remission and you have a note from a physician
that may be able to grant you a waiver.

"The prince's admitted drug use was when he was a lot younger, I think about 17 years old."

READ MORE: Meghan Markle tempted by 'chance to wear a tiara' at Coronation

Harry detailed in his memoir, Spare that he smoked cannabis with Tyler Perry and took magic mushrooms at Courtney Cox's
house.

It comes as Sarah, the Duchess of York, said she wouldn't judge the Duke and Duchess of Sussex on their decision to move
to the US and publicise their lives.

The couple quit as senior working royals in 2020 in favour of more freedom and the ability to earn their own money in the US,
before giving a bombshell interview with Oprah Winfrey in March 2021.

A controversial six-part Netflix series titled Harry & Meghan was released in December 2022 before Harry's memoir titled
Spare, which also contained a string of revelations, was published in January.

Sarah, who is affectionately known as Fergie, related her own experience of divorcing Andrew, the Duke of York in 1996 and
giving an interview to Winfrey declaring that royal life was "not a fairy tale".




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Prince Harry must 'waive' drug use on US visa to avoid..., 2023 WLNR 10862268


She told the PA news agency: "I divorced, went to America, wrote a book, went on Oprah and did 12 years as the longest
running spokesperson of Weight Watchers.

"I looked to America to support me and to help me and I really can't thank the American people enough for what they gave
me and what they did for me.

"So, I believe very strongly that I have absolutely no judgment on any other person's life, and I look at how much she loves him
and loves the children and gives him a love that he's never had before. That's how I look at it."

The charity founder and author, 63, also spoke about Harry and Meghan's children Prince Archie and Princess Lilibet, and
Harry's mum, Diana, the Princess of Wales, who died in August 1997.

She said: "The most important thing is that the sun will come up tomorrow and the day will move on.

"The most important thing is, Diana would be so very proud of Archie and Lili. She would have adored every moment of it."

Sarah has most recently co-written her second historical romantic novel co-authored with Marguerite Kaye, who has written
more than 50 Mills & Boon books, which will be published on March 30.

A Most Intriguing Lady is inspired by Sarah's relative Lady Mary Montagu Douglas Scott, who in the fictional tale is born into
the highest society, fighting to define her place in life.

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---- Index References ----

Company: WW International, Inc.; HERITAGE FOUNDATION (THE)

News Subject: (Divorces (1DI23); Health & Family (1HE30); Immigration & Naturalization (1IM88); Legal (1LE33); Personal
& Family Law (1PE02); Social Issues (1SO05))

Industry: (Book Publishing (1BO18); Books (1BO26); Celebrities (1CE65); Entertainment (1EN08); Publishing (1PU26);
Traditional Media (1TR30))


Language: EN

Other Indexing: (West Coast; Weight Watchers; Heritage Foundation) (Prince Harry)

Word Count: 572

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GB News backlash as Nana Akua branded 'vile' for attack..., 2023 WLNR 10760671




                                     3/25/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10760671

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                                                        March 25, 2023

               GB News backlash as Nana Akua branded 'vile' for attack on Harry and Meghan
               The Duke and Duchess of Sussex were torn apart by GB News host Nana Akua,
                 but her scathing monologue about the couple did not sit well with viewers.

                                                         Rebecca Jones

Presenter Nana Akua took aim at Prince Harry and Meghan Markle on Saturday's instalment of her GB News programme over
their new charity partnership and the Duke of Sussex's visa affair. The broadcaster even told viewers it would be "hilarious" if
Harry had to leave the United States before branding Meghan "narcissistic".

Nana began: "Prince Harry might be in a spot of bother after being evicted from Frogmore [Cottage] in replace of disgraced
Prince Andrew.

"The Duke of Montecito may well be objected from America as well. Oh, my heart bleeds. It's hilarious."

She continued: "After Prince Harry opened his big mouth and admitted to taking cocaine and magic mushrooms and cannabis
before moving to the States in his pathetic memoir Spare...

"An investigation is now underway to confirm whether he disclosed his drug taking when he applied for his residency permit."

Nana also said a Freedom of Information request is trying to obtain the finer details.

READ MORE: Emmerdale exit for Mackenzie Boyd after he finally confesses

She laughed: "If Prince Harry has lied he may find himself out on his big old ear - hilarious."

After composing herself, Nana continued to hit out about Harry and Meghan to GB News viewers.

She highlighted how the couple is in partnership with a group which wants boyhood to be seen as "fluid" and aims to eradicate
the phrase "boys will be boys".

It was reported earlier this week that Harry and Meghan's organisation Archewell and podcast Archetypes have teamed up
with the Global Boyhood Initiative.

The group sets out to promote gender equality by "fostering positive masculinity in boys and men".



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GB News backlash as Nana Akua branded 'vile' for attack..., 2023 WLNR 10760671




Nana fumed: "Who wants a drug addict Prince and his narcissistic wife telling the world how to live?

"From what I can see when they advise you to do something, do the opposite of what they tell you to do."

She then moved on to King Charles III's upcoming Coronation, stating how the Duke and Duchess of Sussex have not confirmed
whether they will be attending.

Nana concluded: "I feel sorry for the Royal Family, having to appease these two?

"Are there actually people who still feel sorry for them? Come on, surely the penny has dropped."

Nana's monologue caused a stir with GB News viewers, with Bernadette Bragg commenting: "Grow up and stop the name
calling for God's sake."

Nikki Aura said: "Nana Akua is a vile human being. She needs to get a job away from people."

@ElmoputneyVs said: "I'm pretty sure this is just another vile smear against Harry and Meghan calling him a drug addict is
low and untrue. Either call to #AbolishTheMonachy or stop slagging them off."

@ProjectReality8 shared: "Who wants a narcissistic 'not news' channel presenter telling us anything?"

Meanwhile, Anne penned: "Harry has become an embarrassment to Britain and the RF... They wanted superstardom and they
have got it. Unfortunately, they will go down in history and be well remembered."

A supportive Jasmine Harris commented: "Love you, Nana."

GB News is available to watch on Freeview 236, Sky 512 and Virgin 6034.


---- Index References ----

Company: GB News Ltd

News Subject: (Health & Family (1HE30))

Industry: (Broadcast TV (1BR25); Broadcast TV Programming (1BR42); Celebrities (1CE65); Entertainment (1EN08); TV
(1TV19); TV Programming (1TV26); TV Stations (1TV23); Traditional Media (1TR30))


Language: EN

Other Indexing: (GB News) (Nana Akua; Prince Harry; Meghan Markle)

Word Count: 510

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Meghan and Harry trying to recreate 'royal court' in US..., 2023 WLNR 10759964




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                                                        March 25, 2023

               Meghan and Harry trying to recreate 'royal court' in US after failed Megxit deal
                  Meghan Markle and Prince Harry have been accused of trying to recreate
                their own "royal court" in the United States by a royal commentator after th...

                                                       Matthew Dooley

Meghan Markle and Prince Harry have been accused of trying to recreate their own "royal court" in the United States by a
royal commentator after they failed to get what they wanted out of Megxit.

Meghan Markle and Prince Harry are attempting to create their own "royal court" in the US, according to a royal commentator.
The comments come amid a slew of media appearances by the Duke and Duchess - particularly by Prince Harry - which left
one commentator asking "what was the point?"

In recent months, Prince Harry has been in the spotlight. Before and after the release of his memoir Spare in January he gave
numerous explosive interviews on primetime television. In December of last year, Meghan and Harry released a six-part Netflix
series describing their relationship and eventual exit from royal life.

"I ask myself this all the time. What was the point for Harry and Meghan? Were they trying to make themselves look better?
Were they trying to make themselves more popular than the royals? Are they trying to recreate their own royal court in the United
States?" asked a royal commentator and founder of popular YouTube channel the Royal News Network who goes by Brittany.

She added: "Number one, yes they do definitely want to create their own royal sphere in the United States. Obviously, we do
not have a monarchy here and nor do we want one, so they're welcome to live here like other royals do but don't make yourself
a royal of the United States - huge difference there."

She cited the Megxit deal which saw Prince Harry and Meghan Markle leave the Royal Family for North America.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.




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Meghan and Harry trying to recreate 'royal court' in US..., 2023 WLNR 10759964


"I think they are just trying to recreate what they wanted, what their vision was for themselves that they couldn't have in the
UK, in the US," she said.

The host of the show added: "They could not get their way, I think at the end of the day that was their big anger point. They
were not going to get their way."

Brittany pointed to the role the couple wanted to play in the Commonwealth, claiming Meghan wanted to be "Queen of the
Commonwealth". She also claimed the Sussexes wanted to "supersede" the Royal Family in popularity.

During the Meghan and Harry's separation from the rest of the Firm, dubbed Megxit, the pair appeared to want to become hybrid
royals who were financially independent but still represented the Queen.

On their now defunct website sussexroyal.com, the couple touted "progressive" new roles which would "continue to carry out
their duties for Her Majesty the Queen, while having the future financial autonomy to work externally".

However, in 2020, Buckingham Palace released a statement making it clear Meghan and Harry were "required" to step back
from royal duties.

READ MORE: Meghan Markle tempted by 'chance to wear a tiara' at Coronation

It appeared the couple failed to negotiate a half-in, half-out Megixt deal and in 2020 they moved to Montecito, California with
their son Archie, completely stepping back from royal duties.

Since then, the pair have engaged in numerous media endeavours, including the now famous 2021 interview with Oprah. The
couple released a Netflix documentary in December 2022 flush with never-before-seen footage and photos.

Arguably the biggest bombshell to date, however, was the release of Prince Harry's memoir Spare in January 2023 and the
multiple interviews the Prince gave both before and after the book hit the shelves.

The book contains numerous allegations against the rest of the Royal Family and details Prince Harry's life, including his time
in Afghanistan and his drug use.

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---- Index References ----


News Subject: (Government (1GO80); Health & Family (1HE30); Politically Exposed Persons (1PO01))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Postal Services (1PO50))

Region: (Americas (1AM92); North America (1NO39))

Language: EN

Other Indexing: (Royal News Network) (Meghan Markle)

Word Count: 684

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Meghan and Harry trying to recreate 'royal court' in US..., 2023 WLNR 10759964




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Prince Harry makes surprise appearance on Car SOS to..., 2023 WLNR 10619559




                                    3/24/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 10619559

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                                                         March 24, 2023

                       Prince Harry makes surprise appearance on Car SOS to send a
                    message to disabled veteran who had his Jeep Grand Cherokee restored

                                                   Amie Gordon Rory Tingle

The Duke of Sussex last night congratulated a disabled veteran saying he is 'the definition of inspiration' during a surprise
appearance on a car renovation show.

Former Lance Corporal Stephan van Niekerk, 36, had his Jeep Grand Cherokee taken in for persistent mechanical problems
on the National Geographic's Car SOS.

Duke of Sussex congratulated veteran saying he is 'the definition of inspiration' Ex Lance Corporal Stephan Van Niekerk, 36,
had his Jeep Grand Cherokee fixed

The former serviceman, from Taunton in Devon, joined 3rd Battalion, the Rifles, at the age of 21 before he was hit seven years
later by an improvised explosive device.

After the vehicle restoration was shown to Mr Van Niekerk, Harry said in a video message: 'Stephan, congratulations. I hope
at this point you're sitting in your brand new, or certainly what looks like a brand new Jeep.

'Good on you mate, well done, fully, fully, fully deserved. I can't think of anyone that deserves this more than you.'

Prince Harry expressed his admiration for Stephan van Niekerk's (pictured) resilience and determination and praised the Car
S.O.S team for their outstanding work

The 36-year-old served in Afghanistan before losing his left leg at the hip, his right leg below the knee, and five fingers in 2009

Harry is known for his work supporting injured veterans, and helped set up the Invictus Games - an event for wounded, injured
and sick servicemen and women.

Addressing Stephan, he added: 'After getting injured at such a young age after two tours of Afghanistan, you are the definition
of inspiration because you are not defined by your injury. You are defined by your selflessness to others, to your community,
your inspirational talks to young people.




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 110 of 416
Prince Harry makes surprise appearance on Car SOS to..., 2023 WLNR 10619559


'And, of course, to your four kids, and your amazing wife Sadie, who no doubt has got you this far. So full respect, well done
you, and I heard, someone told me, that you're planning to cycle from Canada to Mexico – just a mere 2,745 miles, I think.

'Good luck with that, I know you're going to do it, I know you're going to smash it. I know you're going to raise a lot of money
for Blesma as well. Other than that, mate, just a huge congratulations. And thank you, thank you for your service. Thank you
for your continued service and commitment to others.

'I'm sure your whole family is incredibly proud of you. I'm proud of you. We're all proud of you… there's a reason you were
chosen for this. So yeah, saddle up and enjoy your new wheels. And then make sure that you get as fit as you can for this next
huge adventure that's coming your way and then you can smash that.

'And at the end of that. I would love to meet you even if it's over a Zoom, but yeah, full respect, mate. Well done, love it and
catch you soon, cheers.'

The duke, who recorded the clip last year at his home in the US, was a battlefield air controller when he first went on a ten-
week tour of duty in 2007 fighting the Taliban in Helmand province.

Stephan van Niekerk had bought himself a used Jeep Grand Cherokee, which had the potential to be a contender, but it was
off the road due to persistent mechanical problems

Prince Harry expressed his admiration for Stephan's resilience and determination and praised the Car SOS team for their
outstanding work

He then retrained and qualified as an Apache helicopter pilot and in September 2012, he returned to Afghanistan for a second
time.

Mr Van Niekerk lost his left leg at the hip, his right leg below the knee, and five fingers when he stepped on an IED in Sangin
while on his second tour of the country in 2009.

He was medically discharged, and with the support of his wife and Army rehabilitation has reinvented himself as a motivational
speaker for Blesma, The Limbless Veterans charity.

His best friend Ian and wife Sadie wanted to reward him for his bravery and positivity by fulfilling his ambition to become an
off-road driving champion with his used 2002 car.

The Jeep was restored by presenters Tim Shaw and Fuzz Townshend to competition-level standards, modified for disabilities,
and has a roll cage, high lift axle kit and wheel arch extensions as well as having the suspension upgraded.

Mr Van Niekerk is also set to raise money for Blesma by cycling from Canada to Mexico.

He said Harry's message was 'insane' and he could not believe he was talking about him.

The former serviceman, from Taunton in Devon, joined 3rd Battalion, the Rifles, at the age of 21 before he was hit seven years
later by an improvised explosive device

It comes as Harry continues to face pressure over his immigration status in the US, where a think-tank has raised questions
over his drug use.




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Prince Harry makes surprise appearance on Car SOS to..., 2023 WLNR 10619559


The Heritage Foundation, a conservative research institute focused on public policy, is currently battling with the Department
of Homeland Security (DHS) to get a copy of the Duke of Sussex's visa filings under the Freedom of Information Act.

A director at the think-tank and their lawyer told DailyMail.com the immigration documents could expose a thorny diplomatic
issue: whether Harry declared his previous illegal drug use, and whether DHS officers gave him special treatment.

While applying for his residency permit, Harry had to fill out a form asking if he has ever used illegal drugs.

An answer of 'yes' often results in the application's denial, or a raft of extra hurdles that can even include drug tests and
interviews before getting a special waiver to allow a visa.

Harry admitted to taking cocaine, magic mushrooms and cannabis in his memoir, Spare, and in interviews.

The Heritage Foundation argues that means he either lied on his form – usually a surefire way to get kicked out of the country
– or DHS gave him a special waiver.

This episode of Car SOS will be repeated on National Geographic on Sunday at 7pm.


---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Immigration & Naturalization (1IM88); Social Issues (1SO05))

Industry: (Automobiles (1AU45); Automotive (1AU29); Automotive Models (1AU61); Four Wheel Drive (1FO31); Land
Transportation (1LA43); Passenger Transportation (1PA35); Transportation (1TR48))

Region: (Afghanistan (1AF45); Asia (1AS61); Western Asia (1WE54))

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Other Indexing: (Car SOS; Department of Homeland Security; Heritage Foundation) (Prince Harry)

Word Count: 981

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(https://www.express.co.uk/life-style/life/1749620/Amazon-announces-spring-sale-eact)




Prince Harry may have to 'pack his bags and
move back home' as US urged to disclose visa
The Duke of Sussex has come under fire over his drug use with a Washington-based organisation demanding to kno
the details of his immigration status.

 Prince Harry's at risk of deportation over drug use




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Prince Harry (/latest/prince-harry) may have to "pack his bags" and head back to the UK, according to two royal
(/latest/royal-family) commentators. The comments come amid an uproar about the Duke's US (/latest/united-state
visa after he admitted to using drugs including cocaine, cannabis and psychedelics in the past.

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edwards-dxus)                                                        coronation-rsvp-dxus)


Harry may have run afoul of the United States' famously strict immigration laws with the admission of his drug use. A
conservative think tank called The Heritage Foundation is demanding to know the details of the Duke's US visa
application.

"This might be illegal, he might have to pack his bags and move back home," said host of the Royally Us
(https://www.youtube.com/watch?v=SOfSZwlH8vQ&ab_channel=UsWeekly) podcast Christina Garibaldi.

Co-host Christine Ross added: "I can't imagine if Prince Harry (https://www.express.co.uk/latest/prince-harry) gets
deported, what a drama it would be. You know, this is true. When you apply for a visa you sort of have to prove that
you are a really upstanding citizen, that there's no chance you're going to be in any trouble in your new country.

"You do have to declare that you've never taken part in illegal substances. I do wonder how Prince Harry
(https://www.express.co.uk/latest/prince-harry) answered that question."




                                                                                                                             APP. C 111
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Prince Harry has come under fire over his visa status in the US. (Image: GETTY)




Prince Harry is married to US citizen Meghan Markle and lives in California. (Image: GETTY)


  Prince Harry brutally mocked again as author                          Prince Harry admitted his drug use in Spare
  releases parody version of book: 'Spare Us!'                          (/news/royal/1717680/prince-harry-memoir-drugs-cocaine-
                                                                        mushroom-royal-family-ont) and in several interviews includin
  The Duke of Sussex's book Spare is being                              a live-streamed therapy session with trauma expert Dr Gabor
  parodied in a spoof biography of Prince Harry                         Maté.
  which promises to go "deep inside the castle
  walls" and expose "every shouting match, fist-       He said cocaine "didn't do anything" for him but lauded the us
  fight, betrayal, teddy bear, awkward hug and tear- of marijuana and psychedelics (/news/royal/1742759/prince-
  stained wedding rehearsal".                          harry-should-not-have-praised-class-a-ayahuasca-drug). He
  In a clear mockery of the bestselling memoir, the claimed the latter helped him as a "cleaning of the windshield
  upcoming work has been described in a press          [and] removal of life's filters".
  release as a "frostbite-and-all book", and is titled
  Spare Us! A Harrody.                                 Now, however, the Prince has come under fire for his
  Read more HERE.                                      comments. The right leaning Heritage Foundation is now
  (/news/royal/1749518/prince-harry-mocked-            arguing that US officials should release the details of his visa
  spare-parody-version)                                application to make sure he was "properly vetted" before
                                                       entering the US.
                                                                                                                APP. C 112
"This request is in 1:23-cv-01198-CJN
           Case     the public interest in lightDocument
                                                of the potential
                                                            7-7revocation  of Prince Harry
                                                                   Filed 05/05/23     Page 115 of 416
(https://www.express.co.uk/latest/prince-harry)’s visa for illicit substance use and further questions regarding the
Prince’s drug use and whether he was properly vetted before entering the United States," Mike Howell, director of t
foundation’s Oversight Project, told the Daily Mail (https://www.dailymail.co.uk/news/article-11884759/So-DID-
Prince-Harry-visa-despite-drug-use-Campaigners-demand-know.html).

READ MORE: Meet the lawyer scrutinising Harry's visa after drug use admission (/news/royal/1749665/prince-
harry-visa-drugs-dxus)




The Duke admitted to using cocaine, marijuana and psychedelics. (Image: GETTY)




Of Meghan and Harry's children, Lili is already a US citizen while Archie is likely eligible. (Image: GETTY)



TRENDING




                                                                                                               APP. C 113
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                                                        Harry and Meghan 'claw' onto royals as they lose
  Meghan 'wants tiara moment' at Coronation, claims     Hollywood - expert
  royal expert
                                                      (https://www.express.co.uk/news/royal/1751816/prince- (
(https://www.express.co.uk/news/royal/1751264/meghan- harry-meghan-markle-hollywood-polls-dxus)
markle-tiara-moment-coronation-dxus)                                                                        h


Those applying for US visas are typically asked about their past criminal history and drug use. Usually, visa
applications remain confidential under the Immigration and Nationality Act, but Prince Harry
(https://www.express.co.uk/latest/prince-harry)'s admission could affect future applications.

In addition, if he lied on his application he could potentially be deported and barred from applying for US citizenship.
Although it's unknown what type of visa Harry holds, the Daily Mail previously reported that he likely has a spousal
visa or an O-1 visa for people with an "extraordinary ability in the sciences, arts, education, business, or athletics" or
an "extraordinary achievement in motion picture or television industry".

That visa typically runs out after three years, meaning Harry - who has lived in California for almost three years - ma
need to apply for another in the near future.

Prince Harry (https://www.express.co.uk/latest/prince-harry)'s wife, Meghan Markle
(https://www.express.co.uk/latest/meghan-markle), is a US citizen. His daughter, Princess Lilibet Diana, was born in
the United States granting her automatic US citizenship. Prince Archie Harrison is likely eligible for US citizenship
though Meghan.

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                                                                                                           APP. C 114
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Prince Harry warned 'royals not exempt' from US visa law..., 2023 WLNR 10719424




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                                                  2023 WLNR 10719424

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                                                        March 24, 2023

                Prince Harry warned 'royals not exempt' from US visa law in deportation row
                  EXCLUSIVE: Prince Harry's visa status is being vigorously debated after
                the Duke recently admitted to taking drugs in the past. Express.co.uk spoke...

                                                        Adam Chapman

EXCLUSIVE: Prince Harry's visa status is being vigorously debated after the Duke recently admitted to taking drugs in the
past. Express.co.uk spoke to a former Homeland Security Special Agent to cut through the noise.

Prince Harry has been given a stern warning that "there is no provision of the law that exempts members of the British Royal
Family from being truthful in their visa applications", as the row deepens over the Duke's recent admissions of past drug use.
Conservative think tank The Heritage Foundation is campaigning for the release of Harry's US visa application after the Duke
of Sussex revealed in his tell-all memoir Spare and in recent TV interviews that he had taken cocaine, cannabis and magic
mushrooms in the past. US immigration law regards any failure to declare drug use to immigration officials a serious violation
that can result in deportation and being permanently barred from applying for citizenship.

Speaking exclusively to Express.co.uk, retired Department of Homeland Security Special Agent Kristofor Healey revealed
exactly what protocols Harry would have had to follow when he applied for citizenship and whether he thinks the Duke
breached them.

It's unclear what visa Harry was issued when he applied as that has not been publicly released.

Harry likely obtained a visa based on his marriage to Meghan Markle, Healey said

Given that the Duke's married to a US Citizen and has chosen to reside in the US, he is eligible to obtain some type of "immigrant
visa", the former DHS official explained.

READ MORE: 'Public has a right to know': Meet the lawyer scrutinising Harry's visa over drug use

According to Healey, the bone of contention appears to refer to the section on the form under "Security and Background", which
specifically asks: "Are you or have you ever been a drug abuser or addict?"

While illegal drug use can absolutely be grounds for inadmissibility, applicants can also provide additional context on an
application that mitigates the issue, he explained.




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Prince Harry warned 'royals not exempt' from US visa law..., 2023 WLNR 10719424


"An individual could note that they had been in recovery for years or were no longer engaged in drug use at the time of the
application, for instance," Healey said, adding: "In that case, absent other issues with the application, the visa might still be
issued".

However, even if Harry concealed past drug use in his visa application, Healey thinks it's highly unlikely that the Duke's at
risk of having his visa status revoked.

"Unless a visa recipient is involved in other criminal activity, DHS doesn't typically move to investigate someone for visa fraud
or revoke their status," the former DHS agent explained.

He continued: "And while there is no provision of the law that exempts members of the British Royal Family from being truthful
in their visa applications, Harry would almost certainly be given the benefit of the doubt by anyone looking into the issue
based upon his notoriety and status.

"In short, he isn't a threat to national security or a likely criminal, which is the point of screening applicants in the first place."

While it is illegal to knowingly make a false claim in a visa application, and such false claims can be charged federally, Healey
said he rarely encountered this infraction during his time as a DHS agent.

"I investigated subjects for visa fraud many times in my career, but when we charged them, it was typically part of a larger
investigation in which the individual committed other crimes – money laundering, wire fraud, mail fraud – and used their visa
to enter and remain in the United States in furtherance of those crimes," he explained.

Healy added: "Regardless of the type of visa that he obtained, I highly doubt that DHS will open a criminal matter or try to
revoke his visa administratively.

"While it can be argued that Harry made a false claim if he failed to acknowledge past drug use on his application, it is unlikely
to be seen as material to his overall suitability to reside in the United States."

Regardless of the facts on the ground, the lawyer pushing for the release of Harry's visa application believes the public has
a right to know.

READ MORE: Prince Harry likely got a 'special deal' over US visa as he's 'somebody important'

"The Heritage Foundation is seriously concerned about migration policy, and the laws on the books being properly enforced.
That's what led to this," lawyer Samuel Dewey told Express.co.uk.

Dewey continued: "We had a concern that Prince Harry had preferential treatment because there are certain grounds for
inadmissibility into the country regardless of your visa applications; you can't come into the country without meeting certain
criteria and one of them relates to drug use."

The lawyer believes it's a matter of principle: "When you're talking about immigration it's often a zero sum game. If resources
were spent processing and giving a special favour to Prince Harry because of his status, they may have been taking away from
an applicant who didn't have any potential grounds for inadmissibility and has a very good case to come here."


---- Index References ----




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Prince Harry warned 'royals not exempt' from US visa law..., 2023 WLNR 10719424


News Subject: (Crime (1CR87); Financial Fraud (1FI18); Fraud (1FR30); Immigration & Naturalization (1IM88); Social Issues
(1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))

Region: (England (1EN10); Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

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(https://www.express.co.uk/life-style/science-technology/1751449/amazon-spring-sale-2023-best-deals-uk)




'Public has a right to know': Meet the lawyer
scrutinising Harry's visa over drug use
EXCLUSIVE: Express.co.uk spoke exclusively to the lawyer pushing for the release of Prince Harry's visa application
after the Duke recently admitted to taking drugs in the past.

 Prince Harry's at risk of deportation over drug use




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A US lawyer is demanding the release of Prince Harry (/latest/prince-harry)'s visa application over concerns he was
given "preferential treatment" after recent admissions about drug (/latest/drugs) use. The Duke of Sussex, 38,
revealed in his tell-all memoir Spare and in recent TV interviews that he had taken cocaine, cannabis and magic
mushrooms in the past. The lawyer, taking on Washington officials on behalf of conservative think tank The Heritag
Foundation (https://www.heritage.org/), believes the public has a right to know whether Harry declared his past drug
use on his visa application.

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   Harry opens up to William on staff member's plot to                  Harry brutally mocked again as author releases parody
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sabotage-meghan-markle)                                              version)


"The Heritage Foundation is seriously concerned about migration policy, and the laws on the books being properly
enforced. That's what led to this," lawyer Samuel Dewey (https://www.samueldewey.com/) told Express.co.uk (/).

Dewey continued: "We had a concern that Prince Harry (https://www.express.co.uk/latest/prince-harry) had
preferential treatment because there are certain grounds for inadmissibility into the country regardless of your visa
applications; you can't come into the country without meeting certain criteria and one of them relates to drug use."

US immigration law regards any failure to declare drug use to immigration officials a serious violation that can result
in deportation and being permanently barred from applying for citizenship.

The lawyer said the Heritage Foundation is agnostic over whether Harry should or shouldn't get a waiver based on t
facts, but it's a matter of principle that the truth comes out.

READ MORE: Harry warned drug use could threaten US visa in massive blow: 'No exception for royalty'
(/news/royal/1749419/prince-harry-US-visa-drugs-dxus)




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Campaign: Samuel Dewey is pushing for the release of Harry's visa over drug use admission (Image: Getty Images/SamuelDewey)


 King Charles follows 'track record' to bring                       It's not known exactly what questions Harry was asked when
 Harry and Meghan back into royal fold                              applying for his US visa, because it is not yet clear which visa h
                                                                    received.
 The King is following a familiar footprint as he
 battles to include Prince Harry and Meghan, the                    However, the question on the ESTA application which most UK
 Duchess of Sussex in family events, a royal                        applicants would use is: "Have you ever violated any law relate
 commentator has said. His Majesty had the Duke                     to possessing, using or distributing illegal drugs?"
 and Duchess of Sussex added to the guest list
 for his Coronation, but the couple has yet to                      "We just want to know what happened because if improper
 confirm whether they will attend.                                  treatment has been given that's a huge concern as it relates t
 Find out more HERE.                                                the enforcement of the law," Dewey said.
 (/news/royal/1749867/king-charles-harry-
 meghan-return-dxus)                                                If it turns out that Harry was given preferential treatment, this
                                                                    has ramifications that go beyond Harry's visa status, the lawye
suggests.

Don't miss...
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deported-America-drugs-Spare) [LATEST]
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prince-william-sabotage-meghan-markle) [LATEST]
Harry warned 'no exception for royalty' over US visa threat - lawyer (/news/royal/1749419/prince-harry-US-visa
drugs-dxus) [LATEST]


TRENDING
                                                                                                                        APP. C 120
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                                                        Harry and Meghan 'claw' onto royals as they lose
  Meghan 'wants tiara moment' at Coronation, claims     Hollywood - expert
  royal expert
                                                      (https://www.express.co.uk/news/royal/1751816/prince- (
(https://www.express.co.uk/news/royal/1751264/meghan- harry-meghan-markle-hollywood-polls-dxus)
markle-tiara-moment-coronation-dxus)                                                                        h


 READ MORE                                       "When you're talking about immigration it's often a zero sum game. If
                                                 resources were spent processing and giving a special favour to Prince Harry
                                                 (https://www.express.co.uk/latest/prince-harry) because of his status, they m
                                                 have been taking away from an applicant who didn't have any potential groun
                                                 for inadmissibility and has a very good case to come here," he said.

                                                 Besides legality, Americans have a right to know the truth, claims Dewey,
  Prince Harry and Meghan delight
  author of child bereavement book because it relates to what he calls the "American stance of fairness".
(/news/royal/1749603/prince-harry-
meghan-markle-mark-lemon-the-      The lawyer explained: "We don't have royalty here but there's a sense of
magical-wood)                      unfairness in taking your hereditary title and using it very directly to profit
without engaging in public service."

How strong is the case?
Dewey says he has had "very productive conversations" with United States Citizenship and Immigration Services
(USCIS).




Samuel Dewey: The lawyer claims 'public has a right to know' whether Harry got special treatment (Image: Samuel Dewey)
                                                                                                                         APP. C 121
"Unfortunately
           Casewe've been told by US Customs
                 1:23-cv-01198-CJN             and Border
                                           Document    7-7Protection    they
                                                               Filed 05/05/23     READ124
                                                                                  Page MORE
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won't produce records without a waiver from Prince Harry
(https://www.express.co.uk/latest/prince-harry) because it's private," the lawyer
continued.

However, Dewey believes Harry has forfeited his right to privacy by going
"enormously" out of his way to "put his stuff in the public spotlight".
                                                                                     Camilla 'not a vengeful person' and
                                                                                     is supportive of King, expert says
Secondly, the public interest argument is strong, the lawyer believes.             (/news/royal/1749479/Camilla-
                                                                                   Queen-Consort-Prince-Harry-UK-
"Obviously there's a clear public interest here. Was Harry given preferential      return-dxus)
treatment because of his status? That's a really important question," Dewey said, adding: "I can't say but the public
has a right to know".

The lawyer says he is "fully expecting" to have to go to federal court to get these documents "but we are prepared t
do that".

READ MORE: Prince Harry brutally mocked again as author releases parody version of book: 'Spare Us!'
(/news/royal/1749518/prince-harry-mocked-spare-parody-version)



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(/showbiz/tv-radio/1749556/Prince-Harry-deported-            (/news/royal/1749644/prince-harry-news-coronation-
America-drugs-Spare)                                         snub-robes)




                                                                                                  APP. C 122
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Admission: Harry revealed in his memoir that he had taken cocaine as a teen (Image: Getty Images)


Who is Sam Dewey?
Dewey specialises in white-collar investigations, including compliance and litigation, as well as complex public policy
matters.

The legal professional has served as the Senior Counsel in charge of Oversight & Investigations with the US House
Representatives Financial Services Committee, as Chief Investigator & Counsel with the US Senate Special
Committee on Aging, and as the Senior Advisor with the United States Agency for Global Media.

He has also worked for a number of private legal firms over the years, including Gibson, Dunn & Crutcher and
McDermott, Will & Emery.

Dewey graduated from Brandeis University with a BA in Political Science in 2006. He proceeded to Georgetown
University Law Center in Washington DC, and earned his Juris Doctorate from Harvard Law School in Cambridge,
Massachusetts, in 2009. He was a Senior Editor of Harvard Journal of Law and Public Policy and an Executive Board
Member at Harvard Federalist Society.

In response to Express.co.uk (/news/us)'s request for comment, the State Department said: "Visa records are
confidential under Section 222(f) of the Immigration and Nationality Act (INA); therefore, we cannot discuss the
details of individual visa cases."

Express.co.uk (/news/us) has approached Harry's representatives for comment.
  Prince Harry (/latest/prince-harry)    Drugs (/latest/drugs)




                                                                                                    APP. C 123
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Royal Family LIVE: Florida boss admits Americans find..., 2023 WLNR 10616092




                                      3/24/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 10616092

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                                                        March 24, 2023

           Royal Family LIVE: Florida boss admits Americans find Harry and Meghan 'annoying'
                     Ron DeSantis said he admired the Queen's "stoicism" but added
                        that he is a "little mixed" when it comes to younger royals.

                                    Charlie Bradley,Catherine Meyer-Funnell,Lauren Welch

Prince Harry and Meghan Markle are "annoying" to some Americans, Florida Governor Ron DeSantis has said.

Mr DeSantis is a high-profile figure in the US, and is likely to run against Donald Trump for the Republican nomination ahead
of the 2024 election.

In an interview with Piers Morgan on TalkTV, Mr DeSantis compared the Queen to the younger generation of royals.

He said: "I really respected the Queen. I think she was really elegant. And I think her stoicism was really good."

More to follow...

Mr DeSantis then drew comparisons between the "younger generations" of Royals, saying it was a "little more mixed".

He added: "I mean that's just the reality."

The Florida governor then said that he had no view on the Sussexes.

But when quizzed further by Mr Morgan over whether Harry and Meghan were "annoying", he said: "I think for some they are."

He added: "I mean look, I'm not involved in that... But I think for some Americans they can be."

During another part of the interview, Mr DeSantis said he admired Winston Churchill and added that personal conduct matters.

This was seen as an apparent jibe at Donald Trump. The Republican figures have clashed in recent months as they prepare to
battle for the nomination.

22:42 Lauren Welch




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Royal Family LIVE: Florida boss admits Americans find..., 2023 WLNR 10616092


EXCLUSIVE: Prince Harry's visa status is being vigorously debated after the Duke recently admitted to taking drugs in the
past. Express.co.uk spoke to a former Homeland Security Special Agent to cut through the noise.

Prince Harry has been given a stern warning that "there is no provision of the law that exempts members of the British Royal
Family from being truthful in their visa applications", as the row deepens over the Duke's recent admissions of past drug use.
Conservative think tank The Heritage Foundation is campaigning for the release of Harry's US visa application after the Duke
of Sussex revealed in his tell-all memoir Spare and in recent TV interviews that he had taken cocaine, cannabis and magic
mushrooms in the past. US immigration law regards any failure to declare drug use to immigration officials a serious violation
that can result in deportation and being permanently barred from applying for citizenship.

READ MORE HERE

22:32 Lauren Welch

Queen Rania of Jordan, 52, celebrated a family "Iftar" on the first day of Ramadan along with her husband, King Abdullah. An
"Iftar" is the first meal eaten after sunset during the holy month of Islam.

Queen Rania arrived at her family Iftar looking incredibly stunning. The Jordanian Queen wrote on Instagram: "Grateful to
be sharing Iftar on the first day of the holy month with people we love. From today's family Iftar." Rania accessorised with a
handbag that showed how much love she has for the country of Jordan.

READ MORE HERE

21:38 Lauren Welch

The Duke and Duchess have not confirmed whether they will attend the Coronation, nor whether Archie and Lilibet have
received an invite.

Prince Harry and Meghan, the Duchess of Sussex, will likely need a babysitter if they attend King Charles III's Coronation.
While the couple is yet to confirm whether they plan to support King Charles III on May 6, their children are likely too young
to follow. The Sussex Prince and Princess are just three and one-and-a-half years old, respectively, and their attendance would
mark a departure from tradition.

READ MORE HERE

20:59 Lauren Welch

The King and Queen Consort's planned state visit to France has been put off due to the violence that erupted this week.

The cancellation of the King's first overseas visit has been deemed an "embarrassment to France". Speaking of the visit, former
head of Royal Protection, Dai Davies claimed he has "never heard of" a visit cancellation before. The King and Queen Consort
were due to travel to France on Sunday, March 26.

READ MORE HERE

20:33 Lauren Welch

The King was delivered the then-latest Land Rover, the Discovery 3, back in 2007.




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The royal Land Rover, previously owned by the then-Prince Charles, has been offered for sale at a motoring auction. The car,
which is currently on its third owner in Ilminster, has now racked up 117,816 miles. Whilst handling the sale, Collecting Cars
described the vehicle as "a handsome example of the Land Rover Discovery 3, with excellent documented royal provenance".

READ MORE HERE

19:27 Lauren Welch

Prince William's two-day trip to Poland saw him visit British and Polish troops, Ukrainian refugees, the Polish President Andrzej
Duda and make a poignant visit to the Tomb of the Unknown Soldier in Warsaw, echoing Queen Elizabeth II and Prince Philip's
in 1996. Longstanding royal commentator Richard Fitzwilliams noted the significance of the trip lay with him "being the ideal
diplomat" to visit such a sensitive area.

READ MORE HERE

19:03 Lauren Welch

The Palace has furiously denied rumours published by a French magazine the glamorous royal couple could be on the verge
of separating after nearly 12 years together.

Princess Charlene of Monaco has furiously denied the "malicious" rumours she and husband Prince Albert of Monaco are
divorcing as the Royal Family broke cover for the first time since the sensational claims emerged. Rumours about the couple's
marriage have been swirling across the internet after French magazine ROYAUTÉ claimed the prince and princess are in the
process of separation. But the Palace has furiously hit back at the claims and have "formally denied the malicious rumours
peddled by the magazine".

READ MORE HERE

18:02 Lauren Welch

The Royal Family's approval rating has slumped to its lowest level in 12 months following the publication of Spare, the Duke
of Sussex's tell-all memoir.

Prince Harry's tell-all campaign has tarnished the reputation of the whole Royal Family in the eyes of the public, a devastating
new poll suggests. The Duke and Duchess of Sussex's popularity has slumped to a new low following the release of the Duke's
memoir, Spare, and the controversial revelations the Duke has subsequently made about the Firm. But the latest Ipsos poll also
suggests that all senior royals' have been negatively affected by the fallout.

READ MORE HERE

17:35 Lauren Welch

Prince Harry and Meghan Markle's status as former senior members of the Firm will likely ensure their treatment at the King's
Coronation this spring.

Prince Harry and Meghan Markle have been invited to the King's forthcoming Coronation in May. However, if the pair do accept
their invite, they are set to have a very different experience to other members of the Royal Family. The couple's Coronation will
be distinct from their non-official roles to the clothing they wear for the historic ceremony.




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16:55 Lauren Welch

Prince Harry's US visa is under scrutiny after the Duke revealed in his memoir that he had previously experimented with a
number of illegal substances.

The Duke of Sussex is unlikey to see his his US visa revoked over his admission of past drug use as he is "somebody important"
and therefore probably struck a "special deal", a royal expert claims. It comes after critics are calling for his visa application
documents to be made public over concerns he lied on the forms.

READ MORE HERE

16:19 Lauren Welch

The Duke and Duchess of Sussex may be snubbed from making an appearance on the Buckingham Palace balcony alongside
the Royal Family after the Coronation ceremony.

Prince Harry and Meghan Markle have received an invitation to King Charles III's Coronation ceremony at Westminster Abbey
on May 6 but are yet to publicly confirm their attendance. As part of the festivities, the Royal Family are expected to make an
appearance on the Buckingham Palace balcony, but should the Duke and Duchess of Sussex join them? Vote in our poll.

15:54 Lauren Welch

The Princess of Wales's iconic ring has a fascinating history that dates back centuries - but its day-to-day "routine" is something
the royals remain "tight-lipped" on.

It's been over a decade since Kate, Princess of Wales, and Prince William's engagement, but the dazzling 12-carat oval sapphire
engagement ring that marked the occasion remains a phenomenon. The iconic ring once belonged to William's late mother
Diana, Princess of Wales, which then-Prince Charles used to propose in the Eighties. It dates back to the 19th century, when
Prince Albert had a sapphire-and-diamond brooch created for his wife, Queen Victoria. It has been passed down through royal
generations ever since. However, while the history of the piece is well-known, its current usage remains quite private, with the
royals staying "tight-lipped about the day-to-day locations and routines regarding their jewellery," according to an expert.

READ MORE HERE

15:31 Lauren Welch

The Duke of Sussex attacked his stepmother in his autobiography Spare, referring to her as "the villain" and the "third person
in the marriage".

Prince Harry may not have to pay homage to Queen Consort Camilla at the Coronation in May, as Buckingham Palace is still
hopeful the Sussexes will be there to witness King Charles be crowned. According to reports, Harry has been struggling with
the idea that Camilla will wear the crown that he believes should have been his mother's and that she will be anointed close to
where Diana's coffin had rested at Westminster Abbey.

READ MORE HERE

15:07 Lauren Welch



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Good afternoon from London. I'm Lauren Welch and I'll be bringing you all the latest royal news today. If you have any points
or comments to make - please send my way!

Email: lauren.welch@reachplc.com

Twitter: laurenmwelch

14:49 Catherine Meyer-Funnell

King Charles is planning on asking more members of the Royal Family to vacate their London accommodation as he plans to
let the houses out for profit, according to sources.

Some royals enjoy subisided accommodation in the capital, or their "London pads", but now Charles is King this is about to
change.

The source told the Evening Standard of the eviction plans and said: "Properties will be let at commercial rates going forward
and to people outside the family. Where it is in a palace environment they will of course be security vetted."

The insider did not state what royals were at risk, or which London residences would be targeted.

Read the full story here

13:17 Catherine Meyer-Funnell

Prince Harry could have a "serious problem" after he shared he took drugs while in the US, a royal correspondent said.

Under US immigration law, people who admitted to taking drugs are not eligible for visas.

But Harry is described in Spare smoking cannabis with Tyler Perry and taking magic mushrooms at Courtney Cox's house,
all of which he claimed took place in America.

Now, royal journalist Robert Jobson has said that if Harry lied on his visa application, he could have a "really serious problem"

He said he found out "very early on" when he and photographer Arthur Edwards "had been filling out forms to go to America"
that drugs can bar you from entering the US.

"On it, it's pretty damn clear 'have you taken drugs' and all these things, and basically, if you have, you haven't got a prayer
of getting a visa," he said.

Read the full story here

12:35 Catherine Meyer-Funnell

Prince Harry and Meghan Markle have been warned that "America is waking up" to the Sussexes ahead of the release of a
spoof of Harry's book Spare, an expert has claimed.

The Duke of Sussex, 38, released his much-anticipated memoir in January and returned to TV screens with a series of high-
profile interviews.



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But the father-of-two looks set to be the butt of some more US-based jokes with Spare Us! A Harrody hitting the shelves on
April 1.

TalkTV's Royal Tea panel sat down to discuss how the couple could be impacted by the spoof book.

Royal photographer Arthur Edwards said: "It's better than the book that Harry wrote because I didn't enjoy that, seeing the way
he rubbished some of the people that work hard for this country. I thought that was outrageous."

Read the full story here

11:50 Catherine Meyer-Funnell

Emmanuel Macron has come under fire after it was confirmed King Charles III's state visit to France would be postponed due
to violent protests across the country.

Generation Frexit leader, Charles-Henri Gallois told Express.co.uk the move proves the French leader no longer has control
of the turmoil in his country.

He said: "It's a terrible sign for Macron. It means he does not have control of his country anymore. He can no longer pretend
it's business as usual."

Fellow researcher at the Henry Jackson Society Dr Helena Ivanov also told this website President Macron will not be seen in
a favourable light at home and internationally after this decision.

Read the full story here

10:21 Catherine Meyer-Funnell

Russian propagandists have seized on Prince William's trip to Poland as an opportunity to further escalate tensions with the West.

Maria Zakharova, the spokeswoman of the Russian foreign ministry, cited an unfortunately-worded article on the historic visit
to imply that British troops were not only supporting Ukrainians, but were actively involved in the fighting.

Ms Zakharova quoted from an article on Tatler magazine's website, which described William visiting "British and Polish troops
involved in the war in Ukraine".

She claimed this statement "completely dispels any doubts, if anyone has them, whether Britain and Poland are involved parties."

Read the full story here

09:47 Catherine Meyer-Funnell

To celebrate the Coronation of King Charles on May 6 at Westminster Abbey, the Cosmati pavement, generally closed off from
the public, will be part of a guided barefoot tour allowing visitors to stand on the exact spot where Charles will be crowned.

One of the country's medieval art treasures, the mosaic dates back to the 13th century, with kings and queens being crowned
on it for over 700 years.




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The mosaic is normally covered with carpet for the ceremony, but this time it will be left uncovered.

Anyone visiting the artwork will be asked to walk in socks to help protect the geometric patterns of marble, stone, glass and
metal, with tourist groups to be kept to a maximum of 10 at a time.

Read the full story here

08:34 Catherine Meyer-Funnell

Most Britons would "be delighted" if Meghan Markle and Prince Harry stayed home for the Coronation, claims one royal
biographer.

A recent survey found that one in five Britons said they were "less likely" to watch the event if the Sussexes attended.

Although the couple has been invited, its unclear if they will attend and reports have surfaced that Meghan and Harry are locked
in negotiations with the Palace over their role during the event.

"I think, certainly in the UK, most people will be delighted if they don't turn up...there will be boos like you've never heard,
they are so badly regarded now," claimed royal biographer Angela Levin on Sky News Australia.

The comments come as a survey by WatchTVAbroad.com showed that a number of viewers would switch off if the Sussexes
do attend.

Read the full story here

07:28 Catherine Meyer-Funnell

While Meghan Markle chose a British-based designer, Clare Waight Keller, to design her wedding dress in a nod to what was
meant to be her new home, Princess Eugenie made a different decision for her bridal gown.

The Princess of York's wedding dress was created by two designers, one Austrian-Italian and the other Belgian-Peruvian.

Traditionally, UK royals have worn wedding designs by British brands.

The Duke and Duchess of Sussex tied the knot on May 19, 2018, and royal fans eagerly anticipated the gown that Meghan
would wear.

Read the full story here

07:11 Charlie Bradley

Good morning, we will be bringing you all the latest Royal Family news throughout the day.


---- Index References ----

Company: The Henry Jackson Society; HERITAGE FOUNDATION (THE)




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           Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 133 of 416
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News Subject: (Emerging Market Countries (1EM65); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Americas (1AM92); Arab States (1AR46); CIS Countries (1CI64); Central Europe (1CE50); Eastern Europe
(1EA48); England (1EN10); Europe (1EU83); Eurozone Countries (1EU86); Florida (1FL79); France (1FR23); Jordan (1JO78);
Mediterranean (1ME20); Middle East (1MI23); North America (1NO39); Poland (1PO03); U.S. Southeast Region (1SO88);
USA (1US73); Ukraine (1UK09); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Henry Jackson Society; Heritage Foundation) (Americans; Prince Harry; Meghan Markle)

Word Count: 2625

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Call to make Harry'svisa forms public, 2023 WLNR 10297276




                                               3/22/23 Daily Mirror (U.K.) 25
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                                                       March 22, 2023

                                                        Section: News

                                       Call to make Harry's visa forms public

                                           CHRISTOPHER BUCKTIN US Editor

PRINCE Harry is facing calls to have his US visa application made public, after admitting drug use.

The Duke of Sussex, 38, admitted in his autobiography Spare to taking cocaine, cannabis and magic mushrooms.

America's Heritage Foundation is behind the calls for Harry's visa application to be released.

The think-tank's director Mike Howell said it was in the public interest, as the admission meant the visa could be revoked.

It also raised questions of whether Harry was "properly vetted" before entering the US, he said.

Hundreds of people have US bans due to drug use. The US State Department said it could not discuss individual visa cases.


---- Index References ----



Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))


Language: EN

Other Indexing: (America's Heritage Foundation; US State Department) (PRINCE Harry)

Edition: 01

Word Count: 107

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Call to make Harry'svisa forms public, 2023 WLNR 10297276




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Coke use may be a visa blow for Harry, 2023 WLNR 10406658




                                            3/23/23 Mercury (Hobart, Austl.) 39
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                                                       March 23, 2023

                                                       Section: World

                                       Coke use may be a visa blow for Harry

LOS ANGELES: Prince Harry is facing questions over whether he lied to enter the US after admitting to illegal drug use in
his memoir Spare; with a government oversight group launching a new legal challenge over his visa application.

While it is unknown which immigration visa Prince Harry used to enter the US, his revelations of cocaine, magic mushroom
and marijuana use could put his legal status in the country at risk if it was not declared to Homeland Security.

The new challenge to Harry's immigration status comes as he considers attending the King's coronation in the UK, placing his
visa under additional scrutiny on a subsequent re-entry to the US.

The Heritage Foundation, a conservative American think tank, said it had launched a legal dispute over the US State
Department's refusal to release details of Harry's visa application.

Mike Howell, director of the Heritage Foundation's Oversight Project, said Harry either lied on his application, which can be
rejected over drug use, or he received special treatment as a royal and celebrity, which would be illegal.

A US State Department spokesman said visa records were confidential under Section 222(f) of the Immigration and Nationality
Act.

"Therefore, we cannot discuss the details of individual visa cases," the spokesman said in an emailed statement.

Eyebrows were raised over Harry's legal status in the US after the release of Spare in January, and the subsequent media
blitz that mined the depths of his drug use. He admitted to using cocaine from the age of 17, taking magic mushrooms at a
celebrity party in California and smoking marijuana after his first date with Meghan Markle in 2016. Harry's memoir and
public comments have been sent as a dossier by Mr Howell to the Department of Homeland Security, US Customs and Border
Protection, and the US Citizenship Immigration Services as part of his bid to view Harry's visa application under freedom
of information laws.


---- Index References ----

Company: U.S. Customs and Border Protection,; US Citizenship and Immigration Services; HERITAGE FOUNDATION (THE)




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Coke use may be a visa blow for Harry, 2023 WLNR 10406658


News Subject: (Business Management (1BU42); Corporate Events (1CR05); Crime (1CR87); Immigration & Naturalization
(1IM88); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Homeland Security (1HO11); Security (1SE29))


Language: EN

Other Indexing: (US State Department; US Customs and Border Protection; US Citizenship Immigration Services; Heritage
Foundation) (Prince Harry)

Edition: Hobart

Word Count: 319

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Harry could get 'kicked out' of US if Republicans win next..., 2023 WLNR 10567800




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                                                        March 24, 2023

         Harry could get 'kicked out' of US if Republicans win next election, suggests royal expert
                     EXCLUSIVE: The Duke of Sussex will likely remain safe in the
                      US as long as a Democrat is in power, a royal expert has said.

                                                         Rosie Jempson

Prince Harry has been warned that he could be at risk of having his US visa revoked if Republicans win the next election, a
royal expert claims. The Duke of Sussex, 38, has faced scrutiny since openly admitting to taking a list of illegal substances in
his memoir, Spare, and in recent interviews, which officials have warned could jeopardise his visa status in the UK.

Royal expert Richard Palmer spoke to Daily Express about the likelihood of Harry's visa being revoked.

Reporter Pandora Forsyth asked Palmer if he felt there was any possibility of this happening, noting Harry's revelations of
drug use.

He replied: "The US visa does have quite a strict no-drugs policy.

"What I do know to apply for a visa last year, the visa questionnaire runs to around 100 questions and they are very detailed
about it."

Conservative think tank The Heritage Foundation is calling for Harry's visa application to be released so the American taxpayer
can understand whether the Duke declared his drug use.

Prince William's Poland trip savagely mocked by Russia as they give him insulting nicknamePrince William has been given a
cruel nickname by Vladimir Putin as the future King made an unexpected visit to the Polish-Ukrainian border this week. The
Russian leader's foreign ministry belittled the prince as merely being the "son of Charles", and have tried to use the opportunity
to heighten tensions with the West, however the prince has been welcomed warmly on his trip by both Polish and Ukrainian
supporters.

Read more HERE.

US immigration law regards any failure to declare drug use to immigration officials a serious violation that can result in
deportation and being permanently barred from applying for citizenship.




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Harry could get 'kicked out' of US if Republicans win next..., 2023 WLNR 10567800


"It's not quite clear on what terms he is residing in the US at the moment but this group is saying he should basically be kicked
out because he has admitted to being a drug user," Palmer noted.

"Is that going to happen in the near future? I very much doubt it.

"Not least because we have a Democrat president in charge."

READ MORE: Meghan left options open for blog relaunch before marrying Harry

He added: "But this particular group has been quite influential in the past. Particularly, I believe, when Ronald Reagan was
President. I think he essentially followed its programme in the first few years he was president."So if the Republicans win the
next election, perhaps this becomes more likely."

The right-wing think tank is arguing that US officials should release the details of the prince's application so Americans can see
whether or not he was "properly vetted" before being allowed to enter the country.

Applicants for US visas are typically asked about their criminal history and drug use.

Harry admitted to using a range of substances including marijuana, mushrooms, and cocaine in his memoir Spare.

He wrote that he first took cocaine at the age of 17. He also said his use of marijuana and mushrooms helped him deal with
past trauma.

Palmer said the call for Harry's visa to potentially be revoked, is "more evidence of the political divide in the US over this
couple".

He added: "How they have become a touch paper of political differences between liberals, who are generally in favour and
conservatives who really don't like them."

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---- Index References ----

Company: DAILY EXPRESS INC.

News Subject: (Campaigns & Elections (1CA25); Crime (1CR87); Emerging Market Countries (1EM65); Global Politics
(1GL73); Government (1GO80); Immigration & Naturalization (1IM88); Public Affairs (1PU31); Smuggling & Illegal Trade
(1SM35); Social Issues (1SO05); World Elections (1WO93))


Region: (CIS Countries (1CI64); Central Europe (1CE50); Eastern Europe (1EA48); Europe (1EU83); Poland (1PO03); Ukraine
(1UK09))

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Other Indexing: (Republicans; Daily Express) (Prince Harry)

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Harry could get 'kicked out' of US if Republicans win next..., 2023 WLNR 10567800




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Kate and William 'won't tell Sussexes anything' as..., 2023 WLNR 10457163




                                     3/23/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10457163

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                                                       March 23, 2023

                     Kate and William 'won't tell Sussexes anything' as 'everything for sale
                   A royal columnist says the Prince and Princess of Wales are "terrified" of
                 giving Prince Harry and Meghan, Duchess of Sussex, any information about...

                                          Richard Ashmore,Alice Scarsi,Liam Doyle

A royal columnist says the Prince and Princess of Wales are "terrified" of giving Prince Harry and Meghan, Duchess of Sussex,
any information about the Coronation for fear of it being "for sale".

Kate, the Princess of Wales, and Prince William "won't tell anything" to the Sussexes about the upcoming Coronation plans
because of fears "everything's for sale" when it comes to the Royal Family, a commentator has claimed. News Corp columnist
Louise Roberts says everyone close to Prince Harry and Meghan is "terrified" given every indiscretion or every "aside comment"
could be magnified for an American audience in order for the pair to make a profit.

Talking to Sky News Australia, Ms Roberts spoke about King Charles III's upcoming Coronation and discussion around recent
issues relating to the Sussexes. She claimed Harry and Meghan are becoming "increasingly more outrageous in their claims". She
said: "Who knows what they'll say after they leave the UK and go back to America after the Coronation. But the problem is that
anyone who could be close to them, for example, William and Kate, won't tell them anything. Everyone's terrified, everything's
for sale, every indiscretion or every aside comment could be magnified for an American audience in order to get them a profit."

THIS LIVE BLOG IS NOW CLOSED

22:45 Liam Doyle

An old clip reportedly shows the Duchess of Sussex in a "wobble" with a studio audience.

The then future royal, who was working as an actress at the time and writing for her now defunct blog The Tig, discussed her
experiences and shared her knowledge of the industry.

Body language expert Judi James said that, after the pause and "no-questions wobble", the Duchess is quick to rebuild her brand.

Ms James said: "Meghan very deftly re-builds her brand via some name and event-dropping that puts her squarely back in A-
list status again after the no-questions wobble,"

Read more here



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Kate and William 'won't tell Sussexes anything' as..., 2023 WLNR 10457163




21:59 Liam Doyle

Senior royals have experienced a popularity sink in the months following the release of Spare.

Approval ratings in the Royal Family's upper ranks have sunk to their lowest level in a year after the Duke of Sussex released
his tell-all memoir, pollsters have found.

A survey conducted by Ipsos discovered that no senior royal was left untouched, with even the most popular, Prince William,
having slipped 10 percent since December to 59 points.

The Princess Royal and Princess of Wales saw their popularity drop by seven and 11 points respectively.

The Royal family's overall approval has slipped to 47 percent, down six percent over the last 12 months.

21:09 Liam Doyle

Prince Harry could be "kicked out" of the US by Republicans if they retake the presidency in 2024, an expert has claimed.

Conservatives in the US are less than enthused about the Prince's admitted experimentation with drugs, with the Heritage
Foundation calling for his vis application to be released.

Daily Express royal editor Richard Palmer said he is not likely to get "kicked out" any day soon, "not least", he said, because
the country currently has a Democrat president.

He suggested that might change if a Republican takes President Joe Biden's place following the next election cycle in 2024.

Mr Palmer said the Heritage Foundation was "quite influential" during the Ronald Reagan presidency.

He said the President "essentially followed its programme in the first few years he was president".

Mr Palmer concluded: "If the Republicans win the next election perhaps [the Heritage Foundation getting their way] becomes
more likely."

Read more here

19:20 Liam Doyle

Prince Harry is likely "in the clear" over his US visa, a royal expert has claimed.

The Duke of Sussex has come under fire fir admitting that he has used cocaine, marijuana and psychedelics, including
Ayahuasca.

While a conservative group has called for his application to be rejected, royal expert Rupert Bell said he is likely in the clear
on this front due to a lack of criminal charges.

He said: "He hasn't had any criminal charges against him for taking drugs so therefore he's probably in the clear from that
respect."




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He conceded that his admitted drug experimentation is "not a good look for him in any sense of the imagination".

He added: "What he was up to and some of the stuff he comes up with regarding what drugs are helping him cope with his
mental health issues."

Read more here

17:37 Liam Doyle

Blackadder and Time Team star Tony Robinson has revealed his early thoughts on King Charles III.

The actor and presenter has said that, while he is impressed by the King's record and his mother's service, he once thought he
was a "bit of a twit".

He told Jane Garvey and Fi Glover on Times Radio's Off Air podcast that he was a former republican whose stance on the
monarchy has softened after years of watching the royals work.

He told the presenters people have given "man of integrity" Charles "so much stick" over the years.

Mr Robinson said the King's early passions and outspoken championship of the environment seemed early on like a "mad old
man talking to trees".

He added: "And now, an awful lot of what he said was profoundly prescient.

"And although I don't necessarily agree with him about modernist architecture, nevertheless, he was continually looking at the
world around him."

Read more here

16:44 Liam Doyle

Prince William was spotted dining at an LGBT restaurant in Poland during his royal tour, offering a stark comparison to his
brother's high-flying life in the US.

The Prince joined staff at the Butero Bistro in Warsaw today, where meals on offer cost less than £10, as he toured the country
while proffering the UK's thanks for sending troops to Ukraine.

He opted for a Kanapka w chalce, a type of pulled pork sandwich costing just £7.37, and sat down with staffers, delighting locals.

One, posting a picture on social media, said that "Warsaw can surprise".

They added: "I ate dinner today with the Prince."

Prince Harry, on the other hand, was most recently pictured with his wife, Meghan Markle at the Polo Lounge at the Beverly
Hills Hotel.

The high-profile location is known for its extravagance, and offers an $85 , seafood risotto, 4oz wagyu steak for $190 and an
ounce of Imperial caviar for $290 .




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Read more here.

15:37 Liam Doyle

Princess Eugenie has a network of Hollywood friends with whom she can "party", a royal expert has said.

Speaking to Express.co.uk, Nick Ede, a TV presenter, said Eugenie's recent debut in LA has fuelled rumours she is considering
a move stateside.

Mr Ede said she is already ingratiated with Hollywood celebrities.

He first brought up her mother's connections, stating Fergie is "big friends with Lisa Marie Presley".

The Princess and her sister Beatrice are thought to be friends with Karlie Kloss, the US supermodel who married Josh Kushner,
the brother of Donald Trump's former son-in-law and adviser.

Other friends of Eugenie in the Hollywood elite include Demi Moore, who attended her 2018 wedding to Jack Brooksbank.

Liv Tyler, the actress who portrayed Arwen in Peter Jackson's Lord of the Rings film series, is also reportedly a friend.

Royals like the Princess who spend less time in the public eye are free to "have fun and party" with these friends, Mr Ede added.

Read more here

15:23 Alice Scarsi

Meghan should have warned Prince Harry that revealing his past drug use could put his US visa status at risk, a royal biographer
has said.

In his tell-all memoir Spare, Harry detailed his past use of cocaine, magic mushrooms and marijuana.

Now the Duke has been warned that his admission could see him booted out of America.

Conservative activists in the US are pushing for Harry'svisa application to be made public as the future of his visa status
looks uncertain.

Royal biographer Angela Levin claimed Meghan should have done more to prevent her husband from speaking out on the matter.

Speaking to GB News' Dan Wootton, she said: "I don't understand why his wife didn't warn him."

Read the full story here

14:22 Alice Scarsi

The Princess of Wales is a proud mother-of-three, with Prince Louis being her youngest child.

The three young royals are often kept out of the spotlight with some occasional royal appearances scheduled.

The four-year-old has shared some special moments with his mother whilst out on royal engagements.



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Express.co.uk took a look at some of those special mother-and-son moments.

See them here

14:02 Alice Scarsi

Prince William had a meal at an LGBTQ+ restaurant last night, a move which was seen by a local as a "valuable" gesture of
support for the community amid the crackdown on its rights it is experiencing in Poland.

The Prince of Wales amazed fellow diners as he was spotted at the Butero Bistro in Warsaw on his first evening in Poland.

Read the full story here

12:49 Alice Scarsi

A left-wing French politician has issued a warning to King Charles ahead of his visit to Paris on Sunday.

The King and Camilla, Queen Consort, are planning a three-day State Visit to France before moving on to Germany.

But Paris has been plagued with night-time riots and protests after President Emmanuel Macron decided to raise the retirement
age from 62 to 64 without a parliamentary vote - and millions are set to gather next week.

A lavish banquet was due to take place on Monday at the Palace of Versailles - with the event aimed at being the highlight of
the monarch's trip to France. However, it is believed to have been moved.

Jean-Luc Melenchon, a regular presidential candidate and leader of the France Unbowed party, warned Charles that "it's not
the right time" for a State Visit.

Read the full story here

11:54 Alice Scarsi

Prince William confirmed through his spokesman Poland's President Duda and his wife have been invited to the Coronation
of King Charles - and will be in attendance.

The prince's spokesman, speaking after William met President Duda in Warsaw, said: "The Prince said he was very much looking
forward to seeing the President and first lady at the Coronation. He also thanked him for attending the late Queen's funeral."

Read more here

11:20 Alice Scarsi

The King is following a familiar footprint as he battles to include Prince Harry and Meghan in family events, a royal commentator
has said.

His Majesty had the Duke and Duchess of Sussex added to the guest list for his Coronation, but the couple has yet to confirm
whether they will attend.




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Author Gareth Russell said the invite should not come as a surprise as the King has a "track record" for trying to broker deals
between feuding sides of the Royal Family.

Read the full story here

10:31 Alice Scarsi

Prince William is continuing his trip to Poland. This morning, he stepped out in Warsaw to lay a wreath at the Tomb of the
Unknown Soldier.

This floral arrangement featured the white feathers of the Prince of Wales and was first used by William in November, when
he attended for the first time in his new royal role the National Service of Remembrance.

The wreath also included a message penned by the royal, which read: "In memory of those who made the ultimate sacrifice".

The heir to the throne echoed his grandparents Queen Elizabeth II and Prince Philip, who in 1996 visited the site and also laid
a wreath to pay tribute to the fallen.

Read the full story here

08:59 Alice Scarsi

Prince Philip once "terrified" Secret Service agents protecting Barack Obama on a state visit to the UK.

The late Duke of Edinburgh, never one to shy away from fun and good humour, asked Mr Obama, his wife Michelle and their
security detail to pile into his Range Rover.

It was the only time the Democrat president and First Lady were driven by someone other than security detail while working.

Read the full story here

08:15 Alice Scarsi

Sarah Ferguson, while promoting her upcoming novel A Most Intriguing Lady, spoke to Access Hollywood where she was
asked about her "favourite guilty junk food pleasure".

Royal fans pointed out Sarah's choice wasn't the usual "ice cream or chocolate" most people name when speaking about junk
food.

Sarah told the reporter: "OK, ready? Baked potato."

The reporter asked: "What do you put on it? Do you do the bacon, the sour cream, the butter?"

The Duchess nodded and said: "Butter." But then, Sarah shocked the reporter by saying "mayonnaise".

The reporter sounded surprised and added: "Mayonnaise? On your baked potato?" Fergie simply said: "Yeah, yeah! Mayonnaise,
butter, cheese, and really crispy skin."

Read the full story here



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Kate and William 'won't tell Sussexes anything' as..., 2023 WLNR 10457163




07:35 Alice Scarsi

The Duke and Duchess of Sussex may still have "plenty of time" before they need to confirm whether they will travel across
the Atlantic to attend the Coronation of King Charles, an expert said.

Dr George Gross, visiting research fellow in Theology at King's College London, said that, unless the official invitations sent
presented a set RSVP deadline after which guests can no longer express their wish to attend, Meghan and Prince Harry don't
need to be in a hurry to make up their mind about heading to Westminster Abbey for the historic event.

He told Express.co.uk: "In a bygone era, if we're going back to the Tudors and the Stewards, if you received a summons to
the Coronation, attendance wasn't optional, you couldn't say 'I'm not free', you'd attend. But obviously in the 20th and 21st
century, things have been different.

"Given that we don't really know that all the formal invitations have gone out yet, I think they've still got plenty of time."

Read the full story here

07:30 Alice Scarsi

Good morning from London. I'm Alice Scarsi, I'll be bringing you all the latest developments on the Royal Family. Please feel
free to get in touch with me as I work if you have a story or tips to share! Your thoughts are always welcome.

Email: alice.scarsi@reachplc.com


---- Index References ----

Company: DAILY EXPRESS INC.; King's College London; ACCESS HOLLYWOOD TRAVEL & TOURS INC.; HERITAGE
FOUNDATION (THE); GB News Ltd

News Subject: (Emerging Market Countries (1EM65); Politically Exposed Persons (1PO01))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Motion Pictures (1MO51))

Region: (Central Europe (1CE50); Eastern Europe (1EA48); Europe (1EU83); Eurozone Countries (1EU86); France (1FR23);
Mediterranean (1ME20); Poland (1PO03); United Kingdom (1UN38); Wales (1WA56); Western Europe (1WE41))

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King Charles follows 'track record' to bring Harry and..., 2023 WLNR 10478884




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                                                  2023 WLNR 10478884

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                                                        March 23, 2023

            King Charles follows 'track record' to bring Harry and Meghan back into royal fold
                   The King has extended Prince Harry and Meghan, the Duchess of
                    Sussex an olive branch by inviting the couple to his Coronation.

                                                         Aurora Bosotti

The King is following a familiar footprint as he battles to include Prince Harry and Meghan, the Duchess of Sussex in family
events, a royal commentator has said. His Majesty had the Duke and Duchess of Sussex added to the guest list for his Coronation,
but the couple has yet to confirm whether they will attend. Author Gareth Russell said the invite should not come as a surprise
as the King has a "track record" for trying to broker deals between feuding sides of the Royal Family.

Speaking to US Weekly, Russell said: "This has been a recurring theme in his life, actually. I found out that in the late 1960s,
and early 1970s, when Charles was still pretty young, he was one of the only members of the Royal Family who was prepared
to go over to Paris to visit his great-uncle, Edward VIII, and Wallis Simpson.

"He said to the Queen Mother and to the Queen, 'I think we should try to build bridges between this side of the family."

"He thought his great-uncle and aunt should be brought back into the fold a bit.

"So there is a past track record of Charles doing things like this and, in that sense, it tracks as consistent with what we know
of him as a person."

JUST IN: Meghan and Prince Harry 'still have plenty of time' to accept King's Coronation invite

Prince Harry warned drug use could 'bite him on the butt' after US visa threatPrince Harry's drug use could "come back and
bite him on the butt" in the 38-year-old's US visa row, a royal commentator has claimed. The 38-year-old is also facing fresh
scrutiny after a request was submitted to release his visa application.

Find out more HERE.

Following his abdication in 1936, Edward VIII moved to France and quickly married his long-time lover, Wallis Simpson.

The former king took on the title of Duke of Windsor and spent the majority of the rest of his life in de facto exile abroad.

The couple did briefly return to the UK on several occasions over the decades, but never quite reconciled with the Royal Family.



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King Charles follows 'track record' to bring Harry and..., 2023 WLNR 10478884




Russell argued the Coronation invitation could also prove to be a wise PR move from the King.

READ MORE: Meghan and Harry 'should stay away' from Coronation – YOU VOTED

Speaking to the Royally US podcast, he added: "I also think you catch more with honey than vinegar. If one side, rightly or
wrongly, is perceived as being the side that complains and has had a real run of publicity, of interviews that are stating the same
thing then a very sensible PR move is for you to say nothing.

"Or when you say something, to say something positive so I think it's a mixture of personal and pragmatism that has prompted
him to do that."

A spokesperson for the Duke and Duchess of Sussex said earlier this month the couple would not yet confirm if they will be
returning to the UK to attend the Coronation.

It has since emerged Harry and Meghan made a series of demands for the Palace to meet before they guarantee they will attend.

Among the alleged requests is for them to appear alongside the rest of the Royal Family on the balcony of Buckingham Palace
following the ceremony.

But the King has been tipped to follow in the footsteps of the late Queen and limit the traditional outing to only his direct heir,
Prince William, and his family.

During Her late Majesty's last appearance at the Palace, she only had then-Prince Charles with his wife Camilla, the then Duke
and Duchess of Cambridge, and their three children.

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---- Index References ----


News Subject: (Health & Family (1HE30); Politically Exposed Persons (1PO01))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (King; Prince Harry; Meghan)

Word Count: 633

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Meghan Markle 'should have warned' Prince Harry about..., 2023 WLNR 10502172




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                                                  2023 WLNR 10502172

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                                                       March 23, 2023

                 Meghan Markle 'should have warned' Prince Harry about drug use visa risk
                     A Prince Harry biographer lashed out at Meghan Markle for not
                   warning the Duke about his past drug use putting his US visa at risk.

                                                       Dylan Donnelly

Meghan Markle should have warned Prince Harry that revealing his past drug use could put his US visa status at risk, a royal
biographer has said. In his tell-all memoir Spare, Harry detailed his past use of cocaine, magic mushrooms and marijuana. Now
the Duke has been warned that his admission could see him booted out of America.

Conservative activists in the US are pushing for Harry's visa application to be made public as the future of his visa status
looks uncertain.

Royal biographer Angela Levin says Meghan should have done more to prevent her husband from speaking out on the matter.

Speaking to GB News' Dan Wootton, she said: "I don't understand why his wife didn't warn him."

The royal expert added: "He talked to her about everything he was going to say. She is in charge as we both know.

Prince Harry's Coronation 'request' questioned as Duke missed Archie's birthday last yearRoyal fans have taken to Twitter to
point out Prince Harry wasn't at home for the whole day when Prince Archie Harrison turned three in May 2022.

This comes after it was claimed the Duke and Duchess of Sussex have asked for the fourth birthday of their son, which falls on
the day of King Charles's Coronation, to be acknowledged in some way before they decide whether to attend the historic event.

Read more HERE.

"She didn't say 'be careful, because if you talk too much about the drugs, you might be in trouble'.

"Why she left him alone on this, I feel quite concerned about.

"The mental health guru who was talking to him should have said beforehand, 'don't talk about the drugs'.

"He made his life extremely difficult."




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Meghan Markle 'should have warned' Prince Harry about..., 2023 WLNR 10502172


READ MORE: Kate and William 'won't tell Sussexes anything' at Coronation

According to the US' immigration law, people who have admitted to drug offences are not eligible for a visa.

In Spare, and in interviews promoting the book, Harry admitted to using cocaine as a teenager.

The royal described trying the drug at a hunting weekend party in order to feel something different, and also told ITV's Tom
Brady that it was "important to acknowledge" his use of the Class A drug.

Following Harry's drug claims, the conservative-leaning Heritage Foundation called for his visa application to be released so
American taxpayers can see if the father-of-two declared his drug use.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: "This request is in the public interest in light of the
potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and
whether he was properly vetted before entering the United States."

Despite the request, a US State Department spokesman said: "Visa records are confidential under Section 222 of the Immigration
and Nationality Act ; therefore, we cannot discuss the details of individual visa cases."

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(1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Pharmaceuticals &
Biotechnology (1PH13); Retail Banking Services (1RE38))


Language: EN

Other Indexing: (Heritage Foundation; GB News') (Meghan Markle; Prince Harry)

Word Count: 492

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Prince Harry could be deported and lose his visa in the U.S., 2023 WLNR 10570806




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                                                2023 WLNR 10570806

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                                                          March 23, 2023

                             Prince Harry could be deported and lose his visa in the U.S.

Prince Harry , Duke of Sussex, could face losing his U.S. immigration status , being deported from the country and losing his
visa . An immigration lawyer has filed a lawsuit challenging the validity of the prince's current visa.

The lawsuit is based on the revelation in his autobiographical book "Spare" of Harry's drug use , which legal experts say could
have been grounds for denying him a visa.

Uganda passes anti-LGBTQ law: up to 20 years in prison and death penaltyFormer Puerto Rico mayor convicted of receiving
bribes and extortion

The Heritage Foundation, a conservative association, has demanded that Prince Harry's U.S. visa application be made public .
Mike Howell, the organization's director of Oversight, argues that publication of the visa application is in the public interest
and could help taxpayers understand whether the prince declared his drug use.

Adding to that, there are concerns about whether Harry was properly vetted before entering the United States.

It is unclear whether the Department of Homeland Security complied with the law by admitting Prince Harry into the country
without a waiver or interview with Customs and Border Protection to assess whether, given his background, he was admissible
to the United States.

U.S. immigration policies have strict laws and severe penalties for those who lie to officials. Many British citizens have been
banned from entering the United States because of their drug abuse.

The Heritage Foundation argues that if immigration officials knew about Harry's drug use, his case raises questions about
whether he received special treatment because of his royal status and his wife's celebrity status, which they insist would be
illegal .

The Duke and Duchess of Sussex moved to the United States in March 2020 and have since resided at their home in Montecito,
California, with their two young children.

Prince Harry breaks silence, devastated to leave office


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Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Homeland Security (1HO11); Security (1SE29))

Region: (Americas (1AM92); North America (1NO39))

Language: EN

Other Indexing: (Department of Homeland Security; Customs and Border Protection; Heritage Foundation) (Prince Harry)

Keywords: (Mundo)

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Prince Harry could lose U.S. visa for admitting drug use




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                                                        March 22, 2023

                             Prince Harry could lose U.S. visa for admitting drug use

                                                      Redacción PERÚ21

Although Prince Harry wrote his memoirs with honesty, one would not expect it to get such a bad reception. In addition to
having earned the criticism of war veterans, now his own U.S. visa could be denied, after he admitted in the book "Spare" to
having used drugs.

According to statements given to the Daily Mail by expert lawyers on the subject, the fact that she is royalty does not exempt
her from losing her visa, should her statements prove to be true. In the book she explained that she had used cocaine, cannabis
and magic mushrooms, mainly to deal with her emotional problems.

Following his statements, he has been asked to publish his U.S. visa application to confirm whether he admitted to drug use
before immigrating to California in 2020.

According to the words given by the Heritage Foundation, his visa application would have to be accessible for the American
taxpayer to come to understand whether Harry declared his drug use. American immigration law tends to be incredibly harsh
in the immigration process; lying to officials carries penalties such as deportation or a ban on applying for citizenship.

LOOK: Prince Harry is criticized after being found to have killed 25 Taliban in military service

In the words of former federal prosecutor Neama Rahmani, "Admission of drug use is generally grounds for inadmissibility.
That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs. There is no exception for recreational use."

Mike Howell, director of the Heritage Foundation's Oversight Project, clarified, "This request is in the public interest in light
of the possible revocation of Prince Harry's visa for illicit substance use and further questions about the Prince's drug use and
whether he was properly vetted before entering the United States."

The Heritage Foundation suggests that if border officials knew about the issue, it raises a big question: Was Harry free of any
penalties just because he was a royal? If that were true, the same officials would end up fined.

But it is complicated to know the situation because it is not even known what kind of visa he received, according to the Daily
Mail. Generally, the question U.K. tourists receive when applying for a visa through the ESTA (Electronic System for Travel
Authorization) application is "Have you ever broken any laws relating to the possession, use or distribution of illegal drugs?"

So far, no further details are available due to the U.S. State Department's confidentiality regarding individual visa cases.


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Prince Harry could lose U.S. visa for admitting drug use




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Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
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Language: EN

Other Indexing: (Daily Mail; U.S. State Department; Heritage Foundation) (Prince Harry)

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Prince Harry is facing a 'serious problem' after confessing..., 2023 WLNR 10664947




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                                                        March 24, 2023

            Prince Harry is facing a 'serious problem' after confessing he took drugs on US soil
                Prince Harry described taking drugs in the US in his tell-all memoir Spare,
                 prompting headlines but also questions about the Duke's visa, which an ...

                                                        Dylan Donnelly

Prince Harry described taking drugs in the US in his tell-all memoir Spare, prompting headlines but also questions about the
Duke's visa, which an expert has addressed.

Prince Harry could have a "serious problem" after he shared he took drugs while in the US, a royal correspondent said. Under
US immigration law, people who admitted to taking drugs are not eligible for visas.

But Harry is described in Spare smoking cannabis with Tyler Perry and taking magic mushrooms at Courtney Cox's house,
all of which he claimed took place in America.

Now, royal journalist Robert Jobson has said that if Harry lied on his visa application, he could have a "really serious problem"

He said he found out "very early on" when he and photographer Arthur Edwards "had been filling out forms to go to America"
that drugs can bar you from entering the US.

"On it, it's pretty damn clear 'have you taken drugs' and all these things, and basically, if you have, you haven't got a prayer
of getting a visa," he said.

TalkTV's Sarah Hewson then suggested that either Harry has "lied or he's been given special treatment".

Jobson then told the broadcaster: "If he's lied on the form that would be a really serious problem for him.

"We know he's the husband of an American citizen and that's fine but you know he's gone public with saying he's taken all this
stuff, and he can say 'well I haven't done it since' but ¦"

After Hewson and commentator Emily Andrews noted Harry admitting to taking drugs in America, Jobson added: "There's
not been an awful lot of thought gone into this, but the fact is that if that form has been signed and he's lied on it, he has got
a problem."

READ MORE: Florida boss admits Americans find Harry and Meghan 'annoying'



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Prince Harry is facing a 'serious problem' after confessing..., 2023 WLNR 10664947




Conservatives in America have pushed for Harry's visa application to be made public.

According to the US' immigration law, people who have admitted to drug offences are not eligible for a visa.

In Spare, and in interviews promoting the book, Harry admitted to using cocaine as a teenager.

The royal described trying the drug at a hunting weekend party in order to feel something different, and also told ITV's Tom
Brady that it was "important to acknowledge" his use of drugs.

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Region: (Americas (1AM92))

Language: EN

Other Indexing: (Prince Harry)

Word Count: 402

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Prince Harry likely got a 'special deal' over US visa as he's..., 2023 WLNR 10703255




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                                                   2023 WLNR 10703255

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                                                         March 24, 2023

              Prince Harry likely got a 'special deal' over US visa as he's 'somebody important'
                   Prince Harry's US visa is under scrutiny after the Duke revealed in his
               memoir that he had previously experimented with a number of illegal substan...

                                                         Rosie Jempson

Prince Harry's US visa is under scrutiny after the Duke revealed in his memoir that he had previously experimented with a
number of illegal substances.

The Duke of Sussex is unlikely to see his US visa revoked over his admission of past drug use as he is "somebody important"
and therefore probably struck a "special deal", a royal expert claims. It comes after critics are calling for his visa application
documents to be made public over concerns he lied on the forms.

A top lawyer has warned Harry that there is "no exception for royalty" when it comes to an admission of drug use, which is
usually grounds for inadmissibility of a US visa.

Former federal prosecutor Neama Rahmani said: "That means Prince Harry's visa should have been denied or revoked because
he admitted to using cocaine, mushrooms and other drugs."

However, royal photographer Arthur Edwards disagrees with this assessment, suggesting that Harry won't need to worry unless
a state department official says it is a problem.

He explained: "I think the fact a lawyer said it, is all you need to know. I think when someone in the state department says
it, you've got to worry.

Five ways Prince Harry and Meghan will be treated different to other royals at CoronationPrince Harry and Meghan Markle
have been invited to the King's forthcoming Coronation in May.

If the pair do accept their invite, they are set to have a very different experience to other members of the Royal Family.

Here are the five ways Harry and Meghan will be treated differently from other royals at the Coronation.

"I think Harry's going to be safe here. It's not going to be a problem."

He said this is because Harry is "somebody important".



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Prince Harry likely got a 'special deal' over US visa as he's..., 2023 WLNR 10703255




Edwards added: "He'll have had a special deal done, I'm sure. After all, he was a prince of the realm here.

"He's somebody important here and he would be treated like that."

He reiterated: "And a lawyer said it, that's a lawyer talking. But it's when it's someone from the state department says it, that's
when you need to worry."

READ MORE: Meghan, Duchess of Sussex avoids '4pm slump' with a healthy recipe

The Duke's past drug use came under the spotlight after right-wing Heritage Foundation launched a campaign to pressure
authorities into releasing details of Harry's original visa application.

Harry is taking heat as a result of the campaign, with royal editor Robert Jobson, telling TalkTV: "If he's lied on the forms,
that will be a very serious problem for him.

"We know he's the husband of an American citizen and that's fine but he's gone public saying he's taken all this stuff.."

Royal commentator Emily Andrews cut in: "And he said he's done it in America as well - at Courtney Cox's house. And smoking
cannabis while he was at Tyler Perry's house."

Mr Jobson replied: "It's not great. You know, there's not been an awful lot of thought gone into this but the fact is, if that form
has been signed and he's lied, he has got a problem."

There has so far been no public comment made by American officials over whether the Duke's visa could be revoked.

Speaking to renowned therapist Dr Gabor Mat&eacute; earlier this month, Harry said he started taking drugs "recreationally"
to handle his traumas and "pains of the past."

The Duke said: "It was the cleaning of the windscreen, the removal of life's filters — these layers of filters — it removed it all
for me and brought me a sense of relaxation, relief, comfort, a lightness that I managed to hold back for a period of time."

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Services (1FI37); Retail Banking Services (1RE38))


Language: EN

Other Indexing: (Heritage Foundation) (Prince Harry)

Word Count: 624



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Prince Harry likely 'in the clear' over US visa but still 'not..., 2023 WLNR 10550483




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                                                       March 23, 2023

             Prince Harry likely 'in the clear' over US visa but still 'not a good look' in America
                   Prince Harry is facing scrutiny from a US-based conservative think-tank
                 that's demanding the release of his visa application following the Duke's a...

                                                       Matthew Dooley

Prince Harry is facing scrutiny from a US-based conservative think-tank that's demanding the release of his visa application
following the Duke's admission of past drug use.

Prince Harry is likely "in the clear" over his US visa, however, his drug use is "not a good look", according to a royal
commentator. The Duke has come under fire for admitting to using cocaine, marijuana and psychedelics and one conservative
group is demanding to see his visa application to make sure the Prince was "properly vetted".

The demand has sparked uproar with many speculating Prince Harry might be deported, however, royal expert Rupert Bell
isn't so sure.

"He hasn't had any criminal charges against him for taking drugs so therefore he's probably in the clear from that respect,"
said Mr Bell.

He added: "Look, it's not a good look for him in any sense of the imagination what he was up to and some of the stuff he comes
up with regarding what drugs are helping him cope with his mental health issues."

However, Mr Bell argued that alone was likely not enough for Harry's next US visa application to be denied, something which
would see the California-based Prince sent back to Britain.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.




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Prince Harry likely 'in the clear' over US visa but still 'not..., 2023 WLNR 10550483


Speaking on TalkTV, Mr Bell said: "In terms of his status in the States, I can't see that being changed. Now, clearly, some
people might say 'You're taking it absolutely by the letter of the law' [and] he may have made a mistake but actually I don't
think that the law will be upheld."

The uproar over Prince Harry's visa emerged as the conservative think-tank The Heritage Foundation demanded that the US
Government reveal the Duke's application.

"This request is in the public interest in light of the potential revocation of Prince Harry's visa for illicit substance use and
further questions regarding the Prince's drug use and whether he was properly vetted before entering the United States," Mike
Howell, director of the Heritage Foundation's Oversight Project told the Daily Mail.

Prince Harry admitted to taking cocaine, marijuana and psychedelics in his memoir Spare and several TV interviews including
a livestreamed therapy session with trauma expert Dr Gabor Mat&eacute;.

Dr Mat&eacute; is an outspoken proponent of decriminalising drugs and has used the Amazonian hallucinogen ayahuasca to
treat patients suffering from mental health issues.

READ MORE: Meghan and Harry must have 'cut off point' for RSVP - presenter

During his session with Harry, the Duke said that cocaine "didn't do anything for me" and was more of a "social thing" but the
Prince lauded marijuana and psychedelics which he said had helped him.

Those applying for US visas are typically asked about their past criminal history and drug use. Although Harry has lived in
the US for nearly three years, he could face scrutiny when applying for his next visa.

In addition, if he lied on his original visa application he could potentially be deported from the US and barred from applying
for US citizenship. It has been speculated that Harry is on an O-1 visa for people with an "extraordinary ability in the sciences,
arts, education, business, or athletics" or an "extraordinary achievement in motion picture or television industry".

That visa typically runs out after three years, meaning the Duke may need to apply for a new one in the near future.
Harry is married to American actress Meghan Markle while his daughter, Princess Lilibet Diana, would have US citizenship
automatically as she was born in America. Prince Archie Harrison most likely is eligible for US citizenship through his mother.

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Healthcare Services (1HE13); Psychiatric Services (1PS61); Psychiatry (1PS63))


Language: EN

Other Indexing: (Heritage Foundation; US Government) (Prince Harry)

Word Count: 680



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Prince Harry may have to 'pack bags and move back to..., 2023 WLNR 10545807




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                                                         March 23, 2023

             Prince Harry may have to 'pack bags and move back to UK' after drug revelations
                 The Duke of Sussex could be in trouble if a request from a right-wing think
                   tank to see his visa application is upheld, as anger over his drug use ...

                                                      By, Harry Thompson

The Duke of Sussex could be in trouble if a request from a right-wing think tank to see his visa application is upheld, as anger
over his drug use continues in the US

Prince Harry may have to "pack his bags" and head back to the UK as a visa row breaks out over his drug use.

The Duke of Sussex has openly admitted to using drugs ranging from cocaine to cannabis and psychedelics both on TV and
in his explosive memoir Spare.

Royal experts have now claimed that the Prince could be in trouble when it comes to his visa, with a possibility that the way
in which he obtained it is illegal.

READ MORE:Parody version of Prince Harry's bombshell memoir in pipeline titled 'Spare Us!'

Christina Garibaldi, host of the Royally Us podcast discussed the issue in the latest episode following demands to see Harry's
visa application from conservative think tank The Heritage Foundation.

"This might be illegal, he might have to pack his bags and move back home," she said.

"I can't imagine if Prince Harry gets deported, what a drama it would be. You know, this is true."

She continued: "When you apply for a visa you sort of have to prove that you are a really upstanding citizen, that there's no
chance you're going to be in any trouble in your new country.

"You do have to declare that you've never taken part in illegal substances. I do wonder how Prince Harry answered that
question."

Criminal activity is a major factor in the visa application process and discovery that he had lied would likely lead to deportation.

His admission could also impact future applications.



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Prince Harry may have to 'pack bags and move back to..., 2023 WLNR 10545807




The right-wing outfit is now baying for blood over the matter with a desire to see the application based on hopes of checking
he was "properly vetted" before entering the US.

Speaking to the Daily Mail , Mike Howell, director of the foundation's Oversight Project said: "This request is in the public
interest in light of the potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the
Prince's drug use and whether he was properly vetted before entering the United States".

The Prince may also be in need of renewing his visa, with them typically expiring after three years.

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Language: EN

Other Indexing: (The Heritage Foundation) (Prince Harry)

Word Count: 411

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Prince Harry warned drug use could 'bite him
on the butt' after US visa threat
The Duke of Sussex said he has taken several illicit substances during interviews ahead of the release of his memoi
Spare.

 Prince Harry's at risk of deportation over drug use




Prince Harry (/latest/prince-harry)'s drug use could "come back and bite him on the butt" in the 38-year-old's US vis
row, a royal (/latest/royal-family) commentator has claimed. The 38-year-old is also facing fresh scrutiny after a
                                                                                                 APP. C 164
request was submitted to release his visa application.
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The Duke of Sussex's visa scrutiny was discussed by Christine Ross and Christina Garibaldi on the Royally US
podcast.

Ms Ross said: "I can't imagine if Prince Harry (https://www.express.co.uk/latest/prince-harry) gets deported. What a
drama that would be.

"You know, this is true, when you apply for a visa application you have to sort of prove that you're a really upstanding
citizen, there is no chance you're going to be in trouble in your new country and you have to declare that you've neve
taken part in illegal substances.

"I do wonder how Prince Harry (https://www.express.co.uk/latest/prince-harry) answered that question and that's
what they're calling for here."

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Prince Harry warned drug use will 'come back and bite him on the butt' in US visa row (Image: Getty)
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A photo of a woman holding a US flag and documents from the Citizenship and Immigration Services. (Image: Getty)


 'Public has a right to know': Meet the lawyer                       She added: "This will be an interesting story to see how it play
 scrutinising Harry's visa over drug use                             out.
 A US lawyer is demanding the release of Prince                      "I'm not sure that this is a good look for Prince Harry
 Harry's visa application over concerns he was                       (/latest/prince-harry)."
 given "preferential treatment" into the US
 following the Duke's recent admissions about his                    Ms Garibaldi responded: "This can come back and bite him in
 past drug use. The Duke of Sussex revealed in his                   the butt.
 tell-all memoir, Spare, and in recent TV
 interviews that he had taken cocaine, cannabis
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 drugs-dxus)                                                         style/food/1749815/sarah-ferguson-favourite-junk-food-
                                                                     baked-potato)




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Prince Harry relocated to Montecito in California with his wife and children. (Image: Getty)


"So we will have to wait and see what happens. You know there could be some repercussions to this we will have to
wait and see."

The conservative-leaning Heritage Foundation is calling for Harry's visa application to be released so American
taxpayers can see if the father-of-two declared his drug use.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: "This request is in the public interest in
light of the potential revocation of Prince Harry (https://www.express.co.uk/latest/prince-harry)’s visa for illicit
substance use and further questions regarding the Prince’s drug use and whether he was properly vetted before
entering the United States".

Despite the request, a US State Department spokesman said: "Visa records are confidential under Section 222(f) of
the Immigration and Nationality Act (INA); therefore, we cannot discuss the details of individual visa cases."

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A stock image of people queuing to have their passports checked at a US airport. (Image: Getty)



TRENDING




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markle-tiara-moment-coronation-dxus)                                                                        h




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The Heritage Foundation is calling for Prince Harry's visa application to be released. (Image: Getty)


American immigration law could hand out significant penalties if someone is found to have lied to officials, including
deportation and being barred from applying for citizenship.

Former federal prosecutor Neama Rahmani told Page Six (https://pagesix.com/2023/03/21/lawyers-reveal-prince-
harrys-drug-use-could-affect-us-visa/): "An admission of drug use is usually grounds for inadmissibility."

Express.co.uk has approached the Duke of Sussex's representatives for comment.

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  Prince Harry (/latest/prince-harry)      USA (/latest/united-states)




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Prince Harry warned drug use could 'bite him on the butt'..., 2023 WLNR 10471856




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                                                            March 23, 2023

                Prince Harry warned drug use could 'bite him on the butt' after US visa threat
                        The Duke of Sussex said he has taken several illicit substances
                         during interviews ahead of the release of his memoir Spare.

                                                             Jack Walters

Prince Harry's drug use could "come back and bite him on the butt" in the 38-year-old's US visa row, a royal commentator
has claimed. The 38-year-old is also facing fresh scrutiny after a request was submitted to release his visa application.

The Duke of Sussex's visa scrutiny was discussed by Christine Ross and Christina Garibaldi on the Royally US podcast.

Ms Ross said: "I can't imagine if Prince Harry gets deported. What a drama that would be.

"You know, this is true, when you apply for a visa application you have to sort of prove that you're a really upstanding citizen,
there is no chance you're going to be in trouble in your new country and you have to declare that you've never taken part in
illegal substances.

"I do wonder how Prince Harry answered that question and that's what they're calling for here."

JUST IN: Meghan and Prince Harry 'still have plenty of time' to accept King's Coronation invite

'Public has a right to know': Meet the lawyer scrutinising Harry's visa over drug useA US lawyer is demanding the release of
Prince Harry's visa application over concerns he was given "preferential treatment" into the US following the Duke's recent
admissions about his past drug use. The Duke of Sussex revealed in his tell-all memoir, Spare, and in recent TV interviews
that he had taken cocaine, cannabis and magic mushrooms in the past.

Read more HERE.

She added: "This will be an interesting story to see how it plays out.

"I'm not sure that this is a good look for Prince Harry."

Ms Garibaldi responded: "This can come back and bite him in the butt.

"This cannot be a good thing.



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Prince Harry warned drug use could 'bite him on the butt'..., 2023 WLNR 10471856




READ MORE: Sarah Ferguson shares 'guilty junk food pleasure' that's not ice cream or chocolate

"So we will have to wait and see what happens. You know there could be some repercussions to this we will have to wait and see."

The conservative-leaning Heritage Foundation is calling for Harry's visa application to be released so American taxpayers can
see if the father-of-two declared his drug use.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: "This request is in the public interest in light of the
potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and
whether he was properly vetted before entering the United States".

Despite the request, a US State Department spokesman said: "Visa records are confidential under Section 222 of the Immigration
and Nationality Act ; therefore, we cannot discuss the details of individual visa cases."

American immigration law could hand out significant penalties if someone is found to have lied to officials, including
deportation and being barred from applying for citizenship.

Former federal prosecutor Neama Rahmani told Page Six: "An admission of drug use is usually grounds for inadmissibility."

Express.co.uk has approached the Duke of Sussex's representatives for comment.

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Prince Henry could be deported from U.S. if he lied to get visa




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                                                         March 23, 2023

                          Prince Henry could be deported from U.S. if he lied to get visa

                                                           elperiodico

Not only has he come clean in his voluminous and explosive memoir, 'In the Shadows', but Prince Harry has continued to
provide details about his past with drugs in various interviews and television appearances. The latest, earlier this month, sitting
on the couch of controversial doctor Gabor Maté, who is prosecuted in Canada for using psychedelic drugs on his patients,
he blurted out, "I started using drugs recreationally and discovered how good they were for me ." This kind of statement has
caused a stir among anti-drug activists in the UK . And now, in addition, another association is looking closely at whether the
youngest son of King Charles III lied to obtain his visa, which would be grounds for his deportation.

The Heritage Foundation , a U.S. conservative foundation based in Washington DC, wants U.S. authorities to make the Duke of
Sussex's visa application public to determine whether he was asked to disclose any drug use. In his memoirs, the 'royal' describes
in detail his experience with various substances. He claims to have tried cocaine, cannabis and hallucinogenic mushrooms . He
says that his first contact with coke was a weekend at the age of 17, although later he repeated several times.
 Conservative foundation
He also admits taking hallucinogenic drugs at a celebrity event in California and smoking cannabis after his first date with
Meghan Markle . He even doesn't blush to explain that after trying hallucinogenic mushrooms he ended up conversing with
furniture. "It wasn't much fun, it didn't make me feel happy, but it made me feel different," he writes.

Mike Howell, director of the foundation's Oversight Project, has told the 'Daily Mail', "This request is in the public interest in
light of the possible revocation of Prince Henry's visa for illicit substance use, about whether he was asked about this issue and
whether he was properly vetted before entering the US."
 Possible deportation
This type of information about drugs and narcotics is asked in the questionnaire to obtain the certificate. The U.S. Immigration
Department has one of the stiffest penalties for lying on such an application. So much so that if someone is caught making
falsehoods, they are subject to possible deportation and prevented from applying for citizenship.

The prince has resided in the U.S. since 2020, after he and his wife, Meghan Markle, decided to abandon their duties as members
of the British royal family. After a brief period in Canada, the Duke and Duchess of Sussex moved to a mansion in Montecito
(California ), where they live with their two children, Archie Harrison (3) and Lili Diana (1), and developing their professional
career (mainly focused on the media, series, documentaries, books..., and through their charitable foundation).


---- Index References ----

Company: HERITAGE FOUNDATION (THE)



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           Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 175 of 416
Prince Henry could be deported from U.S. if he lied to get visa


News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42))


Language: EN

Other Indexing: (U.S. Immigration Department; Heritage Foundation) (Prince Henry)

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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 176 of 416
Príncipe Harry podría ser deportado y perder su visa en..., 2023 WLNR 10565175




                                    3/23/23 El Debate (Mex.) (Spanish) (Pg. Unavail. Online)
                                                    2023 WLNR 10565175

                                                 El Debate (Mexico) (Spanish)
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                                                           March 23, 2023

                     Príncipe Harry podría ser deportado y perder su visa en Estados Unidos

                                                           Elizabeth Flores

El príncipe Harry , duque de Sussex, podría enfrentar la pérdida de su estatus migratorio en Estados Unidos, ser deportado
del país y perder su visa . Un abogado de inmigración ha presentado una demanda que cuestiona la validez de la visa actual
del príncipe.

La demanda se basa en la revelación en su libro autobiográfico "Spare" del uso de drogas por parte de Harry , lo que según
expertos legales podría haber sido motivo para negarle la visa.

Uganda aprueba ley anti-LGBTQ: penas de hasta 20 años de prisión y pena de muerteDeclaran culpable a exalcalde de Puerto
Rico por recibir sobornos y extorsión

The Heritage Foundation, una asociación conservadora, ha exigido que la solicitud de visa estadounidense del Príncipe Harry
se haga pública . Mike Howell, director de Supervisión de la organización, argumenta que la publicación de la solicitud de visa
es de interés público y podría ayudar a los contribuyentes a comprender si el príncipe declaró su uso de drogas.

A eso se suma que hay preocupaciones sobre si Harry fue investigado adecuadamente antes de ingresar a los Estados Unidos.

No está claro si el Departamento de Seguridad Nacional cumplió con la ley al admitir al príncipe Harry en el país sin una
renuncia o entrevista con la Oficina de Aduanas y Protección Fronteriza para evaluar si, dado su historial, era admisible en
Estados Unidos.

Las políticas de inmigración de Estados Unidos tienen leyes estrictas y sanciones severas para quienes mienten a los
funcionarios. A muchos ciudadanos británicos se les ha prohibido la entrada a los Estados Unidos debido a su uso indebido
de drogas.

The Heritage Foundation argumenta que si los funcionarios de migración sabían sobre el uso de drogas de Harry, su caso plantea
dudas sobre si recibió un trato especial debido a su estatus real y el estatus de celebridad de su esposa, lo que insisten sería ilegal .

Los duques de Sussex se mudaron a Estados Unidos en marzo de 2020 y desde entonces residen en su casa en Montecito,
California, con sus dos hijos pequeños.

Príncipe Harry rompe el silencio, se siente devastado por dejar el cargo




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Príncipe Harry podría ser deportado y perder su visa en..., 2023 WLNR 10565175




---- Index References ----




Language: ES

Keywords: (Mundo)

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 178 of 416
'There's no exception for royalty': Lawyer warns Prince..., 2023 WLNR 10325541




                                   3/22/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10325541

                                                  Daily Mail Online (UK)
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                                                       March 22, 2023

                  'There's no exception for royalty': Lawyer warns Prince Harry's drug use
                 could threaten his US visa after he admitted taking cocaine, cannabis and ...

                                        Mark Duell Martin Robinson for MailOnline

'There's no exception for royalty': Lawyer warns Prince Harry's drug use could threaten his US visa after he admitted taking
cocaine, cannabis and magic mushrooms in his memoir and TV interviews

Prince Harry's admission of drug taking could threaten his US visa, an American lawyer has warned as he insisted there was
'no exception for royalty'.

Duke of Sussex is now facing calls for his US visa application to be released Ex-prosecutor says 'admission of drug use is
usually grounds for inadmissibility' But other lawyers say Harry's admissions wouldn't be enough for a probe

The Duke of Sussex revealed in his bombshell memoir Spare and TV interviews that he had taken cocaine, cannabis and magic
mushrooms in the past.

MailOnline yesterday revealed how the duke is now facing calls for his US visa application to be released to see whether he
admitted his drug use before emigrating to California with Meghan Markle in 2020.

A conservative think-tank is in the middle of a battle with Washington DC officials who are staunchly refusing to publish any
details - including any texts or emails.

The DC-based Heritage Foundation says his visa application must now be released so the American taxpayer can understand
whether Harry declared his drug use.

US immigration law has harsh penalties for lying to immigration officials, including deportation and being barred from applying
for citizenship.

Former federal prosecutor Neama Rahmani told Page Six last night: 'An admission of drug use is usually grounds for
inadmissibility.

'That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs.'




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'There's no exception for royalty': Lawyer warns Prince..., 2023 WLNR 10325541


Mr Rahmani, president of West Coast Trial Lawyers which is based in Los Angeles, added that there was 'no exception for
royalty or recreational use'.
 Can drug users be banned from visiting the United States?
US officials can stop foreigners who have committed drugs offences entering the country even if they have never been arrested
and charged by police.

Under US rules, suspected drug abusers applying for a visa may be required to answer additional medical history questions
and also take a medical exam to prove that they are not still a drug abuser before being allowed to enter the country.

In high-profile cases where celebrities who are known to have taken drugs want to come to America, they have been invited
into the US embassy in London to take a drugs test.

Pete Doherty was famously banned from the US due to drug-related arrests.

In 2014 chef Nigella Lawson was banned from flying to the US because she confessed to taking drugs.

But Texas-based immigration lawyer Sam Adair told Page Six that it was 'unlikely that these admissions will present a problem'
because there have been no criminal convictions.

And attorney James Leonard told the publication that revealing in a book that 'you experimented with drugs when you were a
young man' would not be enough for immigration officials to launch an investigation into Harry's status.

It is not known exactly what questions Harry was asked when applying for his US visa, because it is not yet clear which visa
he received. However, the question on the ESTA application which most UK tourists would use is: 'Have you ever violated any
law related to possessing, using or distributing illegal drugs?'

In Spare and the TV interviews that followed, Harry admitted taking cocaine, cannabis and magic mushrooms.

He said marijuana and psychedelics 'really helped' with his 'trauma' while cocaine was more a 'social thing'.

The Heritage Foundation has now called for his visa application to be released.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: 'This request is in the public interest in light of the
potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and
whether he was properly vetted before entering the United States'.

Experts have insisted US visa applications would usually be thrown out if there is any history of drug use.

The Heritage Foundation says if border officials did know, Harry's case raises questions over whether he was given special
treatment because he is a prince and his wife is a TV star, which they insist would be illegal.

MailOnline has approached representatives for Prince Harry for comment.

A US State Department spokesman said: 'Visa records are confidential under Section 222(f) of the Immigration and Nationality
Act (INA); therefore, we cannot discuss the details of individual visa cases'.

In his autobiography Spare, Harry revealed that he first took cocaine on a shooting weekend at age 17. He did a 'few more
lines' on other occasions.




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He also admitted to hallucinating during a celebrity-filled event in California and smoking cannabis after his first date with
Meghan.

He also spoke about his 'positive' experience of psychedelic drug ayahuasca saying it 'brought me a sense of relaxation, release,
comfort, a lightness that I managed to hold on to for a period of time'.

The duke, 38, made the comments in an interview with therapist Dr Gabor Maté, an outspoken supporter of decriminalising
drugs who has allegedly used Amazonian plant ayahuasca to treat patients suffering from mental illness.

Harry told him: '(Cocaine) didn't do anything for me, it was more a social thing and gave me a sense of belonging for sure, I
think it probably also made me feel different to the way I was feeling, which was kind of the point.
 READ MORE - British tourist 'banned from the US for 10 years after LA customs officials found a text message about
taking cocaine on her mobile phone'
In 2019, a British tourist claimed to have been banned from the USA for 10 years after admitting snorting a line of cocaine
two years prior.

Isabella Brazier-Jones, 28, flew from London to Los Angeles with her friend Olivia Cura, 26, where they planned to embark
on the trip of their dreams.

But when quizzed by immigration officials about the length of their stay, they found a text message on her phone that referred
to cocaine.

They asked Ms Brazier-Jones, who is from Wimbledon in south-west London, whether she had ever taken the Class A drug
and she confessed to having a line in 2017.

She was immediately thrown in a jail cell and made to wait for 24 hours before being shipped back to Britain, the aspiring
actress said.

Read the full story from 2019 here

'Marijuana is different, that actually really did help me.'

Fiona Spargo-Mabbs, who launched a drugs education charity in her son Daniel's name after he died of an accidental MDMA
overdose aged 16, said the duke's comments were 'concerning'.

It has long been speculated that Harry could be working in the US on a fast track visa handed to people with 'extraordinary
ability' - known as a O-1 visa.

The O-1, also used by Canadian singer Justin Bieber and Australian actor Hugh Jackman, last for three years, meaning that
Harry's renewal could be due with weeks.

Following the release of Spare in January, where the exiled royal revealed regular drug use, immigration experts warned he
may have put his visa 'at risk' after admitting about his illicit drug use.

And the The Heritage Foundation, which took a leading role in the conservative movement during the presidency of Ronald
Reagan and had a major influence on Donald Trump's administration, has now asked for the release of his visa application
demanding to know if Harry was 'properly vetted' before coming to America.




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The group also wants to know if he admitted to officials that he took drugs, which immigration experts note meant he should
have been denied residency in the US if he failed to disclose his narcotics usage during the application process.

The Heritage Foundation has also compiled a dossier of evidence, including Harry's own admissions in his memoir and various
TV interviews about taking cocaine, cannabis and magic mushrooms.

This has all been sent to the Department of Homeland Security, US Customs/Border Protection and US Citizenship Immigration
Services to bolster their freedom of information request.

US officials have so far refused to release his visa application, citing 'privacy' concerns, but Mike Howell, director of the Heritage
Oversight Project, insists it is in the 'public interest' to know how Harry's case was handled and has appealed the decision.

Mr Howell has also demanded to see any emails, texts, WhatsApps or other correspondence related to Harry's visa to ensure
public confidence in how it was handled.

He said: 'Harry's abuse of multiple illicit substances includes marijuana, cocaine, magic mushrooms and other psychedelic drugs.

'It is unclear at this juncture whether DHS complied with the law in admitting Prince Harry, and did so without a waiver or any
interview with CBP to assess whether, given his history, he was admissible to the United States.

'As a result, this widespread media interest in Prince Henry's drug abuse inevitably raises possible questions regarding his
application for residency in the United States.

'Public confidence in the government would undoubtedly suffer if DHS, CBP, and USCIS failed to properly vet such a high-
profile case.

'Moreover, if Prince Harry was granted preferential treatment that too would undermine public confidence in DHS, CPB, and
USCIS's application of equal justice under the law'.

American authorities note entry into the country is granted on a 'case-by-case' basis and it is unclear if Harry, who moved to
California with his wife Meghan Markle in 2020, detailed his drug use on his visa application.

It is unclear what type of US visa Harry holds, but analysts speculate he either holds a spousal visa - sponsored by his American
wife - or a O-1 visa which is given to people with 'extraordinary ability'.

The Sussexes relocated to California in 2020, meaning his visa could be set to expire this year. Any renewal application could
be impacted by his newly admitted history with drugs.

Anyone seeking temporary or permanent residency in the US must answer a series of questions about their criminal and drug
history during when applying.

'He would have been asked [about drug use]. If he was truthful in his answers, he should have been denied,' Professor Alberto
Benítez, director of George Washington University's Immigration Clinic, said recently.

The professor argued that if Harry did not detail his drug use, he would have been 'perjuring himself on an official US
government document'.

He claimed honesty would have been in the duke's 'best interest' and noted he may have received discretion from immigration
officials because of his royal status.



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'If he wasn't Prince Harry, if he was "Fred Jones" and he had this kind of a background, he'd have a lot more scrutiny and I
could certainly see the green card being denied,' Prof Benitez added.

US State Department officials have repeatedly declined to answer whether his admission of drug use would 'cause difficulties'
with his immigration status - or if he had detailed any drug use before.

'Visa records are confidential under US law; therefore, we cannot discuss the details of individual visa cases. We cannot speculate
on whether someone may or may not be eligible for a visa,' a spokesman said in January.

'Whenever an individual applies for a US visa, a consular officer reviews the facts of the case and determines whether the
applicant is eligible for that visa based on US law. All visa applications are adjudicated on a case-by-case basis.'


---- Index References ----

Company: WEST COAST TRIAL LAWYERS, A PROFESSIONAL LAW CORPORATION; U.S. Customs and Border
Protection,; US Citizenship and Immigration Services; HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN

Other Indexing: (Heritage Oversight Project; US State Department; Department of Homeland Security; CBP; USCIS; George
Washington University; West Coast Trial Lawyers; US Customs/Border Protection; US Citizenship Immigration Services;
Heritage Foundation) (Prince Harry)

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US group want Prince Harry deported as royal 'always..., 2023 WLNR 10367228




                                     3/23/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10367228

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                                                        March 23, 2023

              US group want Prince Harry deported as royal 'always finding himself in trouble'
                       Prince Harry is facing calls to have his US visa application
                     made public following his admission of taking drugs in the past.

                                                        Lauren Williams

Prince Harry's memoir Spare saw the Duke admit to taking drugs such as cocaine, cannabis and magic mushrooms. The
admission has led to conservative activists calling for Prince Harry to be deported over drug use as it is one of the requirements
an individual must meet when applying for a visa. Royal commentator Kinsey Schofield joined GB News presenters Eamonn
Holmes and Isabel Webster to discuss the recent "trouble" Harry has found himself in.

Eamonn began the segment: "Prince Harry, to live and work in the United States he has to have a Visa. In that visa, it asks
whether you have taken drugs or used drugs in the past. Tell us what the debate is now."

Kinsey explained: "Eamonn and Isabel you and I have had this discussion weeks ago, we broke it first! Could he get in trouble
for this?

"It's the Heritage Foundation here in the States. They're a conservative group that have filed a request through the Freedom
of Information Act.

"They're saying they want to know how Prince Harry got his visa if it was a special privilege because he's a Prince if it was
because his wife is a TV star. They say that's illegal."

READ MORE: BAFTA TV Awards' full list of nominations as Happy Valley missing

In a discussion with Eamonn Holmes and Isabel Webster during Breakfast on GB News, she said: "Immigration attorneys here
in the States are saying that there are two ways that deportation could loom over Prince Harry.

"That's if he's caught doing a crime, which we heard him say in his pay-per-view interview, where he was openly discussing
illegal drug use.

"So if he's caught doing a crime, deportation could be one of their resolutions. Or if in this visa application, he lied about his
drug use, that could actually result in deportation, too."




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US group want Prince Harry deported as royal 'always..., 2023 WLNR 10367228


Asked where the debate had reached, Kinsey continued: "We're waiting to see if the Heritage Foundation gets that information
about Prince Harry's visa application.

"It's just not a good look that Prince Harry always seems to be finding himself in trouble."

Eamonn quipped: "And if it's not there then he goes looking for it."

The conservative think tank's director Mike Howell said: "This request is in the public interest in light of the potential revocation
of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and whether he was
properly vetted before entering the United States".

Under current immigration rules, people who are found to have lied to border officials can face a hefty fine or even deportation.

During Prince Harry's book tour in January, he openly spoke about his drug use revealing he first tried cocaine aged 17 while
on a shooting weekend.

He also admitted to hallucinating during a celebrity event in California and smoking cannabis after his first date with his wife
Meghan Markle.

When speaking to Dr Gabor Mate during his mental health event, the Duck of Sussex admitted that smoking marijuana "really
helped him" but taking cocaine "did nothing for him".

He explained: "It was the cleaning of the windscreen, the removal of life's filters — these layers of filters — it removed it all
for me and brought me a sense of relaxation, relief, comfort, a lightness that I managed to hold back for a period of time.

"I started doing it recreationally and then started to realise how good it was for me.

"I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and the pains
of the past. They're unlocking so much of what we've suppressed."

Breakfast with Eamonn and Isabel airs weekdays from 6am on GB News.


---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Smoking (1SM71); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))


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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 186 of 416
William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110




                                     3/23/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 10310110

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                                                        March 23, 2023

                      William and Kate's big plan to stop Louis being 'offshoot like Harry'
                   The Prince and Princess of Wales are set to make one major move to stop
                  their youngest son, Prince Louis, from being "left out", one expert has cla...

                                         Richard Ashmore,Alice Scarsi,Lauren Welch

The Prince and Princess of Wales are set to make one major move to stop their youngest son, Prince Louis, from being "left
out", one expert has claimed.

Prince William and Kate, the Princess of Wales are trying to do all they can to ensure that Prince Louis doesn't feel left out,
royal expert Angela Mollard has said.

Ms Mollard has said that the royal couple plan on using the forthcoming Coronation to ensure their youngest child has a strong
bond with the monarchy, and in turn, doesn't go down the same route as his uncle, Prince Harry. In order to ensure that Louis
is there for when Prince George becomes King, the royal couple are said to want their younger son to have the memories of
the royal celebration this spring.

Ms Mollard then suggested that having all three of the couple's children, including Princess Charlotte, at the Coronation will
lesser the chance of a repeated rift in the future.

As previously stated on Express.co.uk, Ms Mollard said that, when the time comes, their elder son will need to be "supported
by his siblings".

Ms Mollard also stated that the family-of-five show "very much" stick together. She claims that they enforce the 'We're a family,
we do it all together'", adding that they "do not want an offshoot like Harry in the future".

Although prepared to be in attendance, the actual roles of the three children remain unknown.

THIS LIVE BLOG IS NOW CLOSED. CLICK HERE FOR NEW ROYAL FAMILY UPDATES.

21:51 Lauren Welch

King Charles's mix of "personality and pragmatism" is likely the reason he invited Meghan Markle and Prince Harry to the
Coronation, claims a royal biographer.




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William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110


King Charles has a "track record" of trying to "build bridges" within the Royal Family which could be why he invited Meghan
Markle and Prince Harry to the Coronation, according to a royal biographer. Gareth Russell drew parallels between Charles's
treatment of Edward VIII - who abdicated the throne to pursue a relationship with Wallis Simpson - and that of the Duke and
Duchess.

READ MORE HERE

20:24 Lauren Welch

EXCLUSIVE: Prince Harry's real reason for deciding to "empty the barrel" with his book Spare has been addressed by comedian
Katherine Ryan.

Prince Harry, 38, has been the subject of much debate since he released his tell-all memoir Spare in January. Comedian Katherine
Ryan, 39, has shared her opinion on the book exclusively to Express.co.uk as well as explaining her reasoning for why she
thinks Harry decided to "empty the barrel".

READ MORE HERE

19:28 Lauren Welch

King Charles III will be crowned on May 6 at Westminster Abbey but royal fans can already celebrate the momentous occasion.

Located in central London, Hotel Café Royal offers guests the unique "Crown Jewels Experience", a brand new and very
special stay to celebrate King Charles's Coronation. According to the hotel's website, it is the "ultimate experience of luxury
and exclusivity", and costs a staggering £13,000.

READ MORE HERE

19:11 Lauren Welch

The King's forthcoming Coronation is set to follow tradition by reinforcing royal hierarchy.

Prince Harry and Meghan, the Duchess of Sussex could be set to "stand out" at the King's Coronation. If the pair do decide to
attend the historical event, they are not likely to wear any form of formal Coronation robes. The couple have, so far, decided
to remain silent on whether they will be in attendance.

READ MORE HERE

18:34 Lauren Welch

Kate, Princess of Wales, met with companies worth billions of pounds in the City as part of her championing of early years
development.

Kate, Princess of Wales, is sending a message to Prince Harry and Meghan, Duchess of Sussex, with a "power play" to prove
the Royal Family "matters". On Tuesday, the 41-year-old mother-of-three donned a cream blazer and went into business mode
meeting representatives of huge firms including IKEA, Co-op, Unilever, Lego, finance giants Natwest, Aviva, Deloitte and the
Bank of England no less. The Princess was able to host the companies worth billions of pounds as she championed early years
development with the launch of her new "Business Taskforce for Early Childhood" later.




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 188 of 416
William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110


Writing in news.com.au, royal writer Daniela Esler called the meeting a "powerhouse" moment for the princess that sent a clear
message to any royals thinking the "Firm" was on the wane.

Referencing images of the event of Kate, Princess of Wales, posing business-like with the economic leaders, she wrote: "Kate
is proving to be a stealthy powerhouse dynamo of action and machine washable lightweight wool who is busily redefining what
a working member of the monarchy can actually achieve.

"And if there is one person who should be looking at these images of Kate with this clutch of business bigwigs who preside
over global empires of shampoo and Allen keys, it is her brother-in-law, Prince Harry, the Duke of Sussex."

17:43 Lauren Welch

Prince William made an unannounced visit to Poland amid tight security today to visit British and Polish troops helping Ukraine's
war effort against Russia.

Prince William, who has begun a two-day visit to Poland, went to military bases in Rzeszów in the south-east of the country
near the Ukraine border, where the Royal Artillery and other British units are working with western allies to train Ukrainians
and funnel weapons to troops resisting the Russian invasion. He hailed them for "defending our freedoms" and told the British
troops: "Everyone back home thoroughly supports you."

READ MORE HERE

17:10 Lauren Welch

EXCLUSIVE: King Charles's Coronation is just weeks away but Prince Harry and Meghan Markle should "avoid" the jubilant
celebrations, claimed Apprentice star Ryan-Mark Parsons.

Ryan-Mark Parsons has also addressed King Charles's decision to ask Prince Harry and Meghan Markle to vacate Frogmore
Cottage. It comes as the Duke and Duchess of Sussex's attendance at the coronation still hang in the balance.

READ MORE HERE

16:20 Lauren Welch

Prince Harry had reportedly laid out some key "demands" ahead of the King's Coronation in May.

The Duke and Duchess of Sussex's appearance at King Charles III's Coronation reportedly rests on whether Harry's "demands"
are met. Earlier this month, the Sussexes confirmed they had been invited to the Coronation. However, the couple are yet to
confirm if they will be joining the Royal Family at Westminster Abbey on May 6.

READ MORE HERE

16:01 Lauren Welch

The author posted a copy of the children's book to the Duke and Duchess of Sussex after admiring how Prince Harry and
William coped with the death of their mother, Princess Diana.

Prince Harry had thanked an author who sent him a book that helped children deal with the heartache of losing a parent. The
author of the book, Mark Lemon, has shared the letter written by the Duke of Sussex back in 2019 on his Instagram profile.



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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 189 of 416
William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110




READ MORE HERE

15:10 Lauren Welch

Good afternoon from London. I'm Lauren Welch and I'll be bringing you all the latest developments on the Royal Family. Please
feel free to get in touch with me. Your thoughts are always welcome.

Email: lauren.welch@reachplc.com

Twitter: laurenmwelch

14:40 Alice Scarsi

A viral clip of Prince Archie playing with his grandmother Doria Ragland in Prince Harry and Meghan's first hit Netflix series
has taken social media by storm.

The Sussexes' oldest son is still a baby in the clip, which shows him sitting in a ride-on toy car pushed by Meghan's mother.

In another segment, he can be seen grabbing onto Meghan's legs while walking around the kitchen.

The Duchess can be heard saying "Are we walking?" in the clip.

Since airing, a clip of the video was later posted to TikTok, where it became an instant hit.

Read the full story here

13:44 Alice Scarsi

A viral video has taken TikTok by storm after user Becca Brandon reimagined the Prince and Princess of Wales as "council
estate parents" in a shocking makeover.

The TikToker, under the handle electricraspberry, photoshopped the royal couple to make them look almost unrecognisable in
her viral video which has amassed over 4.4 million views since it was posted on Monday.

On her channel, Ms Brandon, who grew up on a council estate, records herself adapting photos of famous figures using the
app "Procreate".

See the pictures here

12:56 Alice Scarsi

The Duke of Sussex's book Spare is being parodied in a spoof biography of Prince Harry which promises to go "deep inside
the castle walls" and expose "every shouting match, fist-fight, betrayal, teddy bear, awkward hug and tear-stained wedding
rehearsal".

In a clear mockery of the bestselling memoir, the upcoming work has been described in a press release as a "frostbite-and-all
book", and is titled Spare Us! A Harrody.




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William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110


The book also hit out at the Duke of Sussex's decision to reveal intimate details about his life and private conversations while
also seeking a more private existence far from the British press.

This version of Spare has been written by Bruno Vincent, who previously gained the spotlight with his Enid Blyton parody
books.

Published by Little Brown, which is owned by Hachette, Spare Us! will be aptly released on April Fool's Day.

Read the full story here

12:00 Alice Scarsi

The Crown has been hit with a wave of criticism after images of a replica of the mangled Mercedes from Princess Diana's crash
in Paris, which led to her death, emerged.

The Netflix series has courted controversy since it first began and continues to face backlash over the handling of topics such
as King Charles's divorce from Diana, and the late Princess of Wales' death.

The Crown's nominations include leading actress for Imelda Staunton playing the Queen and supporting actor for Salim Daw
as Mohamed Al-Fayed.

Read the full story here

11:25 Alice Scarsi

Prince Harry has been warned there is "no exception for royalty" when it comes to his visa potentially being revoked.

The Duke of Sussex has faced scrutiny since openly admitting to taking cocaine, cannabis and magic mushrooms in the past.

Former federal prosecutor Neama Rahmani claims the royal should not even have been allowed into the US in the first place
if he filled in his visa documentation correctly.

Rahmani said: "An admission of drug use is usually grounds for inadmissibility.

"That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs."

The West Coast Trial Lawyers attorney said that the rules would apply to Harry as well as there is "no exception for royalty
or recreational rules."

Read the full story here

10:20 Alice Scarsi

The Duke and Duchess of Windsor's Paris mansion is to be turned into an attraction and open to the public, it was announced
days before King Charles and Queen Camilla are to undertake their first official visit to France since his accession to the throne.

Paris city council has given heritage trust Fondation Mansart the task of turning the run-down house, originally known as Chteau
le Bois, into a permanent touristic site.



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William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110




The 19th century mansion located in the Boulogne woods of western Paris is primarily known for having hosted the exiled
Duke and Duchess of Windsor for some three decades.

However, Egyptian businessman Mohamed Al Fayed added to its lore when he claimed Princess Diana would have relocated
there had she not died in a car crash in Paris in August 1997.

Read the full story here

09:22 Alice Scarsi

Meghan, the Duchess of Sussex will use her revamped blog The Tig to "gain control over her public image" after speaking out
about struggling with the press and the media.

A brand expert who has worked with Britney Spears has said Meghan's new rumoured project could "thrive".

It's believed the wife of Prince Harry and mother-of-two is planning to relaunch her blog The Tig.

The former actress ran the blog for two years while working on the cable drama Suits, but she shut the platform down when
her relationship with the royal became serious.

Read the full story here

08:31 Alice Scarsi

The Duke and Duchess of Sussex have been invited to King Charles's Coronation, but a new Express.co.uk poll has shown
widespread opposition to either showing up.

Read the results of our poll here

08:01 Alice Scarsi

A Labour campaign is calling for Buckingham Palace to be subject to workplace legislation as it accuses the Palace of being
"shielded" from scrutiny.

The pressure group, Labour for a Republic, is pushing the party to commit to ending the royals' exemption from the Equality
Act, which protects workers against discrimination based on race, sex, gender, age, religion and disability.

Ben Clinton, Labour for a Republic's campaign coordinator, told Express.co.uk: "The idea that one of the most prominent
families, one of the most prominent employers, in the country is exempt is wrong and needs to be reversed if we are to continue
being a party for working people."

Labour for a Republic wants national party chiefs to include the Royal Family being subject to the Equalities Act in Labour's
next general election manifesto.

Read the full story here

07:20 Alice Scarsi




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William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110


The Duke and Duchess of Sussex face a similar fate to the Duke and Duchess of Windsor, a royal commentator has claimed.

Tom Quinn, author of the newly-released book Gilded Youth, has drawn similarities between the life lived by former King
Edward VIII and his wife Wallis Simpson after he abdicated and the future possibly looming for Prince Harry and Meghan.

The Duke and Duchess of Sussex, Mr Quinn said, have made several appearances and interviews as well as a docu-series and
a memoir united by one main theme - "how badly they were treated".

However, he added, that is a topic that will interest people only "for so long".

He continued: "And when you're not saying that anymore, and you can't make any more films and interviews about how badly
you've been treated, what then, what do you do?

"My fear is that Harry will become like Edward VIII and Meghan will become like Mrs Simpson."

Read the full story here

07:14 Alice Scarsi

Good morning from London. I'm Alice Scarsi, I'll be bringing you all the latest developments on the Royal Family. Please feel
free to get in touch with me as I work if you have a story or tips to share! Your thoughts are always welcome.

Email: alice.scarsi@reachplc.com


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William and Kate's big plan to stop Louis being 'offshoot like Harry', 2023 WLNR 10310110




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Harry is always going on about his 'incredibly painful..., 2023 WLNR 9988696




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                                                    2023 WLNR 9988696

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                                                         March 19, 2023

       Harry is always going on about his 'incredibly painful childhood' yet he lives a privileged life

                                                       Letter to the Editor

LETTER: Harry's book Spare has not had the desired result he and his wife were wishing for. Instead of evoking sympathy, it
has turned the British and American public against them. In a Newsweek approval rating, Harry has dropped to -10 (dropping
48 points) and Meghan -17 (dropping 40 points).

Harry's book Spare has not had the desired result he and his wife were wishing for. Instead of evoking sympathy, it has turned
the British and American public against them. In a Newsweek approval rating, Harry has dropped to -10 (dropping 48 points)
and Meghan -17 (dropping 40 points).

This has been exacerbated by the animated cartoon series South Park in which they were clearly lampooned and mocked. In
his latest, self-pitying interview with Dr Gabor Mate, a physician, Harry claims that using psychedelic drugs and cannabis
helped him deal with his mental health problems.

He stated: "Hey, it really helped me."

These drugs actually lead to psychotic disorders such as schizophrenia, anxiety, depression and other severe mental illnesses.
He is therefore advocating illegal drug use for other people, especially youngsters, to solve their problems. This is irresponsible
from a man 38 years old, with two minor children.

A poor example indeed. He is always going on about his "incredibly painful childhood" yet he lives a very privileged life.

He earns his living by trashing his family and then expects an apology from them. Shocking! Nevertheless, he has received a
massive backlash for the above comments and could lose his US visa. Anti-drug campaigners have slammed Harry for his
latest rant and "US border agents take a dim view of drug use by non-US citizens".

Harry is entirely absorbed in himself, is constantly craving attention and desperate to be heard. He is, however, not the world's
biggest victim. Blaming others is characteristic of losers, and Harry is a loser.

* John Whitlock, Germiston.

** The views expressed here are not necessarily those of Independent Media.

Cape Argus


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Harry is always going on about his 'incredibly painful..., 2023 WLNR 9988696




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Please send your letters to arglet@inl.co.za.

All letters to be considered for publication, must contain full names, addresses and contact details (not for publication)

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Harry warned drug use could threaten US visa in massive..., 2023 WLNR 10335542




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                                                 2023 WLNR 10335542

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                                                       March 22, 2023

        Harry warned drug use could threaten US visa in massive blow: 'No exception for royalty'
                Prince Harry admitted in his book and in a series of televised interviews
              that he had routinely taken drugs when he was younger to cope with his tr...

                                                       Aurora Bosotti

Prince Harry admitted in his book and in a series of televised interviews that he had routinely taken drugs when he was younger
to cope with his trauma.

Prince Harry has been warned there is "no exception for royalty" when it comes to his visa potentially being revoked. The
Duke of Sussex, 38, has faced scrutiny since openly admitting to taking cocaine, cannabis and magic mushrooms in the past.
Former federal prosecutor Neama Rahmani claims the royal should not even have been allowed into the US in the first place
if he filled in his visa documentation correctly.

Rahmani said: "An admission of drug use is usually grounds for inadmissibility.

"That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs."

The West Coast Trial Lawyers attorney said that the rules would apply to Harry as well as there is "no exception for royalty
or recreational rules."

Rahmani's warning comes as the conservative Heritage Foundation launched a pressure campaign on authorities to release
details of Harry's original visa application.

JUST IN: Harry and Meghan risk repeating mistakes of exiled royals Edward VIII and Wallis Simpson

Prince Harry's six Coronation 'demands' as Sussexes remain undecided on UK returnThe Duke and Duchess of Sussex's
appearance at King Charles III's Coronation reportedly rests on whether Harry's "demands" are met.

Earlier this month, the Sussexes confirmed they had been invited to the Coronation. However, the couple are yet to confirm if
they will be joining the Royal Family at Westminster Abbey on May 6.

Here are Harry's six reported demands.




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Harry warned drug use could threaten US visa in massive..., 2023 WLNR 10335542


The DC-based think tank claims US taxpayers have a right to know whether the Duke misled authorities on his drug use when
he first entered the country after stepping down from his formal role in 2020.

Under current immigration rules, people who are found to have lied to border officials can face a hefty fine or even deportation.

However, another lawyer told Page Six that Harry's admission would likely not be a problem for the royal.

Texas-based immigration lawyer Sam Aldair insisted it was "unlikely that these admissions will present a problem because
there have been no criminal convictions."

READ MORE: Kate's 'cold stare' shows the 'power play' between her and Prince William, expert claims

And colleague James Leonard noted that revealing in a book that "you experimented with drugs when you were a young man"
would not give authorities much of a base to challenge Harry's presence in the country.

Speaking to renowned therapist Dr Gabor Mat&eacute; earlier this month, Harry said he started taking drugs "recreationally"
to handle his traumas and "pains of the past."

The Duke said: "It was the cleaning of the windscreen, the removal of life's filters — these layers of filters — it removed it all
for me and brought me a sense of relaxation, relief, comfort, a lightness that I managed to hold back for a period of time.

DON'T MISS:Harry and Meghan warned by expert Lilibet move may backfire [REVEALED]Prince Harry and Meghan have
'rocky future' ahead, says expert [OPINION]King Charles ready to 'capitulate' to Meghan and Harry - claim [LATEST]

"I started doing it recreationally and then started to realise how good it was for me.

"I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and the pains
of the past."

Harry added: "They're unlocking so much of what we've suppressed."

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(1SM35); Social Issues (1SO05))

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Prince Harry and Meghan warned of dire UK popularity..., 2023 WLNR 10078082




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                                                       March 20, 2023

       Prince Harry and Meghan warned of dire UK popularity ratings as Britons have 'had enough'
              A royal expert has warned there may be protests against the Duke and Duchess
                  of Sussex at King Charles's Coronation as their standing has fallen so...

                                                           Jon King

A royal expert has warned there may be protests against the Duke and Duchess of Sussex at King Charles's Coronation as their
standing has fallen so far among the public.

Prince Harry and Meghan, Duchess of Sussex, have been warned of their dire popularity ratings as Britons have "had enough"
of the royal couple. The Sussexes have been invited to King Charles's Coronation but it has yet to be made public whether they
will attend the historic occasion on May 6.

Related articles

Former ITN royal editor Tim Ewart told Sky News Australia that Harry and Meghan's popularity has plummeted in the wake
of the couple's Netflix series and the Duke's memoir, Spare.

Asked if Harry and Meghan's behvaiour was making things difficult for them, Mr Ewart said: "Quite clearly the Sussexes are
becoming extremely unpopular in this country.

"Now it would be unfair to say that that is an opinion held by everybody. Younger people in Britain like the Sussexes, [they]
like the diversity that they bring to the Royal Family, the modern lifestyle that they lead, who respect the way that Harry has
been so keen to tell his story, to bear his soul.

"But the vast majority of people have had enough of it."

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.




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Prince Harry and Meghan warned of dire UK popularity..., 2023 WLNR 10078082


Mr Ewart explained that the public is tired of hearing Harry talk about his personal issues all the time.

The Duke's memoir includes a series of revelations, including an allegation Harry was attacked by his brother, Prince William,
and claims Camilla, Queen Consort, tried to tarnish the Duke's image to improve hers.

Spare went on to become the biggest-selling work of non-fiction after its release in January.

Mr Ewart said: "The majority of Britons really, really don't care for [Harry and Meghan's disclosures] any longer and to be
blunt, wish they would be quiet and go away and stay in America if that is really what they want to do."

READ ABOUT HARRY AND MEGHAN'S TITLE DECISION FRACTURING RELATIONS WITH THE PALACE

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He added that one of the issues surrounding the Coronation is whether or not there will be protests should Harry and Meghan
attend, particularly the Duchess.

The former royal editor asked: "Will there be public anger expressed against them. We know there are going to be demonstrations
by the republican movement... It's not impossible that there would be insults shouted at Harry and Meghan.

"It really is a complicated business, but their standing in this country has now fallen.

"They're extremely unpopular. They have a minus popularity rating in such polls as we're able to read about them so a lot of
people really won't be very welcoming when they come here."

Don't miss... Kate and William 'carefully' making 'sure they never put a foot wrong' [REPORT] Harry and Meghan didn't warn
Palace over title move as rift deepens [REVEALED] Sophie 'let her authentic feelings' about Harry & Meghan known - claim
[LATEST]

The Coronation weekend will be held from Saturday, May 6 to Monday May 8, with thousands of events expected to take place
across the country.

The formal ceremony will take place at Westminster Abbey and will follow the traditional pageantry used to anoint monarchs
over the past 1,000 years.

After processions to the Abbey and back, Charles and Camilla will then appear on the balcony at Buckingham Palace along
with members of the Royal Family.

Mr Ewart, asked what Harry and Meghan have reportedly requested ahead of the Coronation, said "status and respect".

He added: "What we need to remember in this mess - [which is] at the moment is threatening to overshadow the Coronation -
what we need to remember is Harry is still fifth in line to the throne.

"For everything that's happened he is still a senior royal so there are issues over the way he's treated and the way that he's
protected when he and his wife, possibly - although she may not come - when they come, if they come, to the Coronation."

Mr Ewart said a "sore point" will be what security Harry will be provided as well as whether he will be included in the carriage
procession, appear on the balcony of Buckingham Palace and where he will sit during the Coronation ceremony.




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He added: "There is still a lot to discuss. My sense is that the Palace has extended the invitation and they're now able to say,
'Look guys, the ball is in your court. If you don't want to come, let us know. If you do want to come, you're going to have
to play by our rules'."

A spokesperson for Harry said earlier this month the Sussexes have received an invitation to King Charles's Coronation but
would not yet confirm publicly whether they will attend.

They said: "I can confirm The Duke has recently received email correspondence from His Majesty's office regarding the
coronation.

"An immediate decision on whether The Duke and Duchess will attend will not be disclosed by us at this time."

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Prince Harry's US visa may be in trouble after Spare drug..., 2023 WLNR 10321970




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                                                       March 22, 2023

        Prince Harry's US visa may be in trouble after Spare drug use bombshells, lawyer warns
               Prince Harry's admission of drug use in bombshell book Spare may lead to
                legal troubles down the line, a former attorney has claimed after they say...

                                                     By, Ewan Gleadow

Prince Harry's admission of drug use in bombshell book Spare may lead to legal troubles down the line, a former attorney
has claimed after they say there is 'no exception' to drug use

Prince Harry may find his US visa revoked after revelations about his drug use were aired in Spare, the Duke's bombshell
autobiography.

A legal expert believes that the truthful Duke may have paved a way toward losing his right to reside in the United States
because of his book.

Others however have said that the Duke of Sussex should be fine, so long as he does not find himself in prison for any other
reason in the future.

READ MORE: Prince Harry shares drug that 'really helped' him mentally as cocaine 'did nothing'

Despite this, legal expert and former federal prosecutor Neama Rahmani has said there is "no exception" for recreational drug
use, royal or otherwise.

Speaking to PageSix, the former prosecutor said: "An admission of drug use is usually grounds for inadmissibility.

"That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs."

The Duke had previously revealed in his bombshell memoirs that he had taken cocaine, marijuana and mushrooms,
experimenting with psychedelics well into his adulthood.

It would appear though that Harry ditched Class A cocaine when he left his teenage years, with Daily Star reporting the round-
up of drugs the Duke had taken, and the one that "really helped" him through tough times.

In a conversation with Dr Gabor Maté, the Duke of Sussex revealed that marijuana was the most helpful drug of all those taken.



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Prince Harry's US visa may be in trouble after Spare drug..., 2023 WLNR 10321970




Speaking at the time on his drug use, the Duke said: "It was more of a social thing, and I guess trying to get a sense of belonging,
for sure. Marijuana is different, that actually did help me."

But attorney James Leonard has said the Duke may find himself in no trouble at all over such admissions, unless he "got arrested
or if he got a DWI".

He said: "Any criminal charge related to drugs or alcohol or any finding by a judicial authority that Prince Harry is a habitual
drug user, which he clearly is not, I don't see any issue with the disclosures in his memoir regarding recreational experimentation
with drugs."

For the latest breaking news from the Royal Family and stories from the Daily Star, sign up for our newsletter by clicking here .

READ NEXT:

World record challenger gorging on pancakes and pizza before '24 hours of hell' Prince Harry 'knew naming daughter Lilibet
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Meghan Prince Harry makes coronation 'dangerous' and a 'security risk' after Taliban comments Prince William gets 'good old-
fashioned revenge' on Harry with Frogmore Cottage eviction


---- Index References ----


News Subject: (Crime (1CR87); Criminal Law (1CR79); Drug Addiction (1DR84); Government Litigation (1GO18); Health
& Family (1HE30); Legal (1LE33); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Pharmaceuticals & Biotechnology (1PH13))


Language: EN

Other Indexing: (Prince Harry; Spare)

Word Count: 412

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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 204 of 416
Prince Harry's US visa under scrutiny as critics DEMAND to..., 2023 WLNR 10251587




                                   3/21/23 Daily Mirror Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 10251587

                                                   Daily Mirror Online (UK)
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                                                          March 21, 2023

       Prince Harry's US visa under scrutiny as critics DEMAND to know if he admitted drug use
                The conservative think tank America's Heritage Foundation is now calling
               for Harry's visa application to be released so the US taxpayer can underst...

                                                     By, Christopher Bucktin

The conservative think tank America's Heritage Foundation is now calling for Harry's visa application to be released so the
US taxpayer can understand whether the royal declared his drug use

Prince Harry is facing calls to have his US visa application made public after a request was submitted to release his papers
following his admission to taking drugs in the past.

The appeal comes after the Duke of Sussex admitted taking cocaine, cannabis and magic mushrooms in his autobiography
Spare, which was released earlier this year.

America's Heritage Foundation is now calling for Harry's visa application to be released so the US taxpayer can understand
whether the royal declared his drug use.

The conservative think tank's director Mike Howell said: "This request is in the public interest in light of the potential revocation
of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and whether he was
properly vetted before entering the United States".

Strict laws surround America's immigration policies with harsh penalties for anyone caught lying to officials.

They include deportation and being barred from applying for citizenship.

Hundreds of Brits are banned from the US after over their drug misuse.

In 2019, Brit Isabella Brazier-Jones claimed she was banned from the USA for 10 years after admitting to snorting a line of
cocaine two years prior.

The 31-year-old said she was immediately thrown in a jail cell and made to wait for 24 hours before being shipped back to
Britain.




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 205 of 416
Prince Harry's US visa under scrutiny as critics DEMAND to..., 2023 WLNR 10251587


The Heritage Foundation argues if immigration officials did know about the royal's drug use, Harry's case raises questions
over whether he was given special treatment because he is a prince and his wife is a TV star, which they insist would be illegal.

In response to the Foundation's calls, a US State Department spokesman said: "Visa records are confidential under Section 222f
of the Immigration and Nationality Act INA; therefore, we cannot discuss the details of individual visa cases".

In January and during his Spare book tour, Harry spoke about his drug use revealing he first took cocaine at 17 while on a
shooting weekend.

He also admitted to hallucinating during a celebrity-filled event in California and smoking cannabis after his first date with
Meghan.

Visa applicants are asked by US officials: "Have you ever violated any law related to possessing, using, or distributing illegal
drugs"

Answering yes means it is likely the applicant will be denied entry.

During one promotional event Prince Harry told Dr Gabor Maté marijuana "really helped him" mentally but taking cocaine
"did nothing for him".


---- Index References ----


News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))


Language: EN

Other Indexing: (US State Department) (Prince Harry)

Word Count: 427

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 206 of 416
So how DID Prince Harry get a US visa? Campaigners..., 2023 WLNR 10233796




                                    3/21/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 10233796

                                                   Daily Mail Online (UK)
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                                                         March 21, 2023

                 So how DID Prince Harry get a US visa? Campaigners demand to know if
                Duke admitted 'multiple' drug use on application - and call for the royal to b...

                                        Martin Robinson, Chief Reporter For Mailonline

So how DID Prince Harry get a US visa? Campaigners demand to know if Duke admitted 'multiple' drug use on application
- and call for the royal to be deported if he lied about taking cocaine before moving to California

Prince Harry faces a fight to keep his US visa application secret today as campaigners demanded its release to see if he admitted
his drug use before emigrating to California with Meghan Markle in 2020, MailOnline can reveal.

A conservative think tank is in the middle of a battle with Washington DC officials who are staunchly refusing to publish any
details - including any texts or emails - citing the Duke of Sussex's 'privacy'.

In Spare and the TV blitz that followed, Harry admitted taking cocaine, cannabis and magic mushrooms. He said marijuana and
psychedelics 'really helped' with his 'trauma' while cocaine was more a 'social thing'.

The Heritage Foundation says his visa application must now be released so the American taxpayer can understand whether
Harry declared his drug use. US immigration law has harsh penalties for lying to immigration officials, including deportation
and being barred from applying for citizenship.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: 'This request is in the public interest in light of the
potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and
whether he was properly vetted before entering the United States'.

Experts have insisted US visa applications would usually be thrown out if there is any history of drug use. The Heritage
Foundation says if border officials did know, Harry's case raises questions over whether he was given special treatment because
he is a prince and his wife is a TV star, which they insist would be illegal.
 Can drug users be banned from visiting the United States?
US officials can stop foreigners who have committed drugs offences entering the country even if they have never been arrested
and charged by police.

Under US rules, suspected drug abusers applying for a visa may be required to answer additional medical history questions
and also take a medical exam to prove that they are not still a drug abuser before being allowed to enter the country.




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So how DID Prince Harry get a US visa? Campaigners..., 2023 WLNR 10233796


In high profile cases where celebrities who are known to have taken drugs want to come to America, they have been invited
into the US embassy in London to take a drugs test.

Pete Doherty was famously banned from the US due to drug-related arrests.

In 2014 chef Nigella Lawson was banned from flying to the US because she confessed to taking drugs.

MailOnline has approached representatives for Prince Harry for comment.

A US State Department spokesman said: 'Visa records are confidential under Section 222(f) of the Immigration and Nationality
Act (INA); therefore, we cannot discuss the details of individual visa cases'.

In his autobiography 'Spare', Harry revealed that he first took cocaine on a shooting weekend at age 17. He did a 'few more
lines' on other occasions.

He also admitted to hallucinating during a celebrity-filled event in California and smoking cannabis after his first date with
Meghan.

He also spoke about his 'positive' experience of psychedelic drug ayahuasca saying it 'brought me a sense of relaxation, release,
comfort, a lightness that I managed to hold on to for a period of time'.

The duke, 38, made the comments in an interview with therapist Dr Gabor Maté,an outspoken supporter of decriminalising
drugs who has allegedly used Amazonian plant ayahuasca to treat patients suffering from mental illness.

Harry told him: '(Cocaine) didn't do anything for me, it was more a social thing and gave me a sense of belonging for sure, I
think it probably also made me feel different to the way I was feeling, which was kind of the point.

'Marijuana is different, that actually really did help me.'

Fiona Spargo-Mabbs, who launched a drugs education charity in her son Daniel's name after he died of an accidental MDMA
overdose aged 16, said the duke's comments were 'concerning'.

It has long been speculated that Harry could be working in the US on a fast track visa handed to people with 'extraordinary
ability' - known as a O-1 visa. The O-1, also used by Canadian singer Justin Bieber and Australian actor Hugh Jackman, last
for three years, meaning that Harry's renewal could be due with weeks.

Following the release of Spare in January, where the exiled royal revealed regular drug use, immigration experts warned he
may have put his visa 'at risk' after admitting about his illicit drug use.

And today MailOnline can reveal that The Heritage Foundation, which took a leading role in the conservative movement during
the presidency of Ronald Reagan and had a major influence on Donald Trump's administration, has asked for the release of his
visa application demanding to know if Harry was 'properly vetted' before coming to America.

They also want to know if he admitted to officials that he took drugs, which immigration experts note meant he should have
been denied residency in the US if he failed to disclose his narcotics usage during the application process.

The Heritage Foundation has also compiled a dossier of evidence, including Harry's own admissions in his memoir and various
TV interviews about taking cocaine, cannabis and magic mushrooms.




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So how DID Prince Harry get a US visa? Campaigners..., 2023 WLNR 10233796


This has all been sent to the Department of Homeland Security, US Customs/Border Protection and US Citizenship Immigration
Services to bolster their freedom of information request.

But US officials have so refused to release his visa application, citing 'privacy' concerns, but Mike Howell, director of the
Heritage Oversight Project, insists it is in the 'public interest' to know how Harry's case was handled and has appealed the
decision.

Mr Howell has also demanded to see any emails, texts, WhatsApps or other correspondence related to Harry's visa to ensure
public confidence in how it was handled.

He said: 'Harry's abuse of multiple illicit substances, including marijuana, cocaine, "magic mushrooms," and other psychedelic
drugs.

'It is unclear at this juncture whether DHS complied with the law if, in admitting Prince Harry, did so without a waiver or any
interview with CBP to assess whether, given his history, he was admissible to the United States.

'As a result, this widespread media interest in Prince Henry's drug abuse inevitably raises possible questions regarding his
application for residency in the United States.

'Public confidence in the government would undoubtedly suffer if DHS, CBP, and USCIS failed to properly vet such a high-
profile case.

'Moreover, if Prince Harry was granted preferential treatment that too would undermine public confidence in DHS, CPB, and
USCIS's application of equal justice under the law'.

Following the release of Spare, immigration experts warned The Duke of Sussex could be barred from the US and put his visa
'at risk' after admitting about his illicit drug usage.

American authorities note entry into the country is granted on a 'case-by-case' basis - and it is unclear if Harry, who moved to
California with his wife Meghan Markle in 2020, detailed his drug use on his visa application.

It is unclear what type of US visa Harry holds, but analysts speculate he either holds a spousal visa - sponsored by his American
wife - or a O-1 visa which is given to people with 'extraordinary ability'.

The Sussexes relocated to California in 2020, meaning his visa could be set to expire this year. Any renewal application could
be impacted by his newly admitted history with drugs.

Anyone seeking temporary or permanent residency in the US must answer a series of questions about their criminal and drug
history during when applying.

'He would have been asked [about drug use]. If he was truthful in his answers, he should have been denied,' Prof Alberto
Benítez, director of George Washington University's Immigration Clinic, said recently/

The professor argued that if Harry did not detail his drug use, he would have been 'perjuring himself on an official US
government document'.

He claimed honesty would have been in the Duke's 'best interest' and noted he may have received discretion from immigration
officials because of his royal status.




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So how DID Prince Harry get a US visa? Campaigners..., 2023 WLNR 10233796


'If he wasn't Prince Harry, if he was 'Fred Jones' and he had this kind of a background, he'd have a lot more scrutiny and I could
certainly see the green card being denied,' Prof Benitez added.

US State Department officials have repeatedly declined to answer whether his admission of drug use would 'cause difficulties'
with his immigration status - or if he had detailed any drug use before.

'Visa records are confidential under US law; therefore, we cannot discuss the details of individual visa cases. We cannot speculate
on whether someone may or may not be eligible for a visa,' a spokesman said in January

'Whenever an individual applies for a US visa, a consular officer reviews the facts of the case and determines whether the
applicant is eligible for that visa based on US law.

'All visa applications are adjudicated on a case-by-case basis.'


---- Index References ----

Company: U.S. Customs and Border Protection,; US Citizenship and Immigration Services; HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN

Other Indexing: (Heritage Oversight Project; US State Department; Department of Homeland Security; USCIS; US Customs/
Border Protection; US Citizenship Immigration Services; Heritage Foundation) (Prince Harry)

Word Count: 1500

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 210 of 416
Stoned out of US?, 2023 WLNR 10365162




                                                     3/22/23 N.Y. Post 16
                                                    2023 WLNR 10365162

                                                      New York Post
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                                                       March 22, 2023

                                                       Section: Page Six

                                                    Stoned out of US?

BEST-selling author Prince Harry (above) may find himself in hot water for being too honest about his past drug use, a
legal expert tells Page Six, while others assert the British royal is in the clear. "An admission of drug use is usually grounds
for inadmissibility," former federal prosecutor Neama Rahmani told The Post's Eileen Reslen of Harry's status in the States.
"That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs" in his blockbuster memoir "Spare." But another legal expert, James Leonard, said, "I don't see any issue with the
disclosures . . . regarding recreational experimentation with drugs."


---- Index References ----


News Subject: (Crime (1CR87); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Drug Approval Process (1DR91); Drug Discovery & Development Process (1DR41); Pharmaceuticals (1PH33);
Pharmaceuticals & Biotechnology (1PH13); Pharmaceuticals Research & Development (1PH57))


Language: EN

Edition: All Editions

Word Count: 109

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 211 of 416
Warning to Prince Harry: U.S. visa could be revoked after..., 2023 WLNR 10384567




                              3/22/23 NOTICIASFINANCIERAS - ENG. (Pg. Unavail. Online)
                                               2023 WLNR 10384567

                                                NoticiasFinancieras - English
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                                                        March 22, 2023

            Warning to Prince Harry: U.S. visa could be revoked after admission of drug abuse

Prince Harry revealed in his recent memoir, "Spare" and in several television interviews that he used cocaine, cannabis and
magic mushrooms in the past.

The Duke of Sussex's admission of drug use could threaten his US visa, warned a US lawyer, who insisted that there was "no
exception for royals", commented Daily Mail.

The media outlet further revealed yesterday that the duke now faces requests to have his US visa application published to see
if he admitted his drug use before emigrating to California with Meghan Markle in 2020.

The DC-based Heritage Foundation explained that his visa application must now be accessible so that the US taxpayer can
understand whether Harry declared his drug use.

U.S. immigration law has stiff penalties for lying to immigration officials, including deportation and a ban on applying for
citizenship.

Former federal prosecutor Neama Rahmani told Page Six that "Admission of drug use is generally grounds for inadmissibility.
That means Prince Harry's visa should have been denied or revoked because he admitted to using cocaine, mushrooms and
other drugs."

He added that "there is no exception for recreational use."

Mike Howell, director of the Heritage Foundation's Oversight Project, said, "This request is in the public interest in light of
the possible revocation of Prince Harry's visa for illicit substance use and further questions about the Prince's drug use and
whether he was properly vetted before entering the United States."

The media outlet commented that the Heritage Foundation says that if border officials knew, Harry's case raises questions
about whether he received special treatment because he is a prince and his wife is a TV star, which they insist would be illegal.

So far it is not known exactly what questions he was asked when he applied for his U.S. visa, because it is still unclear what
visa he received, Daily Mail commented. However, the question on the ESTA (Electronic System for Travel Authorization)
application that most U.K. tourists would use is, "Have you ever violated any laws relating to the possession, use or distribution
of illegal drugs?"




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 212 of 416
Warning to Prince Harry: U.S. visa could be revoked after..., 2023 WLNR 10384567


A U.S. State Department spokesperson told the media outlet that "Visa records are confidential under Section 222(f) of the
Immigration and Nationality Act (INA); therefore, we are unable to discuss the details of individual visa cases."

It should be recalled that in "Spare," the Duke of Sussex admitted to taking cocaine, cannabis and magic mushrooms. He said
marijuana and psychedelics "really helped" with his "trauma," while cocaine was more of a "social thing."

"(Cocaine) didn't do anything for me, it was more of a social thing and gave me a sense of belonging for sure, I think it probably
also made me feel different than how I felt, which was kind of spot on. Marijuana is different, that really helped me," he revealed
in an interview with therapist Dr. Gabor Maté, an outspoken supporter of drug decriminalization.

Prince Harry filed a libel suit against a British newspaper

Prince Harry admitted that marijuana was his salvation to overcome depressive episodes.

British Defense Minister criticized Prince Harry for revealing that he killed 25 Taliban: "He let his team down".


---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42))


Language: EN

Other Indexing: (U.S. State Department; Heritage Foundation) (Prince Harry)

Keywords: (america); (realeza)

Word Count: 523

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 213 of 416
Bin 'spoke' to him when he ate magic mushrooms, 2023 WLNR 740104




                                                      1/7/23 Daily Mail 7
                                                     2023 WLNR 740104

                                                     Daily Mail (UK)
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                                                        January 7, 2023

                                                         Section: News

                                  Bin 'spoke' to him when he ate magic mushrooms

                                                         Ryan Hooper

A PEDAL bin 'spoke' to Prince Harry in an hallucination during a drug binge in California, his book reveals.

He acknowledged that his memoirs contained 'surprising' revelations of drug use dating back to his teenage years.

The Duke of Sussex admitted trying cocaine for the first time aged 17 and also experimented with magic mushrooms and
cannabis at various stages in his life.

In one extract, the prince said that at a party he and a group of friends discovered a box of mushroom chocolates in a fridge
and decided to eat them before washing them down with tequila.

The 'trip' did not go as intended, however, and the duke ended up having a bizarre hallucination in the bathroom. Harry described
staring at a bin which, in his drug-induced state, took on human form.

It became a head and began to smile as Harry placed his foot on the pedal to lift the lid, according to the book.

The prince said he laughed and then went to the loo, at which point the toilet also became a head, with the hinges holding the
seat in place resembling silver eyes.

Elsewhere, Harry said he had taken cocaine during a shooting weekend by the summer of 2002, when he was 17, and did 'a few
more lines' on other occasions. He wrote that it was not a fun experience but he did feel 'different', which was his 'main goal'.

On another occasion, Harry told how he drank tequila, smoked weed and watched the computer-animated film Inside Out with
a friend after his first date with Meghan.

In another brief trailer for ITV's interview with the duke, due to be broadcast tomorrow, presenter Tom Bradby said: 'There's
a fair amount of drugs - marijuana, magic mushrooms, cocaine that's going to surprise people,' to which Harry responded:
'But important to acknowledge.'

Harry has spoken candidly in the past about his previous drug use, saying he was willing to take substances after the death
of his mother in 1997.



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              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 214 of 416
Bin 'spoke' to him when he ate magic mushrooms, 2023 WLNR 740104




In 2002, Charles sent Harry to Featherstone Lodge, a drug rehabilitation clinic in Peckham, south London, after he admitted
smoking cannabis and drinking alcohol.

US officials confirmed allegations of drugtaking would not lead to California resident Harry being banned from entering
America.

Under US law, foreign nationals who have admitted taking drugs can be turned away at the border and refused a visa.

But American immigration lawyer Christi Jackson told GB News that admissions of drug use in the pages of a book would
not be considered 'valid'.


---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Parents & Parenting (1PA25); Smoking
(1SM71); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05); Teenagers (1TE59))

Industry: (Pharmaceuticals & Biotechnology (1PH13))


Language: EN

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 215 of 416
BURNING WI ING WITH FURY, 2023 WLNR 871115




                                         1/9/23 Daily Record (Glasgow, Scotland) 8
                                                    2023 WLNR 871115

                                              Daily Record (Glasgow, Scotland)
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                                                       January 9, 2023

                                                   Section: News; Teasers

                                   BURNING WI ING WITH FURY
                             BOMBSHELL ROYAL BOOK: RESULT OF Harry's
                             WORDS Wills livid but refusing to bite, say supporters

                                                     RUSSELL MYERS

PRINCE William is said to be "burning" with anger over Prince Harry's decision to drive a wrecking ball through the Royal
Family with his memoir, Spare.

But he is also reportedly "anxious and sad" at being accused of bullying his brother and even physically attacking him.

Yet supporters insist William, 40, will refuse to engage in a war of words with his estranged sibling, despite the string of
incendiary allegations against their family.

Friends have reportedly branded Harry, 38, "cruel and cowardly" over his extraordinary claims, which include tales of fighting,
arguments and jealousy behind closed doors.

WILLIAM'Sitting as Harry knows he isn't going to retaliate FRIEND OF WILLIAM'S ON 'COWARDLY' HARRY

One friend of William's told The Sunday Times: "He won't retaliate, he never would, because he's dignified and loyal.

"William is a sitting duck because Harry knows he isn't going to retaliate. It's cruel, cowardly and so sad for William to keep
taking the punches."

Here, the Record examines the latest raft of astonishing stories to emerge from Harry's book and the fallout.

¦Spare, published by Penguin Random House, is available from tomorrow, RRP £28.

WILLIAM LUNGE 'LOOKING FOR A FIGHT' HARRY claims after flying back for the funeral of grandfather Prince Philip,
tensions raged in his family, saying: "My father and Willy had come looking for a fight.

"Every time I tried to offer a new explanation one of them would interrupt me.




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BURNING WI ING WITH FURY, 2023 WLNR 871115


"Willy, in particular, wouldn't see sense."

Harry also recounts how he accused William of "not lifting a finger" to help him when he and wife Meghan were "stripped of
everything" in their exit deal from the family.

And he claims William replied: "That was Granny! Take it up with Granny!"

Harry writes: "I waved a hand, disgusted, but he lunged, grabbed my shirt." He claims he then "pulled away" and "refused to
meet" William's gaze.

But he insists his brother "forced me to look into his eyes".

Harry claims his brother faced him, saying: "Listen to me, Harold, listen! I love you, Harold! I want you to be happy."

THERAPY 'BRAINWASHED'

HARRY claims that William told him he believed he had been "brainwashed" by the therapist he was seeing.

The Duke of Sussex outlines the moment he alleges his older brother said he wanted to come along to one of his confidential
therapy sessions.

And Harry also accuses William of believing "I was unwell, which meant I was unwise" as he made plans to leave royal duties
and carve out a new life abroad.

Harry further states that he tried to patch up their relationship with a joint therapy session, telling William it would "be good
for you. Good for us". However, he claims that William did not take up the offer.

DI COFFIN WALK 'A BARBARITY'

SPARE alleges there were heated arguments between Princess Diana's brother, Earl Spencer, and the Royal Family about
whether Harry, then 12, and William, then 15, should walk behind their mother's coffin at her funeral.

The Earl "flew into a rage" at the idea, calling it "a barbarity", Harry claims, recalling him saying: "You cannot force these
children to walk behind their mother's coffin." But Harry says he objected when someone suggested William follow the hearse
on his own, writing: "It didn't seem right that Willy would have such a hard time without me." Harry adds "it seemed a lot to
ask for two children", claiming: "Several adults were horrified."

FORMER ALLIES 'DISLOYALTY'

FORMER allies of Harry are reportedly considering whether to go on record to quash some of his allegations.

And several once-loyal pals have branded some of the Prince's claims "b*****ks", according to The Sunday Times.

One former friend allegedly warned: "Loyalty works both ways." Harry's book contains a number of explosive revelations 
including details of a physical fight between the Duke of Sussex and Prince William.

And some sources have warned that the "outrageous disloyalty" Harry is showing is "strategically not clever".

They said: "You could have a f***ing field day with sh** on Harry."



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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 217 of 416
BURNING WI ING WITH FURY, 2023 WLNR 871115




PRINCE ANDREW 'SHAMEFUL'

Harry's the first royal to openly criticise his uncle, Prince Andrew, over sexual abuse allegations. It came as he told of talks
with Meghan about security after they quit the UK. Harry'says there was an "obligation" to protect them and he didn't think
his taxpayerfunded service would be cut.

He writes: "Not in this climate of hate. And not after what happened to my mother. Also, not in the wake of my Uncle Andrew.

"Despite.. a shameful scandal, accused of sexually assaulting a young girl, no one had even suggested removing his security.
People have had plenty of reasons to complain about us, sex crimes weren't one."

Andrew has always denied the allegations.

TALIBAN KILLINGS 'TRUE COLOURS'

HATE preacher Anjem Choudary said Harry'shown "his true colours" by claiming he killed 25 Taliban fighters while serving
as an Apache pilot in Afghanistan.

He said: "[This] tells us everything we need to know about the Royal Family and their thinking about Islam and Muslims. In
reality, the British Royal Family has along and dark history of supporting the occupation of Muslim lands, the usurpation of
its resources and the oppression of Muslims."

The cleric also issued a threat to troops stationed in Islamic nations, urging Muslims to target them in "Syria, Iraq and North
Africa where many British soldiers are deployed".

GOLDEN JUBILEE 'MAYBE I'M ADOPTED'

HARRY claims he wondered if he was adopted because of how calm the Queen was at Golden Jubilee celebrations in 2002,
saying: "What struck me most was how little surprised she was.

"It wasn't that she didn't feel emotions. On the contrary, I always thought that Grandma felt all the normal emotions in a human
being.

Only she knew how to control them better than the rest of the mortals.

"I stood at her side or behind her for most of the celebration and often the thought would come to my mind, 'If this doesn't faze
her, she really has earned her reputation for unflappable serenity.'

"In which case, maybe I'm adopted? Because I am a bundle of nerves'."

DRUGS & US VISA 'SHOULD BE DENIED'

IT is feared that Harry's revelations about drug use could put his US visa at risk.

The Prince admits in his memoir that he has taken cannabis, cocaine and magic mushrooms.

Experts argue that he could have been denied residency in America if he had disclosed his drug use when applying. And he could
even have it revoked now if it is determined that he "lied" during the process, a leading authority on US immigration has argued.



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              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 218 of 416
BURNING WI ING WITH FURY, 2023 WLNR 871115




Professor Alberto Benítez, director of George Washington University's Immigration Clinic, said: "He would have been asked
[about his drug use]. If he was truthful in his answers, he should have been denied."

BEST MAN 'BARE FACED LIE'

Harry's confirmed that he picked a close friend rather than his brother to be best man at his 2018 wedding to Meghan - after
claiming it was a "bare faced lie" that he was WILLIAM'S best man at his 2011 wedding to Kate.

Contrary to public knowledge, Harry'said he picked his "old friend" Charlie for the job. And he claimed that the Royal Family
lied again about who was really best man.

Harry'so suggested that William failed to attend a get-together for drinks he organised with friends at Coworth Park Hotel in
Ascot on the eve of his big day - because he may have been sulking at not being handed the best man role.

William is a sitting duck as Harry knows he isn't going to retaliate FRIEND OF WILLIAM'S ON 'COWARDLY' HARRY


---- Index References ----

Company: PENGUIN RANDOM HOUSE LLC

News Subject: (Crime (1CR87); Health & Family (1HE30); Islam (1IS02); Religion (1RE60); Sexual Misconduct & Crimes
(1SE01); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))


Language: EN

Other Indexing: (ING; British Royal Family; Penguin Random House)

Edition: 01

Word Count: 1274

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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 219 of 416
Cannabis News Today, 2023 WLNR 1492513




                                 1/13/23 News Americas News Network (Pg. Unavail. Online)
                                                 2023 WLNR 1492513

                                                News Americas News Network
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                                                         January 13, 2023

                                                   Cannabis News Today

                                                          Newsamericas

Black Immigrant Daily News

News Americas, NEW YORK, NY, Fri. Jan. 13, 2023: Here are the cannabis headlines making marijuana news globally and
in the Caribbean and Latin America this week in less than 60 seconds:

Prince Harry has revealed he would 'roll a joint' at Tyler Perry's house while wife Meghan Markle and son Archie slept in
another room as they house-hunted for themselves. Harry, the Duke of Sussex, made the admission in his tell all book, 'Spare,'
in which he admitted to smoking weed, doing cocaine and also magic mushrooms.

The duke, then 36, said he rolled joints while staying at US actor Tyler Perry's home in Los Angeles in 2020, before settling
in nearby Montecito.

"Late at night, with everyone asleep, I'd walk the house, checking the doors and windows. Then I'd sit on the balcony or the
edge of the garden and roll a joint. The house looked down onto a valley, across a hillside thick with frogs. I'd listen to their
late-night song, smell the scented air," he states.

Cannabis was legalized for recreational use in California in 2016 but there is speculation his drug taking admission could put
his US visa at risk.

Former NBA players Al Harrington and Larry Hughes are teaming up once again, as they bring Harrington's cannabis business,
Viola Brands, to St. Louis. Los Angeles-based Viola will open two dispensaries this month.

The federal U.S. Sentencing Commission (USSC) held a public meeting on Thursday, where members voted to propose an
amendment to update sentencing guidelines to suggest that judges treat prior marijuana possession offenses more leniently.

Senators in the U.S. Virgin Islands have voted to legalize cannabis for adults, making the Caribbean territory the 21st jurisdiction
in the United States to end the prohibition on recreational marijuana.

A push to legalize recreational cannabis is now underway in Hawaii.

Indiana lawmakers on both sides of the aisle have made a push to legalize marijuana, but it is dependent on changes made at
the federal level first.


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Cannabis News Today, 2023 WLNR 1492513




According to Facts & Factors, the global legal marijuana is anticipated to generate revenue worth over USD 97 Billion by the
end of 2026, representing a CAGR of around 28% between 2021 and 2026.

Meanwhile, the global Cannabidiol Oil (CBD Oil) Market is expected to at a CAGR of 38.90% during the forecast period. This
indicates that the market value, which was USD 9.86 Billion in 2022, would rocket up to USD 136.64 Billion by 2030.

And three Cannabis stocks to watch In 2023 are: Innovative Industrial Properties (IIPR); Green Thumb Industries (GTBIF)
and Trulieve Cannabis (TCNNF).

NewsAmericasNow.com

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---- Index References ----

Company: GREEN THUMB INDUSTRIES INC.; INNOVATIVE INDUSTRIAL PROPERTIES, INC.

News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Smoking (1SM71); Smuggling & Illegal
Trade (1SM35); Social Issues (1SO05))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42); Gardens & Gardening (1GA80))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN

Other Indexing: (Viola Brands; U.S. Sentencing Commission; Green Thumb Industries; Innovative Industrial Properties)

Word Count: 442

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 221 of 416
Drug history 'should have barred entry to America', 2023 WLNR 767706




                                                      1/8/23 Sunday Tel. 5
                                                      2023 WLNR 767706

                                                  Sunday Telegraph (UK)
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                                                         January 8, 2023

                                                         Section: News

                                 Drug history 'should have barred entry to America'

THE Duke of Sussex should have been denied residency in America if he failed to disclose his drug use and could see it revoked
if he "lied", a leading US immigration expert has suggested.

Anyone seeking to settle either temporarily or permanently in the US must answer questions about their drug use.

Prince Harry extensively details his drug-taking in his tell-all memoir Spare.

Immigration lawyers The Sunday Telegraph spoke to confirmed the Duke of Sussex would have been required to detail that
history when he made the decision to permanently relocate to California with his wife Meghan in 2020.

"He would have been asked [about drug use]. If he was truthful in his answers, he should have been denied,"

said Prof Alberto Benítez, director of George Washington University's Immigration Clinic.

The law professor said it would be in Harry's "best interest" to acknowledge his illicit drug use, adding "otherwise, he's
perjuring himself on an official US government document".

He suggested the Duke may have been granted some discretion by immigration officials because of his status.

"If he was 'Fred Jones' and he had this kind of a background, he'd have a lot more scrutiny and I could see the green card being
denied," Prof Benitez said.

If the Duke failed to declare it, Prof Benitez said: "One of the repercussions, whatever visa he has, is that it would be revoked."

The Duke of Sussex was contacted for comment.


---- Index References ----


News Subject: (Crime (1CR87); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade (1SM35); Social Issues
(1SO05))



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              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 222 of 416
Drug history 'should have barred entry to America', 2023 WLNR 767706




Language: EN

Other Indexing: (George Washington University's; Immigration Clinic)

Edition: 01

Word Count: 241

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              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 223 of 416
Drug stories 'US visa risk', 2023 WLNR 864670




                                                     1/9/23 Express (UK) 6
                                                      2023 WLNR 864670

                                                       Express (UK)
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                                                        January 9, 2023

                                                         Section: News

                                                Drug stories 'US visa risk'

                                                        Giles Sheldrick

ADMITTING to extensive drug use could get Prince Harry's US visa revoked, it is claimed.

The Duke of Sussex, who details his past use of magic mushrooms, cocaine and marijuana in his book, said in his TV interview
that doing so is "important to acknowledge".

But rules state a person's "current and/or past actions", including drug use, may make them ineligible for a US visa.

US immigration expert Professor Alberto Benítez said: "If he was truthful in his answers, he should have been denied [a visa]."

The US State Department said applications are judged on a "case-by-case basis".

If Harry holds a spousal visa through his marriage, it usually lasts three years.


---- Index References ----


News Subject: (Immigration & Naturalization (1IM88); Social Issues (1SO05))



Language: EN

Other Indexing: (US State Department)

Edition: 01

Word Count: 115

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Drug stories 'US visa risk', 2023 WLNR 864670




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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 225 of 416
Harry and Meghan 'would weaken monarchy if they could' in..., 2023 WLNR 900857




                                      1/9/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                     2023 WLNR 900857

                                                     Express Online (UK)
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                                                         January 9, 2023

        Harry and Meghan 'would weaken monarchy if they could' in countdown to Duke's memoir
                      Prince Harry and Meghan Markle announced their decision
                      to step down as senior working royals on January 8, 2020.

                                                          Lauren Welch

Three years on from their announcement, royal expert Richard Fitzwilliams has spoken exclusively to Express.co.uk about the
Duke and Duchess of Sussex's strained relationship with the monarchy.

Related articles

Speaking of the monarchy, Mr Fitzwilliams said: "The monarchy has, with the exception of Cromwell's protectorate, lasted
over 1,000 years. [It] is an integral part of Britain's DNA."

He added: "The Sussexes would weaken it if they could. They have harmed it, even in Britain, especially among the young."

Despite no longer being a senior royal, Harry is still fifth in the royal line of succession.

Harry and Meghan's two children, Archie and Lilibet, are still sixth and seventh in line, as stated on the official monarchy
website.

READ MORE: Prince Harry's claim William and Kate had hand in infamous Nazi outfit branded 'bull****'

Prince Harry asked why he and Meghan haven't renounced their Sussex titles 'Why not?'Sitting down with Anderson Cooper
on CBS on Sunday night, Prince Harry says that he "tried to [speak to his family] privately" before voicing his issues with the
world, but felt he was left with no choice but to go public.

As the controversial show aired, many were asking why the Duke and Meghan have not renounced their royal titles - and the
Prince had a definitive answer.

Read the full story here.

The royal expert claimed that the monarchy "lies in the hands" of Prince William, who is next in line to the throne, and his wife,
Kate, as well as their three children, who all fall before Harry in the line of succession.




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 226 of 416
Harry and Meghan 'would weaken monarchy if they could' in..., 2023 WLNR 900857


In their official departure statement, Harry and Meghan declared their wish to "make a transition" and to "carve out a progressive
new role" within the monarchy.

They wished to "become financially independent", whilst continuing to support the late Queen.

Following their departure, and completing their final engagement in March 2020, the couple signed a multi-million dollar deal
with the popular streaming service, Netflix.

DON'T MISS

Harry's royal revelations baffle Montecito neighbours [LATEST]Prince Harry wanted to cancel tell-all book after visiting
Queen [INSIGHT]Meghan and Harry's biographer fumes at Harry critics over new book [INSIGHT]

Related articles

The couple released their two-part Netflix series, titled Harry and Meghan, in December 2022.

Prince Harry is due to release his bombshell memoir on January 10, 2023.

His memoir, Spare, is set to include a series of bombshell claims, some of which have already been revealed in the past few days.

Earlier this week, copies of Spare were spotted in stores in Spain. Harry's memoir was originally scheduled for release in
late 2022.

Related articles Harry The Interview airs on ITV tonight and here are all the details Harry's friends come out fighting for
Duke after Taliban kill claim Meghan Markle warned Americans turning on her over 'endless whining' Prince Harry's drug
admissions in book could put US visa at risk Harry and Meghan won't regain UK support, expert claims


---- Index References ----


News Subject: (Equity Instruments (1EQ90); Funding Instruments (1FU41); Health & Family (1HE30); Market Financials
(1FI61); Stock Markets (1ST45))

Industry: (Construction (1CO11); Financial Services (1FI37); Investment Management (1IN34); Securities Investment (1SE57);
Stocks (1EQ09); Tools (1TO28))

Region: (England (1EN10); Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Prince Harry; Meghan Markle)

Word Count: 487

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              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 227 of 416
I smoked pot at 36... listening to the frog chorus, 2023 WLNR 1193412




                                                      1/11/23 Metro (U.K.) 3
                                                      2023 WLNR 1193412

                                                        Metro (UK)
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                                                         January 11, 2023

                                                           Section: News

                                    I smoked pot at 36... listening to the frog chorus

PRINCE Harry was still smoking cannabis after relocating to the US with his family two and a half years ago, he reveals in
his book.

The duke, then 36, said he rolled joints while staying at US actor Tyler Perry's home in Los Angeles in 2020, before settling
in nearby Montecito.

In book Spare, released in the UK yesterday, he writes: 'Late at night, with everyone asleep, I'd walk the house, checking the
doors and windows. Then I'd sit on the balcony or the edge of the garden and roll a joint.

'The house looked down onto a valley, across a hillside thick with frogs. I'd listen to their late-night song, smell the scented air.'

Cannabis was legalised for recreational use in California in 2016 but there is speculation Harry's drug taking admission could
put his US visa at risk. The 38-yearold also admits in Spare he took cocaine at the age of 17 and once hallucinated on magic
mushrooms at a celebrity party in California.

When quizzed about the royal's visa and drug use, the US state department said: 'All applications are adjudicated on a case-
by-case basis. Visa records are confidential under US law: therefore, we cannot discuss the details of individual cases.'


---- Index References ----


News Subject: (Drug Addiction (1DR84); Health & Family (1HE30); Smoking (1SM71))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42); Celebrities (1CE65);
Entertainment (1EN08))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN

Edition: 01

Word Count: 205



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           Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 228 of 416
I smoked pot at 36... listening to the frog chorus, 2023 WLNR 1193412




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             Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 229 of 416
Prince Harry at risk of losing his visa for drug use




                                         3/8/23 CE Latin Am. Migr. Newswire 00:00:00

                                             CE Latin America Migration Newswire
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                                                          March 8, 2023

                                 Prince Harry at risk of losing his visa for drug use

                                                               SUN.

Prince Harry , in his need to talk about his mental health, confessed that he used psychedelic and other drugs , such as marijuana
and cocaine , during a talk that was broadcast live with controversial physician Gabor Mate for the program "The Myth of
Normal: Trauma, Illness, and Healing in a Toxic Culture."

"I started doing it recreationally and then realized how good it was for me," recounted Henry, Duke of Sussex.

 READ: Rauw Alexander dislocates his shoulder during his concert and is taken to the hospital (VIDEO)
However, these statements that caused astonishment to more than one could cause him problems with the U .S. government,
since if the son of Charles III did not mention that in his past he used intoxicants, the authorities could revoke his permission
to live in California .

According to U.S. Citizenship and Immigration Services, visa applicants "who are determined to be drug abusers or addicts
are inadmissible."

"(Authorities) frown upon drug use by non-U.S. citizens," Piers Morgan said. "Another compelling reason why we don't want
them at the King's coronation, as we could end up keeping them forever," he added referring to Harry and Meghan.

Australia's "Sky News" recalled the time in 2014 when chef Nigella Lawson was banned from taking a flight to the United States
after confessing to cocaine use during a trial. Later, her case was subjected to analysis and she was given a pardon after an appeal.

Harry and Meghan have already received the official invitation to the coronation of King Charles III next May 6 and it was via
email. The couple has not yet decided whether they will attend the royal family event or decline the invitation.

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---- Index References ----

Company: US Citizenship and Immigration Services; United States of America




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Prince Harry at risk of losing his visa for drug use


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Healthcare (1HE06); Healthcare Practice Specialties (1HE49); Healthcare Services (1HE13); Psychiatric Services
(1PS61))


Language: EN

Other Indexing: (U.S. Citizenship and Immigration Services; U .S. government) (Prince Harry)

Keywords: (Entretenimiento)

Word Count: 307

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 231 of 416
Prince Harry could be barred from the US and has put visa..., 2023 WLNR 786025




                                    1/8/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 786025

                                                   Daily Mail Online (UK)
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                                                        January 8, 2023

                              Prince Harry could be barred from the US and has put
                                visa 'at risk' after his admission he has taken drugs

                                               Natasha Anderson For Mailonline

Prince Harry could be barred from the US and has put visa 'at risk' after admitting about his illicit drug usage, immigration
experts have warned.

The Duke of Sussex, 38, confessed to doing cocaine, smoking cannabis and taking hallucinogenic mushrooms in his upcoming
memoir.

Prince Harry could be barred from the US after he admitted to taking drugs He confessed to doing cocaine, smoking cannabis
and taking mushrooms Typical visa applicants would be denied over their history with illicit substances

Typical applicants would be denied a visa over their history with illegal substances, but US authorities note entry into the
country is granted on a 'case-by-case' basis.

It is unclear if Harry, who moved to California with his wife Meghan Markle in 2020, detailed his drug use on his visa
application. Immigration experts warn that if he 'lied' about his past, the Duke could have his visa revoked.

In his new autobiography 'Spare', Harry revealed that he first took cocaine on a shooting weekend at age 17. He did a 'few
more lines' on other occasions.

The one hard-partier also admitted to hallucinating during a celebrity-filled event in California and smoking cannabis after his
first date with Meghan.

Most applicants with a history of drug use would be denied American visas, however immigration decisions are made on a
'case-by-case' basis, The Sunday Times reported.

US immigration rules state an individual's 'current and/or past actions, such as drug or criminal activities . . . may make the
applicant ineligible for a visa'.

It is unclear what type of US visa Harry holds, but analysts speculate he either holds a spousal visa - sponsored by his American
wife - or a O-1 visa which is given to people with 'extraordinary ability'.




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Prince Harry could be barred from the US and has put visa..., 2023 WLNR 786025


If Harry holds an O-1 visa, which is often given to celebrities and athletes, it would have to be renewed after three years.

The Sussexes relocated to California in 2020, meaning his visa could be set to expire this year. His renewal application could
be impacted by his newly admitted history with drugs.
 Prince Harry was allowed to leave his RAF base when drugs testers turned up: Click here to read more
Immigration experts, however, note Harry should have been denied residency in the US if he failed to disclose his drug usage
during the application process.

Anyone seeking temporary or permanent residency in the US must answer a series of questions about their criminal and drug
history during when applying.

'He would have been asked [about drug use]. If he was truthful in his answers, he should have been denied,' Prof Alberto
Benítez, director of George Washington University's Immigration Clinic, told The Telegraph.

The professor argued that if Harry did not detail his drug use, he would have been 'perjuring himself on an official US
government document'.

He claimed honesty would have been in the Duke's 'best interest' and noted he may have received discretion from immigration
officials because of his royal status.

'If he wasn't Prince Harry, if was 'Fred Jones' and he had this kind of a background, he'd have a lot more scrutiny and I could
certainly see the green card being denied,' Prof Benitez added.

US State Department officials declined to answer the newspaper's query about whether or not his admission of drug use would
'cause difficulties' with his immigration status.

'Visa records are confidential under US law; therefore, we cannot discuss the details of individual visa cases. We cannot speculate
on whether someone may or may not be eligible for a visa,' a spokesperson told the Times.

'Whenever an individual applies for a US visa, a consular officer reviews the facts of the case and determines whether the
applicant is eligible for that visa based on US law.'

The spokesperson added: 'All visa applications are adjudicated on a case-by-case basis.'

MailOnline has approached representatives for Harry and the US State Department for comment.


---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Smoking (1SM71); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN




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Prince Harry could be barred from the US and has put visa..., 2023 WLNR 786025


Other Indexing: (Prince Harry)

Word Count: 617

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 234 of 416
Prince Harry 'could be booted out US' after saying he took..., 2023 WLNR 846287




                                    1/9/23 Daily Star Online (U.K.) (Pg. Unavail. Online)
                                                    2023 WLNR 846287

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                                                       January 9, 2023

        Prince Harry 'could be booted out US' after saying he took cocaine and magic mushrooms
               There are countless examples of people being refused entry or a visa to the
                 United States due to admissions of past illegal drug use, but is has ye...

                                                     By, George Mathias

There are countless examples of people being refused entry or a visa to the United States due to admissions of past illegal drug
use, but is has yet to happen to a Prince

Prince Harry could be banned from the States after admitting he took drugs, immigration experts have warned.

Harry, 38, could have his visa revoked after he confessed to snorting cocaine, smoking cannabis and taking magic mushrooms.

He has been living in California since quitting the UK in early 2020.

READ MORE: Harry's claim William and Kate 'laughed at' his Nazi outfit branded 'bullsht'

But according to an expert the revelations in his book Spare would be enough to get the average immigrant turned down –
especially if he lied on his visa application.

Expert Alberto Benítez revealed: "He would have been asked [about drugs]. If he was truthful in his answers, he should have
been denied."

The professor, who is director of George Washington University's Immigration Clinic, said failing to declare his drug use would
have meant "perjuring himself on an official US government document".

He added: "If he wasn't Prince Harry, if was 'Fred Jones' and he had this kind of a background, he'd have a lot more scrutiny
and I could certainly see the green card being denied."

US immigration rules state that "current and/or past actions, such as drug or criminal activities" could make an applicant
"ineligible for a visa".

However, decisions are made on a "case-by-case" basis.

The Duke of Sussex has dominated global headlines this week thanks to the early release of his new memoir Spare.



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Prince Harry 'could be booted out US' after saying he took..., 2023 WLNR 846287




The book was due to officially go on sale this week, but copies began being sold early in Spain, leading to a scramble for the
most juicy details.

Among the most shocking claims from the book are that William physically assaulted his younger brother.

Harry also revealed he lost his virginity to an older woman in a field, sparking speculation over who the mystery woman is.

READ NEXT:

Prince Harry's biggest controversies -rehab visit, race row and Nazi uniform scandal Prince Harry's famous exes -Kate
Middleton's pal, lingerie model and pop star flings Caroline Flack's pals praise 'charming' Harry as he details romance with
late star


---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05); Steroids (1ST76))

Industry: (Book Publishing (1BO18); Books (1BO26); Publishing (1PU26); Traditional Media (1TR30))


Language: EN

Other Indexing: (George Washington University's; Immigration Clinic) (Prince Harry)

Word Count: 333

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Prince Harry could have US visa REVOKED after admitting..., 2023 WLNR 8409499




                                  3/7/23 Daily Mirror Online (U.K.) (Pg. Unavail. Online)
                                                  2023 WLNR 8409499

                                                Daily Mirror Online (UK)
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                                                       March 7, 2023

      Prince Harry could have US visa REVOKED after admitting taking cocaine and psychedelics
               The Duke of Sussex told therapist Dr Gabor Mate he had previously done
             cocaine which 'did nothing' for him, but that smoking cannabis and taking ps...

                                                      By, Susie Beever

The Duke of Sussex told therapist Dr Gabor Mate he had previously done cocaine which 'did nothing' for him, but that smoking
cannabis and taking psychedelics had helped his mental health

Prince Harry's US visa could be revoked after his claims that weed and psychedelics were a "fundamental" part of his life.

The royal told therapist Dr Gabor Mate he began using weed and ayahuasca -a psychoactive drink -to help cope with trauma
from his past.

His admission came as part of an interview for Dr Mate's The Myth of Normal: Trauma, Illness, and Healing in a Toxic Culturen
which he claimed: "I started doing it recreationally and then started to realize how good it was for me."

But according to some, US immigration officials take a Draconian stance when it comes to non-Americans using drugs in
the country.

According to Piers Morgan, the Duke of Sussex may have jeopardised his stay by admitting his drug use for health reasons.

The talk show host, who makes no secret of his cynicism over Harry and Meghan's claims, said: "Harry has barely finished
the global family trashing tour in support of his treacherous family trashing memoir, inevitably he's decided the world hasn't
heard quite enough from him

"So Harry's latest wheeze is a live therapy session with Dr Gabor Mate – a famed trauma expert – in which he reminded us
again that he, Harry, is the world's biggest victim."

Harry told Dr Mate that low-level recreational drug use had become a "fundamental part" of his life that "helped me deal with
the traumas and the pains of the past".

In his memoir Spare, he wrote that he would smoke cannabis while living at Nottingham Cottage in 2015.

He also told Dr Mate in the show, which screened on Saturday, that cocaine "did nothing" for him.



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Prince Harry could have US visa REVOKED after admitting..., 2023 WLNR 8409499




"It was more a social thing and gave me a sense of belonging for sure, I think it probably also made me feel different to the
way I was feeling, which was kind of the point.

"Marijuana is different, that actually really did help me."

South American entheogenic brewed drink ayahuasca, the royal claimed, was like "cleaning the windscreen" of the many filters
from life.

"It removed it all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold on to for
a period of time.

"I started doing it recreationally and then started to realise how good it was for me.

"I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and pains
of the past."

Cannabis is legal in California, where Prince Harry currently resides, and while ayahuasca is permitted for religious use only
in the States, certain cities have opted to decriminalise it.

Travelling into the US while carrying the substances however may be illegal, as cannabis for medical use is not regulated by
the FDA.

In some instances in the past, however, British nationals like Harry have been barred from entering the US over drugs
controversies -in 2014, Nigella Lawson was stopped from getting on a US-bound flight following her admission during an
unrelated trial she had previously taken cocaine.

Piers Morgan continued that Harry should avoid boarding a plane to the UK for the King's coronation in May if he doesn't want
to risk getting stuck on the way home.

"Another compelling reason why we don't want them at the king's coronation," said the controversial host.

"We might end up being stuck with them for good."


---- Index References ----

Company: U.S. Food and Drug Administration

News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Health & Wellness (1HE60); Smoking
(1SM71); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42))


Language: EN

Other Indexing: (FDA) (Prince Harry)

Word Count: 605




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Prince Harry could have US visa REVOKED after admitting..., 2023 WLNR 8409499




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Prince Harry could lose his US visa after admitting taking..., 2023 WLNR 830372




                                   1/8/23 Daily Mirror Online (U.K.) (Pg. Unavail. Online)
                                                    2023 WLNR 830372

                                                 Daily Mirror Online (UK)
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                                                        January 8, 2023

        Prince Harry could lose his US visa after admitting taking cocaine and magic mushrooms
                          The Duke of Sussex's shock revelation in his Spare
                         memoir could see him miss out on extending his visa

                                                       By, Sean McPolin

Prince Harry 's shock cocaine and magic mushrooms admission could put his US visa at risk.

The Duke of Sussex, who moved to the US in 2020, admitted taking drugs in leaked extracts from his upcoming Spare memoir.

Entry to the States is granted on a "case-by-case" basis with rules stating an individuals "current or past actions, such as drug
or criminal activities" could cause the applicant to be ineligible for a visa.

The 38-year-old has revealed he took cocaine when he was 17 and on a shooting weekend and had done "a few more lines"
on other occasions.

He has also taken magic mushrooms at a celebrity party in California, which caused him to hallucinate, as well as admitting to
smoking cannabis after his first date with Meghan Markle in London back in 2016.

It's unknown what visa Prince Harry has, with most suggesting it would most likely be a spousal visa due to the Duchess of
Sussex's US citizenship.

But the prince may have been granted special dispensation for people with "extraordinary ability".

This so-called O-1 visa — often given to film stars and top athletes — lasts for three years which would mean Harry might
need to seek an extension or a new visa soon.

Last night the US State Department said: "All visa applications are adjudicated on a case-by-case basis.

"Visa records are confidential under US law; therefore, we cannot discuss the details of individual visa cases.

"We cannot speculate on whether someone may or may not be eligible for a visa. Whenever an individual applies for a US visa,
a consular officer reviews the facts of the case and determines whether the applicant is eligible for that visa based on US law."




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Prince Harry could lose his US visa after admitting taking..., 2023 WLNR 830372


---- Index References ----


News Subject: (Crime (1CR87); Embassies & Consulates (1EM50); Government (1GO80); Immigration & Naturalization
(1IM88); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))

Industry: (Banking (1BA20); Credit, Debit & Value Cards (1CR28); Financial Services (1FI37); Retail Banking Services
(1RE38))


Language: EN

Other Indexing: (US State Department) (Prince Harry)

Word Count: 292

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 241 of 416
Prince Harry 'should have been denied US residency' over..., 2023 WLNR 762323




                                     1/7/23 Telegraph Online (U.K.) (Pg. Unavail. Online)
                                                    2023 WLNR 762323

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                                                        January 7, 2023

          Prince Harry 'should have been denied US residency' over drug use revealed in memoir
                   Immigration lawyers confirm the Duke would have been required to
                   detail his drug history when he permanently relocated to California

                                               Rozina Sabur, Washington Editor

Prince Harry should have been denied residency in America if he failed to disclose his drug use and could see it revoked if
he "lied", a leading US immigration expert has suggested.

Anyone seeking to settle either temporarily or permanently in the US must answer questions about their history of drug use
when applying for a visa or permanent residency.

Harry extensively detailed his drug taking in his tell-all memoir Spare, claiming that psychedelic drugs allowed him to see
"the truth".

Immigration lawyers The Telegraph spoke with confirmed the Duke of Sussex would have been required to detail that history
when he made the decision to permanently relocate to California. The Duke moved to the ultra-wealthy Californian enclave
of Montecito with his wife Meghan in early 2020.

"He would have been asked [about drug use]. If he was truthful in his answers, he should have been denied," said Prof Alberto
Benítez, the director of George Washington University's Immigration Clinic.
 Acknowledging drug use 'in Harry's best interest'
The law professor said it would be in Harry's "best interest" to acknowledge his illicit drug use, adding "otherwise, he's
perjuring himself on an official US government document".

He suggested the Duke may have been granted some discretion by immigration officials because of his Royal status.

"If he wasn't Prince Harry, if was 'Fred Jones' and he had this kind of a background, he'd have a lot more scrutiny and I could
certainly see the green card being denied," Prof Benitez said.

If the Duke failed to declare it, Prof Benitez said: "One of the repercussions, whatever visa he has, is that it would be revoked,
or he'll be subject to being revoked because he lied in the application process."

Prof Benitez, who includes the Duke as a case study in one of his law classes, said it was most likely Harry is residing in the
US on a Green Card.



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Prince Harry 'should have been denied US residency' over..., 2023 WLNR 762323




He said the easiest route for the Duke to gain a Green Card would be through his wife, who is a US citizen.

Applicants for a Green Card, usually granted to foreigners who are permanent residents in the country, are also required to
undergo a medical examination.

The application form includes an extensive list of questions including an applicant's criminal history and even asking about
any potential involvement in the Nazi Party.

Similar questions are posed to applicants for visas, including tourists applying for visa waivers.

Another immigration lawyer, Chrissie Fernandez, tempered speculation over the legal jeopardies Harry's drug use posed.

"In theory, if Prince Harry ever possessed any illicit substances, even if he was not arrested, he would have been required to
disclose that," she told The Telegraph.

However Ms Fernandez suggested that US officials will only ban applicants based on drug use in "very limited circumstances".

She added: "As it relates to past drug use without a conviction, it's unlikely to cause a real problem for him.

"It's unlikely that his case would be reopened if immigration authorities were to hear that he previously, years ago, used drugs...
So unless he talked about using drugs quite recently, it's unlikely to have affected his getting immigrant status in the US."

In Spare, Harry writes that he took psychedelics both for fun and therapeutically over the years, smoking cannabis in his garden
at Kensington Palace and at Eton.

He admits he took cocaine as a teenager and magic mushrooms in California in 2016.

The Duke of Sussex was contacted for comment.


---- Index References ----


News Subject: (Crime (1CR87); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade (1SM35); Social Issues
(1SO05))

Industry: (Drug Approval Process (1DR91); Drug Discovery & Development Process (1DR41); Pharmaceuticals (1PH33);
Pharmaceuticals & Biotechnology (1PH13); Pharmaceuticals Research & Development (1PH57))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN

Other Indexing: (George Washington University's Immigration Clinic; Nazi Party) (Prince Harry)

Word Count: 582

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Prince Harry 'should have been denied US residency' over..., 2023 WLNR 880255




                                     1/9/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                    2023 WLNR 880255

                                                   Express Online (UK)
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                                                       January 9, 2023

       Prince Harry 'should have been denied US residency' over Megxit memoir drug revelations
               Prince Harry's Megxit memoir 'Spare' will hit the shelves on January 10.

                                                        Jack Walters

Prince Harry should have been denied residency in the United States after he failed to disclose his drug use which was
referenced in his upcoming Megxit memoir, an American immigration expert has suggested. The Duke of Sussex, 38, was
quizzed on his drug use during an interview with CBS' Anderson Cooper on 60 Minutes.

Related articles

Harry said: "I would never recommend people to do this recreationally.

"But doing it with the right people if you are suffering from a huge amount of loss, grief or trauma, then these things have a
way of working as a medicine."

During his memoir 'Spare', which will be released on January 10, the father-of-two admitted to smoking cannabis, using cocaine
and resorting to psychedelics.

Professor Alberto Ben&iacute;tez, director of George Washington University's Immigration Clinic, told the Telegraph: "He
would have been asked [about drug use].

JUST IN: Harry tells of private moment with the Queen after her death: 'She'd completed her life'

King poised to punish Harry and Meghan with 'nuclear option'The Royal Family has declined to comment on claims made in
Prince Harry's book spare, but royal expert Richard Fitzwilliams warned they may be forced to act sooner rather than later.

Condemning the "sheer outrageousness of the claims and the malign nature of the memoir", revealed King Charles' options
should he decide the "strategy of silence" is unsustainable.

Read the full analysis here.

"If he was truthful in his answers, he should have been denied."




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Prince Harry 'should have been denied US residency' over..., 2023 WLNR 880255


If the Duke failed to declare it, he added: "One of the repercussions, whatever visa he has, is that it would be revoked, or he'll
be subject to being revoked because he lied in the application process."

However, Professor Benitez speculated Prince Harry is residing in the United States on a Green Card.

A Green Card would be obtained by the Duke through his wife.

READ MORE: Prince Harry says people are 'infuriated' and 'embarrassed' at his 'peace' in the US

Meghan Markle was born in Los Angeles and is an American citizen.

Applicants for a Green Card are also obliged to undergo a medical examination.

Applicants must also address questions such as criminal history and involvement in extreme organisations, including Nazi
groups.

Immigration lawyer Chrissie Fernandez also addressed concerns about Harry's drug use.

DON'T MISS: Dan Wootton slams Prince Harry 'interview' claiming royal 'chose BFF' [REVEAL]Duke set for explosive 60
Minutes with Anderson Cooper [INSIGHT]Harry claims William argued about wedding beard for A WEEK [SPOTLIGHT]

She told the broadsheet: "In theory, if Prince Harry ever possessed any illicit substances, even if he was not arrested, he would
have been required to disclose that."

However, Fernandez added: "As it relates to past drug use without a conviction, it's unlikely to cause a real problem for him."

Express.co.uk has approached the Duke of Sussex for comment.

Related articles Prince Harry tells of private moment with the Queen after her death Harry and William wanted to reopen
Diana's inquest Harry thanks Jeremy Clarkson for 'proving our point' Charles was never meant for fatherhood 'but he tried'
Harry 'wants to live in North Korea' amid attitude to the Press


---- Index References ----


News Subject: (Crime (1CR87); Health & Family (1HE30); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade
(1SM35); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))


Language: EN

Other Indexing: (George Washington University) (Prince Harry)

Word Count: 524

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PRINCE OF CHIDES SPARES NO ONE, 2023 WLNR 864391




                                              1/10/23 Herald-Sun (Melbourne) 10
                                                     2023 WLNR 864391

                                                   Herald Sun (Australia)
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                                                         January 10, 2023

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                                       PRINCE OF CHIDES SPARES NO ONE

                                          TOM MINEAR DANIELLE GUSMAROLI

PRINCE Harry has accused his stepmother of sacrificing him on her "personal PR altar", criticised his father's parenting and
revealed Prince William and Catherine never liked his wife Meghan.

Kicking off the publicity tour for his explosive memoir, the Duke of Sussex also revealed it took him a decade to accept Princess
Diana was dead, a period in which his brother pretended not to know him at school before he later resorted to psychedelic
drug treatment.

In his latest salvo at the royal family, Harry also hit out at their "unconscious bias", claimed he was left off the plane to see
the dying Queen and laid bare his violent confrontation with his brother.

Appearing on British and US TV, the Prince said he had no intention of hurting the House of Windsor, although he acknowledged
he would never return to a full-time royal role.

The royals have been rocked by a drip-feed of revelations from Harry's memoir Spare, which will go on sale in Australia on
Wednesday.

But the saga was inflamed when he spoke out in raw interviews with British ITV journalist Tom Bradby and America's Anderson
Cooper on 60 Minutes.

In his sharpest comments, he said Queen Consort Camilla was "dangerous" in the wake of his mother's death because she was
determined to boost her profile in the press and pave the way for her marriage to the future King.

"She was the villain – she was the third person in the marriage," Harry said. "She needed to rehabilitate her image … With
her on the way to being Queen Consort, there was going to be people or bodies left in the street." He also questioned whether
Charles had the "patience" and "time" for parenthood, adding that he was "never made" to be a single parent.

Harry said he and William believed Diana's death was "all part of a plan", and they expected she would eventually call them
so they could be reunited.

"I just refused to accept that she was gone," he said.



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PRINCE OF CHIDES SPARES NO ONE, 2023 WLNR 864391




It took him a decade to admit the truth after he looked at photos of the tragic crash for "proof" and traced her final route in Paris,
although his doubts made him consider pushing to reopen an inquest on her.

Later, Harry turned to psychedelic drugs with the help of medical professionals, saying they "cleared the windshield" as he
struggled to comprehend his grief.

Revelations in Spare about his use of cocaine and cannabis already sparked speculation about whether his US visa could be
affected, given rules stating that a person's "current and/or past actions, such as drug or criminal activities … may make the
applicant ineligible".

In the interviews, Harry also accused his brother and sister-in-law of "stereotyping" his wife as a "divorced, bi-racial American
actress", although he admitted he was "probably bigoted" before meeting Meghan.

He said the foursome never got along – despite William and Catherine being fans of Meghan's TV show Suits – as he claimed
they never expected him to find "someone like Meghan who had a very successful career".

"A large part of it for the family, but also the British press and numerous other people, is like: 'He's changed, she must be a
witch' … As opposed to yeah, I did change, and I'm really glad I changed," Harry said.

"Rather than getting drunk, falling out of clubs, taking drugs, I'd now found the love of my life." Tensions between the brothers
over Meghan exploded at the Duke's Kensington Palace cottage, where they shouted at each other before Harry said William
"snapped" and pushed him to the ground.

He said William later apologised and asked him to keep the fight a secret, which Harry intended to do until Meghan saw a
cut on his back.

At the Duke of Edinburgh's funeral, Harry said William invoked their "secret code" by saying he swore on "mummy's life"
that he wanted him to be happy.

"It stopped me cold. I didn't believe him," he said.

The Prince denied saying his family was racist – after Meghan told Oprah Winfrey in 2021 that an unnamed relative made
"troubling comments" about the skin colour of their son Archie – but suggested they were guilty of "unconscious bias".

He also accused other relatives of "getting in bed with the devil" by leaking to the press against him and Meghan.

The Duke of Sussex said he had recently lost contact with his brother and father, having been particularly upset that a plane
carrying members of the royal family to farewell the Queen at Balmoral left without him.

While Harry said he believed the rift could be healed, he said "the ball is very much in their court".

"I would like to get my father back. I would like to have my brother back," he said. "At the moment, I don't recognise them,
as much as they probably don't recognise me." tom.minear@news.com.au

PRINCE HARRY TAKES TO TV TO JUSTIFY AND PROMOTE HIS BOOK ON TELLING HIS STORY TO COUNTER
FAMILY 'LIES' "None of anything that I've written, anything that I've included is ever intended to hurt my family. But it does
give a full picture of the situation as we were growing up, and also squashes this idea that somehow my wife was the one who
destroyed the relationship between these two brothers." DENIES CALLING THE ROYALS RACIST, BUT SAY THERE IS



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PRINCE OF CHIDES SPARES NO ONE, 2023 WLNR 864391


'UNCONSCIOUS BIAS' "There were comments of concern by the palace made about what our kids were going to look like.
They need to make that right." ON HIS FATHER'S PARENTING AFTER DIANA DIED "He'd always given an air of not being
quite ready for parenthood: the responsibilities, the patience, the time … But single parenthood? Pa was never made for that. To
be fair, he tried." ON HIS COMMENTS ABOUT FAMILY IN HIS BOOK "There's no part of any of the things that I've said
(that) are scathing towards any member of my family, especially not my stepmother." ON HIS LIFE NOW "I'm very, very happy,
I'm very at peace. I am in a better place than I've ever been, and I think that probably angers some people, infuriates others."


---- Index References ----


News Subject: (Family Social Issues (1FA81); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Edition: HeraldSun

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                                                       January 10, 2023

                                                         Section: News

                                      PRINCE OF CHIDES SPARES NO ONE

                                         TOM MINEAR DANIELLE GUSMAROLI

Exiled Harry takes aim at brother, father, Camilla and 'unconscious bias' PRINCE Harry has accused his stepmother of
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Kicking off the publicity tour for his explosive memoir, the Duke of Sussex also revealed it took him a decade to accept Princess
Diana was dead, a period in which his brother pretended not to know him at school before he later resorted to psychedelic
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PRINCE OF CHIDES SPARES NO ONE, 2023 WLNR 931230


"I just refused to accept that she was gone," he said.

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In the interviews, Harry also accused his brother and sister-in-law of "stereotyping" his wife as a "divorced, bi-racial American
actress", although he admitted he was "probably bigoted" before meeting Meghan.

He said the foursome never got along – despite William and Catherine being fans of Meghan's TV show Suits – as he claimed
they never expected him to find "someone like Meghan who had a very successful career".

"A large part of it for the family, but also the British press and numerous other people, is like: 'He's changed, she must be a
witch' … As opposed to yeah, I did change, and I'm really glad I changed," Harry said.

"Rather than getting drunk, falling out of clubs, taking drugs, I'd now found the love of my life." Tensions between the brothers
over Meghan exploded at the Duke's Kensington Palace cottage, where they shouted at each other before Harry said William
"snapped" and pushed him to the ground.

He said William later apologised and asked him to keep the fight a secret, which Harry intended to do until Meghan saw a
cut on his back.

At the Duke of Edinburgh's funeral, Harry said William invoked their "secret code" by saying he swore on "mummy's life"
that he wanted him to be happy.

"It stopped me cold. I didn't believe him," he said.

The Prince denied saying his family was racist – after Meghan told Oprah Winfrey in 2021 that an unnamed relative made
"troubling comments" about the skin colour of their son Archie – but suggested they were guilty of "unconscious bias".

He also accused other relatives of "getting in bed with the devil" by leaking to the press against him and Meghan.

The Duke of Sussex said he had recently lost contact with his brother and father, having been particularly upset that a plane
carrying members of the royal family to farewell the Queen at Balmoral left without him.

While Harry said he believed the rift could be healed, he said "the ball is very much in their court".

"I would like to get my father back. I would like to have my brother back," he said. "At the moment, I don't recognise them,
as much as they probably don't recognise me." tom.minear@news.com.au

PRINCE HARRY TAKES TO TV TO JUSTIFY AND PROMOTE HIS BOOK ON TELLING HIS STORY TO COUNTER
FAMILY 'LIES' "None of anything that I've written, anything that I've included is ever intended to hurt my family. But it does
give a full picture of the situation as we were growing up, and also squashes this idea that somehow my wife was the one who



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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 252 of 416
PRINCE OF CHIDES SPARES NO ONE, 2023 WLNR 931230


destroyed the relationship between these two brothers." DENIES CALLING THE ROYALS RACIST, BUT SAYS THERE IS
'UNCONSCIOUS BIAS' "There were comments of concern by the palace made about what our kids were going to look like.
They need to make that right." ON HIS FATHER'S PARENTING AFTER DIANA DIED "He'd always given an air of not being
quite ready for parenthood: the responsibilities, the patience, the time … But single parenthood? Pa was never made for that. To
be fair, he tried." ON HIS COMMENTS ABOUT FAMILY IN HIS BOOK "There's no part of any of the things that I've said
(that) are scathing towards any member of my family, especially not my stepmother." ON HIS LIFE NOW "I'm very, very happy,
I'm very at peace. I am in a better place than I've ever been, and I think that probably angers some people, infuriates others."


---- Index References ----

Company: HOUSE OF WINDSOR INC-CIGAR

News Subject: (Family Social Issues (1FA81); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (House of Windsor)

Edition: CourierMailCQ

Word Count: 1051

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              Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 253 of 416
US drug ban fear, 2023 WLNR 866165




                                                     1/9/23 Daily Star 4
                                                    2023 WLNR 866165

                                                     Daily Star (UK)
                                                Copyright © 2023 Daily Star

                                                       January 9, 2023

                                                        Section: News

                                                    US drug ban fear

THE shy man could be banned from the States after admitting he took drugs, immigration experts warned.

He could have his visa revoked after he confessed to using cocaine and cannabis.

He has been living in California since quitting the UK in early 2020.

Expert alberto Benítez revealed: "He would have been asked about drugs. If he was truthful in his answers, he should have
been denied."


---- Index References ----


News Subject: (Drug Addiction (1DR84); Health & Family (1HE30); Steroids (1ST76))



Language: EN

Edition: 01

Word Count: 66

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 254 of 416
Could U.S. authorities revoke his permission to live in..., 2023 WLNR 8852991




                              3/10/23 NOTICIASFINANCIERAS - ENG. (Pg. Unavail. Online)
                                                2023 WLNR 8852991

                                               NoticiasFinancieras - English
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                                                       March 10, 2023

                   Could U.S. authorities revoke his permission to live in California? Prince
                   Harry reportedly in serious trouble after confessing to marijuana and co...

Could U.S. authorities revoke his permission to live in California? Prince Harry reportedly in serious trouble after confessing
to marijuana and cocaine use

In his need to talk about his mental health, Prince Harry confessed that he used psychedelic and other drugs, such as marijuana
and cocaine, during a talk that was broadcast live with the controversial doctor Gabor Maté for the program "The Myth of
Normal: Trauma, Illness, and Healing in a Toxic Culture".

However, these statements that caused astonishment to more than one could cause him problems with the U.S. government, since
if the son of King Charles III did not mention that in his past he used intoxicants, the authorities could revoke his permission
to live in California, as reported by El Informador.

View this post on Instagram

A post shared by Dr. Gabor Maté (@gabormatemd)

The legal problem Harry could face for drug use

"I started doing it recreationally and then I realized how good it was for me," said Harry, Duke of Sussex in the interview with
Dr. Gabor Maté, which was published a few days ago

.

Prince Harry and Meghan Markle christen daughter Lilibet in California; her godfather was African-American actor Tyler
Perry, who helped the Duke and Duchess of Sussex with their move to California

View this post on Instagram

A post shared by Dr. Gabor Maté (@gabormatemd)

According to U.S. citizenship and immigration services, visa applicants "who are determined to be drug abusers or addicts
are inadmissible."




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Could U.S. authorities revoke his permission to live in..., 2023 WLNR 8852991


"(Authorities) frown on drug use by non-U.S. citizens," Piers Morgan said. "Another compelling reason why we don't want
them at the king's coronation, as we could end up staying with them forever," he added referring to Harry and Meghan.

"Sky News" of Australia recalled the time in 2014 when chef Nigella Lawson was banned from taking a flight to the United
States after confessing to cocaine use during a trial. Later, her case was subjected to analysis and she was given a pardon after
an appeal.

Harry and Meghan Markle already received the official invitation to the coronation of King Charles III next May 6 and it was
via email. The couple has not yet decided whether they will attend the royal family event or decline the invitation.(I)

View this post on Instagram

A post shared by Prince Harry (@princeharryofengland)

We recommend this news to you

.

Jordan's Iman of Jordan's low-key wedding to Venezuelan Jameel Alexander Thermiotis: Jordan's King Abdullah II and Queen
Rania announce wedding date seven days before the celebrationDavid George Philip Cholmondeley: this is the 62-year-old
marquis whom Rose Hanbury, 38, left to attend her affair with Prince WilliamKate Middleton does not forgive or forget: the
Princess of Wales would be upset with Camilla Parker for supporting her husband Prince William's relationship with Rose
Hanbury


---- Index References ----


News Subject: (Drug Addiction (1DR84); Health & Family (1HE30); Immigration & Naturalization (1IM88); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
Healthcare Services (1HE13); Psychiatric Services (1PS61))

Region: (Americas (1AM92); California (1CA98); North America (1NO39); U.S. West Region (1WE46); USA (1US73))

Language: EN

Other Indexing: (Prince Harry)

Keywords: (internacional)

Word Count: 399

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 256 of 416
Did Harry have a secret best man too? Friends of the..., 2023 WLNR 822808




                                   1/11/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 822808

                                                  Daily Mail Online (UK)
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                                                      January 11, 2023

                 Did Harry have a secret best man too? Friends of the warring royal brothers
                  hint 'favoured usher' Jack Mann really had the top job at his wedding.....

              Charlotte Griffiths Editor At Large For The Mail On Sunday Eirian Jane Prosser For Mailonline

Did Harry have a secret best man too? Friends of the warring royal brothers hint 'favoured usher' Jack Mann really had the top
job at his wedding... after Duke of Sussex claimed his role at Wills' and Kate's wedding was also just 'for show'

Prince Harry has claimed his role as best man for Prince William at the 2011 Royal Wedding was 'all for show' - sparking
accusations he had his own secret best man.

Harry claimed he was not William's 'real' best man and that it was 'all for show' He made the sensational claims about his
brother's wedding in his book Spare Sources have now said that there was also 'another best man' at Harry's wedding He had
several ushers on the day including his fellow polo-player Jack Mann

Friends of the warring brothers now suggest the Duke of Sussex may have employed the same strategy as his sibling for his
own wedding in 2018.

A source told The Mail on Sunday: 'There have long been rumours in Harry's circle that there was another best man, in secret.
William was the public-facing best man but not the sole best man, nor the true best man in Harry's eyes.'

Harry had several ushers on his big day, including his fellow polo-player Jack Mann and his closest friend Charlie van
Straubenzee, brother of Prince William's best friend Thomas.
Who is Jack Mann, Prince Harry's 'favoured usher'?
Prince Harry befriended Jack Mann at the Royal Military Academy Sandhurst.

He is the son of Simon Mann, a SAS officer turned mercenary, who was jailed for five years for allegedly tried to overthrow
the government in Equatorial Guinea in 2004.

Harry's friend served with the British Arm for tours of Iraq and Afghanistan.

After leaving the army he worked in Libya as a country manager for a UK security company called Aegis Defence Services.

He went to create his own private security company in 2015 called Alma Risk.




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Did Harry have a secret best man too? Friends of the..., 2023 WLNR 822808


Some friends believe it was an usher who acted as best man.

According to one friend, Mr Mann has long been described by those close to him as Harry's favoured usher – or 'best man'.

He had previously been referred to as Harry's so-called 'deputy best man' by a source who attended a lunch with the Duke, Mr
van Straubenzee and his 'surrogate godfather' Mark Dyer in 2021 following Prince Phillip's funeral.

Mr Mann recently appeared in the fourth episode of the Sussexes' Netflix documentary series Harry & Meghan, which revealed
previously unseen pictures of their wedding receptions.

The Duke and Mr Mann, who became friends while at the Royal Military Academy Sandhurst, were pictured among a group
of men at Harry's wedding, as they partied at Frogmore House in Windsor Castle.

Last month, Mr Mann was detained by security officials before travelling to war-torn Libya, being questioned by Maltese police
who challenged his claim that he was on a mission to deliver medical training.

Maltese police later confirmed to the Mail that they 'spoke to the passengers for clarification of the proposed activities in Libya'
and that no further action was taken.

The former army member, said he and his colleagues, which included other former British soldiers, had been stopped at an
airport in Malta, a Mediterranean Island around 223 miles north of Libya.

Mr Mann confirmed: 'We did not continue the journey from Malta [to Libya] on the advice of Maltese immigration to rectify
our paperwork before travelling onwards.

'The issue was resolved within five days and the United Nations has confirmed there was no breach of sanctions.

'They [Alma Risk] are free to deliver the training.

'I have visited Libya previously in my role as a private security consultant. '

Prince Harry's friend is also the son of SAS officer turned mercenary Simon Mann, whose alleged bid to overthrow the
government of Equatorial Guinea in 2004 led to a five-year stint behind bars.

Sir Mark Thatcher, the son of former prime minister Margaret Thatcher, admitted unwittingly being a financier behind the
attempted coup. He said he was misled by its organisers.

Mr Mann, who is newly engaged, hosted the Duchess of Sussex for dinner parties at his West London home during the early
days of her courtship with Harry.

However, he is thought to have grown apart from Harry since the wedding. In Spare, the Prince explains that appearances can
be deceptive at Royal weddings, revealing that it was a 'barefaced lie' that he was William's best man.
 Military veterans warn Invictus Games is at 'risk of terror attack' after Harry's revealed he killed 25 Taliban fighters
in Afghanistan: Click here to read more
He said his brother's close friends James Meade and Thomas Van Straubenzee actually gave the traditional speech at the
reception.

He said: 'Willy didn't want me giving a best man's speech.'




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Did Harry have a secret best man too? Friends of the..., 2023 WLNR 822808


At Harry's wedding, Meghan broke tradition by giving a fairy-tale-themed speech of her own, but it has never been reported
that Prince William spoke at length – and if he did, Harry does not describe him doing so in Spare.

Instead, he says his brother ruined the seating plan at the evening dinner by swapping place cards on his table so that couples
were seated apart, in the English tradition.

It was Meghan's preference that couples should be seated together.

Harry also explains that William did not want to spend time with him the night before the ceremony and only attended a pre-
wedding ushers' dinner after the Queen intervened. Last night, Mr Mann said: 'I'm not going to comment on anything to do
with this.'

Mr Mann served with the British Army in Iraq and Afghanistan before setting up a private security company in 2015 called
Alma Risk.

Prior to this he worked in Libya as a country manager for a different UK security company, Aegis Defence Services.

Alma Risk's website says the company offers a 'diverse range of security and risk management services to corporate and private
clients'.

In other claims amid the 557 pages of the memoir, the Prince told of how William was 'tipsy on last night's rum' just hours
before he married Kate, while greeting members of the public who had gathered on the Mall by Buckingham Palace.
 Prince Harry reveals he took cocaine a 'few times' aged 17 after first being 'offered a line'
Harry recalls that he said to his brother 'you smell of alcohol' before handing him mints as he lowered the window of the car.

The remarks come amid his deeply personal war of words with William - who he accused of pushing him over onto a dog bowl
during a blazing row at Nottingham Cottage in 2019.

The fight allegedly broke out after William called Meghan 'difficult', 'rude' and 'abrasive'.

In another alleged fight Harry claimed his brother 'lunged' at him and 'grabbed his shirt twice' in front of King Charles during
a row over Harry and Meghan's explosive interview with Oprah Winfrey.

Harry said William used a secret code phrase about their mother Princess Diana during the fight following Prince Phillip's
funeral.

The California-based royal said Prince William was 'really steaming' and grasped at him as he tried to walk away from the fight.

Harry claimed at the time he had been trying to address bullying allegations made by Meghan but said his father and brother
'weren't listening'.

William allegedly 'grabbed him again' as he tried to walk away and 'twisted him' so they could maintain eye contact.

It was then that William said their 'secret code' swearing on Princess Diana's life that his intentions were genuine.

He writes that William said: 'Harold, you must listen to me! I just want you to be happy, Harold. I swear I swear on Mummy's life.'

Harry continued: 'He stopped. I stopped. Pa stopped. He'd gone there.




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Did Harry have a secret best man too? Friends of the..., 2023 WLNR 822808


'He'd used the secret code, the universal password. Ever since we were boys those three words were to be used only in times
of extreme crisis.'

The Duke claimed his brother 'wasn't quite ready to accept defeat' and claimed to be 'properly sick and ill' over the tensions
between the pair.

William allegedly reiterated: 'I swear to you now on Mummy's life that I just want you to be happy'.

Harry has talked openly of wanting to reconcile with his father and his sibling, despite his extraordinary claims plunging the
Royal Family into its worst crisis since the death of his mother in 1997.

READ MORE

EXCLUSIVE: Prince Harry's polo chum detained at airport in war-torn Libya after Maltese police challenged claim he was
on mission to deliver medical training

Prince William 'lunged at Harry, grabbed his shirt and used shocking secret code phrase about Diana' during row over Oprah
Winfrey interview as the pair tried to hold peace talks in front of Charles moments after Prince Philip's funeral

Prince Harry could be barred from the US and has put visa 'at risk' after his admission he has taken drugs
 Who does Prince Harry claim Prince William's best men were in 2011?
Prince Harry has claimed in his extraordinary memoir, Spare, that hew as forced to go along with Prince William's 'bare face
lie' that he was meant to be his best man at his wedding in 2011.

He said the alleged ongoing rift between the pair meant 'Willy didn't want me giving a best man's speech'.

Instead, Harry claimed that the best man speech was given to Prince William's two closest friends, James Meade and Thomas
Van Straubenzee.

Who is James Meade?

James Meade went to Eton with Prince William, and is the son of Olympic gold medalist equestrian Richard Meade.

Mr Meade also became close with the Princess of Wales, whom he even accompanied to the Badminton Horse Trials after her
brief split from William in May 2007.

He and his wife Lady Laura Marsham, daughter of the 8th Earl of Romney, are both godparents to Princess Charlotte.

The couple have been married since 2013, when William was an usher at their wedding.

Meade reportedly used to take the Prince drinking at the Cuckoo Club in Piccadilly in their youth, where he reportedly always
encouraged the royal heir to hit the dance floor.

Who is Thomas Van Straubenzee?

Thomas Van Straubenzee has been friends with both William and Harry for many years, dating all the way back to when they
attend Ludgrove prep school together.




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Did Harry have a secret best man too? Friends of the..., 2023 WLNR 822808


Van Straubenzee is the global head of the private office of estate agent Knight Frank, and accompanied the Prince to New
Zealand on his gap year.

He is also godfather to the Wales' daughter Princess Charlotte.

The businessman and property consultant, whose parents are Captain Alexander van Straubenzee and Claire Fenwick, used
to holiday with William in Cornwall when they were children, and, before his marriage to Charlotte's former teacher from St
Thomas's Battersea Lucy Lanigan-O'Keeffe, 32, in 2020, had a reputation for loving a night out.

The couple share a young son, Albert.


---- Index References ----

Company: AEGIS DEFENCE SERVICES LIMITED; UNITED NATIONS SECURITIES ASSOCIATION; BRITISH ARMY
TRAINING UNIT KENYA; Royal Military Academy Sandhurst Commandant's Fund

News Subject: (Global Politics (1GL73); Health & Family (1HE30); Top World News (1WO62); World Conflicts (1WO07))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (Afghanistan (1AF45); Africa (1AF90); Arab States (1AR46); Asia (1AS61); Central Africa (1CE37); Equatorial
Guinea (1EQ49); Europe (1EU83); Eurozone Countries (1EU86); Libya (1LI91); Malta (1MA02); Mediterranean (1ME20);
North Africa (1NO44); Southern Europe (1SO59); Western Asia (1WE54); Western Europe (1WE41))

Language: EN

Other Indexing: (SAS; British Arm; Alma Risk; Aegis Defence Services; United Nations; British Army; Royal Military
Academy Sandhurst) (Prince Harry; Jack Mann; Kate)

Word Count: 1758

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 261 of 416
Enrique may lose his visa after saying he used drugs




                                        3/7/23 CE Latin Am. Migr. Newswire 00:00:00

                                            CE Latin America Migration Newswire
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                                                         March 7, 2023

                               Enrique may lose his visa after saying he used drugs

                                                       Agencia Reforma

Once again Prince Harry is in trouble, now he is at risk of having his U.S. visa revoked after revealing that he used drugs,
reported the Mirror.

The Duke of Sussex revealed in Spare, his memoirs, that in his youth he repeatedly used cocaine and other drugs, as it helped
him to improve his life.

Prince Henry revealed that he started using marijuana and ayahuasca to cope with all the traumas of his past and said he realized
that it did him good to use them in his daily life.

"I started doing it recreationally and then I started to realize how good it was for me," he told Dr. Gabor Mate.

The Mirror reported that U.S. immigration officials take a tough stance when it comes to non-U.S. citizens using drugs in the
country, so the Duke of Sussex risks having his visa revoked.

In recent years British citizens have had problems entering the United States such as Nigella Lawson, who was prevented from
taking a flight to the country after using cocaine beforehand.


---- Index References ----


News Subject: (Crime (1CR87); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade (1SM35); Social Issues
(1SO05))



Language: EN

Other Indexing: (Enrique)

Keywords: (Internacional)

Word Count: 179

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Enrique may lose his visa after saying he used drugs




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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 263 of 416
Harry's therapy session 'doesn't explain why he is so..., 2023 WLNR 8407764




                                      3/7/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                    2023 WLNR 8407764

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                                                         March 7, 2023

          Harry's therapy session 'doesn't explain why he is so destructive' towards Royal Family
           EXCLUSIVE: Prince Harry seemed "in awe" of Dr Gabor Maté during a "master-
               pupil" session in which the Duke opened up about his mental health, a roy...

                                                        Matthew Dooley

EXCLUSIVE: Prince Harry seemed "in awe" of Dr Gabor Maté during a "master-pupil" session in which the Duke opened up
about his mental health, a royal expert told Express.co.uk.

Prince Harry's live streamed therapy session doesn't explain why he is so publicly "destructive" towards the Royal Family,
according to a royal expert. Richard Fitzwilliams, speaking to Express.co.uk, branded Harry more "cautious" than in previous
interviews during his recent Q&A session with trauma expert Dr Gabor Mat&eacute;.

Related articles

The Duke of Sussex sat down with Dr Mat&eacute; for a 90 minute live-streamed Q&A covering topics from Prince Harry's
drug use to his self-proclaimed "broken home" at the heart of the Royal Family. Still, Harry seemed more "cautious" than in
previous interviews, according to Mr Fitzwilliams.

"It showed Harry as more cautious, there was plenty of background about the royals who don't hug, that Harry was different
and there was a mention of his 'broken home', but no personal attacks on senior royals which was a relief," he told Express.co.uk.

During the session, Prince Harry told Dr Mat&eacute; he didn't see himself as a "victim" and wasn't looking for "sympathy".
The doctor diagnosed Harry on the spot with ADD, PTSD, anxiety and depression, but what wasn't explained was Harry's
tendency to be publicly "destructive" towards other royals, according to Mr Fitzwilliams.

He said: "Harry says he doesn't see himself as a victim. He obviously relies on therapy a good deal.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.



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Harry's therapy session 'doesn't explain why he is so..., 2023 WLNR 8407764




"What was not explained is why he is so destructive when it comes to discussing his family in public, yet claims his memoir is
'an act of service'. To whom, one wonders? Recent polls in the US have shown a seismic drop in support for the Sussexes.

The royal expert added that the Duke seemed "in awe" of Dr Mat&eacute;, giving the session a "master-pupil" dynamic.

"It struck me as a master-pupil session. He was obviously in awe of Dr Mat&eacute;, although I was perturbed to learn that the
latter relies on The Crown for his understanding of the Royal Family," Mr Fitzwilliams opined.

In previous interviews, Prince Harry has lashed out at other members of the Royal Family, including his father King Charles,
Camilla, Queen Consort and his brother Prince William.

READ MORE: Americans are 'done' with Prince Harry's 'whingefest' and 'crying'

Although the Duke spoke of his family in general terms with Dr Mat&eacute;, direct personal attacks were absent. He didn't
mention his brother Prince William by name once during the 90-minute chat.

Following previous interviews and the release of Prince Harry's memoir Spare tensions between the Sussexes and the Firm
appeared to be at a breaking point.

Now, Meghan and Harry have confirmed they did receive an invitation to King Charles's Coronation but have so far refused
publicly confirm their attendance.

The once-in-a-generation event will take place later this year on May 6 with thousands of guests in attendance to mark the
reign of King Charles III.

Related articles Harry and Meghan 'not worried' about South Park as they 'outgrew' it Americans brand Harry and Meghan's
date night in LA 'a PR stunt' King's Coronation offers Harry a 'fresh start' Harry and Meghan 'missed chance to elevate
themselves' in Hollywood LookFantastic launches Beauty Egg for £60 with contents worth £200


---- Index References ----


News Subject: (Health & Family (1HE30))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
Healthcare Services (1HE13); Psychiatric Services (1PS61); Psychology (1PS96))


Language: EN

Other Indexing: (Prince Harry)

Word Count: 630

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            Case 1:23-cv-01198-CJN Document 7-7 Filed 05/05/23 Page 265 of 416
Meghan and Harry 'destroyed on own turf' as couple put..., 2023 WLNR 8409530




                                     3/8/23 Express Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 8409530

                                                   Express Online (UK)
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                                                        March 8, 2023

           Meghan and Harry 'destroyed on own turf' as couple put celeb pals in 'terrible position'
              The Duke and Duchess of Sussex have been called out for putting celebrities
                   in a "terrible position" after backtracking on their previous claims.

                                                       Claire Anderson

Meghan Markle and Prince Harry were "destroyed on their own turf" over the weekend after comedian Chris Rock mocked the
couple's race claim about the Royal Family. He took aim at Meghan for accusing an unnamed member of the Royal Family of
racism during an interview with Oprah Winfrey. Royal expert Kinsey Schofield pointed out that the Sussexes must be "feeling
the burn right now".

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She told Sky News Australia: "This happened on their own turf. Netflix paid Harry and Meghan hundreds of thousands of
dollars to create content for them and Chris Rock goes on their own platform and destroys them.

"They are feeling the burn right now."

Rock said Meghan's claim was simply "some in-law s***" while noting that she won the "light-skinned lottery".

READ MORE: Meghan and Harry left 'isolated' as they struggle to get 'invites'

Prince Harry could have his 'visa revoked' after admitting to using drugs

Prince Harry could see his visa revoked after admitting to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

He went on to say ""even black people want to know how brown" Archie Harrison would be.




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Meghan and Harry 'destroyed on own turf' as couple put..., 2023 WLNR 8409530


It comes as Sky News host Rita Panahi pointed out that Hollywood "isn't that into Harry and Meghan anymore".

Schofield continued: "No, where is Oprah to defend them? Remeber Gayle King from CBS, Oprah's best friends, going on TV
saying that they had receipts that the Royal Family was racist.

"A year later Harry goes on Tom Bradby's show and says, 'we never said there were racist'.

"Where are these people that Meghan and Harry have put in a terrible position?"

She added the people who defended them have "disappeared into the background".

Gayle King had rushed to the defence of the Sussexes on CBS' This Morning following the interview.

She said: "I think Meghan has plenty of receipts, meaning that she's been keeping track of things."

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but Meghan appeared to break [INSIGHT] Americans are 'done' with Prince Harry's 'whingefest' and 'crying' [ANALYSIS]

But speaking with ITV's Tom Bradby, who pointed out "there were troubling comments about Archie's skin color", Harry
backtracked on the comment.

Harry said: "There was concern about his skin colour."

Bradby asked: "Right, wouldn't you describe that as essentially racist?

Harry replied: "I wouldn't, not having lived within that family."

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---- Index References ----


News Subject: (Health & Family (1HE30); Minority & Ethnic Groups (1MI43); Race Relations (1RA49); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); TV (1TV19); TV Programming (1TV26))


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Word Count: 530

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Palace could make provisions for Prince Louis and other..., 2023 WLNR 9668094




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                                                       March 17, 2023

        Palace could make provisions for Prince Louis and other young royals to attend Coronation
             EXCLUSIVE: Young members of the Royal Family, such as Princes Louis and
               Archie, could be allowed to sit through only part of the Coronation to ensu...

                                                           Jon King

EXCLUSIVE: Young members of the Royal Family, such as Princes Louis and Archie, could be allowed to sit through only
part of the Coronation to ensure they don't miss out on the entire service.

Buckingham Palace aides may make provisions for Prince Louis and other young royals to attend King Charles's Coronation,
an expert has said. While Prince William, Kate, Princess of Wales will attend the historic Westminster Abbey ceremony on May
6, it is yet to be confirmed whether their children, Prince George, Princess Charlotte and Prince Louis will join them.

Related articles

Prince Harry and Meghan, Duchess of Sussex, have also been invited to the service, but they did not say if their children,
Prince Archie Harrison and Princess Lilibet Diana, were also on the guest list.

Dr George Gross, visiting research fellow in theology at King's College London and co-founder of the British Coronations
Project with Dr David J Crankshaw, told Express.co.uk the royal offspring could attend. He said arrangements have been made
in the past for those who would not be able to sit through the hours-long ceremony in its entirety.

He explained how at the Coronation of King George V on June 22, 1911, Winston Churchill, who was then Home Secretary,
received an invitation for himself and his wife Clementine.

The ceremony took place less than a month after Clementine had given birth to their son, Randolph, on May 28. As a result,
the King made special arrangements to accommodate her.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

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Palace could make provisions for Prince Louis and other..., 2023 WLNR 9668094




The King's secretary, Lord Knollys, wrote to the Home Secretary on April 29: "I spoke to the King today about his giving Mrs
Churchill a ticket for his Box in Westminster Abbey on the occasion of the Coronation.

"He said he should have much pleasure in giving her one, and you may like to know that he was very nice about it."

The Churchill's youngest daughter, Mary, quoted in volume two of Randolph Churchill's book about their father, said: "A royal
brougham called for her at her house and drove her to Westminster Abbey, so that she arrived at the latest possible moment;
she watched the ceremony until after the actual crowning of the King, then she slipped discreetly away and was driven home
to the hungering Randolph.

"This was the first of three Coronations at which both Winston and Clementine were destined to be present."

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Dr Gross said similar arrangements for the Sussex and Waleses' children to leave part-way through King Charles's Coronation
could be made.

But he added there would be an added complication due to the service being televised.

He said: "There's a way they could have [the children] there for some of it. It's possible we could see the Wales and Sussex
children. But it's a long service so who knows.

"It is also harder with TV the way it is today. But given that Charles and the Queen [Elizabeth II] both witnessed a coronation,
it seems quite likely Prince George will be there."

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rare gesture in front of paps, expert claims [LATEST] Fergie calls herself an 'Anglo-American' ahead of Eugenie
'move' [REVEALED]

Dr Gross added: "A lot of young children at home of his age will be interested to watch. It's a spectacle with a lot to see."

The eldest of William and Kate's children, Prince George, nine, and Princess Charlotte, seven, are expected to attend the
Coronation. They often step out for important events and went to the funeral of Queen Elizabeth II alongside their parents.

But it is not clear if Prince Louis, who turns five next month, will be there on May 6.

Harry and Meghan's children are younger still. Archie will turn four on the date of the Coronation and Lilibet will be just shy
of two.

Charles attended his mother's Coronation in 1953 when he was four, but Princess Anne didn't attend because she was deemed
to be too young at the age of two.

The ceremony itself could last for hours although Charles is understood to want parts streamlined.

Full details have yet to be made public, but Dr Gross suggested the Homage part of the ceremony, in which every member of
the British nobility pays their respects to the monarch, could be dropped or shortened.



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The crowning of Camilla, Queen Consort, would also add an extra layer to the ceremony which did not happen at Elizabeth
II's Coronation in 1953.

The Anointing, which may be televised for the first time ever at Charles's Coronation, the Crowning and the delivery of the
Coronation Oath would also be included as key parts of the ceremony.

Dr Gross explained the oath is an integral part of the ceremony with the Acclamation and Recognition also viewed as very
important.

He said: "This happens before the Oath, with the congregation asked, Do you recognise this person as your King or Queen?

"This part of the cereony dates back to the Anglo Saxon period when monarchs were elected by the elite. Monarchs can't be
anointed without that being done.

"In many ways, those in Westminster Abbey [on May 6] represent us. It's a really important moment where the public are asked
if they recognise this monarch."

Dr Gross predicted Charles's Coronation would also be relatively long in duration because of a lot of music has been announced.

On the possibility of the Anointing being televised for the first time, Dr Gross said it was possible, adding: "Will it make a
difference to remove that mystery and magic? Our hunch is it will not.

"If it is to be televised, we won't know until a couple of days before. We can make this argument because lots of people will
watch the Coronation on TV. Telling people now won't generate extra interest.

"But an announcement a couple of days before might generate a bit more. But we don't know. There's a higher chance, but
we don't know for sure."

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---- Index References ----

Company: King's College London

News Subject: (Health & Family (1HE30))

Industry: (Celebrities (1CE65); Entertainment (1EN08); TV (1TV19); TV Programming (1TV26))

Region: (England (1EN10); Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

Language: EN

Other Indexing: (Buckingham Palace; King's College London) (Prince Louis)

Word Count: 1138

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Prince Harry could have his 'visa revoked' after admitting to..., 2023 WLNR 8360798




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                                                        March 7, 2023

               Prince Harry could have his 'visa revoked' after admitting to using drugs
      Prince Harry said he started using psychedelic drugs "recreationally" to cope with his trauma.

                                                        Aurora Bosotti

Prince Harry could see his visa revoked after admitting to using drugs in a televised therapy session, Piers Morgan pointed out.
Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma. But Morgan noted US
officials "take a dim view of drug use by non-US citizens" as he noted the Duke of Sussex's US stay could now be at risk.

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The presenter said: "Harry has barely finished the global family trashing tour in support of his treacherous family trashing
memoir, inevitably he's decided the world hasn't heard quite enough from him

"So Harry's latest wheeze is a live therapy session with Dr Gabor Mate – a famed trauma expert – in which he reminded us
again that he, Harry, is the world's biggest victim."

Discussing his relationship with drugs, the Duke of Sussex told Dr Mate: "I started doing it recreationally and then started to
realize how good it was for me.

"I would say it is one of the fundamental parts of my life that changed me and helped me deal with the traumas and the pains
of the past."

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Margaret Atwood says Prince Harry 'would have been murdered' in more powerful royal familyHandmaid's Tale author Margaret
Atwood has sparked backlash after saying Prince Harry would have been murdered by a lesser royal.

The Canadian writer issued the bizarre statement in an interview in which she said it's a good thing the Windsors don't enjoy
the power that previous royal households have exercised in past centuries.

Read more HERE.



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Prince Harry could have his 'visa revoked' after admitting to..., 2023 WLNR 8360798




Morgan suggested Prince Harry may now be forced to skip his father's Coronation on May 6 to avoid being barred from returning
to the United States because of his admission.

TV chef Nigella Lawson was forbidden from boarding a flight to the United States in 2014 after admitting to having taken
cocaine during an unrelated trial.

The Sky News Australia contributor added: "Another compelling reason why we don't want them at the king's coronation, we
might end up being stuck with them for good."

READ MORE: The seven clues Harry and Meghan may decline Coronation invite

According to the US Citizenship and Immigration Services, visa applicants "who are found to be drug abusers or addicts are
inadmissible" to the US.

The terms regulating how to assess whether someone is a habitual drug user are set under the Diagnostic and Statistical Manual
of Mental Disorders of the American Psychiatric Association.

But under rules changed in 2010, "a history of experimental use" can "no longer play a direct role in the admissibility
determination" border officers have to make when assessing a visa claim.

However, precedent exists where foreign nationals applying for entry to the US were denied on criminal grounds despite having
no conviction to their name.

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[EXCLUSIVE]

Laura Devine Solicitors senior attorney Karnig Dukmajian told Vice in 2019: "The law says that if you have been convicted of
a US or foreign law relating to controlled substances, or if you have admitted to violating such a law, then you are inadmissible
to the US."

Referring to the case of Brit Isabella Brazier-Jones, who was denied entry to the US after a two-year-old message about cocaine
was found on her phone, Dukmajian noted US officials had become stricter when it comes to admitting people who used drugs
in the past.

He added: "There are legal standards the authorities are supposed to follow, but recent experience has shown that a simple
admission to having possessed a controlled substance is being deemed sufficient to refuse entry."

Related articles

Prince Harry has been residing in the United States since March 2020, when he and Meghan Markle moved their home to
California after six months spent in Canada.

The couple has since settled with their two children in Montecito, in the suburbs of Santa Barbara.

Harry and Meghan last week received an invite to the King's Coronation, which will take place on May 6 in London.

But the couple has already said they will not be confirming quite yet whether they will make it across the Atlantic for the service.



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Company: US Citizenship and Immigration Services; AMERICAN PSYCHIATRIC ASSOCIATION

News Subject: (Crime (1CR87); Immigration & Naturalization (1IM88); Smuggling & Illegal Trade (1SM35); Social Issues
(1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Healthcare (1HE06); Healthcare Practice Specialties (1HE49);
Healthcare Services (1HE13); Psychiatric Services (1PS61); Psychology (1PS96))

Region: (Americas (1AM92); North America (1NO39))

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Prince Harry trying to rebrand Meghan Markle as 'modern..., 2023 WLNR 8412568




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                   Theresa" after he claimed she had "saved" him in his most recent inter...

                                                       Matthew Dooley

Prince Harry has been slammed for trying to rebrand Meghan Markle as "Mother Theresa" after he claimed she had "saved"
him in his most recent interview.

Prince Harry is attempting to brand Meghan Markle as "Mother Theresa", according to a royal expert. The Duke made a media
appearance over the weekend in which he sat down with Dr Gabor Mat&eacute; to discuss his drug use, mental health and
even his self-proclaimed "broken home" at the heart of the Royal Family.

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During the therapy session, Prince Harry praised his wife Meghan Markle as an "exceptional human being" and claimed "people
have said that my wife saved me."

However, not everyone was convinced. Royal commentator and expert Kinsey Schofield took aim at the Duke's comments in
a recent interview.

"I don't understand that commentary at all whatsoever except that this is just the continued narrative that Harry is trying to
thrust on us. That Meghan is not the bad guy," Ms Schofield told Skynews.com.au.

The host of the To Di For Daily podcast continued: "She's Diana 2.0. A modern day Mother Theresa.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
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Prince Harry trying to rebrand Meghan Markle as 'modern..., 2023 WLNR 8412568


"That's just something that they are trying to shove down our throats because we've seen through it all and understand that these
problems didn't start happening within the family until a certain member was introduced and that's Meghan Markle."

During the interview with Dr Mat&eacute;, Prince Harry didn't just discuss his wife. The Duke also spoke about his past drug
use which included cocaine, marijuana and psychedelics, something he also detailed in his memoir Spare.

"[Cocaine] didn't do anything for me, it was more a social thing and gave me a sense of belonging for sure, I think it probably
also made me feel different to the way I was feeling, which was kind of the point," said Prince Harry.

He added: "Marijuana is different, that actually really did help me."

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Speaking on psychedelics Prince Harry said: "It was the cleaning of the windshield, removal of life's filters. It removed it all
for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold onto for a period of time.

"For me I started doing it recreationally and then started to realise how good it was for me."

However, again, Ms Schofield wasn't so sure. "The lightness you're describing Harry is called being high. I mean, it brings new
meaning to Your Highness," she said.

Now royal watchers are waiting to see whether the Sussexes will attend King Charles's Coronation later this year on May 6.
Although Meghan and Harry confirmed they have received an invitation, they have yet to RSVP to the event.

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News Subject: (Business Management (1BU42); Health & Family (1HE30); Sales & Marketing (1MA51))

Industry: (Advertising (1AD82); Advertising & Public Relations (1AD83); Branding & Naming (1BR12); Celebrities (1CE65);
Entertainment (1EN08); Internet (1IN27); Internet Media (1IN67))


Language: EN

Other Indexing: (Prince Harry; Meghan Markle; Mother Theresa)

Word Count: 584

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Visa at risk due to drugs, 2023 WLNR 8922783




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                                                        March 9, 2023

                                                Visa at risk due to drugs

Prince Henry risks having his U.S. visa revoked after revealing that he tried cocaine.

- The Duke of Sussex revealed in his book "Spare: In the Shadow" that in his youth he used cocaine and marijuana, as well
as other substances.

- Mirror reported that U.S. immigration officials take a tough stance when it comes to foreigners who use drugs in the country,
so the Prince is at risk of having his document revoked.

- British citizens have had problems entering the U.S. over similar issues. Chef Nigella Lawson was prevented from taking a
flight after revealing that she had used cocaine.


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News Subject: (Drug Addiction (1DR84); Health & Family (1HE30))



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Royal Family make Archie and Lilibet's title change official..., 2023 WLNR 8608288




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                                                         March 9, 2023

           Royal Family make Archie and Lilibet's title change official with major website update
            Buckingham Palace has updated its website to show Lilibet and Archie's new titles.

                                                            Jon King

Buckingham Palace has made Archie and Lilibet's new titles official in an update on the Royal Family's official website. The title
change was first announced on Wednesday when the Sussexes published a statement confirming Lilibet had been christened.

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Related articles

Harry and Meghan's children became a prince and princess when King Charles acceded to the throne, but they had remained
a plain "master" and "miss" on the Buckingham Palace website over the last six months.

But in an update today, the palace website refers to the Sussex children as Prince Archie of Sussex and Princess Lilibet of Sussex.

The site's line of succession list has been updated to reflect the change after a spokesperson for the Sussexes publicly referred
to Lilibet as a princess for the first time when announcing news of her christening.

Lilibet, who will be two in June, was baptised in California on Friday, with the Sussexes' spokesperson saying: "I can confirm
that Princess Lilibet Diana was christened on Friday March 3 by the Archbishop of Los Angeles, the Rev John Taylor."

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after
admitting to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

The Duke and Duchess of Sussex are reportedly keen not to deny their children their birthright, but to allow them the chance
to decide for themselves when they are older whether to drop or keep using their titles.

In a recent statement the couple said the matter had been settled for some time.



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Royal Family make Archie and Lilibet's title change official..., 2023 WLNR 8608288




Harry and Meghan have embraced the royal titles despite the couple's repeated criticism of the monarchy.

Prince Harry accuses his family of "total neglect" in the past and has said he suffered "genetic pain".

The Sussexes also alleged racism against an unnamed member of the Royal Family, who they claim asked what colour Archie
would be. Harry has since appeared to row back on the allegation.

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In response to the title changes, royal commentator Emily Andrews tweeted on Wednesday: "The perennial question still
remains; if being a royal is so traumatic, such a burden, carries so much inter-generational pain why would you want to style
your kids prince and princess/keep your own royal titles....??"

King Charles was reportedly aware that the Sussexes intended to refer to their daughter as Princess Lili on Wednesday. It is
understood there had been some correspondence about the matter.

Archie and Lilibet's titles will be used in formal settings, but they will not be used routinely by Harry and Meghan.

Lilibet's christening was an intimate affair with 20-30 people present, including Meghan's mother Doria Ragland and Lili's
godfather, Tyler Perry, according to People magazine.

Guests enjoyed an afternoon of food and dancing, with Archie even dancing with his sister.

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her for award [LATEST] Queen Camilla has 'awkward' interaction with a royal fan - claims [REVEALED]

The magazine said US actor Perry arrived with a gospel choir who performed Oh Happy Day and This Little Light Of Mine
- a song which featured during the Sussexes' wedding.

It was reported King Charles, Queen Consort Camilla, Prince William and Kate, Princess of Wales, were invited but did not
attend.

Rules over titles set by King George V in 1917 mean Archie and Lilibet, as the children of a son of a sovereign, automatically
became a prince and a princess when Charles became King.

They would also be entitled to an HRH style but these will not be used. Harry and Meghan have retained their HRH styles,
although they no longer use them after quitting the working monarchy.

Meghan said in the couple's interview with US talk show host Oprah Winfrey that Archie was not given the title of prince
because of his race.

However, when Archie was born seventh in line to the throne in May 2019, he was too far down the line of succession.

Although he was a great-grandchild of the monarch, he was not a first-born son of a future king, so was not automatically a
prince.




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Royal Family make Archie and Lilibet's title change official..., 2023 WLNR 8608288


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---- Index References ----

Company: ROYAL FAMILY FOOD CO., LTD.

News Subject: (Health & Family (1HE30); Politically Exposed Persons (1PO01))

Industry: (Celebrities (1CE65); Dance (1DA68); Entertainment (1EN08))


Language: EN

Other Indexing: (Royal Family) (Archie; Lilibet Diana)

Word Count: 803

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A year of pain and joy, 2002 WLNR 8653089




                                           12/30/02 Evening Chron. (Newcastle) 14
                                                    2002 WLNR 8653089

                                          NEWCASTLE EVENING CHRONICLE
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                                                      December 30, 2002

                                                     Section: EDUCATIO

                                                   A year of pain and joy

Nation's mourning for Queen Mother deflects the anger over train strikes

January

The single currency had a smooth launch as Europeans in 12 countries got their first look at new Euro notes and coins.

Rail travellers faced commuter misery and the economy lost millions as strikes on some of the country's busiest routes crippled
services. Then Transport Secretary, Stephen Byers, admitted certain aspects of Britain's railways had got worse under Labour.

Five people died after a private executive jet crashed during take-off at Birmingham International Airport.

Professor Ian Wilmut, the man who led the team which created Dolly the sheep, called for more research into cloning after it
emerged that Dolly had developed arthritis.

Chancellor Gordon Brown and his wife Sarah mourned the loss of their 10-day-old baby daughter Jennifer Jane. She had
suffered a brain haemorrhage.

The Archbishop of Canterbury, Dr George Carey, announced his retirement.

Gary Hart, the driver convicted of causing the deaths of 10 people in the Selby rail crash, was jailed for five years.

Prince Charles sent his younger son Harry to a drugs rehabilitation clinic after he admitted to regularly smoking cannabis and
drinking alcohol.

Shafiq Rasul, 24, of Tipton, West Midlands, was among the suspected al Qaida prisoners being held at Camp X-Ray, the US
military prison in Cuba. Several other Britons were also being held at the camp.

Tens of thousands of people fled their homes in eastern Congo and Rwanda after a volcano erupted, sending burning lava into
Lake Kivu.

Two Afghan brothers were each jailed for five years for hijacking and other offences relating to the Stansted Airport siege.




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Eire publican, Colm Murphy, 49, was sentenced at Ireland's Special Criminal Court, to 14 years imprisonment for conspiring
to cause the 1998 Omagh Bombing, in Northern Ireland. It killed 29 people, including a woman pregnant with twins.

Lord Wakeham stepped aside as chairman of the Press Complaints Commission to answer questions over his involvement with
the collapsed United States of America energy giant Enron.

February

Stormy weather battered Britain. RAF helicopter crews winched 34 seamen to safety in two air-sea rescue operations, while
passengers were stranded on a ferry which ran aground. Two men died when a tree fell on their vehicle.

Teacher Amy Gehring, 26, was cleared of having sex with two teenage pupils. Gehring was acquitted by a jury at Guildford
Crown Court of three charges and the judge ordered a verdict of not guilty on a fourth.

The Queen marked the 50th anniversary of her accession with a poignant visit to a cancer unit in memory of her father, King
George VI.

Home Secretary David Blunkett provoked criticism by saying Asians should make arranged marriages within the UK rather
than flying in candidates from the Indian sub-continent.

Princess Margaret died, aged 71, in her sleep. Her coffin rested at Kensington Palace until the funeral service, which was
attended by the Royal Family, including the Queen Mother.

Pop Idol reached its climax with Will Young pulling off a shock win over Gareth Gates.

A gang of robbers escaped with several million pounds in cash after holding up a security van at Heathrow Airport.

The Prime Minister was "totally unapologetic" over his backing of a bid by wealthy Labour Party donor Lakshmi Mittal to buy
a Romanian steel company. This was despite claims that it would badly affect British jobs.

Transport Secretary Stephen Byers told MPs that his controversial special adviser, Jo Moore, and civil servant Martin Sixsmith
had agreed to resign. Sixsmith later denied that he had voluntarily given his resignation.

A pounds 100m immigration removal centre near Bedford was wrecked when asylum seekers facing deportation lit a series
of fires during a mass breakout.

Europe's top election observer arrived in Britain after being expelled from Zimbabwe just before the country's presidential
elections. Thirteen EU governments called for immediate sanctions against Zimbabwe's president, Robert Mugabe.

Four men found guilty of plotting to carry out the "Robbery of the Millennium" by snatching pounds 200 million worth of
diamonds from the Millennium Dome were jailed for between 15 and 18 years.

Actor John Thaw, star of The Sweeney, Inspector Morse and Kavanagh QC, died from cancer of the oesophagus, aged 60.

A 17-year-old youth was dramatically cleared of the murder of schoolboy Damilola Taylor after a judge threw out the evidence
of the prosecution's main witness.

Comedian and writer Spike Milligan, the last of the Goons, died of liver disease, aged 83.




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March

The mother and step-father of heroin addict Rachel Whitear released pictures of their daughter's death. She had died alone with
a syringe still in her arm.

The Earl and Countess of Wessex announced that they were quitting their careers amid criticism that work was interfering with
their royal duties.

Alain Baxter, Britain's Olympic slalom skiing bronze medallist, said he was "devastated" after being told he had tested positive
for the banned substance methamphetamine. He was later stripped of his medal.

Robert Mugabe claimed victory in Zimbabwe's presidential election. British Foreign Secretary Jack Straw condemned the
"systematic violence and intimidation" which he said had dominated the polling.

Prime Minister Tony Blair was urged by 39 of his MPs not to back US military action against Iraq. International Development
Secretary Clare Short hinted that she would leave the Cabinet if Britain joined an attack.

Pop Idol winner Will Young disclosed he was gay.

Thousands of police officers converged on Westminster to protest about planned reforms to the service.

Baroness Thatcher's office announced that, due to health concerns, she would never make a public speech again.

England and Surrey cricketer Ben Hollioake was killed in a road accident in Australia. He was 24.

The parents of teenager Amanda Dowler made an emotional appeal for help in finding their daughter three days after she
disappeared.

Actor Jim Broadbent was a surprise winner of the Best Supporting Actor Oscar for his role in Iris.

Supermodel Naomi Campbell won pounds 3,500 damages from The Daily Mirror after the High Court ruled it acted in breach
of confidence in publishing details of her therapy at Narcotics Anonymous. The Mirror later won its appeal.

A second defendant in the Damilola Taylor murder trial walked free from the Old Bailey.

Education Secretary Estelle Morris was heckled and jeered when she told the NUT's annual conference she would not "do
business" with teachers over pay and conditions if they threatened to strike.

The nation mourned as the Queen Mother died peacefully in her sleep at the age of 101.

April

A shower of flowers rained down on the Queen Mother's hearse as she made her final journey, past around one million well-
wishers, to St George's Chapel, Windsor. Her four grandsons had mounted a vigil as she lay in state in Westminster Hall, and
the Queen addressed the nation with a message of thanks for public support.

Violence engulfed the Middle East as Israeli tanks invaded Ramallah, trapping six British peace activists. The UN Security
Council elected to send a fact-finding team to a refugee camp in Jenin after reports that "hundreds" of Palestinians had been
killed there.



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Television company ITV Digital collapsed, ceasing all pay TV services. Football League clubs were forced to accept a pounds
120 million "golden goodbye" from the company.

REM guitarist Peter Buck was cleared of "ransacking" a first-class cabin during a drunken airborne rampage.

The Prime Minister led national concern for David Beckham's injured foot - and England's World Cup dreams. The England
captain's broken metatarsal bone, sustained in a Champions League clash with Deportivo La Coruna, put Beckham's hopes of
playing in Japan in doubt.

Caroline Ann Stuttle, a 19-year-old backpacker from York, was thrown to her death from a bridge after being robbed in Australia.

Chancellor Gordon Brown introduced an pounds 8 billion tax hike in the Budget. Meanwhile a Treasury-commissioned report
warned that spending on the National Health Service would have to more than double over the next 20 years.

Sven Goran Eriksson's girlfriend, Nancy Dell'Olia, insisted that reports of a relationship between the England football coach
and TV star Ulrika Jonsson were "rubbish".

Two teenage brothers walked free from the Old Bailey after being cleared of the murder of 10-year-old Damilola Taylor.
Damilola's parents said they blamed themselves and British society for their son's death.

Six British plane spotters arrested near a Greek air force base in 2001, were found guilty of spying by a court in the southern
town of Kalamata. They were sentenced to three years in jail.

An expelled pupil went on a gun rampage in a German school, killing 17 people including at least two children, before turning
the gun on himself.

Diane Pretty, a terminally-ill woman who wanted her husband to be allowed to help her "die with dignity" without fear of
prosecution, lost her bid for the backing of the European Court of Human Rights.

May

Far-right British National Party candidates won three seats in local elections in Burnley, Lancs.

Nearly 50 police officers were injured when mass violence erupted at the end of a Division One play-off game at Millwall
Football Club.

Conservative frontbencher Ann Winterton was sacked after telling a racist joke at a dinner.

Thousands of Jewish campaigners filled Trafalgar Square to call for peace in the Middle East in the biggest ever rally staged
in the capital by the Jewish community.

Transport Secretary Stephen Byers resigned, claiming it was the "right thing to do for the Government and the Labour Party".
He had denied misleading MPs by telling them his department's communications director, Martin Sixsmith, had resigned, when
he had not.

Arsenal beat Chelsea to win the FA Cup final and secured the double by beating Manchester United to be crowned Premiership
champions.




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Seven people died and dozens were injured when a passenger train derailed, smashing into a bridge and platform at Potter's
Bar in north London. Railtrack insisted passenger safety had not been compromised after damaged railway sleepers were found
near the scene.

The Foreign Office advised Britons to consider leaving India after a senior diplomat warned Pakistan and India were `very
close' to renewed warfare over the disputed territory of Kashmir.

Beckham-mania hit the Far East as the England captain was greeted by a screaming 600-strong crowd when Sven Goran
Eriksson's squad touched down in Japan for the World Cup. Republic of Ireland captain Roy Keane was sent home after
criticising his side's preparations for the tournament.

Have I Got News For You host Angus Deayton was accused of snorting cocaine and cheating on his girlfriend.

The Government gave away the Millennium Dome and its surrounds for free in the hope of getting pounds 550 million back
over 20 years.

June

The cricket world was in shock following the death of disgraced former South African cricket captain Hansie Cronje in a plane
crash.

The Queen's Golden Jubilee celebrations were dubbed an "enormous success". Former Beatle Sir Paul McCartney topped the
bill at the Party at the Palace and went on to marry Heather Mills at a remote countryside castle in Ireland later this month.

A two-seater aircraft careered on to the M11 motorway, killing one man and injuring another.

Five people were shot as sectarian violence hit Belfast for four nights.

Former Transport Secretary Stephen Byers apologised to Paddington rail crash survivor Pam Warren over an aide's e-mail
seeking information about her campaign group.

Former South African president Nelson Mandela called for a fresh appeal in the case of Lockerbie bomber Abdelbaset Ali
Mohmed Al Megrahi.

Postal group Consignia announced 17,000 job cuts, record losses of pounds 1.1 billion and a 1p rise in the price of stamps.

Bobby Robson and Mick Jagger were knighted in the Queen's birthday honours.

England beat Argentina only to lose 2-1 in the World Cup quarter finals to eventual winners Brazil.

Police told the parents of missing schoolgirl Amanda Dowler that she was probably dead.

The London stock market saw more than pounds 35 billion wiped from shares as traders reacted to a massive accounting scandal
from US giant WorldCom which slashed 17,000 jobs.

A builder was found guilty of killing three generations of one family with an iron bar. David Morris was convicted at Swansea
Crown Court of murdering Mandy Power, 34, her daughters Katie, 10, and Emily, eight, and Mrs Power's bedridden mother
Doris Dawson, 80.




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---- Index References ----

Company: INTERMEDIA COMMUNICATIONS INC

News Subject: (Violent Crime (1VI27); Strikes & Work Stoppages (1ST12); Teenagers (1TE59); Parents & Parenting (1PA25);
Health & Family (1HE30); Political Parties (1PO73); Public Affairs (1PU31); HR & Labor Management (1HR87); Legal
(1LE33); Business Management (1BU42); Social Issues (1SO05); Accidents & Injuries (1AC02); Government (1GO80); Crime
(1CR87); Criminal Law (1CR79))

Industry: (Gen Y Entertainment (1GE14); Gen Y TV (1GE33); Soccer (1SO61); Aerospace & Defense (1AE96); Celebrities
(1CE65); Defense (1DE43); Passenger Transportation (1PA35); Military Forces (1MI37); Railroads (1RA98); Sports (1SP75);
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Passenger Railroads (1PA89); Air Transportation (1AI53))

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(1SO52); North America (1NO39); United Kingdom (1UN38); Americas (1AM92); Ireland (1IR50); Middle East (1MI23))

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PARTY; CHAMPIONS LEAGUE; CONSIGNIA; DAILY MIRROR; DAMILOLA; DAMILOLA TAYLOR; DOLLY;
EARL; EUROPEAN COURT OF HUMAN; FOREIGN OFFICE; GUILDFORD CROWN COURT; HIGH COURT; LORD
WAKEHAM; MILLWALL FOOTBALL CLUB; MIRROR; NATIONAL HEALTH SERVICE; NUT; PRESS COMPLAINTS
COMMISSION; PRINCESS MARGARET; RAF; REM; ROYAL FAMILY; SELBY; SPECIAL CRIMINAL COURT;
SWANSEA CROWN COURT; SWEENEY; TRANSPORT; TV; UK; WORLDCOM) (Actor John Thaw; Actor Oscar; Al
Megrahi; Alain Baxter; Amanda Dowler; Amy Gehring; Angus Deayton; Ann Winterton; Arsenal beat Chelsea; Baroness
Thatcher; Beckham; Ben Hollioake; Bobby Robson; Caroline Ann Stuttle; Chancellor; Chancellor Gordon Brown; Charles;
Clare Short; Colm Murphy; Comedian; Conservative; David Beckham; David Blunkett; David Morris; Diane Pretty; Doris
Dawson; Education; Eire; Emily; England; Eriksson; Estelle Morris; Europe; Gary Hart; Gehring; George; George Carey;
Gordon Brown; Hansie Cronje; Heather Mills; Ian Wilmut; Inspector Morse; Jack Straw; Jennifer Jane; Jo Moore; Katie;
La Coruna; Labour Party; Lakshmi Mittal; Martin Sixsmith; Mick Jagger; Mother; MPs; Nancy Dell; Nelson Mandela; Pam
Warren; Party; Paul McCartney; Peter Buck; Pop Idol; Postal; Power; Prime; Rachel Whitear; Railtrack; Robert Mugabe; Roy
Keane; Shafiq Rasul; Sixsmith; Spike Milligan; St George; Stephen Byers; Supermodel Naomi Campbell; Surrey; Sven Goran;
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SEARCH        GO
MAIN PAGE
WORLD
U.S.                 Back to school for Prince Harry
WEATHER
BUSINESS         January 14, 2002 Posted: 1:52 AM EST (0652 GMT)
SPORTS
POLITICS                                              ETON, England -- Prince Harry is
                     Prince Harry, 17, spent a day
LAW                                                   expected to be back in classes at
                  at a rehab clinic where he heard
SCI-TECH                                              Eton on Monday where he will
                  about the dangers of substance
SPACE                                                 hope to put the weekend's
                  abuse
HEALTH                                                revelations of his drug taking
ENTERTAINMENT                                         behind him.
TRAVEL
EDUCATION                                             His father, the Prince of Wales won
IN-DEPTH                                              praise from Prime Minister Tony
                                                      Blair and drugs support groups for
VIDEO             Prince Harry, 17, spent a day       his handling of "every family's
LOCAL             at a rehab clinic where he          nightmare."
CNN               heard about the dangers of
NEWSWATCH         substance abuse                     Prince Harry left Eton College on
E-MAIL                                                Sunday after revelations of his
SERVICES                                              cannabis smoking and underage
CNNtoGO                                               drinking were revealed.
ABOUT US/HELP
                                                      The 17-year-old youngest son of
CNN TV                                                Prince Charles and the late Princess
what's on        Diana spent Sunday at his father's country residence, Highgrove in
show transcripts Gloucestershire.
CNN Headline
                     Prince Harry had lunch with his father and         MORE STORIES
News
                     elder brother William and was expected to        • Prince faced 'every
CNN International
                     return to the school on Sunday night.              parent's nightmare'
EDITIONS         Blair, whose eldest son Euan was once caught
CNN.com Asia                                                        QUICKVOTE
                 underage drinking, acknowledged it was a
CNN.com Europe   difficult situation for the Prince of Wales and Should Prince Harry
CNNenEspanol.com his family, saying: "I know this myself.        have been sent to a drugs
CNNArabic.com                                                    clinic for admitting to
set your edition "I think the way that Prince Charles and the    smoking cannabis?
 Languages       Royal Family have handled it is absolutely
 Time, Inc.      right and they have done it in a very           Yes
                 responsible and, as you would expect, in a      No
                 very sensitive way for their child," Blair told  View Results      vote
                 the BBC.

                     Euan Blair, then 16, was found to be drunk
                     and incapable in London's Leicester Square while celebrating the end of
                     his GCSEs in July 2000.

                     Prince Charles had faced "every parent's nightmare" but handled it very
                     well, according to Addiction, Britain's largest specialist drug and alcohol
                     treatment agency.


                                                                                                   APP. C 285
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     "It seems from what we know of the story that the Prince of Wales has
     acted with deep sensitivity and very quickly, which is exactly what is
     needed," chief executive Peter Martin told the Press Association.

     A spokesman for St James's Palace, the Prince of Wales's official London
     residence, confirmed on Saturday night that Prince Harry had visited the
     Featherstone Lodge drug, a rehabilitation clinic in Lewisham, south
     London, of which has father is patron.

     The spokesman told CNN: "This is a serious matter which was resolved
     within the family, and is now in the past and closed."

     Prince Charles discovered the teenage prince had taken drugs at
     Highgrove and at private parties, and allegedly drank alcohol at the
     Rattlebone Inn, Sherston, Wiltshire, the Sunday tabloid News of the
     World reported.

     Bill Puddicombe, chief executive of Phoenix House UK -- which runs
     Featherstone Lodge -- described to CNN details of Prince Harry's visit,
     which was made last summer.

     He said: "We received a request from the Prince of Wales's office for
     Prince Harry to come and visit one of our rehabilitation centers.

     "He came and visited for a couple of hours. Prince Charles was not with
     him. He spoke to the people were there recovery from addiction from
     cocaine, heroin, other illicit drugs and alcohol.

     "He learned a bit about the consequences of drug use, he heard about
     people's life stories and heard, I guess, some harrowing details of what
     had happened to them."

     In Britain, possession of cannabis, a      Prince Harry spent two hours
     class B controlled substance, is        visiting patients at Featherstone
     punishable by up to five years in       Lodge, in south London
     prison, although the government has
     proposed making possession a non-
     arrestable offence. The legal age for
     buying alcohol is 18.

     The News of the World said Harry had
     experimented with marijuana over a
     two-month period at Highgrove, in a Prince Harry spent two hours
     rundown shed at a nearby pub and at visiting patients at
     private parties held by friends.        Featherstone Lodge, in south
                                             London
     Prince Charles was alerted to his son's
     behaviour by a Highgrove staff member, who noticed a strong smell of
     marijuana, the newspaper reported.

     Prince Charles is reported to have reacted straight away when he learned
     his son had tried cannabis, sending him to visit the rebab clinic to show
     him the dangers of drug abuse.

     "The way we interpreted it was it was a piece of good, responsible
     parenting by Prince Charles," Puddicombe said.

     Scandals involving drink and drugs have dogged the circle of friends of
     Prince Harry and his elder brother William, whose mother died in a car
                                                                                 APP. C 286
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                       crash in 1997.

                       Last year, Nicholas Knatchbull, one of Prince Charles's godchildren
                       received treatment at a drug rehabilitation clinic.

                       Tom Parker Bowles -- another godchild and son of Prince Charles's
                       partner, Camilla Parker Bowles -- was exposed as a cocaine user two
                       years ago.

                       His cousin, Emma Parker Bowles, admitted in 2000 that she had been
                       treated for drink and drug addiction.

                       And when he was 14, Prince Charles himself was at the centre of an
                       infamous underage drinking episode after he entered a pub on the Isle of
                       Lewis in Scotland.

                       He asked for a cherry brandy, saying later it was the first thing that came
                       into his mind, but the incident attracted international attention.




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Drugaddicts were 'stunned' when they say 17-year-old..., 2023 WLNR 947304




                                     1/9/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                    2023 WLNR 947304

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                                                         January 9, 2023

              Drug addicts were 'stunned' when they say 17-year-old Prince Harry confessed
                 to taking cocaine, ketamine, cannabis and Nepalese hashish temple ball...

                                       Sam Greenhill Chief Reporter For The Daily Mail

Drug addicts were 'stunned' when they say 17-year-old Prince Harry confessed to taking cocaine, ketamine, cannabis and
Nepalese hashish temple balls during visit to rehabilitation centre

Drug addicts were stunned when 17-year-old Prince Harry confessed he took cocaine, ketamine, cannabis and Nepalese
hashish temple balls, it was claimed yesterday.

A former resident, Paul Smith, claimed yesterday that the Prince was 'so open' Harry left them bemused when he said he took
potentially harmful temple balls In his explosive book he said taking drugs like cocaine did not make him happy

He was sent to meet residents at a rehabilitation centre when Prince Charles discovered he had been experimenting with cannabis
and alcohol.

But when he was at Featherstone Lodge in south-east London, Harry apparently confessed to much more serious drug taking,
telling startled addicts he had taken Class A cocaine and Class B ketamine, a tranquilliser.

A former resident, Paul Smith, claimed yesterday: 'Harry was so open. He said he'd taken ketamine, cannabis and also cocaine.
We were stunned. There had been reports of bad behaviour around that time, but this was so shocking. This was a prince. It
was incredible.'

Harry also left them bemused when he talked of taking temple balls, an especially potent and potentially dangerous form of
cannabis which has been cultivated in Nepal for hundreds of years.

Mr Smith, 54, shared his memories from 2002 after the Duke of Sussex wrote in his memoir, Spare, about snorting lines of
cocaine and hallucinating on magic mushrooms, once believing that a bin was talking to him.

Mr Smith told The Sun yesterday: 'We had no prior warning, we were just told he was heading in. He said when he was doing
these things, he was out of control. It was brutally honest. I think he felt happy to speak around us.'

He recalled Harry had spent about an hour with him and two other addicts, talking in great detail about his life. He said: 'I think
Charles wanted him to be alone and talk to real addicts about how bad drugs are. He did not even have his security people



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Drugaddicts were 'stunned' when they say 17-year-old..., 2023 WLNR 947304


in the room at the time. I said my name was Paul and I explained my situation. I told him that he did not want to end up in
a place like this.'

In the book, Harry said taking cocaine did not make him happy, but he had tried the Class A drug and other narcotics as a way
to escape the harsh reality of his life. He also suggested that taking psychedelic drugs had helped his mental health therapy.

He admits smoking cannabis at Eton, and said he continued to smoke the drug even while living at Nottingham Cottage in
Kensington Palace, adding that he tried to ensure the smoke did not drift into the garden of his neighbour, the Duke of Kent.

Harry boasts of how he lied to palace officials when a newspaper claimed in 2002 to have obtained a photo of him taking cocaine.
He bragged of dishonestly informing a senior courtier he had never taken the drug, leading the palace to deny it to the journalist.


---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Health & Family (1HE30); Smoking (1SM71); Smuggling & Illegal
Trade (1SM35); Social Issues (1SO05))

Industry: (Agriculture (1AG63); Agriculture, Food & Beverage (1AG53); Cannabis (1CB42))

Region: (Asia (1AS61); Indian Subcontinent (1IN32); Nepal (1NE32); Southern Asia (1SO52))

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RECOVERY STORIES



Prince Harry Admits to Drug Use
By Cedric Dent                                                           JANUARY 12, 2023




Prince Harry’s memoir, Spare, details many of the unexplored recesses of his royal life but
also extant reports of heavy drinking and drug use. Few details have been provided
regarding his path to recovery. This follows the December release of a widely viewed, six-
part Netflix documentary on Harry and his wife, Meghan Markle, and a dramatic film about
their lives, Harry & Meghan, released in 2019.




                                                                          APP. C 290
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                                 Get
                                                   Locations   Addictions    Testimonials
                                 Treatment




The Royal Cocaine Rumor
The book covers several controversial scenes,
including one where William, Prince of Wales,
physically attacks Prince Harry during an argument
about Meghan. Another that’s actually not related to
the relationship is that of what Spare calls the “party
prince.” It refers to a time in his life when the Duke
of Sussex concedes that he indulged in cocaine a
“few” times. This actually hearkens back to a rumor
first published by a British tabloid the same year
Harry & Meghan was released.

“Which third-generation royal unrolled a friend’s banknote when doing coke?” the original
piece read according to Daily Mail. “They said, ‘Hello, granny!’ to the Queen’s portrait
before re-rolling it and hoofing their line.”


                                                                           APP. C 291
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This left readers to contemplateGet
                                 whether or not it was speaking of Prince Harry due to his
                                             Locations Addictions  Testimonials
reputation as the wild child of the Royal Family.
                                 Treatment        Though the memoir doesn’t specifically
confirm this exact statement and scenario, it does confirm that Harry had, indeed, done
cocaine. He says he used cocaine several times, starting at age 17 in order to “feel
different.”


Other Royal Substance Abuses
Cocaine is one of many substances the memoir, however, admits Harry abused from
nicotine to marijuana and even psychedelics like ayahuasca and psilocybin, which is
being increasingly considered for legalization in the U.S. Harry details one experience in
2016 in which mushrooms gave him a hallucination in which he conversed with a
trashcan. In the book, he expresses remorse and guilt for his substance use.

“I knew this was bad behaviour,” Harry wrote about sharing a joint with friends. “I knew it
was wrong. My mates knew too.”

He wrote that he took drugs, like many people do, to deal with mental trauma. In Harry’s
case, it was in an effort to deal with the loss of his mother, Princess Diana. He said “It
wasn’t much fun and didn’t make me feel particularly happy the way others seemed to.”

Newspaper reporters had actually approached palace officials in 2002, claiming to have
photographic evidence of Harry doing cocaine, according to the memoir. Harry brags in
the book about lying to the officials and leading the royal family to deny the allegation to
the journalist.


Prince Harry Forced into Recovery
In February 2002 — the same year Harry got the palace to lie to press about his cocaine
abuse — King Charles, then Prince of Wales, enrolled Harry in the addiction treatment
program at Featherstone Lodge Rehabilitation Centre in South London per The Guardian.

                                                                             APP. C 292
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Featherstone was then referred to as a detox facility for heroin users. Royal sources at the
                                Get
                                           Locations Addictions  Testimonials
time had only confirmed that Harry, then age 17, had confessed to “experimenting” with
                                Treatment
cannabis on several occasions. He was also said to have been drinking excessively.

Much of this behavior was then attributed to Prince Harry coping with the death of his
mother, Princess Diana. This matches what addictionologists often assert about trauma
being a common denominator for substance abuse habits. That’s one of the problems
cognitive behavioral therapy is intended to treat. It’s a treatment modality largely used for
victims of post traumatic stress disorder.




Treatment Modalities for Prince Harry
Taking an aggregate sum of what substances Prince Harry took, he may have had an
arduous detox process to undergo. It’s literally a series of chemical changes in the body,
which prove not only uncomfortable but painful and even life-threatening sometimes.
Healthcare experts agree that this is a process best overseen by professional, medical
staff.

                                                                            APP. C 293
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Even after detox, these chemical processes can easily lead to a dopamine crash.
                               Get
                                          Locations Addictions  Testimonials
Dopamine levels drop so precipitously when this happens that some people become
                               Treatment
temporarily suicidal. Ephemeral mental illness aside, therapy is a necessary treatment to
actually combat substance use disorders (SUDs), too.

Detox supervision is one of the specialties of Landmark Recovery, even to the point of
medication-assisted treatment in some circumstances. Also, therapy afterward is hardly
just about surviving dopamine crashes. At the same time, not all talk therapy is well suited
to deal with the root problem of SUD. Cognitive behavioral therapy identifies and targets
the thought processes that contribute to substance abuse, yanks them up by the root and
replaces them with thoughts better suited to living without those substances.

If you relate to Prince Harry’s journey, and need help to stop drinking or taking drugs, go
to Landmark Recovery or call 888.448.0302.




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  About the Author




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                           https://www.nytimes.com/2002/01/13/world/prince-harry-is-said-to-have-
                           used-drugs.html



Prince Harry Is Said To Have Used Drugs
By The Associated Press
Jan. 13, 2002



                                  See the article in its original context from
                             January 13, 2002, Section 1, Page 10 Buy Reprints


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Prince Charles took his youngest son, Harry, to a rehabilitation clinic to show him the
dangers of drug and alcohol abuse, after the young prince admitted having smoked
marijuana and getting drunk, a Sunday newspaper reported.

St. James's Palace, the official residence of Prince Charles, said the matter was now closed.

''This was a serious matter which was resolved within the family and is now in the past and
closed,'' a spokesman said today, speaking on condition of anonymity.

According to tabloid News of the World, Charles made the decision after discovering the 17-
year-old prince had used marijuana and had also been drinking at a pub near Charles'
Highgrove country estate in western England.

Marijuana use is illegal in Britain and the legal drinking age is 18. Harry was 16 when he
confessed to his father last summer, the newspaper reported.

The newspaper said Harry experimented with marijuana over a two-month period at
Highgrove, in a rundown shed at a nearby pub and at private parties held by friends.

Charles was alerted to his son's behavior by a Highgrove member of staff, the newspaper
reported. He confronted the young prince and took him to a drug rehabilitation center in
south London, where he spent a day talking with addicts.




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News > UK > This Britain


Prince Harry sent to rehab over drink and drugs
Claire Hill     · Sunday 13 January 2002 01:00 ·                                           Comments




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Internal links

Harry's friends are no strangers to drugs

Prince Harry was sent to a drugs rehabilitation clinic after he admitted to smoking
cannabis and drinking alcohol, it emerged last night.

His father, the Prince of Wales, sent his son to Featherstone Lodge Rehabilitation
Centre in Peckham, south London. Prince Charles took the decision after learning
his son had taken drugs during private parties at Highgrove, and had drunk alcohol
at the nearby Rattlebone Inn in Sherston, reports said.




                                                                                                                             APP. C 296
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These incidents are reported to have happened last June and July when Harry was
16. It is believed that Prince Charles was alerted to the problem when a senior
member of staff noticed a smell of cannabis. In the late summer, he visited the
rehabilitation centre for what was intended to be a "short, sharp shock".

Bill Puddicombe, the chief executive of Phoenix House Treatment Service For Drug
Dependency, confirmed Prince Harry's visit to the lodge. "The visit was at the
request of the Prince of Wales, who is our patron," he said. "Prince Harry came for a
couple of hours on a day in late summer and talked to several people in recovery,
heroin and cocaine addicts mostly.

"They told him what had happened in their lives, which must have been quite
harrowing for him. Prince Harry was friendly and relaxed and the residents liked
him and responded very warmly to him.

"I spoke to the Prince in November and was pleased to hear that Harry had enjoyed
his visit and learnt a lot.

"It was an opportunity for the Prince of Wales to teach Prince Harry about our work
and the consequences of taking drugs. Featherstone has helped an enormous
number of people, and we are pleased if the visit helped Prince Harry too."


                                                                       APP. C 297
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Prince Harry was reportedly shown the residential and detox areas and sat in on a
communal therapy group and heard stories of addicts moving from cannabis to
cocaine and heroin.




                           A Star is Born: Julia Roberts' 18-
                           Year-Old Daughter Steals the Show
                           MDRNtoday




A spokesman for St James's Palace said last night: "This is a serious matter which
was resolved within the family, and is now in the past and closed." It is expected
there will be widespread praise for the Prince of Wales's actions.

Prince Harry, now at Eton public school and planning to go to agricultural college
after his A-levels, is the latest in a line of young aristocrats and politicians' children
who have succumbed to drug taking. The Hon Nicholas Knatchbull, a godson of
Prince Charles, was in a rehabilitation clinic last year. Camilla Parker Bowles's son,
Tom and Lord Frederick Windsor have also admitted using cocaine. Tony Blair's son,
Euan, was found drunk in Leicester Square in 2000 when he was 16.




The Mail on Sunday also reported last night that the prince was at the centre of a
Police investigation into after-hours drinking at the Rattlebone Inn. He verbally
                                                                          APP. C 298
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abused a French employee and was ordered to leave the premises, the report said.
The landlord, David Baker, left the pub within weeks of the incident.

The Prince of Wales was involved in an underage drinking episode when he was 14.
During a school sailing trip, he led his four friends to the Crown Hotel on the Isle of
Lewis. He asked for a cherry brandy, the first drink that came to his mind.
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The Observer

   This article is more than 21 years old

Prince Harry taken to drink and drugs rehab clinic

Antony Barnett
Sat 12 Jan 2002 23.36 EST

Prince Harry was taken to a drugs rehabilitation clinic for a day after Prince Charles
discovered he had been regularly smoking cannabis and drinking alcohol, it emerged
last night.

The prince, 16 at the time, was confronted last year by Prince Charles, who then
arranged a visit to Featherstone Lodge, a detox centre for heroin addicts in Peckham,
south London.

Royal sources confirmed that Harry, now 17, had confessed to 'experimenting' with
cannabis on several occasions at his father's Highgrove home and drinking to excess at
private parties and at a local pub in Wiltshire.

The latest revelations will be highly embarrassing for the royal family and also put a
spotlight on how Prince Harry has coped since his mother Diana, Princess of Wales,
was killed.


The News of the World quoted one source as saying: 'Since Princess Diana died, there
has been a family rule that when Prince Harry is home from school, his father is at
home at Highgrove.

'But last summer was different. Prince Harry was getting older, Prince Charles was
often away on business in London and Prince William was on his gap year.

'So for the first time Prince Harry found himself occasionally at home alone at
Highgrove and was encouraged to have friends round to keep him company. During a
period covering June and July 2001, Prince Harry fell in with a bad lot at the Rattlebone
Inn. There are so many fights at the Rattlebone Inn. In fact, earlier last year Prince
Harry was involved in an incident after a fight broke out over out-of-hours drinking
and was barred from the inn for a while.'

The News of the World reports that one of his new friends encouraged him to
experiment with cannabis at a private party in Tetbury and on one occasion in the shed
                                                                           APP. C 300
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at the back of the pub.

It was after a private party at Highgrove that a member of the Royal staff smelled
cannabis and alerted Prince Charles. An aide to the Prince of Wales confirmed:
'Although his friends smoked at parties at Highgrove, Harry was mindful only to smoke
in private with close friends in the local area.'

Charles is reported to have asked Prince William to suggest to Harry that he should
spend some time at the Featherstone clinic to familiarise himself with the dangers of
drugs. It was reported that the prince visited the centre for a day as a short, sharp
shock and not for treatment.

According to the report, Charles told aides: 'There is no point in hiding the truth. These
are the facts - let people make their own judgment.' St James's Palace said: 'This is a
serious matter which was resolved within the family and is now closed.'

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   EXCLUSIVE
 News      UK News

 DRUG CONFESSIONS Prince Harry, aged 17,
 told addicts at rehab he’d ‘experimented’
 with cocaine, ketamine & cannabis
 following loss of mum
 Isaac Crowson
 Published: 16:00 ET, Jan 8 2023   Updated: 1:54 ET, Jan 9 2023




 PRINCE Harry confessed to taking cocaine, ketamine,
 cannabis and Nepalese hashish Temple Balls to other
 users at a drug rehab centre aged 17, a former
 resident has claimed.

 Paul Smith said he and other addicts were left stunned
 when the Prince visited Featherstone Lodge in South
                                                                                                APP. C 302
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 East London with his father Charles in 2002.
HOME   NEWS     ENTERTAINMENT      LIFESTYLE   MONEY    HEALTH   SPORT   TECH   TRAVEL   MOTORS   T




                                                                 6
 A former resident of a drug rehab centre claIms Harry
 confessed to taking cocaine, ketamine, cannabis and
 Nepalese hashish Temple Balls aged 17 Credit: David Hartley




                                                                 6
 Paul Smith said he and other addicts were left stunned when
 the Prince visited Featherstone Lodge in London with
 Charles in 2002 Credit: Times Newspapers Ltd


 Harry was taken there after the now-King discovered
 his son had been regularly smoking cannabis and
                                                                                 APP. C 303
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 drinking alcohol as a teenager.
HOME   NEWS   ENTERTAINMENT   LIFESTYLE   MONEY   HEALTH   SPORT   TECH   TRAVEL   MOTORS   T
 It was widely reported around that time that Charles
 confronted Harry, who had confessed to
 “experimenting” with weed on several occasions at his
 father’s Highgrove home.

 But The Sun can reveal he went further than was
 publicly known and told startled addicts he had taken
 the Class A drug cocaine and Class B ketamine, a
 tranquilliser.

 And he left them bemused with a confession to taking
 Temple Balls — which experts have warned are not for
 the casual drug taker.

 It is a form of cannabis which has been cultivated in
 Nepal for hundreds of years — and is a plant
 concentrate which produces a much more potent high
 than regular weed.

 Paul, 54, has come forward to talk about Harry’s visit
 after the Duke of Sussex admitted to taking drugs in
 his memoir, Spare.

 He claims: “Harry was so open. He said he’d taken
 ketamine, cannabis and also cocaine.




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                                                              6
 Paul Smith, 52, said Harry claimed to have taken ketamine,
 cannabis and cocaine Credit: Kevin Dunnett




                                                              6
 It comes as the Duke of Sussex admitted to taking drugs in
 his memoir, Spare Credit: Instagram


 “We were stunned. There had been reports of bad
 behaviour around that time, but this was so shocking.
 This was a prince. It was incredible.
                                                                              APP. C 305
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 “He said he’d struggled with the loss of his mother and
 I could relate to that. I’d also had bereavement in my
 family.

 “He’s a man in line to the throne at a drug
 rehab centre laying out his soul. It was shocking.

 “We had no prior warning, we were just told he was
 heading in. He said when he was doing these things, he
 was out of control.

 “It was brutally honest. I think he felt happy to speak
 around us.”

 Paul said Harry spent about an hour with him and two
 other addicts, talking in great detail about his life.

 He said that at times he had to “pinch myself” that it
 was really happening.
                                                                           APP. C 306
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 He added: “I was a senior resident at the centre at the
HOME  NEWS ENTERTAINMENT LIFESTYLE MONEY HEALTH SPORT          TECH   TRAVEL   MOTORS   T
 time which is why I think they chose me. I think Charles
 wanted him to be alone and talk to real addicts about
 how bad drugs are.

 “He did not even have his security people in the room
 at the time. I said my name was Paul and I explained
 my situation.




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                                                              6
 Harry was taken to the rehab centre after the King
 discovered his son had been regularly smoking cannabis and
 drinking Credit: PA




                                                                              APP. C 308
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                                                             6
 Harry also admits in Spare that he had lied about his cocaine
 use when confronted about it Credit: Reuters


 "I told him that he did not want to end up in a place
 like this. He talked about taking marijuana, Temple
 Balls and cocaine.

 “He also talked about Ketamine. I was like, ‘Oh my god’
 — I told him he needed to rein it in.

 "But when all the drug taking stuff came out this week
 from his book I was shocked. I don’t know why he
 decided to announce it all now. He said he felt very bad
 after taking the drugs.”

 In the book, Harry admits he took cocaine as a
 teenager and blamed it on an adolescent rebellion.

 He says he was offered the Class A drug during a
 hunting weekend when he was 17 — and on a few other
 occasions.

 Harry also reveals he smoked cannabis at Eton and he
 had continued to smoke the drug at Nottingham
 Cottage, the home he moved into with Meghan in the
 grounds of Kensington Palace, in 2015.


                                                                                 APP. C 309
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 He says he would smoke a marijuana joint after dinner,
HOME   NEWS ENTERTAINMENT LIFESTYLE MONEY HEALTH SPORT           TECH   TRAVEL   MOTORS   T
 adding that he tried to ensure the smoke did not drift
 into the garden of his neighbour, the Duke of Kent.

 Psychedelic drugs had helped him escape into
 “another world”, he adds, and he describes getting
 drunk on tequila and taking magic mushrooms with
 friends in California in 2016.

 Harry also admits in Spare that he had lied about his
 cocaine use when confronted about it at the time of
 the Queen’s Golden Jubilee in 2002.

 He says he was ushered into a small office and asked
 bluntly if he had taken the drug.

 The unnamed member of the Royal Household said a
 journalist had claimed to have a photograph of the
 young prince taking cocaine.


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 Harry denied the claim immediately and told the
 official to deny it to the journalist.

 But in his memoir, he admits to taking cocaine at that
 time when he would have been 17.


 Topics    Drugs    Exclusives   Royal Family



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Home / News / World / ‘What Meghan wants, she gets’, Expert hints Markle responsible for Prince Harry's US visa scrutiny

‘What Meghan wants, she gets’, Expert hints Markle responsible for Prince Harry's US visa scrutiny
1 min read . Updated: 25 Mar 2023, 05:41 PM IST

Edited By Sanchari Ghosh




The Heritage Foundation, a conservative think tank, has called for the release of Prince Harry's US visa application to see if he properly disclosed his past drug use before
moving to California in the summer of 2020. (REUTERS)



  SYNOPSIS
  Royal biographer criticized Meghan Markle for allegedly encouraging Prince Harry to reveal details of his drug use in his memoir ‘Spare’



Prince Harry's US visa is under scrutiny and partially his wife Meghan Markle is responsible for it. As per experts, Meghan should have warned
                                                                                                                                           OPEN IN APP

Harry about detailing his drug use in his book ‘Spare’ as it could have serious consequences for his visa status in the United States.


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  After the book came out, The Heritage Foundation, a conservative think tank, has called for the release of Prince Harry's US visa application to see if
  he properly disclosed his past drug use before moving to California in the summer of 2020.


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 And, ifAre
Dentists it is found that he did not disclose this information, he could face deportation, as US immigration laws require visa applicants to disclose
 certain information about their criminal history and drug use.
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This Vegetable Will
Kill Your biographer
 Royal    Belly And Angela Levin has criticized Meghan Markle for allegedly encouraging Prince Harry to reveal all of these details in his memoir.
Arm Fat Overnight!
  According to Levin, Prince Harry is "nervous" around his wife and is "frightened" of her. She claims that Meghan Markle controls everything and
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  that Prince Harry is no longer the same person he was a few years ago.
How Installers Get Rid
  “It’s well known that Meghan is delightful unless you say something that she doesn’t want you to say and then she is really scary."
of Unsold Walk-In
 “He said himself that what Meghan wants, Meghan gets," she remarked adding, “It’s a tragedy because I think that he lets her say and do things that
Tubs
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  anyone else would say ‘no this is not how it works’ that ‘she is wrong’."

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Last month, she revealed that Prince Harry was ‘shivering innews, instantly.
                                                              his boots’ about seeing the Royal Family before King Charles III’s coronation over fears
Home
of ‘royal Latest    News
          retaliation’.      Markets         Premium       Money       YouMutual Fundyour preferences
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It is unclear what the consequences would be for Meghan Markle if Prince Harry were to be deported from the United States over visa issues.
Similarly, it is uncertain whether Prince Harry would return to Britain or whether Meghan Markle would remain in the United States.


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                                                            dis...




It is important to note that failing to disclose relevant information on a visa application can have serious consequences. US immigration laws have
strict punishments for people who lie or hide information, and deportation is one of the potential outcomes.




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Could Prince Harry be deported from the US over drug use?
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Prince Harry facing demands to publicise his US visa application after admitting recreational drug use


Prince Harry is facing calls to reveal whether his US visa application included details of his past drug use.


It comes after he admitted taking cannabis, cocaine and magic mushrooms. in his autobiography, Spare.
                                                                                                                APP. C 314
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A request has been submitted for him to release a copy of his application by a US conservative think tank to see whether he admitted to his drug use before m

         Peter Hitchens blames drug users like Prince Harry for narcotics trade 'misery'



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The Heritage Foundation has argued the details of Harry's application should be released to confirm whether he was properly vetted before being allowed to


Applicants for US visas are typically asked about previous drug use. Hundreds of Brits have been denied access to America after admitting prior drug misuse.


The think tank's director Mike Powell said: "This request is in the public interest in light of the potential revocation of Prince Harry’s visa for illicit substance use




                                                                                                                                        APP. C 315
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         Prince Harry: 'Drugs responsible for glaring book errors', says Royal commentator




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Harry wrote in his memoir that he first tried cocaine when he was 17 and has used it recreationally since. He also said that he used cannabis and magic mushro


The Heritage Foundation argues that if immigration officials knew about Harry drug use it raises questions over whether he was given special treatment becau


If Harry failed to declare his drug use he could also be barred from applying for US citizenship and deported from the country he has lived in for nearly three y




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ENTERTAINMENT


Explained: Why Meghan Markle is
responsible for Harry’s visa
scrutiny
Prince Harry is frightened of his wife Meghan Markle, claims royal biographer; calls her
really scary’. She controls every move of Harry

Lachmi Deb Roy          March 24, 2023 12:19:35 IST




 Prince Harry is ‘frightened’ of his wife Meghan Markle, claims royal biographer; calls her ‘really scary’.

Meghan Markle should have warned Prince Harry against revealing details about his drug
usage for his memoir Spare. Harry has disclosed plenty of royal secrets and interesting
details about his drug usage in his memoir Spare. For that reason, his visa applications
have come under scrutiny and there are chances that he may be deported from the US.
US immigration law tends to have very harsh punishment for people lying and hiding
information. The royal biographer Angela Levin has called out Meghan Markle for not
stopping Prince Harry from revealing all details. In fact, she encouraged Harry to tell it
all.

According to reports, a conservative think tank is calling for
Prince Harry’s US visa application to be released so Americans can see whether or not he
admitted to his past drug use before moving to California in the summer of 2020. Now
the obvious questions are what will happen to Meghan Markle if Harry gets deported
from the USA over visa issues? Will Harry go back to Britain? Will Meghan continue to live
in the US?

The Heritage Foundation, one of the country’s preeminent right-wing think tanks, is
arguing that US officials should release the details of the prince’s application so
Americans can see whether or not he was properly vetted before being allowed to enter
the country Applicants for US visas are typically asked about their criminal history and                      APP. C 317
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the country. Applicants for US visas are typically asked about their criminal history and
drug use.

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 Facebook to reports, Angela Levin,
                                  World the royal biographer has mentioned   that 2022
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Prince Harry is frightened of his   wife Meghan Markle. She added
                                  Business                            that theDuke of Sussex
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is ‘nervous’ when he is around his wife. Referring to the Duchess of Sussex as ‘really
                                  Entertainment News

scary,’ she said, “It’s well knownCricket
                                    that Meghan is delightful unless you say something that
                                  Tech
she doesn’t want you to say and then she is really scary.”
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According to GB News Harry doesn’t        want to say anything if Meghan wants to speak, if
                                 Videos
she wants to speak to someone before him he steps back, he’s very nervous.’ Calling him
                                 Press Release
anxious, she alleged that Meghan probably controls everything because ‘Harry isn’t the
                                 Firstculture
same guy he was a few years ago.’ “He said himself that what Meghan wants, Meghan
                                 Long Reads
gets”, She remarked, “It’s a tragedy   because I think that he lets her say and do things that
                                 Latest Mobiles
anyone else would say ‘no this isLatest
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                                         how it works’ that ‘she is wrong’,” the former
biographer of Prince Harry explained.
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Last month, she
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            sites        that PrinceNews18
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 ROYAL FAMILY      EXCLUSIVE


Lawyers reveal whether Prince Harry’s drug use will affect US visa
status
By Eileen Reslen                                                                                             March 21, 2023 | 3:18pm




                         00:57 / 01:30




“Truth-teller” Prince Harry may find himself in hot water — and lose his rights to live in the US — for being too honest about
his past drug use, a legal expert tells Page Six exclusively.

However, others argue that the British royal is in the clear — unless he happens to one day find himself behind bars.

“An admission of drug use is usually grounds for inadmissibility,” former federal prosecutor Neama Rahmani says.

“That means Prince Harry’s visa should have been denied or revoked because he admitted to using cocaine, mushrooms
and other drugs.”




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Rahmani, president of West Coast Trial Lawyers, adds that there is “no exception for royalty or recreational use.”




Prince Harry’s admission of drug use could affect his visa status.
Getty Images


The Duke of Sussex revealed in his memoir, “Spare,” released in January, that he “drank heavily,” used cocaine and smoked
pot throughout his life.

While Harry, 38, claimed he only used coke as a teen, he has also admitted to experimenting with psychedelics well into his
adulthood.

The prince said during an online chat with trauma expert Gabor Maté earlier this month that he considers hallucinogenic
drugs a “fundamental” part of his life.




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Harry, seen here in 2004, wrote about using cocaine in his book, “Spare.”
Richard Young/Shutterstock


“It was the cleaning of the windscreen, the removal of life’s filters — these layers of filters — it removed it all for me and
brought me a sense of relaxation, relief, comfort, a lightness that I managed to hold back for a period of time,” he shared at
the time.

“I started doing it recreationally and then started to realize how good it was for me.”

Attorney James Leonard, who represented “The Real Housewives of New Jersey” alum Joe Giudice in his immigration case,
disagrees with Rahmani that Harry’s status in the US is at such high risk.




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                                                             APP. C 322
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The royal, seen here in 2012, has not said he’s suffered from addiction issues.
Tim Rooke/Shutterstock


“Absent any criminal charge related to drugs or alcohol or any finding by a judicial authority that Prince Harry is a habitual
drug user, which he clearly is not, I don’t see any issue with the disclosures in his memoir regarding recreational
experimentation with drugs,” the high-profile New Jersey-based lawyer tells Page Six.


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Leonard explains that drug users who are not US citizens would have to give immigration officials a reason to launch an
investigation into the individual’s status, like a criminal act.

“You’ve got to give them something that would trigger it, and revealing it in a book, that you experimented with drugs when
you were a young man, I don’t think gets you there,” the celebrity attorney adds.




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                                                             APP. C 324
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Legal experts say Harry’s visa would only be at risk if he faced criminal charges.
The Daily Stardust / ShotbyNYP/MEGA / BACKGRID


“Immigration is not going to do anything based on that. If he got arrested or if he got a DWI, then we’re having a different
conversation.”

Sam Adair, an immigration lawyer with more than two decades of experience, agrees with Leonard that it is “unlikely that
these admissions will present a problem.”

“If there had been a conviction, it would have likely been a significant issue in getting a visa,” the executive partner at
Graham Adair points out.




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                                                             APP. C 326
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Harry moved to the US in 2020 with his wife, Meghan Markle.
Getty Images for 2022 Robert F. Kennedy Human Rights Ripple of Hope Gala


He adds, “This isn’t to say that drug use could not be a problem in the immigration process, but in this circumstance, it is
unlikely that this would present an issue.

“It isn’t clear to me what the duke’s visa status is in the US, but breaking the law could be an issue in getting a visa renewed
or for readmission to the US. But recreational drug use that has not been the subject of criminal scrutiny is unlikely to
present an issue for someone’s visa status.”

However, Rahmani maintains that there is “no requirement that the person actually be convicted of a drug offense.”




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Harry resides in the US full-time with his wife and two kids, Archie and Lilibet.
Alexi Lubomirski / Duke and Duchess of Sussex


He notes, though, that a loophole for drug users to stay in the US would be for them to “get a waiver” as proof that their
substance abuse “is in remission.”
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“Someone is considered in remission after one year of sobriety,” Rahmani explains. “A waiver request requires a doctor to
submit medical records, but it’s unclear whether Prince Harry made such a request because immigration files are not public.”

Harry has not disclosed whether he has ever struggled with serious drug issues, but his father, King Charles III, sent him to a
rehab center at age 17 after he confessed to smoking marijuana.




Markle is a US citizen.
AFP via Getty Images


Adair says past recreational drug use is “not something that is likely to have been raised in a visa interview,” so it was likely
not an issue during Harry’s approval process.

“The drug use could be an issue if there had ever been an arrest, charge or conviction, but recreational use would not likely
come up in the visa interview,” the Texas-based lawyer concludes.

Leonard agrees, “If he had a criminal charge, it could absolutely affect his status and whether it gets renewed or terminated.
But just to say that you indulged in that behavior, the answer is no [it would not affect his status].”




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Harry and Markle quit the British royal family in January 2020.
Getty Images




                                               206    What do you think? Post a comment.



Harry moved to California with his wife, Meghan Markle, and their son, Archie, in early 2020 after quitting the royal family
that January.

According to a 2021 article by the Times, the duke has no plans to seek a permanent US residency, citizenship or a “green
card at any point.”

A top immigration attorney previously told Page Six that should any issues arise, Markle, 41, who was born in California,
could sponsor her husband.
FILED UNDER    CALIFORNIA, CELEBRITY MEMOIRS, COCAINE, DRUGS, IMMIGRATION, MEGHAN MARKLE, PRINCE HARRY, PRINCE HARRY 'SPARE' BOOK,
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Prince Harry Facing Questions Surrounding U.S. Visa After Admitting To
Using Drugs                                                            
      by Nicky Kashani (https://uinterview.com/author/nicky/)  March 27, 2023, 11:29 pm                                Like 4



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Prince Harry (https://uinterview.com/tag/prince-harry) has made some bombshell revelations
(https://uinterview.com/news/prince-harry-says-hes-circumcised-discusses-his-penis-in-memoir-
spare/) in his recent interviews and 2023 autobiography, Spare. The most recent to come under

                                                                                                           APP. C 331
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scrutiny is his admission to having experimented with illicit drugs, such as cocaine and magic
mushrooms (https://uinterview.com/news/prince-harry-says-he-did-cocaine-had-a-bad-trip-off-
mushrooms-in-new-memoir/), which has raised questions about whether he declared his past
substance use when applying for residency, and why it has not impacted his ability to obtain a U.S.
visa.

The Heritage Foundation’s Oversight Project has submitted a request for Prince Harry’s visa
documents under the Freedom of Information Act. Experts believe that if the Heritage Foundation’s
investigation finds the Duke of Sussex to have lied on his application, he could have his visa revoked
and could face deportation.

50 BEST CELEBRITY BIKINIS SLIDESHOW! (https://uinterview.com/photos/50-best-celebrity-
bikinis-how-to-buy-them/)

Experts say that an admission of drug use is usually grounds for inadmissibility.

If, however, the investigation finds that he has mentioned his history with illicit drugs, then it would
suggest that he has received unfair preferential treatment due to his royal status or as a result of his
wife Meghan Markle (https://uinterview.com/tag/Meghan-markle)‘s fame.
                                                                                                         
Many individuals with a history of substance use have been refused from the U.S. in the past. For
example, in 2014, food writer and TV chef Nigella Lawson was banned from an LAX-bound flight from
London Heathrow, four months after admitting to experimenting with Class-A drugs.

While the 38-year-old prince claimed to have only engaged in cocaine use in his teenage years, he
recalled his experimentation with psychedelics to have been well into his adulthood, at the Los
Angeles home of actress Courteney Cox (https://uinterview.com/news/courtney-cox-reacts-to-prince-
harry-saying-he-took-magic-mushrooms-at-her-house/). Earlier this month, the duke told trauma
expert Dr. Gabor Maté that hallucinogenic drugs are a “fundamental” part of his life.

“It was the cleaning of the windscreen, the removal of life’s filters — these layers of filters — it
removed it all for me and brought me a sense of relaxation, relief, comfort, a lightness that I managed
to hold back for a period of time,” he told Maté, admitting that he began “doing it recreationally and
then started to realize how good it was for me.”

Despite the backlash, there are some who believe that without a criminal act, immigration officials will
not have sufficient reason to launch an investigation.




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          Celeb (Https://Hellogiggles.Com/Celebrity/) | News
          (Https://Hellogiggles.Com/News/)
          Prince Harry Might Face Deportation Over Past Drug
          Use
          A CONSERVATIVE THINK TANK IS DEMANDING THAT PRINCE HARRY
          MAKES HIS VISA APPLICATION PUBLIC.
          By EMILY WEAVER                     MARCH 22, 2023




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            Prince Harry (https://hellogiggles.com/meghan-markle-and-prince-harry-
            are-making-big-coronation-demands-says-source/)’s cons list for
            attending King Charles (https://hellogiggles.com/king-charles-prince-
            harry/)’s coronation just got one bullet point longer — and a whole lot more
            complicated. A Washington D.C.-based conservative think tank is
            demanding that Harry’s U.S. visa application be made public following his
            admission of past drug use (https://hellogiggles.com/prince-harry-memoir-
            spare-bombshells/).




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            Earlier this year, during his global press tour for Spare, Harry revealed on-
            camera he has used cocaine, magic mushrooms, marijuana, and
            psychedelics including ayahuasca. The Heritage Foundation wantsVolkswagen
                                                                            to
                                                                                                                                                                    by vw.com
            know if Harry omitted to use of those drugs on his application.
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        If the answer is yes, he could be facing
        possible deportation(/) for lying to immigration
        officials. That also means if he decides to
        travel to the U.K. for Coronation Weekend,
        he may not be allowed back into the US.




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        “This request is in the public interest in light of the potential revocation of
        Prince Harry’s visa for illicit substance use and further questions regarding
        the Prince’s drug use and whether he was properly vetted before entering
        the United States,” The Heritage Foundation’s Oversight Project director
        Mike Howell told Daily Mail (https://www.dailymail.co.uk/news/article-
        11884759/So-DID-Prince-Harry-visa-despite-drug-use-Campaigners-
        demand-know.html).

        The real ticker is whether or not Harry received preferential treatment for
        being a Prince, The Heritage Foundation added. Typically, those with a
        history of drug use are denied entrance into the U.S. Thus, if Harry was
        honest about his drug record and immigration turned a blind eye, the
        public may have something to say about that.

        RELATED: Meghan Markle and Prince Harry Are Making Big Coronation
        Demands, Says Source (https://hellogiggles.com/meghan-markle-and-
        prince-harry-are-making-big-coronation-demands-says-source/)

        “An admission of drug use is usually grounds for
        inadmissibility,” former federal prosecutor Neama
        Rahmani told Page Six.
        (https://pagesix.com/2023/03/21/lawyers-reveal-
        prince-harrys-drug-use-could-affect-us-visa/) “That
        means Prince Harry’s visa should have been denied or
        revoked because he admitted to using cocaine,
        mushrooms, and other drugs.”
        Albeit, attorney James Leonard argues Harry’s past drug use would have
        to be linked to a criminal charge for immigration to raise eyebrows.




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          “Absent any criminal charge related to drugs or alcohol or any finding by a
          judicial authority that Prince Harry is a habitual drug user, which he clearly
          is not, I don’t see any issue with the disclosures in his memoir regarding
          recreational experimentation with drugs,” he told the outlet.

          “You’ve got to give them something that would trigger it, and revealing it in
          a book, that you experimented with drugs when you were a young man, I
          don’t think gets you there,” Leonard continued.

          Leonard did note, however, if Harry ever got a DWI or was arrested, then
          his visa might be in jeopardy.

          Visa records are kept private, so it’s uncertain whether The Heritage
          Foundation’s legal dispute will go in their favor. It’s also unclear what this
          may mean when Harry has to review his U.S. visa.

      E M I LY W E AV E R

      Emily is a NYC-based freelance entertainment and lifestyle writer — though, she’ll never pass up the opportunity to talk

      about women’s health and sports (she thrives during the Olympics). Read more (https://hellogiggles.com/author/emily-

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admission will affect his rights to live in the U.S.
                      others-
                           others- others-others-others-
                                others-
Harry, who stepped back as a senior royal alongside wife Meghan Markle in
                                     disagree%2F)
                                           disagree%2F)
                                                 disagree%2F)
March 2020 beforedisagree%2F)
                      disagree%2F)
                  moving  todisagree%2F)
                             California, admitted to taking cocaine, mushrooms
and smoking weed, as well as drinking heavily, in his tell-all memoir Spare.

Former federal prosecutor Neama Rahmani has now told Page Six
(https://pagesix.com/2023/03/21/lawyers-reveal-prince-harrys-drug-use-could-
affect-us-visa/) that his admission should have previously been declared to
officials.

“An admission of drug use is usually grounds for inadmissibility,” Rahmani said.

“That means Prince Harry’s visa should have been denied or revoked because he
admitted to using cocaine, mushrooms and other drugs.”

Rahmani, who is president of West Coast Trial Lawyers, insisted there was “no
exception for royalty or recreational use.”

Despite Rahmani’s comments, other legal experts have said Harry would only
have issues if he was to get into trouble and do something that was considered a
criminal act.

James Leonard, who represented “The Real Housewives of New Jersey” star
Joe Giudice in his immigration case, told the publication: “Absent any criminal
charge related to drugs or alcohol or any finding by a judicial authority that Prince
Harry is a habitual drug user, which he clearly is not, I don’t see any issue with
the disclosures in his memoir regarding recreational experimentation with drugs.
                                                                                                       APP. C 336
“You’ve  got to give them
                     Case something
     (https://etcanada.com/)        that would trigger it,
                            1:23-cv-01198-CJN              and revealing
                                                        Document         it in aFiled 05/05/23
                                                                       7-7                       Page 339 of 416
book, that you experimented
                      withdrugs
                                  when
                                      you were a young man, I don’t                                                    

think gets you there.
                                 (//www.facebook.com/sharer/sharer.php?
                                      (//twitter.com/intent/tweet?
                                             (mailto:?
                   (//www.facebook.com/sharer/sharer.php?
                        (//twitter.com/intent/tweet?
                              (mailto:?
“Immigration is not going to do anything based on that. If he got arrested or if he
                               u=https%3A%2F%2Fetcanada.com%2Fnews%2F978973%2Fprince-
                                     text=Prince%20Harry%E2%80%99s%20U.S.%20Visa%20%E2%80%98Should%20Have%20Been%20D
                                           Subject=Prince%20Harry%E2%80%99s%20U.S.%20Visa%20%E2%80%98Should%20Have%20B
                   u=https%3A%2F%2Fetcanada.com%2Fnews%2F978973%2Fprince-
                        text=Prince%20Harry%E2%80%99s%20U.S.%20Visa%20%E2%80%98Should%20Have%20Been%20Denied%20Or
                             Subject=Prince%20Harry%E2%80%99s%20U.S.%20Visa%20%E2%80%98Should%20Have%20Been%20Denie
got a DWI, then we’re having a different conversation.”
                   harrys-
                        harrys- harrys-harrys-harrys-
                             harrys-
READ MORE: Courteney Cox Responds To Prince Harry Saying He Ate Psychedelic
Mushrooms At Her House:        u-s-
                        ‘I Wasn’t
                  u-s- u-s-  u-s-    u-s- Them
                                  Passing  u-s- Out’
(https://etcanada.com/news/972170/courteney-cox-responds-to-prince-harry-
                                   visa- visa- visa-
                    visa- visa- visa-
saying-he-ate-psychedelic-mushrooms-at-her-house-i-wasnt-passing-them-out/)

                   should-
                        should- should-
                             should- should-
                                          should-
Immigration lawyer Sam Adair agreed with Leonard that it is “unlikely that these
admissions will present        have- have- have-
                        a problem.”
                   have-have-have-

“If there had been abeen-
                     conviction, been- been-
                                 it would
                         been-been-          been-
                                          have likely been a significant issue in
getting a visa,” he said, adding: “This isn’t to say that drug use could not be a
                   denied-
                        denied- denied-
                             denied- denied-
                                          denied-
problem in the immigration process, but in this circumstance, it is unlikely that
this would present an     or- or-or-
                    or-issue.            or-   or-

“It isn’t clear to merevoked-    revoked-
                      whatrevoked-
                           the Duke’s  revoked-
                                      visa
                               revoked-      revoked-
                                           status is in the U.S., but breaking the law
could be an issue in getting a visa renewed or for readmission to the U.S. But
                   following-   following-
                        following-    following-
                             following-     following-
recreational drug use that has not been the subject of criminal scrutiny is unlikely
to present an issuedrug-
                    for someone’s   visa
                                drug-
                         drug-drug-      status.”
                                       drug- drug-

Leonard pointed out, “If he
                  use-   use-had ause-
                               use-    use-charge,
                                   criminal  use- it could absolutely affect his
status and whether it gets renewed or terminated. But just to say that you
                   admission-    admission-
                        admission-    admission-
                              admission-    admission-
indulged in that behaviour, the answer is no [it would not affect his status].”
                   lawyer-
                       lawyer- lawyer-
                           lawyer-  lawyer-
                                         lawyer-
“Someone is considered in remission after one year of sobriety,” Rahmani did
state of a possible loophole.
                    says-says-“A waiversays-
                                 says-
                              says-     request
                                             says-requires a doctor to submit
medical records, but it’s unclear whether Prince Harry made such a request
                  but-  but-      but- but- but-
because immigration files arebut-
                             not public.”

                  others-
                       others-   others-others-others-
                            others-
Harry’s drug use admissions hit headlines around the world when his book was
released in January.
                  disagree%2F) disagree%2F)
                       disagree%2F)  disagree%2F)
                            disagree%2F)   disagree%2F)

READ MORE: Prince Harry Opens Up About Losing His Virginity To An Older Woman
In A Field And Taking Cocaine At Age 17 In Bombshell New Memoir
(https://etcanada.com/news/956236/prince-harry-opens-up-about-losing-his-
virginity-to-an-older-woman-in-a-field-and-taking-cocaine-at-age-17-in-bombshell-
new-memoir/)

He revealed he’d previously dug in to “a huge box of black diamond mushroom
chocolates” (https://etcanada.com/news/957921/prince-harry-ate-psychedelic-
mushrooms-at-courteney-coxs-house-and-her-toilet-talked-to-him/)while staying
at Courteney Cox’s house years ago, as well as admitting to taking cocaine for
the first time at age 17 during a hunting weekend.

Harry wrote of taking the drug, “It wasn’t much fun, and it didn’t make me feel
particularly happy the way the others seemed to, but it did make me feel
different, and that was my main goal. To feel. To be different.”

The Duke of Sussex said he was a “17-year-old willing to try almost anything that
would upset the established order” at the time, adding that he smoked cigarettes
and cannabis, as well.




                                                                                                           APP. C 337
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Prince Harry is urged to reveal how he answered drug question in
US visa application
Caroline Graham In Los Angeles |         Daily Mail Online (UK)


Search Details
Search Query:       advanced: ATLEAST4("drug use") and ("u.s." or "United States") and
                    visa
Jurisdiction:       FE

Delivery Details
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Prince Harry is urged to reveal how he answered drug..., 2023 WLNR 11706208




                                     4/1/23 Daily Mail Online (U.K.) (Pg. Unavail. Online)
                                                   2023 WLNR 11706208

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                                                          April 1, 2023

           Prince Harry is urged to reveal how he answered drug question in US visa application

                                                Caroline Graham In Los Angeles

Prince Harry has been urged to be 'totally transparent' and release details of his US visa application or risk becoming a 'political
pawn' over his past drug use.

US immigration authorities have until April 12 to respond to a Freedom of Information (FoI) request filed by a leading American
think-tank which is seeking to determine how the Duke of Sussex was allowed to enter the States after openly admitting using
a variety of substances in the past, including marijuana, cocaine and magic mushrooms.

FoI seeks to determine how the Duke of Sussex was allowed to enter the States He has openly admitting using a variety of
illegal substances in the past

Under US law, anyone applying for a visa to live and work in America has to tick a box to answer 'yes' or 'no' to the question:
'Are you or have you ever been a drug abuser or addict?'

In his controversial memoir Spare and in a 'therapy session' with toxic trauma expert Dr Gabor Mate to promote his book last
month, Harry admitted using psychedelic drugs.

They included the hallucinogenic Amazonian plant ayahuasca, whose effect he described as 'the cleaning of the windshield,
the removal of life's filters'.

But under US law, an admission of drug use usually results in a person being denied entry to the States, as happened in the
case of chef Nigella Lawson and the late singer Amy Winehouse.

The issue of immigration is expected to become one of the main focuses of the 2024 presidential election, with Republicans
attacking President Joe Biden for his lax border controls. And there are fears that Harry's friendships with prominent Democratic
Party figures such as former president Barack Obama and major Democratic donors including Oprah Winfrey and Tyler Perry
could see him become an 'unwitting pawn in a highly political game'.

Last night, in an exclusive interview with The Mail on Sunday, senior lawyer Samuel Dewey at conservative think-tank the
Heritage Foundation, which has filed a 127-page FoI request to see the Duke's application, said: 'It is in the public interest to
know how Prince Harry answered the drug question.




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Prince Harry is urged to reveal how he answered drug..., 2023 WLNR 11706208


'If he has been honest and open about his drug use, and there is no reason to believe he has not been, it could well be that he
ticked the "yes" box, in which case he would need a waiver to be granted a visa to be admitted into the States.

'That means he would have had to be interviewed in person and someone would have had to grant him a waiver. We are simply
asking who granted that waiver.'

There is a history of authorities releasing immigration documents about public figures.

The US Citizenship and Immigration Services website has an electronic reading room which contains the immigration files of
people such as Shyamala Gopalan Harris, mother of US Vice-President Kamala Harris, and George Michael and John Lennon.

Other celebrities whose files are open to the public include Canadian-born Superman actress Margot Kidder and British actress
Lynn Redgrave.

Mr Dewey added: 'An admission of drug use doesn't automatically ban you for ever.

'There is a waiver process and a lot of people get a waiver on a case-by-case basis. If Prince Harry was given a waiver, who
authorised it? Was the correct protocol followed? It's something the American people deserve to know.'

Often a ban is overturned after an in-person interview at a US consulate or official immigration office, where a waiver can
be issued.

In 2014, Ms Lawson was prevented from entering the US after admitting during a court case to taking cocaine, even though
she told a judge: 'I have never been a drug addict. I've never been a habitual user.' She was later granted a visa after being
interviewed at the US Embassy in London, while Ms Winehouse was twice refused entry because of her drug use.

Mr Dewey said: 'There is no suggestion Prince Harry did anything wrong and, if he was granted a waiver, he may not be aware
of any political strings that may have been pulled, if indeed they were. But there is a danger he could become an unwitting
pawn in an issue which has become a political hot potato.'

Reports in the US have suggested Harry was admitted on an 'O' visa – given to people of extraordinary ability.

Nile Gardiner, a director of the Margaret Thatcher Center for Freedom at the Heritage Foundation, said: 'This is a much bigger
issue than Prince Harry. It is about enforcing immigration law and ensuring that no one is above the law. Prince Harry is simply
the tip of the iceberg.

'There are many who believe that under President Biden immigration laws have become lax and are not being properly
implemented. Prince Harry openly talked about his drug use and he has done so for commercial and financial gain, to sell
books. In our opinion, there is no case for privacy here.'

The MoS sought comment on Prince Harry's immigration status from the US Department of Homeland Security, the US
Citizenship and Immigration Services, Immigration and Customs Enforcement, US Customs and Border Protection, California
Border Patrol and the Sussexes' Archewell organisation. None responded.


---- Index References ----

Company: U.S. Customs and Border Protection,; US Citizenship and Immigration Services; HERITAGE FOUNDATION
(THE); U.S. Department of Homeland Security




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News Subject: (Crime (1CR87); Government (1GO80); Immigration & Naturalization (1IM88); Legislation (1LE97);
Smuggling & Illegal Trade (1SM35); Social Issues (1SO05); U.S. Legislation (1US12))

Industry: (Celebrities (1CE65); Entertainment (1EN08))

Region: (USA (1US73))

Language: EN

Other Indexing: (Margaret Thatcher Center for Freedom; Democratic Party; California Border Patrol; Sussexes' Archewell; US
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Prince Harry urged to show how he answered drug questions for US
visa
By, Will Maule |      Daily Mirror Online (UK)


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                    ATLEAST2(visa)
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Prince Harry urged to show how he answered drug..., 2023 WLNR 11709245




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                                                  2023 WLNR 11709245

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                                                         April 1, 2023

                  Prince Harry urged to show how he answered drug questions for US visa
                   A Freedom of Information (FoI) request has been filed after Prince Harry
                  admitted to taking a variety of substances in the past, including marijuan...

                                                        By, Will Maule

A Freedom of Information (FoI) request has been filed after Prince Harry admitted to taking a variety of substances in the past,
including marijuana, cocaine and magic mushrooms

Prince Harry is under pressure to reveal the answers he gave on his US visa application regarding his previous drug use.

Visa applicants are required to tick a box to answer 'yes' or 'no' to the question: 'Are you or have you ever been a drug abuser
or addict'

A Freedom of Information FoI request has been filed by a leading US think tank who are asking the Duke to be "totally
transparent" about his answers.

Harry has openly admitted to using a variety of substances in the past, including marijuana, cocaine and magic mushrooms.

In his best-selling memoir, Spare, the royal recalled using psychedelic drugs.

He reaffirmed the drug usage last month while taking part in a 'therapy session' with toxic trauma expert Dr Gabor Mate.

The drugs he took included the hallucinogenic Amazonian plant ayahuasca, which supposedly has the effect of "removing
life's filters".

Admission of drug use usually results in visa applications being denied.

Senior lawyer Samuel Dewey at conservative think-tank the Heritage Foundation, which has filed a 127-page FoI request to
see the Duke's visa application, told the Mail on Sunday: "It is in the public interest to know how Prince Harry answered the
drug question.

"If he has been honest and open about his drug use, and there is no reason to believe he has not been, it could well be that he
ticked the "yes" box, in which case he would need a waiver to be granted a visa to be admitted into the States.




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Prince Harry urged to show how he answered drug..., 2023 WLNR 11709245


"That means he would have had to be interviewed in person and someone would have had to grant him a waiver. We are simply
asking who granted that waiver."

Mr Dewey highlighted that an initial visa rejection does not always mean a lifetime barring from the US.

A ban is sometimes overturned following an in-person interview at a US consulate or official immigration office, where a
waiver can be issued.

It comes after America's Heritage Foundation called for Harry's visa application to be released so the US taxpayer can understand
whether the royal declared his drug use.


---- Index References ----


News Subject: (Crime (1CR87); Drug Addiction (1DR84); Foundations (1FO95); Health & Family (1HE30); Immigration &
Naturalization (1IM88); Philanthropy (1PH09); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05))



Language: EN

Other Indexing: (America's Heritage Foundation) (Prince Harry)

Word Count: 381

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Prince Harry – latest court news: Duke accuses royals of withholding
phone hacking evidence from him
Thomas Kingsley, Maryam Zakir-Hussain and Andy Gregory |              Independent Online (UK)


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Prince Harry – latest court news: Duke accuses royals of..., 2023 WLNR 11118787




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                                                  2023 WLNR 11118787

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                                                        March 28, 2023

                              Prince Harry – latest court news: Duke accuses royals
                                of withholding phone hacking evidence from him
                             Allegation over historic phone hacking emerged in fresh
                              High Court privacy hearing against different publisher

                                 Thomas Kingsley,Maryam Zakir-Hussain and Andy Gregory

Prince Harry has accused the royal family of "without doubt" withholding information from him "for a long time" about phone
hacking as they did not want to "open a can of worms", the High Court has heard.

The allegation – relating to News Group Newspapers – emerged in a witness statement submitted by the Duke of Sussex in
the high-profile privacy case against Daily Mail publisher Associated Newspapers, which he is bringing alongside Sir Elton
John, Baroness Doreen Lawrence, and others.

In the second day of a preliminary hearing at London's Royal Courts of Justice, the publisher argued that part of the case should
be thrown out as it relies on documents supplied confidentially to the Leveson Inquiry.

The allegations – which are denied – include the hiring of private investigators to place listening devices inside cars and the
accessing and recording of private phone conversations.

The court heard on Monday that Prince Harry had lost or "cut off" friends as "everyone became a 'suspect' since he was misled
by the way that the articles were written into believing that those close to him were the source" of articles about him.
 Key Points
Prince Harry claims Buckingham Palace 'withheld' information about historic phone hackingDaily Mail publisher claims
privacy case uses files provided confidentially to Leveson Inquiry ...... as complainants argue banning this 'highly relevant'
material from case would be 'draconian'Sir Elton John in court as judge told publisher saw copy of child's birth certificate
before himDoreen Lawrence's bank accounts were monitored and landline hacked, court hearsPublisher brands allegations
'preposterous smears'Judge grants anonymity for Mail journalists involved in alleged phone-tapping

17:01 , Andy Gregory Prince Harry has said the Royal Family withheld information from him about phone hacking because
they didn't want him to bring a claim as it would "open a can of worms", my colleague Thomas Kingsley reports.In a witness
statement submitted before his civil claim against Daily Mail publisher Associated Newspapers, the Duke of Sussex said that he
was conditioned to accept his family's rule to "never complain, never explain" when dealing with the press."The Institution made
it clear that we did not need to know anything about phone hacking and it was made clear to me that the Royal Family did not
sit in the witness box because that could open up a can of worms," the Duke said in his statementBut discussing phone hacking


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Prince Harry – latest court news: Duke accuses royals of..., 2023 WLNR 11118787


claims against News Group Newspapers, Harry said "I became aware that I had a claim that I could bring" in 2018. You can
refresh this breaking report for updates: Duke says Royal Family 'without doubt' withheld phone hacking information from him
16:41 , Andy Gregory15:59 , Thomas Kingsley David Sherborne, the lawyer representing Prince Harry and the other claimants,
says the possibly confidential material they're relying upon for their case is "highly relevant".He claims that even if Mr Justice
Nicklin found they were in breach of orders imposed by the Leveson inquiry which restrict their disclosure, removing this
element of their argument from the case would be a "draconian" measure."We don't accept that there is no room for manoeuvre,"
Mr Sherborne told the judge. 15:38 , Andy Gregory The Duke of Sussex has not returned to the courtroom in the Royal Courts
of Justice during an afternoon break in the preliminary hearing. 15:17 , Andy Gregory Baroness Doreen Lawrence has returned
to London's Royal Courts of Justice today for the preliminary hearing of her case against Associated Newspapers.Her lawyers
say that she feels a "deep sense of betrayal" over Associated Newspapers Limited (ANL) allegedly hiring private investigators
to "unlawfully or illegally" obtain her private information.Baroness Lawrence alleges that her landline and bank accounts were
monitored by private investigators, who she claims made "corrupt payments" to Metropolitan Police officers for information
about the investigation into her son Stephen's murder in 1993. 14:44 , Andy Gregory Prince Harry suffered from "suspicion
and paranoia" and lost friends because of newspaper articles, a court heard on Monday, as he launched his campaign to reform
the media with a surprise appearance in London.The Duke of Sussex flew 5,500 miles from his new home in California to
attend a High Court hearing as the Daily Mail 's publisher bids to throw out claims against its titles, including accusations of
phone-hacking.Also in court were Sir Elton John, Sadie Frost, and Baroness Lawrence, who are among the public figures suing
Associated Newspapers for alleged unlawful activity.'Paranoid' Prince Harry lost friends over 'unlawful' newspaper stories, court
hears 14:12 , Andy Gregory A High Court judge has said he is "concerned" about who is responsible for policing confidentiality
undertakings made during the Leveson Inquiry.Associated Newspapers Limited (ANL)'s argument is that part of the case
brought by seven high-profile individuals relies upon documents that were provided by the company to the Leveson Inquiry in
2011 and 2012 with the understanding that they were confidential.The company maintains that these documents are subject to
binding disclosure and publication restriction orders and undertakings as to their use, and that lawyers for the people bringing
the claim are in breach of these by relying on them without first applying for their disclosure.However on Tuesday, Mr Justice
Nicklin said it was not clear who polices the undertakings as the Leveson Inquiry no longer exists.He said that "basic contract
law" requires that in order for a confidentiality agreement to be enforced someone has to be able to stand there and say that they
have the power to enforce it."Who is that person?" he asked, adding: "I am now concerned about who is responsible for policing
the Leveson undertakings." 14:00 , Maryam Zakir-HussainIn case you missed it... The Duke of Sussex claims he was "largely
deprived" of important parts of his teenage years due to the unlawful actions of the Daily Mail's publisher, court documents
have shown as he made a surprise appearance at the High Court in London.Harry, Sir Elton John, his husband David Furnish,
Baroness Doreen Lawrence of Clarendon and Sadie Frost all attended the Royal Courts of Justice on Monday for the start of
the first hearing in their claims against Associated Newspapers Limited (ANL).The high-profile individuals are part of a group,
which also includes Liz Hurley and former Lib Dem MP Sir Simon Hughes, bringing privacy claims against the publisher
over allegations it carried out or commissioned illegal or unlawful information-gathering.Harry 'deprived' of parts of teenage
years due to Mail publisher, court told 13:57 , Maryam Zakir-Hussain A High Court judge has said he is "concerned" about
who is responsible for policing confidentiality undertakings made during the Leveson Inquiry.Associated Newspapers Limited
(ANL)'s argument is that part of the case brought by seven high-profile individuals relies upon documents that were provided
by the company to the Leveson Inquiry in 2011 and 2012 with the understanding that they were confidential.The company
maintains that these documents are subject to binding disclosure and publication restriction orders and undertakings as to their
use, and that lawyers for the people bringing the claim are in breach of these by relying on them without first applying for their
disclosure.However on Tuesday, Mr Justice Nicklin said it was not clear who polices the undertakings as the Leveson Inquiry
no longer exists.He said that "basic contract law" requires that in order for a confidentiality agreement to be enforced someone
has to be able to stand there and say that they have the power to enforce it."Who is that person?" he asked, adding: "I am now
concerned about who is responsible for policing the Leveson undertakings." 13:38 , Maryam Zakir-HussainIn case you missed
it... Sir Elton John and David Furnish had not seen a copy of their first child's birth certificate before it was "unlawfully" obtained
by the publisher of the Daily Mail and placed beneath a "derogatory" headline, the High Court has been told.The singer and his
filmmaker husband were described as "outraged" and "mortified" in court documents alleging that the privacy of their home
was "ruthlessly invaded" – with their landline allegedly tapped and staff "targeted" – in order "to steal and exploit" information
to fuel stories about them.The couple's allegations form part of a host of similar claims brought against Associated Newspapers



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Prince Harry – latest court news: Duke accuses royals of..., 2023 WLNR 11118787


Ltd (ANL) by a group comprising Prince Harry, Baroness Doreen Lawrence, actors Sadie Frost and Elizabeth Hurley, and
former Liberal Democrat MP Sir Simon Hughes.Daily Mail publisher 'saw copy of Elton John's child's birth certificate before
him' 12:47 , Maryam Zakir-Hussain Lawyers are yet to get into their arguments over the continuation of the claims against
ANL and whether they should be taken to trial. Meanwhile, Baroness Lawrence has entered the court room. She told the court
yesterday through her lawyers that she feels a "deep sense of betrayal" over Associated Newspapers Limited (ANL) allegedly
hiring private investigators to "unlawfully or illegally" obtain her private information. 12:07 , Maryam Zakir-Hussain11:51 ,
Maryam Zakir-HussainThomas Kingsley reports live from the High Court Every seat in the public gallery is filled for today's
hearing with Prince Harry, today wearing a grey suit, is in attendance again listening attentively to the proceedings. Lawyers
have not yet begun to discuss their arguments for why the claims from the Duke and others should be taken to trial or thrown
out -first there is a discussion over legal details around confidentiality and restricted documents in this week's hearing. 10:51 ,
Maryam Zakir-Hussain The Duke of Sussex has made a surprise return to the UK for the first time since the late Queen's
funeral – but is not expected to meet with the King or the Prince of Wales.His trip – for a High Court hearing in London in his
claim against Daily Mail publisher Associated Newspapers over allegations of unlawful information-gathering – will be seen as
demonstrating the strength of his determination over the legal action.Just weeks ago, Harry laid bare his troubled relationship
with his father the King and brother the Prince of Wales in his controversial autobiography Spare.Prince Harry not expected to
see Charles or William as he makes surprise return to UK 10:32 , Thomas Kingsley Day two of the four-day preliminary hearing
has begun in the High Court. Prince Harry is in attendance again as the judge decides whether the claim will go to trial. 10:23 ,
Maryam Zakir-Hussain The Duke of Sussex has returned to the Royal Courts of Justice for the second day of a High Court
hearing over multiple privacy claims brought against the publisher of the Daily Mail.Harry arrived at the central London court
just after 10am for the second day of a preliminary hearing in his claim against Associated Newspapers Limited (ANL).The
duke is part of a group -along with Baroness Doreen Lawrence, Sir Elton John and David Furnish, former Liberal Democrat MP
Sir Simon Hughes and actresses Sadie Frost and Liz Hurley -bringing claims over allegations ANL carried out or commissioned
illegal or unlawful information-gathering.The allegations -which are denied -include the hiring of private investigators to place
listening devices inside cars and the accessing and recording of private phone conversations.Lawyers for ANL, which is also the
publisher of The Mail on Sunday and MailOnline, said the allegations are "firmly" denied and that the "stale" claims have been
brought too late as it made a bid to throw out the cases. 09:29 , Thomas Kingsley Phone-tapping allegations against Associated
Newspapers is set to begin its second day at the High Court after Prince Harry made a surprise visit to the hearing in London
on Monday. Here is recap of yesterday's hearing:
 Prince Harry claims Buckingham Palace 'withheld' information about historic phone hacking for 'long time'
Prince Harry photographed leaving court this afternoon
Potentially confidential material is 'highly relevant' to privacy case, lawyer says
Prince Harry has not returned to courtroom after break in proceedings
'Paranoid' Prince Harry lost friends over 'unlawful' newspaper stories, court hears
Mail publisher claims case is based on confidential documents it sent to Leveson Inquiry
Harry 'deprived' of parts of teenage years due to Mail publisher, court told
High Court judge 'concerned' about who is responsible for 'policing Leveson undertakings'
Elton John 'did not see copy of child's birth certificate before it was unlawfully obtained' by Mail publisher
Baroness Lawrence arrives at High Court
Watch: Prince Harry arrives at High Court for second day of Daily Mail privacy case
Update from the High Court
Prince Harry not expected to see Charles or William as he makes surprise return to UK
Day two of preliminary hearing against Daily Mail publisher begins
Harry returns to High Court for day two of hearing
Recap of yesterday's hearing
The Duke of Sussex claims he was "largely deprived" of important parts of his teenage years due to the unlawful actions of
the Daily Mail's publisherANL's lawyers have said the claims brought by seven high-profile individuals including the Duke of
Sussex and Baroness Lawrence should be dismissed without a trialSadie Frost and Sir Elton John appeared in court alongside
Prince HarryPrince Harry is not expected to meet with the King or the Prince of Wales while he is in the UKBaroness Doreen
Lawrence feels a "deep sense of betrayal" over Associated Newspapers Limited (ANL) allegedly hiring private investigators



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to "unlawfully or illegally" obtain her private information, her lawyers saidThe judge overseeing the dispute has made an order
temporarily preventing the reporting of the names of journalists linked to allegations against the publisher
 ICYMI: Prince Harry arrives at High Court for phone-tapping and privacy case
Sir Elton 'outraged' and 'mortified' over newspaper phone tapping allegations
Sir Elton John and David Furnish are "outraged" and "mortified" over allegations of unlawful information gathering by the
publisher of the Daily Mail – including tapping their home landline – the High Court has been told.

John and Furnish appeared at the Royal Courts of Justice in London on Monday (27 March) for the start of a four-day hearing
over privacy claims brought by the couple against Associated Newspapers Limited.

Along with Prince Harry, Baroness Doreen Lawrence of Clarendon, Sadie Frost, Liz Hurley and former Lib Dem MP Sir Simon
Hughes, the couple are bringing claims over allegations it carried out or commissioned illegal or unlawful information-gathering
– including the accessing and recording of private phone conversations.

Read more:

Sir Elton 'outraged' and 'mortified' over newspaper phone tapping allegations
What is the legal action being brought against Daily Mail publisher?
My colleague Thomas Kingsley has this overview of the legal action launched by the high-profile group back in October:

Group including Prince Harry launch legal action against Daily Mail publishers
 Prince Harry not expected to see his family as he makes surprise return to UK
The Duke of Sussex has made a surprise return to the UK for the first time since the late Queen's funeral – but is not expected
to meet with the King or the Prince of Wales.

His trip – for a High Court hearing in London in his claim against Daily Mail publisher Associated Newspapers over allegations
of unlawful information-gathering – will be seen as demonstrating the strength of his determination over the legal action.

Maryam Zakir-Hussain reports.

Prince Harry not expected to see Charles or William as he makes surprise return to UK
 Doreen Lawrence says son's murder was 'exploited' by publisher, court told
The mother of Stephen Lawrence says his racist murder was "exploited" by the publisher of the Daily Mail to "generate
'exclusive' headlines, sell newspapers and to profit", the High Court was told at Monday's preliminary hearing.

Baroness Doreen Lawrence feels a "deep sense of betrayal" over Associated Newspapers Limited (ANL) allegedly hiring private
investigators to "unlawfully or illegally" obtain her private information, her lawyers said.

She now wonders whether trusting the Daily Mail over its "entirely false" support for her fight for justice "caused her to have
failed her murdered son", the court was told.

In her High Court breach of privacy claim against ANL, brought alongside other high-profile individuals, she claims there was
"illegal interception" of her voicemail messages and that her phone was tapped between 1993 and 2007.

She also alleges her bank accounts and phone bills were monitored, that she was subject to "covert electronic surveillance"
and that "corrupt payments" were made to serving police officers for confidential information, including to those investigating
her son's killing.




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ANL says it firmly denies that unlawful information gathering took place at its newspapers, and the legal claims against it are
being brought too late.
 Watch: Harry and Meghan annoy 'some Americans', Ron DeSantis claims
Oprah Winfrey shares advice for Harry and Meghan ahead of coronation
Oprah Winfrey has shared her thoughts about Prince Harry and Meghan Markle and whether they should attend King Charles
III's coronation in May.

The talk show host, who has been close friends with the royal couple, briefly discussed the coronation with friend Gayle King
on CBS Mornings , to promote her 100th selection for her book club, Hello Beautiful by Ann Napolitano.

During the conversation, King addressed recent reports about the Duke and Duchess of Sussex being invited to the big event,
before asking Winfrey for her opinion on it. "Do you think they should go? Do you think they should not go? Is it something
you'd like to comment on?"

In response, Winfrey, who conducted a bombshell interview about the royal family with Harry and Meghan in 2021, gave her
advice to and showed her support for the pair. "I think they should do what they feel is best for them and their family," she
explained. "That's what I think. That's what the bottom line comes down to. What do you feel like is the right thing for you?"

Oprah Winfrey shares advice for Harry and Meghan ahead of coronation
 Conservative group demands to know if Prince Harry admitted drug use on US visa application
A conservative think tank is calling for Prince Harry's US visa application to be released so Americans can see whether or not
he admitted to his past drug use before moving to California in the summer of 2020.

The Heritage Foundation, one of the country's preeminent right-wing think tanks, is arguing that US officials should release the
details of the prince's application so Americans can see whether or not he was "properly vetted" before being allowed to enter
the country. Applicants for US visas are typically asked about their criminal history and drug use.

Conservative group wants to know if Harry admitted drugs for US visa
 Tom Peck | It's clear Prince Harry will heap as much pressure as he can on Associated Newspapers
In his most recent column, our sketch writer Tom Peck suggests it is "permissible to wonder quite what [Prince Harry] is trying
to achieve with this morning's flurry of excitement". He writes:

It's not uncommon for people to turn up to court for appearances' sake. Over the course of five and a half days last year,Wayne
Rooney spent almost 28 full hours silently and motionlessly staring at an oak paneltwo yards in front of his nose in a show of
solidarity with his wife, Coleen, while she was being extremely unsuccessfully sued by Rebekah Vardy (Jamie Vardy managed
four hours himself).

Once the court rises, who is and isn't there watching doesn't matter in the slightest. But the act of being there, of being
photographed, does. Vardy and Rooney were not really fighting each other for money in court; they were fighting, especially
in Vardy's case, to rehabilitate their reputation outside it.

The arrival shots each morning were every bit as important as the (quite often rather dry) courtroom drama. Prince Harry's legal
action against Associated Newspapers is meant to go to trial in May, and it's very clear he's going to be leaning into it very hard
indeed, whipping up as much publicity, and therefore heaping up as much pressure, as he possibly can.

Prince Harry has begun his 'life's work', apparently | Tom Peck
Watch: Prince Harry arrives at High Court for phone-tapping and privacy case
Harry and Meghan Frogmore eviction 'just the start' of King Charles' plans to slim down monarchy




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King Charles III has put into motion his plan to slim down the monarchy, with the eviction of the Duke and Duchess of Sussex
from Frogmore Cottage signalling "just the start", it has been reported.

The monarch, who is set to be crowned alongside Queen Consort Camilla in just six weeks, reportedly wishes to end subsidised
rents for members of the royal family over the next five years.

The expectation for royals to fund their own homes apparently also extends to working royals, including the Prince and Princess
of Wales, the Princess Royal, and the Duke and Duchess of Edinburgh.

One source was quoted as saying that the King "is not some sort of housing association for distant relatives".
Friends close to Prince Andrew rubbish reports he is planning to write memoir
Friends close to Prince Andrew have hit out at reports that he is planning to write a memoir, reports my colleague Joe Middleton .

On Sunday, a number of newspapers claimed that the Duke of York was in talks to produce a tell-all autobiography, following
the success of Prince Harry's book Spare .

However, friends of his family have taken the unusual step to make his views known following the reports.

"He has one aim and that is family unity around his brother the King," they said. "He is rock solid with him and will do everything
he can to support him quietly and if necessary publicly. The idea that he is even considering writing or cooperating with a book
least of all with a journalist is for the birds."

"He is increasingly at the mercy of people writing stuff about him and his life which is pure fantasy," the friend continued. "He
leads a very quiet isolated life and sees almost nobody, least of all journalists."

Friends close to Prince Andrew rubbish claims he is planning to write memoir
 Publisher paid 10 private investigators to unlawfully gather information against Doreen Lawrence, court told
Associated Newspapers paid 10 different private investigators to conduct "illegal or unlawful information-gathering activities"
against Baroness Doreen Lawrence, the High Court was told today.

In written arguments, David Sherborne, acting for the group of high-profile individuals also including Sir Elton John and Sadie
Frost, said the newspaper group "widely and habitually carried out or commissioned" the activities and covered them up.

He claimed the investigators intercepted voicemails, tapped telephones, used deception and the "burglaries or the breaking and
entering of private property in order to obtain private information" on the publisher's behalf.

The court also heard that ANL paid "substantial amounts" for the services and that the amounts were "known to and approved
by executives".

Mr Sherborne added: "The claimant will contend that the use of these unlawful acts was both habitual and widespread across
Associated's newspapers during the period at least 1993 onwards to 2011, and even continued beyond until 2018."
 Artist to project sculpture filled with Afghan blood on St Paul's in protest over Harry's Taliban kills claim
An artist says he plans on projecting a sculpture made using Afghan blood onto St Paul's Cathedral, to protest Prince Harry's
claims about the number of soldiers he killed while serving in the military, my colleague Kate Plummer reports.

Russian artist Andrei Molodkin said he will take blood donated by Afghans for the sculpture and project it onto the London
landmark later this week, saying the royal's comments had made him "very, very angry".




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The Duke of Sussex attracted criticism after he detailed his time serving in Afghanistan in his memoir Spare earlier this year,
claiming he killed 25 Taliban fighters during two tours in the country.

Artist makes sculpture filled with Afghan blood in protest over Harry's kills claim
 Tom Peck | Prince Harry has begun his 'life's work', apparently
In his latest column, our political sketch writer Tom Peck states:

"The very best satire has a remarkable knack for changing absolutely nothing. Harry and Meghan were made to look so perfectly
absurd by South Park 's "Worldwide Privacy Tour" episode that the California-based campaigners have evidently concluded
that they have been left with little choice but to carry on precisely as normal.

"The Worldwide Privacy Tour made an unexpected stop in London on Monday morning, when Prince Harry arrived at the
High Court to attend a preliminary hearing in one of his many legal actions against an extremely large section of the British
newspaper industry.

"He didn't need to be there. He wasn't required to participate in any way in the hearing. But the act of taking everyone by surprise
by actually turning up is certainly the prince's first big shot in what he told Tom Bradby was going to be his "life's work" from
now on: that of holding the press to account."

Prince Harry has begun his 'life's work', apparently | Tom Peck
 Harry 'deprived of important aspects of his teenage years' by publisher, claim lawyers
Prince Harry's lawyers claim in court documents that he was "deprived of important aspects of his teenage years" by the
"unlawful actions" of Associated Newspapers and was left full of "suspicion and paranoia" following the publication of articles
containing information the duke says was only known to his trusted circle.

In the "Particulars of Claim" which set out the duke's case, his lawyers say their client, the claimant in the legal proceedings
"is shocked and appalled that Associated used their journalistic power and privilege to commit the unlawful acts without any
legitimate justification and solely to compete with other tabloid newspapers for profit.

"The claimant is horrified that Associated has to date successfully avoided proper scrutiny for its conduct through its cover-
up and that it has behaved as if it is above the law. The claimant is troubled that, through Associated's unlawful acts, he was
largely deprived of important aspects of his teenage years.

"In particular, suspicion and paranoia was caused by Associated's publication of the unlawful articles: friends were lost or cut
off as a result and everyone became a 'suspect', since he was misled by the way that the articles were written into believing that
those close to him were the source of this information being provided to Associated's newspapers."

The document added: "Moreover, the claimant regards Associated's unlawful acts to amount to a major betrayal given promises
made by the media to improve its conduct following the tragic and untimely death of his mother, Princess Diana, in 1997."

Monday 27 March 2023 18:14 , Andy Gregory Prince Harry waved and gave a thumbs up to reporters as he left the High Court
by a side entrance, flanked by security, after attending the first day of the hearing in his claim against Daily Mail publisher
Associated Newspapers.
 Liz Hurley 'sickened' after 'unlawful' intrusion, says barrister
A private investigator acting on behalf of ANL hacked actor Liz Hurley's phone, placed a "sticky window mini-microphone"
outside her home and bugged ex-boyfriend Hugh Grant's car to unlawfully obtain information about her finances, travel plans
and medicals during her pregnancy, the High Court has been told.




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In written arguments, barrister David Sherborne said the private investigator targeted her and Mr Grant on behalf of the Mail on
Sunday through "phone hacking their phones, landline tapping their home phones, placing a sticky window mini-microphone
on the exterior of her home window, bugging Mr Grant's car and undertaking flight and other blags through which he obtained
information unlawfully or illegally about [Ms Hurley], such as her private communications with Mr Grant, her financial details,
her travel arrangements and medicals during her pregnancy and birth of her son".

Ms Hurley "has been shocked and mortified by the revelation of Associated's unlawful acts targeting her ... the prospect of
strangers listening into her live telephone calls and bugging her private property was a particularly grotesque thought that she
had never considered possible", her barrister said.

"It left her sickened to see the snatched close-up picture of her baby's face published by Associated when he was four months
old with the new understanding that this intrusion was the exploitation of unlawful acts, deliberately directed at her with that
intention," Mr Sherborne added.

"She recalls the feeling of vulnerability she felt at this time in her life, and the sense that despite precautions taken, she was unable
to protect her son, or indeed other loved ones around her who similarly fell to be targeted as a result of their association with her.

"It angers [her] now to know that she never had a chance against all the artillery of unlawful means and private investigators
that Associated used against her and which, unknown to her, underlay the articles published about her. She now understands
how very real the feeling of being trapped and surrounded on all sides by unknown enemies truly was."

Monday 27 March 2023 16:52 , Andy Gregory Court proceedings have concluded for the day, with legal arguments due to
resume from 10.30am on Tuesday.

In the meantime, we'll be continuing to use the blog to post updates and background on the case.
 Doreen Lawrence's bank accounts were monitored and landline tapped, court told
Baroness Doreen Lawrence's bank accounts were monitored to check whether she was receiving any money from other
newspapers during the Daily Mail 's campaign for justice for her murdered son Stephen, the High Court has heard.

In a document made available to the media on Monday, barrister David Sherborne claimed the Labour peer was "habitually"
targeted "from at least as early 1993 until at least as late 2007".

Mr Sherborne said the targeting included "the illegal interception of the claimant's voicemail messages, landline tapping,
blagging, the monitoring of her bank accounts and phone bills, covert electronic surveillance and corrupt payments to
serving Metropolitan Police Service police officers, including on the Stephen Lawrence murder investigations, for confidential
information".

Baroness Lawrence was targeted "both before and during" the Daily Mail's Justice for Stephen Lawrence campaign, Mr
Sherborne said.

The lawyer later alleged the monitoring of Baroness Lawrence's bank accounts were "specifically to check whether the claimant
was receiving 'buy up' money from and/or working with other newspapers during the Justice for Stephen Lawrence Campaign".

He continued: "The claimant has suffered considerable distress and harm, as well as the loss of her dignity or standing and her
personal autonomy through the unlawful acts, its resultant invasions of her privacy, and its deliberate exploitation and/or misuse
of her unlawfully or illegally obtained information in the unlawful articles."
 Publisher commissioned breaking and entering into private property, court told
Associated Newspapers commissioned "breaking and entering into private property", the lawyer for the group of figures
challenging the Daily Mail publisher told the High Court.



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Each of the group has been "the victim of numerous unlawful acts" carried out by the publisher or those acting on its instruction,
in deeds carried out "covertly" between 1993 to 2011, lawyer David Sherborne said.

"Some of them related to articles which were the product of those underlying unlawful acts through which the product was
exploited or misused," he added.

Because "those unlawful acts were covertly carried out and concealed at the time through the use of phrases that were deliberately
misleading" his clients were "put off the scent" and did not bring their claims separately earlier," he said.

"The defendant has continued this concealment through its strenuous public denials that it has done any of those acts at all,"
Mr Sherborne added.

Monday 27 March 2023 15:53 , Andy Gregory Sir Elton John has left the High Court after attending the first day of the hearing
in his claim against Associated Newspapers over allegations of unlawful information-gathering.
 Mail on Sunday publisher paid investigator to 'unlawfully' find address of politician's lover, court told
Associated Newspapers Ltd paid a private investigator to unlawfully find the address of a man it believed was the lover of
Liberal Democrat politician Sir Simon Hughes, the High Court has been told.

Referring to the believed lover as HJK, Sir Simon's lawyer David Sherborne said in written submissions that that the "the Mail
on Sunday wanted a photograph of HJK [and the claimant] in order to be able to publish a story about their relationship".

Private investigator Glenn Mulcaire "unlawfully obtained" the man's mobile phone number, called it and "through means of
deception managed to blag his home address", Mr Sherborne alleged, adding: "Despite this, no story was published in the end
in the Mail on Sunday as a bigger story broke, namely the revelation of an affair which the then deputy prime minister, John
Prescott, had had with his secretary."

The documents go on to say that ANL paid Greg Miskiw, a freelance journalist, "for the work done by Mr Mulcaire in relation
to the claimant, as referred to above, described as 'Simon Hughes' boyfriend'."

Mr Sherborne added: "The claimant has suffered considerable distress and harm, as well as the loss of his dignity or standing
and his personal autonomy through the unlawful acts, its resultant invasions of his privacy and its deliberate exploitation and/
or misuse of his unlawfully or illegally obtained information."
 Doreen Lawrence says trusting Mail made her wonder if she 'failed her murdered son'
Baroness Doreen Lawrence said she "wonders whether trusting the Daily Mail as she did caused her to have delayed or have
failed her murdered son", the High Court has heard.

In court documents made available to the press on Monday, her barrister David Sherborne said she feels "anger, shock and
upset" about allegedly being targeted by the Daily Mail .

Baroness Lawrence "never once suspected" publisher Associated Newspapers Ltd of the allegations due to her trust in the Daily
Mail, which campaigned to bring the killers of her son Stephen Lawrence to justice, her lawyer said.

"She wonders whether trusting the Daily Mail as she did caused her to have delayed or have failed her murdered son," he
added. "She asks herself whether more individuals could have been arrested, whether earlier investigations might have been
more successful, and whether she could have got justice."
 Elton John had not seen copy of first child's birth certificate before it was obtained by ANL, court told
Sir Elton John and his husband David Furnish had not seen a copy of their first child's birth certificate before it was unlawfully
obtained by Associated Newspapers Ltd, the High Court has heard.



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The couple "found it particularly disturbing to understand the deliberate tactics deployed by Associated to bypass the
confidentiality and ethical protections afforded to medical information", said their lawyer David Sherborne.

"They were appalled by the unlawful articles published about the first claimant that were sourced this way. Worse still was
Associated's unlawful obtaining of their first child's birth certificate, before they had even seen a copy themselves.

"They were heartbroken by the derogatory headline that Associated attached to it, clearly calculated to profit and generate public
sensation about an event that they had so carefully guarded to keep precious. The fact that these unlawful articles, which carry
so much upset, were founded through unlawful acts that were all the time deliberately concealed from them has enraged them."
 Doreen Lawrence believes son's murder was 'exploited' by Daily Mail, court told
Baroness Doreen Lawrence believes the murder of her son Stephen was "exploited" by Associated Newspapers Ltd to "generate
'exclusive' headlines, sell newspapers, and to profit", the High Court has been told.

In written arguments, her barrister David Sherborne said she "feels anger, shock and upset", adding: "Most of all, however,
she feels a deep sense of betrayal.

"She finds it hard to believe the level of duplicity and manipulation that was clearly at play, knowing now as she does that the
Daily Mail 's outward support for her fight to bring Stephen's killers to justice was hollow and, worse, entirely false.

"The claimant now sees that the Daily Mail 's true interests were about self-promotion and using her and her son's murder as
a means to generate 'exclusive' headlines, sell newspapers, and to profit.

"The claimant cannot think of any act or conduct lower than stealing and exploiting information from a mother who buried her
son for this reason. She feels used and violated, and like she has been taken for a fool."
 Sir Elton John's landline was tapped and gardener targeted by ANL, court told
Sir Elton John and David Furnish's landline phone was tapped by a private investigator on the instructions of Associated
Newspapers Limited, the High Court has been told.

Documents filed on the couple's behalf, made available to the media on Monday, said that as well as having the landline at their
home in Windsor tapped, Sir Elton's personal assistant and the couple's gardener were also targeted.

Their lawyer David Sherborne said in the written submission: "The claimants are outraged that Associated engaged in these
unlawful and illicit acts in order to publish unlawful articles about them.

"They are also mortified to consider all their conversations, some of which were very personal indeed, were tapped, taped,
packaged and consumed as a commercial product for journalists and unknown others to pick over, regardless of whether or
not they were published.

"The hurt remains the same, knowing that their lives have been treated as a commodity and their precious, priceless moments
of privacy degraded in this way."

Mr Sherborne added: "In particular, they consider their private home a sacred space. To learn now that this was ruthlessly
invaded, their home so violated, and their family and loved ones targeted, all through unlawful acts designed to steal and exploit
their information, is unforgivable to them."
 Elton John and David Furnish 'frightened' by unexplained press disclosures, court told
Sir Elton John and his husband David Furnish found the unexplained disclosure of their private information in the press
"frightening" and as a result have someone watching cameras in their home every night, the High Court has been told.




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Associated Newspapers Ltd's lawyer Adrian Beltrami KC quoted the pair as claiming that the "repeated, wrongful disclosures ...
had a serious and profound effect upon [them] at the time of their publication".

They were aware of "the extent to which Associated publicised private and sensitive information relating to their private and
family life", and they "became deeply paranoid and suspicious by unexplained disclosures of their private information in
[Associated's] publications, even where measures were taken to protect their privacy", Mr Beltrami added.

Mr Beltrami said they stated that they "found these disclosures frightening, and as a consequence now have someone watching
the cameras in their home of residence every night".

However, Mr Beltrami said their case was being brought too late, arguing "there can be no doubt that by the start of 2016 Sir
Elton and Mr Furnish were very much alive to the issue of (unlawful information gathering) by the press".

The barrister added that "they have not provided any satisfactory explanation as to what necessary fact, as opposed to evidence,
they did not know by October 2016 to articulate the essential elements of a claim against Associated".
 Elton John arrives in court
Sir Elton John has arrived in Court 76 of the Royal Courts of Justice.

The singer sat at the back of the large courtroom, arriving shortly before the hearing resumed for the afternoon.
 What happened the last time Prince Harry was in court against a newspaper?
Last July the High Court ruled a Mail on Sunday article on the Duke of Sussex's legal claim against the Home Office contained
parts that were defamatory.

The Duke of Sussex sued the Mail on Sunday's publisher over a story on a separate High Court case over the decision to remove
his automatic granting of police protection in the UK.

The February article carried the headline: "Exclusive: How Prince Harry tried to keep his legal fight with the government over
police bodyguards a secret... then -just minutes after the story broke -his PR machine tried to put a positive spin on the dispute."

Lawyers for Harry had argued the article was defamatory and suggested the duke had "improperly and cynically" tried to
manipulate public opinion.
 Associated Newspapers lawyers argue it is too late for Duke to bring forward claims
Lawyers for Associated Newspapers Limited (ANL) are arguing that the seven people in the privacy claims, including the Duke
of Sussex, could have brought claims before October 2016, and were too late to have them heard now.

Adrian Beltrami KC, for the publisher, said in written submissions that the duke "does not offer any reason why he could not
with reasonable diligence have discovered the basis for his inferential claim against Associated before October 2016".

Quoting from Harry's letter of claim, he continued: "Indeed, the Duke was aware throughout this period of the intense interest in
his life shown by the media and by Associated, of 'strange things happening around his phone communications', of 'unexplained
disclosures of private information' in Associated's publications and of journalists from Associated 'regularly turning up at
different locations which you would never expect them to, including South Africa... despite the extreme lengths my security
team and I went to in order to protect my security and privacy'."

"In truth, the duke had sufficient knowledge to articulate an inferential case against Associated long before October 2016,"
Mr Beltrami said.
 Prince Harry lost friends due to 'paranoia' over 'unlawful' stories, court told
The Duke of Sussex had "suspicion and paranoia" caused due to the publication of articles by Associated Newspapers Limited
(ANL) using unlawfully gathered information, the High Court has been told.



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In written submissions for ANL, lawyers for the publisher quoted from documents filed on Harry's behalf.

Adrian Beltrami KC, for ANL, said the duke's case was that "suspicion and paranoia was caused by Associated's publication
of the unlawful articles: friends were lost or cut off as a result and everyone became a 'suspect', since he was misled by the
way that the articles were written into believing that those close to him were the source of this information being provided to
Associated's newspapers".

The barrister continued: "The duke's pre-action letter also stated that at the time he had become paranoid and suspicious by
'unexplained disclosures of private information in your (ANL's) publications'."

Mr Beltrami added: "He stated that 'the repeated, wrongful disclosures... had a serious and profound effect upon (him) at the
time of their publication' and that he had 'painful memories... regarding the extent to which ANL publicised private and sensitive
information relating to his private and family life'."
 Photos from the day as Prince Harry case begins
Judge grants anonymity for Daily Mail journalists involved in alleged phone-tapping
The judge overseeing the Duke of Sussex's dispute with ANL has made an order temporarily preventing the reporting of the
names of journalists linked to allegations against the publisher.

Mr Justice Nicklin permitted a bid by ANL to have a reporting restriction imposed while the publisher attempts to have the
claims from Harry and others against it dismissed without a trial.

The judge said it was "not usual for the court to impose reporting restrictions at such an early stage of proceedings" but concluded
in this instance it was "in the interests of fairness and the administration of justice".

The court heard that with ANL yet to file a formal defence in the cases, there was not yet a full response to any "adverse
comments" that might be made about the journalists. Mr Justice Nicklin said it would not be in the public interest to "for one
side of a series of allegations to be put when one side is absent".

The judge also granted reporting restrictions over certain information in court documents, that ANL alleges lawyers for the
Duke of Sussex and others are using in breach of orders made by Lord Justice Leveson in his inquiry into press standards.

Mr Justice Nicklin said the temporary reporting restrictions would be revisited once he reaches a judgment over the preliminary
issues being argued in court this week.

Monday 27 March 2023 12:31 , Thomas Kingsley Adrian Beltrami KC, in written submissions, argued the legal actions against
his client Associated Newspapers have been brought too late and are "stale".

The barrister said the individuals have to prove they did not know earlier, or could not have discovered earlier, they might have
had a claim against ANL for alleged misuse of their private information.

Mr Beltrami said that more than a decade after the Leveson Inquiry and several criminal and civil proceedings over phone
hacking, "it would be surprising indeed for any reasonably informed member of the public, let alone a figure in the public eye,
to have been unaware of these matters".

He continued: "The claimants have failed to show that they have a real prospect of discharging their burden at trial and the court
should not hesitate to dismiss these stale claims at an early stage, thereby avoiding what would otherwise be a considerable
waste of time, costs and the court's resources."




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Prince Harry – latest court news: Duke accuses royals of..., 2023 WLNR 11118787


The hearing before Mr Justice Nicklin is due to conclude on Thursday.
 Lawyers for Prince Harry claim unlawful acts include 'breaking and entry into private property'
David Sherborne, for the group of high-profile individuals, said the unlawful acts in the claim include commissioning the
"breaking and entry into private property", illegally intercepting voicemail messages, listening to live landline calls and
obtaining medical records.

He said in written submissions: "The claimants each claim that in different ways they were the victim of numerous unlawful acts
carried out by the defendant, or by those acting on the instructions of its newspapers, The Daily Mail and The Mail On Sunday."

"They range through a period from 1993 to 2011, even continuing beyond until 2018," the barrister added.

ANL's lawyers have said privacy claims brought by seven high-profile individuals including the Duke of Sussex and Baroness
Lawrence should be dismissed without a trial.

Monday 27 March 2023 11:50 , Thomas Kingsley The Duke of Sussex has made a surprise return to the UK for the first time
since the late Queen's funeral -but is not expected to meet with the King or the Prince of Wales.

Just weeks ago, Harry laid bare his troubled relationship with his father the King and brother the Prince of Wales in his
controversial autobiography Spare.

The King was due to be away on Monday on the first official state visit of his reign, but the trip to France was cancelled due to
rioting over pension reforms, meaning Charles is now in the UK at the same time as Harry for the first time in six months.

But Buckingham Palace said the King was not in Windsor or London and would be leaving for a state visit to Germany on
Wednesday morning.

Monday 27 March 2023 11:31 , Thomas Kingsley Court proceedings began with a bid by ANL's lawyers to have certain
reporting restrictions imposed in the case.

The Duke of Sussex sat towards the back of the courtroom, occasionally taking notes in a small black notebook as legal
arguments were made by ANL's barrister Catrin Evans KC.

Actress Sadie Frost, who is also bringing a claim against the publisher, sat two seats away from Harry.
 Sadie Frost arrives in court ahead of hearing
ICYMI: Prince Harry and Sir Elton John launch legal action against Daily Mail publishers over 'phone hacking'
As the preliminary hearing is set to begin, let's throwback to October when Prince Harry, among other high profile figures,
announced they would be taking Associated Newspaper's to court.

A group of individuals including Prince Harry and Sir Elton John have launched legal action against the publisher of the Daily
Mail newspaper over phone-hacking allegations.

The allegations include the commissioning of individuals to "surreptitiously listen into and record people's live, private telephone
calls whilst they were taking place" and the impersonation of individuals to obtain medical information from private hospitals,
clinics, and treatment centres by deception.

Additional claims include the accessing of bank accounts, credit histories and financial transactions through illicit means and
manipulation.




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Prince Harry – latest court news: Duke accuses royals of..., 2023 WLNR 11118787


"These individuals have been the subject of public interest during the course of their careers and personal lives. They are united
in their desire to live in a world where the press operates freely, yet responsibly. A press that represents truth, is sourced in fact
and can be trusted to operate ethically and in the interests of the British public," the statement said.

Read the full piece from October below:

Group including Prince Harry launch legal action against Daily Mail publishers
 Duke arrives in court room
The Duke of Sussex has arrived at Court 76 of the Royal Courts of Justice in London for the preliminary hearing in his claim
against Associated Newspapers Limited (ANL).

Harry, along with six other people including Sir Elton John and Baroness Doreen Lawrence, is suing the Daily Mail publisher
for misuse of private information.

The duke entered the central London courtroom at shortly before 10.30am, wearing a navy tie.
 Prince Harry arrives in court
Publisher brands allegations "preposterous smears"
In a statement announcing the launch of the legal action, released by Hamlins law firm, it was alleged the unlawful acts
included hiring private investigators to secretly place listening devices inside cars and homes and the recording of private phone
conversations.

The publisher hit back at the allegations, describing them at the time as "preposterous smears" and a "pre-planned and
orchestrated attempt to drag the Mail titles into the phone-hacking scandal".

A spokesperson for ANL also said the allegations were "unsubstantiated and highly defamatory claims, based on no credible
evidence".

A four-day preliminary hearing at the Royal Courts of Justice in London is due to begin on Monday, which is set to include
ANL's bid for the claims to be dismissed without a trial.
Duke of Sussex arrives in court
The Duke of Sussex has arrived at the High Court in London for a hearing in his claim against Daily Mail publisher Associated
Newspapers over allegations of unlawful information-gathering.

The publisher is bringing a bid to end High Court claims brought by people including Harry, Sir Elton John and Baroness
Doreen Lawrence over alleged unlawful activity at its titles.

The group of high-profile individuals, also including Sir Elton's husband David Furnish and actresses Liz Hurley and Sadie Frost,
announced in October they were bringing claims for misuse of private information against Associated Newspapers Limited
(ANL).

Their lawyers said at that time the group have "become aware of compelling and highly distressing evidence that they have
been the victims of abhorrent criminal activity and gross breaches of privacy" by ANL, which is also the publisher of The Mail
On Sunday and MailOnline.


---- Index References ----

Company: MAIL ON SUNDAY LIMITED(THE); Metropolitan Police Service; HERITAGE FOUNDATION (THE)




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News Subject: (Crime (1CR87); Criminal Law (1CR79); Fraud (1FR30); Government Litigation (1GO18); Judicial Cases &
Rulings (1JU36); Legal (1LE33); Police (1PO98); Social Issues (1SO05))


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Meghan and Harry trying to recreate 'royal court' in US after failed
Megxit deal
Matthew Dooley |        Express Online (UK)


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Meghan and Harry trying to recreate 'royal court' in US..., 2023 WLNR 10759964




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                                                       March 25, 2023

               Meghan and Harry trying to recreate 'royal court' in US after failed Megxit deal
                 Meghan Markle and Prince Harry have been accused of trying to recreate
               their own "royal court" in the United States by a royal commentator after th...

                                                       Matthew Dooley

Meghan Markle and Prince Harry have been accused of trying to recreate their own "royal court" in the United States by a
royal commentator after they failed to get what they wanted out of Megxit.

Meghan Markle and Prince Harry are attempting to create their own "royal court" in the US, according to a royal commentator.
The comments come amid a slew of media appearances by the Duke and Duchess - particularly by Prince Harry - which left
one commentator asking "what was the point?"

In recent months, Prince Harry has been in the spotlight. Before and after the release of his memoir Spare in January he gave
numerous explosive interviews on primetime television. In December of last year, Meghan and Harry released a six-part Netflix
series describing their relationship and eventual exit from royal life.

"I ask myself this all the time. What was the point for Harry and Meghan? Were they trying to make themselves look better? Were
they trying to make themselves more popular than the royals? Are they trying to recreate their own royal court in the United
States?" asked a royal commentator and founder of popular YouTube channel the Royal News Network who goes by Brittany.

She added: "Number one, yes they do definitely want to create their own royal sphere in the United States. Obviously, we do
not have a monarchy here and nor do we want one, so they're welcome to live here like other royals do but don't make yourself
a royal of the United States - huge difference there."

She cited the Megxit deal which saw Prince Harry and Meghan Markle leave the Royal Family for North America.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.




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Meghan and Harry trying to recreate 'royal court' in US..., 2023 WLNR 10759964


"I think they are just trying to recreate what they wanted, what their vision was for themselves that they couldn't have in the
UK, in the US," she said.

The host of the show added: "They could not get their way, I think at the end of the day that was their big anger point. They
were not going to get their way."

Brittany pointed to the role the couple wanted to play in the Commonwealth, claiming Meghan wanted to be "Queen of the
Commonwealth". She also claimed the Sussexes wanted to "supersede" the Royal Family in popularity.

During the Meghan and Harry's separation from the rest of the Firm, dubbed Megxit, the pair appeared to want to become hybrid
royals who were financially independent but still represented the Queen.

On their now defunct website sussexroyal.com, the couple touted "progressive" new roles which would "continue to carry out
their duties for Her Majesty the Queen, while having the future financial autonomy to work externally".

However, in 2020, Buckingham Palace released a statement making it clear Meghan and Harry were "required" to step back
from royal duties.

READ MORE: Meghan Markle tempted by 'chance to wear a tiara' at Coronation

It appeared the couple failed to negotiate a half-in, half-out Megixt deal and in 2020 they moved to Montecito, California with
their son Archie, completely stepping back from royal duties.

Since then, the pair have engaged in numerous media endeavours, including the now famous 2021 interview with Oprah. The
couple released a Netflix documentary in December 2022 flush with never-before-seen footage and photos.

Arguably the biggest bombshell to date, however, was the release of Prince Harry's memoir Spare in January 2023 and the
multiple interviews the Prince gave both before and after the book hit the shelves.

The book contains numerous allegations against the rest of the Royal Family and details Prince Harry's life, including his time
in Afghanistan and his drug use.

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---- Index References ----


News Subject: (Government (1GO80); Health & Family (1HE30); Politically Exposed Persons (1PO01))

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Meghan and Harry trying to recreate 'royal court' in US..., 2023 WLNR 10759964




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Harry praised for being 'incredibly brave' and helping others with
'trauma'
Sophie McCabe |        Express Online (UK)


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Harry praised for being 'incredibly brave' and helping others..., 2023 WLNR 10058846




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                                                      March 20, 2023

                   Harry praised for being 'incredibly brave' and helping others with 'trauma'
                          The Duke of Sussex received a "clinical diagnosis" during
                           a live interview with Canadian therapist Dr Gabor Maté.

                                                      Sophie McCabe

Prince Harry sat down for an interview with Dr Gabor Mat&eacute; earlier this month. The Candian therapist and author of
The Myth of Normal spoke to the Prince for a live-streamed Zoom event when he declared that, having read Harry's memoir
Spare, he had come up with "several diagnoses" for the royal.

Dr Mat&eacute; diagnosed the Duke of Sussex "with ADD " otherwise known as ADHD, saying: "Whether you like it or
not, I have diagnosed you with ADD. You can agree or disagree. I don't see it as a disease. I see it as a normal response to
abnormal stress."

Harry responded: "OK — should I accept that or should I look into it?" To which Dr Mat&eacute; replied: "You can do what
you want with it."

Royal commentators have since praised the Prince for his open conversation with the therapist, commending him for being
"incredibly brave" and helping others who may be experiencing or have experienced "trauma".

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Related articles

Rachel Bowie and Roberta Fiorito, hosts of the Royally Obsessed podcast, discussed the interview earlier this month.

"It did feel very much like a therapy session — a bit awkward at the beginning actually — but once they got into it, it was
really interesting," said Ms Bowie. "One thing I loved was how Dr Mat&eacute; was very frank with Harry. But then he said
he realised the universality of Harry's story and the humanity behind it and was actually really blown away by the book."

Dr Mat&eacute; and the Duke went on to talk about the "lack of touching within the Royal Family and how that led to where
Harry is now," the commentator explained, adding: "It almost takes it back to the Queen and the trauma that Charles endured.
And then that was passed on to Harry."




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Harry praised for being 'incredibly brave' and helping others..., 2023 WLNR 10058846


Ms Fiorito agreed, saying: "Yes, it's so much less about Harry's personal story and more about some of the bigger broader
picture points that Harry [talks about]."

READ MORE: Harry's therapy session 'doesn't explain why he is so destructive' towards Royal Family

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

She added: "I think it also helps other people realise. I liked the chat about trauma and redefining what trauma is. It's not the
wound, it's the scar. And so I think that's reframing a lot of things that we thought we knew.

"Most people would have tuned in to hear Harry talk, but I think it was really interesting to hear Dr Mat&eacute;¦it was like
a therapy session for everyone."

The event, which was produced by Random House and a group of exclusive booksellers, came less than two months after the
publication of Harry's tell-all memoir.

Ms Bowie noted Harry's bravery for opening up in a "very candid and honest" conversation, particularly because it came as
part of a "deal" to promote his book.

She said: "It was incredibly brave of Harry to do such a public self-reflection. This was likely a Penguin Random House setup,
this was part of the deal. He had to do this promotion. This was selling the book.

"I think to allow someone in on a very, very candid and honest therapy session. I can't imagine doing that. And bravo to Harry
for doing [it]."

The conversation, filmed at the Duke's Montecito home, was streamed to the US, Canada and the UK on March 4. Viewers
could pay $25 to watch, with tickets including a copy of Spare.

It came after a round of publicity for Harry and his wife Meghan Markle, including their recent Netflix documentary series,
during which they expressed their displeasure with several aspects of public life.

Don't miss... Prince Archie and Princess Lilibet tipped for Coronation role [LATEST] Harry and Meghan didn't expect
'humiliating' jokes about Spare [INSIGHT] Harry and Meghan 'want rift healed on their terms' [EXCLUSIVE]

The chat, which was billed as an "intimate conversation as discuss living with loss and the importance of personal healing,"
differed from Harry's previous interviews, with the royal refraining from mentioning his father or brother or their wives.

He did, however, reveal he had always felt different from other members of the Royal Family, a feeling he claimed his late
mother, Diana, Princess of Wales, had shared.

He told Dr Mat&eacute;: "I certainly have felt throughout my life, from my younger years, that I always felt slightly different
to the rest of my family. I felt strange being in this container. And I know that my mum felt the same."




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Ms Bowie said: "This really wasn't another royal takedown. There weren't new bombshells, William wasn't mentioned, it was
more broad strokes and really kind of lifting the hood up on the psychological things Harry has been through."

Related articles

The Duke has previously spoken about the positive impact of therapy on his life but has also claimed seeking professional help
was the beginning of a disconnect with his family.

Harry claimed, in his memoir, that the Prince of Wales believed his brother was being "brainwashed" by his therapist.

And in one of Spare's most shocking revelations, an alleged physical attack by his brother Prince William, Harry recounted
calling his therapist immediately afterwards.

He also told ITV: "If I wasn't doing therapy sessions like I was and being able to process that anger and frustration, I would've
fought back, 100%."

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Harry and Meghan 'want rift healed on their terms'
Sophie McCabe |        Express Online (UK)


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Harry and Meghan 'want rift healed on their terms', 2023 WLNR 9771073




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                                                        March 17, 2023

                            Harry and Meghan 'want rift healed on their terms'
              EXCLUSIVE: The Duke and Duchess of Sussex caught Buckingham Palace "off
               guard" with their recent announcement regarding their children's prince and...

                                                        Sophie McCabe

EXCLUSIVE: The Duke and Duchess of Sussex caught Buckingham Palace "off guard" with their recent announcement
regarding their children's prince and princess titles.

Last week, news emerged that Prince Harry and his wife Meghan Markle's 21-month-old daughter had been christened at their
home in Montecito. A spokesperson for the couple confirmed that "Princess Lilibet Diana was christened on Friday, March 3
by the Archbishop of Los Angeles," and therefore revealed that the Duke and Duchess of Sussex had decided to use their two
children's royal titles. Lilibet and her older brother Prince Archie Harrison automatically became prince and princess when their
grandfather King Charles III ascended the throne, but their regal styles had not been used publicly before the announcement.
For some commentators, it is clear that relations between the royals are unlikely to be "repaired anytime soon," in part because
Harry and Meghan "want the rift healed on their terms".

Related articles

Marlene Koenig, a historian who has spent over 40 years researching royalty, told Express.co.uk: "The rift is huge. I don't
[think it's] likely to be repaired anytime soon, unfortunately. The Sussexes want the rift healed on their terms. I don't think
that's going to happen."

Similarly, the Daily Mirror's associate editor Russell Myers described relations between the royals as "fractured".

Since stepping down from their senior royal positions in 2020, the Duke and Duchess of Sussex's relationship with the Royal
Family has been strained.

Tensions were recently exacerbated following the release of the couple's Netflix documentary series, Harry and Meghan, and
the publication of the Duke's tell-all memoir, Spare.

READ MORE: Harry and Meghan 'will want' blessing for Lilibet during Coronation weekend

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.



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Harry and Meghan 'want rift healed on their terms', 2023 WLNR 9771073




Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

While Harry has insisted he is hopeful for a "reconciliation" with his family, the likelihood of peace talks before the Coronation
of King Charles III has been shut down.

The Duke and Duchess have been invited to the Coronation, it was revealed via a statement earlier this month.

Harry received "email correspondence" from "His Majesty's office regarding the Coronation," a spokesperson confirmed, but
an "immediate decision" regarding the Sussexes' attendance was not "disclosed".

Mr Myers indicated that "the way it was delivered caught Buckingham Palace on the hop," and had a role to play in worsening
relations between the couple and their UK counterparts.

Speaking on the latest episode of True Royalty TV's Royal Beat, he said: "They may claim it was all agreed many moons ago
and there were discussions way back when, but I think they would have thought that the Sussexes would have discussed with
them when they would be putting the statement out.

"The feeling that I picked up on was that wasn't the case. I think this tells you a lot about the relationships at the moment and
how fractured they are."

However, Ms Koenig has argued that Harry and Meghan, neither of whom are working royals, are not required to go through
Buckingham Palace to make announcements.

While she agreed that the royals were "caught off guard" by the news of Lilibet's christening, she explained: "Harry and Meghan
do not come under the auspices of Buckingham Palace."

Don't miss... Princess Lilibet and Prince Archie's title row details in full [INSIGHT] POLL: Should the Royal Family have gone
to Lilibet's christening? [POLL] Archie and Lilibet won't use HRH after becoming Prince and Princess [LATEST]

She added: "They left. Harry is not a working royal, he is not obligated, and has no interest in using the Palace to make
announcements about his family.

"Harry is going to do his own thing. It's clear that he and his wife are determined to control their own narrative. The Palace's
press office has no real involvement with Harry and Meghan. News about Harry and Meghan is going to come from Harry
and Meghan."

And while Mr Myers believes the announcement suggests relationships are fractured, others have argued the icy relations
between the Sussexes and the rest of the Royal Family may be thawing.

Royal commentator Afua Hagan told Express.co.uk: "The lines of communication are improving. There has been a defrosting
of royal relations — from both sides."

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Harry and Meghan 'want rift healed on their terms', 2023 WLNR 9771073


She also suggested the couple's decision to use their children's formal titles could suggest they intend to return to the UK for
the Coronation.

"It is a good indication that they will attend the Coronation and indicates where their head is at," she said, adding: "They still
want to have ties to the Royal Family."

If the Duke and Duchess choose to attend the Coronation, it will see them reunite with members of the Royal Family at
Westminster Abbey on May 6.

Historian Tessa Dunlop believes Meghan's attendance hinges on whether her children, specifically her son, are invited. She told
The Royal Beat: "If you look at the footage of the 1953 Coronation, who was very prominent, albeit briefly? Prince Charles.
He was four. Archie on his fourth birthday is definitely not too young to attend the coronation. And if you want Meghan there,
you need to invite her son."

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News Subject: (Government (1GO80); Health & Family (1HE30); Politically Exposed Persons (1PO01))

Industry: (Postal Services (1PO50))

Region: (Europe (1EU83); United Kingdom (1UN38); Western Europe (1WE41))

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Prince Harry poses 'bigger threat' to King Charles than Meghan as
Duke demands apology
Jon King |      Express Online (UK)


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Prince Harry poses 'bigger threat' to King Charles than..., 2023 WLNR 9237954




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                                                        March 14, 2023

         Prince Harry poses 'bigger threat' to King Charles than Meghan as Duke demands apology
                  EXCLUSIVE: Royal author Nigel Cawthorne has said Harry's demand
                 for an apology from the King makes him a bigger threat to the monarch.

                                                            Jon King

Prince Harry poses a greater risk to King Charles's Coronation than his wife Meghan, Duchess of Sussex, because of the Duke's
demand for an apology, a royal expert has claimed. Harry is reportedly seeking a private apology from his father and brother,
Prince William, before making any commitment to attend the Coronation on May 6.

Related articles

Buckingham Palace staff have been told to plan for Harry and Meghan attending the King's Coronation, but an official
announcement has yet to be issued.

Nigel Cawthorne, author of Prince Andrew, Maxwell and the Palace, said Harry poses a greater threat to the Coronation than
his wife.

He told Express.co.uk: "Meghan has, thankfully, kept her mouth shut lately. It's Harry wanting an apology that poses more of
a threat to the Coronation.

"But Charles knows he can't go around apologising to people - that's ridiculous. It's far beneath the King to do that."

Harry has previously refused to commit to being at the Coronation unless King Charles and Prince William "sit down and talk
about" the allegations he has levelled against the Royal Family.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

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Prince Harry poses 'bigger threat' to King Charles than..., 2023 WLNR 9237954


In an interview with ITV ahead of the publication of his memoir, Spare, Harry said the ball was in their court, but the door
is always open for reconciliation.

A source told The Times in February that while Harry wants an apology, the royals do not believe one is owed.

Mr Cawthorne, whose new book Going Spare will examine sibling rivalry between Charles and Prince Andrew, said if Harry
attends the Coronation he is likely to bring his family with him. This includes his wife and their two children, Prince Archie
and Princess Lilibet.

He said: "I would have thought Meghan will come with Harry, as well as the prince and princess. [Harry might say] 'I'm turning
my back on the monarchy, but my children are a prince and princess'."

READ ABOUT A COUNCIL UNDER PRESSURE OVER PARKING FINES

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The Duke and Duchess of Sussex began to use the titles prince and princess for their children Archie Harrison and Lilibet
Diana last week.

Harry and Meghan's youngsters became a prince and princess when the King acceded to the throne last September, but had
remained a plain "master" and "miss" on the Buckingham Palace website until last Thursday .

Mr Cawthorne said: "If you're turning your back on the monarchy and royalty, it's very odd you would do that.

"But [Harry and Meghan] are so self-absorbed that they want the fancy balls, while rejecting the rest of it. I think they are just
trying to have their cake and eat it."

Don't miss... Harry and Meghan's Frogmore Cottage eviction backed by Britons - poll [REPORT] King Charles 'doesn't eat
lunch' - prefers to eat an unusual breakfast [REVEALED] Kate is 'most relaxed as a parent' with one child in particular [LATEST]

He added Harry and Meghan might announce whether or not they plan to attend the Coronation, saying: "I'm not sure to be
honest. By and large the Sussexes do tend to seize the initiative with these things. They are the ones with the agenda."

Asked what their agenda is, Mr Cawthorne said: "It's certainly self-aggrandisement. They're bigging it up as much as they can.

"With their whole [Coronation] invitation and Netflix over there in the US, they're just feeding off their profile.

"The longer the 'will they or won't they' [discussion continues] the more attention they're getting.

"It goes hand in hand - the higher the profile they have, the more they can capitalise on it in the US."

Mr Cawthorne said that while Harry poses the bigger threat to the smooth running of the Coronation, King Charles would "in
no way" be able to control the situation or mitigate against any further drama.

He joked: "He just has to sit there with a fancy hat on his head. He can't have guards with spikes pointing at Harry and Meghan!"

The author said: "Simply by being there, Harry is going to draw attention away from Charles. And if he doesn't come, he's
drawing attention away from Charles.




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"Presumably, there will be pictures of him cycling around Los Angeles looking nonchalant. It's a lose lose situation for Charles."

On how Buckingham Palace might handle Prince Andrew's Coronation attendance, Mr Cawthorne told Express.co.uk: "I think
[Andrew's] desperate for any sort of attention really.

"He seems to be upset he's not allowed to wear his spiffy Order of the Garter outfit or his army uniform.

"He should do a nude protest and streak outside Westminster Abbey instead!"

For more about Mr Cawthorne and his work visit nigelcawthorne.com

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Coronation threat as Windsors left 'threadbare' as top royals not
'bothered to turn up'
Jon King |      Express Online (UK)


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Coronation threat as Windsors left 'threadbare' as top royals..., 2023 WLNR 9039200




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                                                       March 12, 2023

            Coronation threat as Windsors left 'threadbare' as top royals not 'bothered to turn up'
                  A royal expert has said the monarchy is looking "a bit threadbare" as
               questions remain over whether Prince Harry and Prince Andrew will attend.

                                                           Jon King

King Charles is in an "impossible position" with Prince Harry and Prince Andrew threatening to "besmirch" the Coronation if
they attend the historic ceremony, a royal expert has claimed. Nigel Cawthorne - author of Prince Andrew, Maxwell and the
Palace - said the monarchy is "looking a bit threadbare".

Related articles

Buckingham Palace staff have reportedly been told to plan for the Duke and Duchess of Sussex attending the King's Coronation,
but this has yet to be confirmed publicly.

Meghan, Duchess of Sussex, and Prince Harry, who have begun using the titles prince and princess for their children in an
"alignment" with the Palace on the matter, have yet to confirm whether they will attend the ceremony on May 6.

There are also doubts over the role Prince Andrew can play at the Coronation, given he is no longer a working member of
the Royal Family.

It comes after the Duke of York settled a US civil lawsuit with Virginia Giuffre, who had accused Andrew of sexually abusing
when she was a teenager. Andrew repeatedly denied the allegation and did not admit any wrongdoing in settling the case.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

But the court case as well as Harry and Meghan's allegations against the royal family in their Netflix series and the Duke of
Sussex's memoir, Spare, have put the King in a difficult position in relation to the Coronation.




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Coronation threat as Windsors left 'threadbare' as top royals..., 2023 WLNR 9039200


Mr Cawthorne said: "There is a battle royal going on here. It's tit for tat. Certainly tat. With the flawless Queen gone, the
monarchy is looking a bit threadbare.

"Charles is in an impossible position. If either Andrew or Harry, or both, turn up, they are going to besmirch the Coronation
and take the spotlight away from him.

"Their absence will be equally headline-grabbing and will diminish the significance of the ceremony."

READ ABOUT CHARLES PROMOTING THE WINDSORS' SECRET WEAPON

Related articles

Mr Cawthorne described the Coronation as the key moment in the monarchy, but claimed the "top royals can't be bothered
to turn up".

He added: "Imagine a wedding or funeral where a brother or son is a no-show. It speaks volumes.

"Neither Andrew nor Harry can do any right. If Andrew is not there, drawing the attention of the TV cameras and media
commentators, he will be photographed driving around in a flash car or horse-riding in Windsor Great Park, or otherwise
moaning about being demoted by moving into a tiny, five-bedroom cottage or leaking that he is going to spend millions of
pounds which he, apparently, does not have, on trying to clear his name in a pointless legal battle against Virginia Giuffre."

Don't miss... Lilibet christening 'mystery' over Harry and Meghan's timing of event [REVEALED] Prince Harry blasted by royal
expert over Princess Lilibet's title [LATEST] Kate Garraway calls out Prince Harry for 'inaccurate' Lilibet detail [REPORT]

Mr Cawthorne added: "Harry's on the horns of a dilemma too. How unpopular does he want to be? Every time he opens his
mouth he plummets in the opinion polls.

"He's the Royal Family's Eddie the Eagle. If he turns up, he risks having rotten tomatoes thrown at him.

"If he stays away, he's turning his back on [royalty]. Only, by the way, my son and daughter are a prince and princess."

Harry and Meghan's relationship with the King and the Prince of Wales has remained troubled in the wake of the publication
of the Duke's controversial tell-all memoir.

The Duke of Sussex has criticised Charles's parenting skills, accused Prince William of physically attacking him and branded
Camilla, Queen Consort, "dangerous".

The latest YouGov poll shows 43 percent of the 3,024 adults surveyed saying Harry and Meghan should be invited to the
Coronation, with 39 percent opposing.

YouGov found just a quarter of Britons think positively of Harry, while 68 percent have a negative opinion of him, giving him
his lowest ever favourability rating of -44.

Harry and Meghan are now so disliked by older Britons that their popularity ratings are worse than Andrew's among the over-65s,
according to YouGov.

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Coronation threat as Windsors left 'threadbare' as top royals..., 2023 WLNR 9039200


While 60 percent of the oldest generation have a "very" negative view of Andrew, this rises to 69 percent for Meghan and 73
percent for Harry, the poll shows.

It is understood there is no update from the Sussex camp over whether they will attend the crowning of Charles and Camilla,
the Queen Consort.

A spokesperson for the Sussexes has previously said Harry and Meghan received email correspondence from the King's office
about the event, but an immediate decision on their attendance would not yet be disclosed.

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(1SE01); Social Issues (1SO05))

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Prince Harry therapy session falls into 'Jerry Springer category' of
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Matthew Dooley |        Express Online (UK)


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Prince Harry therapy session falls into 'Jerry Springer..., 2023 WLNR 8828201




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                                                         March 10, 2023

                   Prince Harry therapy session falls into 'Jerry Springer category' of reality TV
                        Prince Harry was savaged for appearing in a live streamed therapy
                         session that has been likened to Jerry Springer by a royal expert.

                                                        Matthew Dooley

Prince Harry's live-streamed therapy session has been likened to "tacky" American reality TV by a royal expert. The host of the
To Di For Daily podcast Kinsey Schofield savaged the Duke for a sit down he did with trauma expert Dr Gabor Mat&eacute;
discussing subjects from Harry's drug use to his mental health.

Related articles

When asked about the therapy session Ms Schofield likened it to several famous American reality TV shows.

"Well lets be honest, we are the home of Dr Phil, Oprah Winfrey, Ricki Lake, I could list all of the tacky TV shows that
have existed - Jerry Springer! - over the years and unfortunately it really feels like this falls into that category," the LA-based
commentator opined on GB News.

She continued: "Harry being diagnosed over Zoom? That is extremely unsettling and it's not something that the American public
is comfortable with but it is that kind of tacky reality TV that we've all become addicted to. And I apologise if we've sent it
over there your way [to the UK]."

Jerry Springer hosted a famous talk show of the same name in the US, focusing on a range of issues including infidelity and
marital problems. Springer would famously take the stage to chants of "Jerry! Jerry!" from the audience.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

During the pay-per-view live stream, Dr Gabor Mat&eacute; diagnosed the Duke with ADD, PTSD, depression and anxiety
right on the spot.



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Prince Harry therapy session falls into 'Jerry Springer..., 2023 WLNR 8828201




Prince Harry also opened up about his drug use saying cocaine "didn't do anything" for him but lauded the use of marijuana
and psychedelics.

Speaking on psychedelic drugs, the Prince said: "It was the cleaning of the windshield, removal of life's filters. It removed it
all for me and brought me a sense of relaxation, release, comfort, a lightness that I managed to hold onto for a period of time.

"For me I started doing it recreationally and then started to realise how good it was for me."

READ MORE:Prince Harry's 'choice of guru' may prove 'unwise' after drug comments

Dr Gabor Mat&eacute; is known for his controversial views on the use of psychedelic drugs to treat mental health issues.

The Hungarian-Canadian doctor has used the hallucinogen Ayahuasca to treat patients in the past.

Ayahuasca is a plant grow in the Amazonian rain forest which has a long history of cultural use among shamans there.

The drug is illegal in the UK, US and Canada - in 2011 Canadian authorities threatened to arrest Dr Mat&eacute; if he didn't
stop using the drug to treat his patients.

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Royal Family have dealt with Harry revelations but 'can't ignore
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Sophie McCabe |        Express Online (UK)


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Royal Family have dealt with Harry revelations but 'can't..., 2023 WLNR 8824292




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                                                        March 10, 2023

             Royal Family have dealt with Harry revelations but 'can't ignore threat' of new book
                        Prince Harry claimed he had enough material for a second
                      book but, if published, his family would "never forgive him".

                                                        Sophie McCabe

Following the publication of his tell-all memoir, Prince Harry sat down for an interview with Bryony Gordon of The Daily
Telegraph. He told her the first draft of Spare was 800 pages — double the final manuscript which came in at just over 400 pages.
The Duke of Sussex reportedly revealed information to ghostwriter JR Moehringer "for context", but there was "absolutely no
way" they would be included in the book.

Harry is said to have told her: "But there are some things that have happened, especially between me and my brother, and to some
extent between me and my father, that I just don't want the world to know. Because I don't think they would ever forgive me."

It came after Harry revealed a slew of secrets pertaining to Palace life and the Royal Family. And now, a royal commentator
has claimed the House of Windsor can tolerate the revelations but "can't ignore" Harry's threat.

Related articles

Richard Fitzwilliams was a guest on last week's episode of the Royally Us podcast. He told hosts Christine Ross and Christina
Garibaldi that the threat of another book will only exacerbate the deepening rift between Harry and his family.

He said: "We have to remember that he's threatened another book — 800 pages. It's a threat. You can't ignore things like that.
It's awful."

When asked whether he thought writing Spare was "the worst thing that Harry could have done," Mr Fitzwilliams referred to the
autobiography of the Duke of Windsor, formerly King Edward VIII, who abdicated the throne and subsequently lived in exile.

He said: "The Duke of Windsor took 15 years before he wrote it [his book], [and] there was nothing as sensational. This is
purely making money out of family trauma. No one had any idea — as far as I could see — that he felt so jealous and that
he resented his brother."

READ MORE: William won't take 'nonsense' from Harry after 'rude' remarks about Kate




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Royal Family have dealt with Harry revelations but 'can't..., 2023 WLNR 8824292


Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

Harry's relationship with his older brother Prince William is said to be one of the most affected by the rift. The Prince of Wales
featured heavily in Spare, with Harry telling his version of intimate events, including a physical altercation and heated arguments.

The Duke recalled reuniting with his family for the funeral of his grandmother Queen Elizabeth II. He claimed that he and
William barely spoke during the solemn event.

Since the publication of Spare, Harry has insisted that he is hopeful for a reconciliation with his family, telling ITV's Tom
Bradby that he wants his father and brother back.

However, some commentators have claimed that William may not be on the same page, particularly given the content of the
Duke's memoir.

During an appearance on Royally Us last month, royal biographer Angela Levin speculated about William's feelings towards
Harry's memoir.

She said: "It's terrible how he's attacked William. William has always looked after Harry, always protected him from a lot of
wrongdoings when he was younger and he's always loved him.

"Harry even said to me once, 'Every year that passes William and I get closer together. He's the only person I trust, we can say
anything to each other. And if we have an argument, we get over it, we can move on.'

"[They were] very, very close. And now he's attacking him in an awful way, talking about his bald head that now makes him
not look like their mother and that he was circumcised."

Ms Levin continued: "I don't think you should invade somebody's privacy like that. That's not Harry telling his story, it is
invading other people's stories that they don't want to be told.

"Brothers do fight¦ Unlike a father and a son, brothers can fall out in a big way because they don't want to take the nonsense.
They don't want to take all that. And I think Harry's gone too far. He's been quite rude about Catherine and he knows that
would enrage William."

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expert over Princess Lilibet's title [ANALYSIS] Harry and Meghan accused of 'forcing Palace's hand' over titles [LATEST]

Harry and Meghan given updated timeline to vacate Frogmore Cottage - long after CoronationPrince Harry and Meghan Markle
have reportedly been given an updated timeline to give up the keys to their royal home, Frogmore Cottage, with the couple
expected to be given a new Palace home by King Charles.

While the Sussexes must leave their previous residence "within weeks", the America-based couple could be offered Prince
Andrew's old suite in Buckingham Palace.




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Read more HERE.

The comments came less than three months before the Coronation of King Charles III, due to take place on May 6.

It has been confirmed that Harry and his wife Meghan Markle have been invited but the pair are yet to reveal whether they
plan to attend.

In recent days, hopes the Duke and Duchess of Sussex will accept the invitation have been raised after it emerged they have
decided to give their children the titles of prince and princess.

The couple announced on Wednesday that their 21-month-old daughter — named after the late Queen Elizabeth II — was
christened last Friday and an announcement referred to her as Princess Lilibet Diana.

Harry and Meghan also invited the King and Queen Camilla and Prince William and Kate, Princess of Wales to the christening
— a move that is being seen as a sign that relations between the Sussexes and the rest fo the Royal Family may be thawing.

Related articles

Royal commentator Afua Hagan told Express.co.uk: "The lines of communication are improving. There has been a defrosting
of royal relations — from both sides."

She claimed the couple's decision to use their children's formal ties could suggest they intend to return to the UK for the
Coronation. "It is a good indication that they will attend the Coronation and indicates where their head is at," she said, adding:
"They still want to have ties to the Royal Family."

However, Mr Fitzwilliams has suggested that while the Coronation invitation indicates that Charles wants to mend the rift with
his son, William may think differently.

He said: "Charles is a symbol of national unity, of course, as the monarch and the invitation comes from him, but as far as
William's concerned, it's a terribly deep rift and I didn't see it being mended."

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Industry: (Celebrities (1CE65); Entertainment (1EN08))

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Royal Family have dealt with Harry revelations but 'can't..., 2023 WLNR 8824292




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Princess Eugenie shares new pictures in heartwarming tribute to
Fergie and Beatrice
Jon King |      Express Online (UK)


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Search Query:       advanced: ATLEAST4("drug!") and ("u.s." or "United States") and
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Jurisdiction:       FE

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Princess Eugenie shares new pictures in heartwarming tribute..., 2023 WLNR 8638626




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                                                        March 9, 2023

            Princess Eugenie shares new pictures in heartwarming tribute to Fergie and Beatrice
                  The youngest daughter of Prince Andrew and Sarah, Duchess of York,
                    has posted photos on Instagram to mark International Women's Day.

                                                           Jon King

Princess Eugenie posted a heartwarming tribute to her mother and sister to mark International Women's Day. Eugenie shared
two photos on Instagram showing herself with Sarah, Duchess of York, and Princess Beatrice, against a snow-covered wintry
landscape, believed to be in Norway.

Related articles

The post has already received more than 75,000 likes as royal fans delight at the new pictures.

Eugenie captioned the images: "International Women's Day. I'm so lucky to have my mum and sister as two incredible women
in my life. Beabea, Mumma so proud of you! Xx."

Princess Eugenie's photograph sparked a wave of praise from royal fans, with Instagram users commenting on the Yorks's
strong bond.

Scottish TV presenter Kirsty Gallacher said simply, "Love you all", in response to Eugenie's post.

Prince Harry could have his 'visa revoked' after admitting to using drugsPrince Harry could see his visa revoked after admitting
to using drugs in a televised therapy session, Piers Morgan pointed out.

Speaking to famed therapist Dr Gabor Mate for his programme The Myth of Normal: Trauma, Illness, and Healing in a Toxic
Culture, Prince Harry said he started using drugs after realising they helped him cope with his trauma.

Read more HERE.

Fellow Instagram user Auntlizability commented: "How sweet. It's wonderful to see such great mother - daughter relationships."

And Insta user olga_bojo wrote: "For real, my favourite Royals right here!"




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Princess Eugenie shares new pictures in heartwarming tribute..., 2023 WLNR 8638626


Eugenie's post came on the day the Duchess of York appeared on US TV show The View where she spoke of her relationship
with the late Queen Elizabeth II.

Sarah told viewers: "We did chat a lot because the last three years in particular, during the pandemic, I used to go - don't worry
I stuck to the rules - to take her out in the garden and we would both go wandering around the gardens with the doggies."

READ ABOUT WILLIAM'S INVOLVEMENT IN THE FROGMORE ROW

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She also revealed how she would call her ex-husband's mother "mumma".

The Duchess of York also explained how on their walks she would point to the ground and tell the Queen "there's a fairy ring
there".

She continued: "And she was so brilliant and so great and such a sense of humour that she'd say, 'Yes, there is a fairy ring there',
and she came with the game."

Fergie then revealed that she misses her friend because she was more of a mum to her than her own mother.

Don't miss... Meghan and Harry 'destroyed on own turf' [OPINION] Piers Morgan takes swipe at Meghan Markle as he thanks
her for award [LATEST] Queen Camilla has 'awkward' interaction with a royal fan - claims [REVEALED]

She said: "She was so incredible. She was so forgiving and she didn't judge me. She used to say to me, 'Just be yourself Sarah,
and one day you'll be alright'."

Eugenie's post comes amid claims she and her family have moved into Frogmore Cottage, which was vacated by Prince Harry
and Meghan, Duchess of Sussex.

A source told OK! Magazine that Harry could not be happier for his cousin.

Princess Eugenie's husband, Jack Brooksbank, has reportedly been offered a promotion at US-based firm, Discovery Land
Company, which could mean he will spend more time in the United States.

But the insider told the publication Eugenie, who is pregnant with the couple's second child, is keen to give birth in Britain
and raise her children in England.

The source said: "The Sussexes are disappointed by the move but couldn't be happier that Eugenie and Jack will take it over.

"They have been staying there on and off for the past few years anyway.

"They went to see Harry and Meghan last month in California. They took over some small personal belongings left in the
property. They were also helping to box up items at Frogmore to be shipped over to California.

"Andrew is delighted that his daughter will take over the property for the time being."

A second source said Eugenie and Jack will be based at Frogmore temporarily as the Palace has no long-term plans for the
couple to stay there.




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Princess Eugenie shares new pictures in heartwarming tribute..., 2023 WLNR 8638626


Prince Andrew had been tipped to move into the Grade II-listed home in Windsor as part of King Charles's move to trim the
royal budget.

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---- Index References ----

Company: DISCOVERY LAND COMPANY, LLC

News Subject: (Family Social Issues (1FA81); Health & Family (1HE30); Social Issues (1SO05))

Industry: (Celebrities (1CE65); Entertainment (1EN08); Gardens & Gardening (1GA80))


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Other Indexing: (Discovery Land Company) (Princess Eugenie; Fergie)

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Joe Biden to Skip King Charles' Coronation
Tom Sykes |        TheDailyBeast.com


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Joe Biden to Skip King Charles' Coronation, 2023 WLNR 11773023




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                                  Joe Biden to Skip King Charles' Coronation
                  REUTERS/Jonathan ErnstWelcome to this week's edition of Royalist, The
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                                                             Tom Sykes

                                                             Tim Teeman

REUTERS/Jonathan ErnstWelcome to this week's edition of Royalist, The Daily Beast's newsletter for all things royal and
Royal Family. Subscribe here to get it in your inbox every Sunday.Joe Biden: Coronation no-showUS president Joe Biden will
not attend the coronation of King Charles next month, according to the Telegraph, which claims he wants instead to prioritize
an April 11 trip to Northern Ireland.Biden is "not expected" to join dozens of heads of state for the event, sources told the paper,
and will send a delegation featuring "high-profile representatives" in his place. First Lady Jill Biden may go, with her husband
reportedly keen to avoid any sense the event is being snubbed. Sources close to President Biden insisted to the Telegraph that his
relationship with Charles was "strong," and may make time to meet him when he visits Northern Ireland. President Eisenhower
did not attend Queen Elizabeth's coronation in 1953. Historically it was considered diplomatic not to send a figure who would
overshadow the monarch being crowned.Not exactly palatialThe appalling pay and crappy accommodation all too often offered
to royal staff has long been a cause of grievance in the palace. But photographs published today in MailOnline of the litter-
strewn, rodent-infested apartments equipped with filthy fridges and encumbered with blocked toilets in Wellington Barracks,
where members of the king's guard live, just yards from Buckingham Palace, are likely to renew demands for action on the
issue.The barracks is home to five of the army's most high-profile regiments: the Coldstream, Grenadier, Irish, Scots, and Welsh
Guards-better known as the people standing on guard outside royal palaces in bearskin hats.One former Coldstream Guard, who
did not want to be named, told MailOnline: "It's a disgusting way to treat soldiers who are doing a very important job. Prisoners
in Britain have better living conditions than we do."Wellington Barracks is absolutely filthy but from the outside they look great.
Tourists stand at the gates to take pictures, but they wouldn't believe what life is like for soldiers inside."The rats would die in the
bins, and we'd have to clean them out when doing block jobs in the morning. There are piles of rubbish inside the accommodation
areas and the stench from the toilets is unbearable. All the problems are in the blocks where the privates live. Soldiers from
the 1st Battalion Coldstream Guards take part in the Changing of the Guard in the forecourt of Buckingham Palace, in London,
Britain October 4, 2021. Kirsty O'Connor/Pool via REUTERS "I can promise you this would not happen in the officers block.
I couldn't take it anymore, it was worse than living in a filthy squat. I put up with it for several years, but nothing changed. The
British public need to know how soldiers in this country are treated."One soldier said: "If you said something to a senior officer,
they would either ignore you or tell you to fuck off, so we just stopped complaining. The whole thing is a joke. We're guarding
some of the most famous people and buildings in the world then return to a filthy hell hole once our day's work is done."One
soldier said that 32 privates live on each floor and have to share six toilets and two bathrooms between them.Harry urged to
tell truth on drugsA conservative think tank wants to know what Prince Harry said on his U.S. visa application about his drug



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Joe Biden to Skip King Charles' Coronation, 2023 WLNR 11773023


use.Samuel Dewey, a senior lawyer at the Heritage Foundation-which has filed a Freedom of Information request to see Harry's
application-told the Mail on Sunday: "It is in the public interest to know how Prince Harry answered the drug question. If he
has been honest and open about his drug use, and there is no reason to believe he has not been, it could well be that he ticked
the 'yes' box, in which case he would need a waiver to be granted a visa to be admitted into the States. That means he would
have had to be interviewed in person and someone would have had to grant him a waiver. We are simply asking who granted
that waiver."The think-tank wants to know how Harry answered "Are you or have you ever been a drug abuser or addict?"-
given his previous admissions of drug use. Typically, the paper says, answering yes means you won't be let into the country.
Britain's Prince Harry walks outside the High Court, in London, Britain March 30, 2023. REUTERS/Toby Melville Dewey
said: "An admission of drug use doesn't automatically ban you for ever. There is a waiver process and a lot of people get a
waiver on a case-by-case basis. If Prince Harry was given a waiver, who authorized it? Was the correct protocol followed? It's
something the American people deserve to know. There is no suggestion Prince Harry did anything wrong and, if he was granted
a waiver, he may not be aware of any political strings that may have been pulled, if indeed they were. But there is a danger
he could become an unwitting pawn in an issue which has become a political hot potato."Another question: is a conservative
think tank trying to stir up mischief for President Biden around the issue of immigration, with a liberal-leaning high-profile
celebrity they can bash on as a bonus too?Subscribe here to get all the latest royal news and gossip with Tom Sykes and Tim
Teeman.Meghan winsCongratulations to Meghan Markle who has won a Gracie Award for her Spotify podcast Archetypes,
which featured guests including Serena William, Paris Hilton and pop star Mariah Carey, and said it aimed to explore "labels
that try to hold women back." The Gracie awards are organized by the Alliance for Women in Media Foundation. Meghan
wrote on the Archewell website, Meghan said: "Thank you to the Alliance for Women in Media Foundation for this prestigious
honor. This is a shared success for me and the team behind Archetypes – most of whom are women-and the inspiring guests
who joined me each week." Meghan Markle attends the 2021 Global Citizen Live concert at Central Park in New York, U.S.,
September 25, 2021. REUTERS/Caitlin Ochs In other Archewell news, the organization filed its accounts this week. They show
it received $13 million from two anonymous donors. Harry previously pledged to donate money from his rumored $20 million
book deal to charity. Public donations came to just $4,470.Archewell paid out $110,000 to a firm run by former Obama adviser
Katie McCormick which will spark fresh speculation over Meghan's political ambitions, the Sun says.Boom boomThe Sun had
an exclusive Saturday about a new video game called Harry & Meghan: Call of Dukey. An insider briefed that the project was
being called Crown Theft Auto, and quoted a source at the firm as saying: "Prince Harry has spoken of his love of gaming so we
approached him with the idea and he loved it. It seemed the logical progression after the success of his book and Netflix series.
It's all tongue-in-cheek and there are some brilliant secret levels, including one where the player finds themselves in the Duke
of York's bedroom, confronted by a raging Prince Andrew bouncing on his bed, hurling teddy bears."Attentive readers will note
Saturday was April 1st, April Fools' Day.This week in royal historyOn April 6, 1199, Richard I of England, aka Richard the
Lionheart, died after being mortally wounded at the Siege of Chalus in France.Unanswered questionsKing Charles and Prince
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Company: Welsh Guards Charity; HERITAGE FOUNDATION (THE); The Foundation of the Alliance for Women in Media,
Inc.

News Subject: (Foundations (1FO95); Global Politics (1GL73); Military Conflicts (1MI68); Philanthropy (1PH09); Social
Issues (1SO05); Top World News (1WO62); World Conflicts (1WO07))

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Joe Biden to Skip King Charles' Coronation, 2023 WLNR 11773023


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Prince Harry 'may have to update US officials on his drug use' when
he reapplies for visa this year - as pressure grows on authorities to
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Laurence Dollimore |      Daily Mail Online (UK)


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PrinceHarry 'may have to update US officials on his drug..., 2023 WLNR 12113378




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                                                        April 5, 2023

                   Prince Harry 'may have to update US officials on his drug use' when he
                  reapplies for visa this year - as pressure grows on authorities to reveal if...

                                                     Laurence Dollimore

Prince Harry 'may have to update US officials on his drug use' when he reapplies for visa this year - as pressure grows on
authorities to reveal if Duke of Sussex was given special treatment when it was granted

Prince Harry must renew his US visa this year, it has emerged, as pressure mounts for his original application to be published
following his admissions of drug use.

In his memoir The Duke said he would 'roll a joint' and smoke it by himself at 36 Sources say he has been honest with drug
use to officials in US visa application

The Duke of Sussex moved to California with his wife Meghan Markle in March 2020, meaning the typical three-year visa
given to those who emigrate to the States should be coming to an end.

The 38-year-old, who admitted past use of cannabis, magic mushrooms and cocaine in his bombshell memoir Spare, will
therefore have to apply for a new visa, Green Card or full-blown citizenship if he wants to remain in the country.

But according to US immigration laws, foreigners who are 'determined to be a drug user' are classed as 'inadmissible'.

While officials can use their discretion to waive the rule, some American conservative voices fear Harry - who admitted in his
memoir to 'rolling a joint' as recently as 2020 - may have enjoyed special treatment.

Sources close to the Duke insisted last night that he was 'truthful' when he applied for residency in California, suggesting he
informed immigration officials of his past drug use.
 READ MORE: Prince Harry reveals he STILL smoked drugs aged 36 and after rolling a joint would listen to frogs
croaking outside Tyler Perry's house while Archie and Meghan were asleep
But conservative think tank The Heritage Foundation has filed a freedom of information (FoI) request, demanding the
application be published to ascertain exactly what the royal divulged - alongside details of any waiver he was granted.

US immigration law has harsh penalties for lying to immigration officials, including deportation and being barred from applying
for citizenship.




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PrinceHarry 'may have to update US officials on his drug..., 2023 WLNR 12113378


In his memoir and in a 'therapy session' with toxic trauma expert Dr Gabor Mate to promote his book last month, Harry admitted
using psychedelic drugs.

They included the hallucinogenic Amazonian plant ayahuasca, the effects of which he described as 'the cleaning of the
windshield, the removal of life's filters'.

But under US law, an admission of drug use usually results in a person being denied entry to the States.

The issue of immigration is expected to become one of the main focuses of the 2024 presidential election, with Republicans
attacking President Joe Biden for his lax border controls.

And there are fears that Harry's friendships with prominent Democratic Party figures such as former president Barack Obama
and major Democratic donors including Oprah Winfrey and Tyler Perry could see him become an 'unwitting pawn in a highly
political game'.

The Heritage Foundation says his visa application must now be released so the American taxpayer can understand whether
Harry declared his drug use.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: 'This request is in the public interest in light of the
potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and
whether he was properly vetted before entering the United States'.

US immigration authorities have until April 12 to respond to the Freedom of Information (FoI) request.

Under US law, anyone applying for a visa to live and work in America has to tick a box to answer 'yes' or 'no' to the question:
'Are you or have you ever been a drug abuser or addict?'

There is a history of authorities releasing immigration documents about public figures.

The US Citizenship and Immigration Services website has an electronic reading room which contains the immigration files of
people such as Shyamala Gopalan Harris, mother of US Vice-President Kamala Harris, and George Michael and John Lennon.

Other celebrities whose files are open to the public include Canadian-born Superman actress Margot Kidder and British actress
Lynn Redgrave.

Mr Dewey added: 'An admission of drug use doesn't automatically ban you for ever.

'There is a waiver process and a lot of people get a waiver on a case-by-case basis. If Prince Harry was given a waiver, who
authorised it? Was the correct protocol followed? It's something the American people deserve to know.'

Often a ban is overturned after an in-person interview at a US consulate or official immigration office, where a waiver can
be issued.

In 2014, Ms Lawson was prevented from entering the US after admitting during a court case to taking cocaine, even though
she told a judge: 'I have never been a drug addict. I've never been a habitual user.' She was later granted a visa after being
interviewed at the US Embassy in London, while Ms Winehouse was twice refused entry because of her drug use.




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PrinceHarry 'may have to update US officials on his drug..., 2023 WLNR 12113378


Mr Dewey said: 'There is no suggestion Prince Harry did anything wrong and, if he was granted a waiver, he may not be aware
of any political strings that may have been pulled, if indeed they were. But there is a danger he could become an unwitting
pawn in an issue which has become a political hot potato.'

Reports in the US have suggested Harry was admitted on an 'O' visa – given to people of extraordinary ability.

Nile Gardiner, a director of the Margaret Thatcher Center for Freedom at the Heritage Foundation, said: 'This is a much bigger
issue than Prince Harry. It is about enforcing immigration law and ensuring that no one is above the law. Prince Harry is
simply the tip of the iceberg.

'There are many who believe that under President Biden immigration laws have become lax and are not being properly
implemented.

'Prince Harry openly talked about his drug use and he has done so for commercial and financial gain, to sell books. In our
opinion, there is no case for privacy here.'

The Mail on Sunday previously sought comment on Prince Harry's immigration status from the US Department of Homeland
Security, the US Citizenship and Immigration Services, Immigration and Customs Enforcement, US Customs and Border
Protection, California Border Patrol and the Sussexes' Archewell organisation. None responded.


---- Index References ----

Company: U.S. Customs and Border Protection,; US Citizenship and Immigration Services; HERITAGE FOUNDATION
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News Subject: (Crime (1CR87); Foundations (1FO95); Government (1GO80); Immigration & Naturalization (1IM88);
Legislation (1LE97); Philanthropy (1PH09); Smuggling & Illegal Trade (1SM35); Social Issues (1SO05); U.S. Legislation
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Prince Harry 'was truthful about drug taking' on US forms as visa
row rumbles on
By, George Mathias |      Daily Star Online (UK)


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Prince Harry 'was truthful about drug taking' on US forms..., 2023 WLNR 12138418




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                                                         April 5, 2023

             Prince Harry 'was truthful about drug taking' on US forms as visa row rumbles on
                 The US authorities take a very hard line on drug use for those wishing to
                  enter the country, with one think tank pushing for full clarity over the ...

                                                      By, George Mathias

The US authorities take a very hard line on drug use for those wishing to enter the country, with one think tank pushing for full
clarity over the Prince Harry's answers on an immigration form

Prince Harry reportedly did inform US authorities about the drug use mentioned in his bombshell memoir Spare.

US border control is notoriously hardline, with visa applicants required to answer the question: "Are you or have you ever been
a drug abuser or addict"

The Duke of Sussex has openly admitted to using cannabis, cocaine and magic mushrooms.

READ MORE: Banned sex toy advert pokes fun at Prince Harry as 'silence is golden'

He details one instance of using psychedelic drugs in the memoir, leading to speculation that it could jeopardise his visa status
in the US, where he currently resides.

He has also recalled hallucinating while at a celebrity-filled event in California and smoking cannabis after his first date with
Meghan.

He discussed his drug use at greater length while speaking with toxic trauma expert Dr Gabor Mate on TV where he talked
about his experience with hallucinogenic Amazonian plant ayahuasca.

Sources close to the Duke of Sussex told The Telegraph that Harry had been "truthful" on his visa application, meaning he
would likely have admitted to past drug use.

For most foreigners, admission of drug use normally results in visa applications being denied outright, however each person
is dealt with on a 'case by case basis'.

A leading US think tank recently filed a freedom of information request about the Duke's application and are calling on him to
be "totally transparent" when answering the immigration questions.



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Prince Harry 'was truthful about drug taking' on US forms..., 2023 WLNR 12138418




Brits have fallen foul of the tough stance countless times when trying to enter the US.

In 2019, Isabella Brazier-Jones was banned from the USA for 10 years allegedly after admitting to snorting a line of cocaine
in 2017.

The 31-year-old said she was immediately thrown in a jail cell where she was kept for 24 hours before being shipped straight
back to the UK.

Experts say such a ban can sometimes be overturned after an in-person interview at a US consulate or immigration office.

Samuel Dewey, a lawyer acting for America's Heritage Foundation in its FoI case regarding Prince Harry, said: "One condition
of a waiver in the case of someone who has admitted drug use could be that the person has to check back with the medical
examiner, so that there is some sort of follow-up.

"But we just don't know how Prince Harry has been treated and that is why we are asking these questions."

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Prince Harry 'told US officials about drug use' insider claims amid
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PrinceHarry 'told US officials about drug use' insider claims..., 2023 WLNR 12104249




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                Prince Harry 'told US officials about drug use' insider claims amid visa row
                    The Duke of Sussex is facing calls to release his US visa application
                       following recent remarks he has made about his past drug use.

                                                      Clive Hammond

Prince Harry told custom officials in the US about his past drug use, an insider has claimed, adding that the 38-year-old was
"truthful" on his visa application. The latest development comes as a conservative think tank campaigns to get the Duke's visa
application made public following his recent revelations about past drug use. Those closest to the Duke of Sussex argue he had
not withheld information about his previous drug use, which according to his autobiography Spare, included using the likes of
cannabis, cocaine and magic mushrooms.

The taking of these drugs, which are Class A and Class B, was confirmed on the forms Harry had to fill out as he applied
for a visa to live in the US, alongside his wife Meghan Markle and their two young children, Archie and Lilibet, the insider
has claimed.

Question marks over Harry's relationship with drugs have long been discussed in royal circles, particularly during his younger
years when the royal earned a reputation for his partygoing sensibilities.

And in Spare, which became one of non-fiction's fastest-selling books in history when released in January, Harry noted how he
used as a way to deal with the trauma of losing his mother, Princess Diana when he was just 12 years old in 1997.

As well as the admissions on his drug use in Spare, Harry also outlined his past in a "therapy session" with the trauma expert
Dr Gabor Mate, which helped promote the book.

The admission raised questions over how Harry would be allowed to gain a visa to the US, particularly with such ardent
restrictions in place over drug use.

The Heritage Foundation, a conservative think tank that reviews American law, is using freedom of information laws to
determine the exact details of Harry's admission.

According to the Telegraph, one source close to Harry said the prince was "truthful" on his application, suggesting he likely
admitted to taking the narcotics, but he did not reveal the extent to which he disclosed his drug activity.

JUST IN: Megyn Kelly savages Meghan and Harry for 'one hour weeks'



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PrinceHarry 'told US officials about drug use' insider claims..., 2023 WLNR 12104249




US law, though, often sees those admitting to drug taking being denied entry to the country.

Immigration is a hot-button issue in the US. It's likely to take centre-stage during next year's presidential elections, with many
Republicans believing incumbent US President Joe Biden has been lenient when it comes to border controls.

This has led to some to believe Harry's friendships with those on the left of politics, such as Democrat Party figures Barack
Obama and Oprah Winfrey, may see him become an "unwitting pawn in a highly political game".

Calls have been made for Harry's visa application to be made public by the Heritage Foundation, which argues the US taxpayer
has the right to know on what grounds he was approved status to live in the country.

Mike Howell, director of the Heritage Foundation's Oversight Project, said: "This request is in the public interest in light of the
potential revocation of Prince Harry's visa for illicit substance use and further questions regarding the Prince's drug use and
whether he was properly vetted before entering the US."

Lawyer Samuel Dewey also waded into the debate, arguing that "an admission of drug use doesn't automatically ban you
forever".

He added: "There is a waiver process and a lot of people get a waiver on a case-by-case basis. If Prince Harry was given a
waiver, who authorised it? Was the correct protocol followed? It's something the American people deserve to know."

Ordinarily, a ban from entering the US could be reversed after the US consulate or immigration office, speak in person to
someone attempting to gain an American visa.

Mr Dewey concluded to the MailOnline earlier this month: "There is no suggestion Prince Harry did anything wrong and, if
he was granted a waiver, he may not be aware of any political strings that may have been pulled, if indeed they were.

"But there is a danger he could become an unwitting pawn in an issue which has become a political hot potato."


---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Government (1GO80); Immigration & Naturalization (1IM88); Public Affairs (1PU31);
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Team Harry Says He Was 'Truthful' About Drug Use With U.S.
Immigration
Tom Sykes |        TheDailyBeast.com


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Team Harry Says He Was 'Truthful' About Drug Use With..., 2023 WLNR 12146846




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                Team Harry Says He Was 'Truthful' About Drug Use With U.S. Immigration
                 Carlo Allegri/ReutersPrince Harry's camp has suggested that he admitted to
                drug use when applying for an American visa.Harry has come under pressur...

                                                           Tom Sykes

Carlo Allegri/ReutersPrince Harry's camp has suggested that he admitted to drug use when applying for an American visa.Harry
has come under pressure from conservative think tank the Heritage Foundation to say whether he made such a declaration, after
writing about taking cocaine, marijuana, ayahuasca, and magic mushrooms in his memoir, Spare. The Heritage Foundation says
his visa application should be published to ensure no "favors" were granted to the prince.Now, sources close to Harry appear
to have briefed the Daily Telegraph-one of the few outlets with which the Sussexes still do business-that he was "truthful" on
his visa application.Harry's book also suggested that he has continued to use illegal drugs since moving to America in 2020,
and he has been vocal about using ayahuasca, the controversial (and illegal) Amazonian psychedelic, as part of his therapy.In
one interview, Harry admitted he used the drug "recreationally" before realizing "how good it was for me."He said: "It was
the cleaning of the windshield, removal of life's filters. It removed it all for me and brought me a sense of relaxation, release,
comfort, a lightness that I managed to hold onto for a period of time."For me I started doing it recreationally and then started to
realize how good it was for me. I would say it is one of the fundamental parts of my life that changed me and helped me deal
with the traumas and the pains of the past."The Heritage Foundation has made a freedom of information request to see Harry's
visa application. It is likely Harry would have immigrated to the U.S. on an "O" visa that lasts three years, and he will likely
have to admit to any drug use in the meantime when renewing.Samuel Dewey, a Heritage Foundation lawyer who is making
the freedom of information request said: "We just don't know how Prince Harry has been treated and that is why we are asking
these questions."Nile Gardiner, director of the Margaret Thatcher Center for Freedom at the Heritage Foundation, said: "The
drug issue is a huge question. Applicants to the U.S. have to say if they have used drugs. If they say yes they have to fill out a
much more detailed form. Sometimes they will be denied entry."For him to have got in may have required some kind of high
level intervention and we don't know where that came from."What we are asking is whether he was open and transparent with
the application, whether there were any particular favors given, was he treated differently to everybody else. We believe in the
rule of law."Read more at The Daily Beast.


---- Index References ----

Company: HERITAGE FOUNDATION (THE)

News Subject: (Crime (1CR87); Foundations (1FO95); Immigration & Naturalization (1IM88); Philanthropy (1PH09);
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Prince Harry may have to update US officials on drug use to keep
visa
Gordon Rayner, Associate Editor, Victoria Ward, Royal Editor |        Telegraph Online (UK)


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PrinceHarry may have to update US officials on drug use..., 2023 WLNR 12025661




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                                                          April 4, 2023

                    Prince Harry may have to update US officials on drug use to keep visa
                       Freedom of information battle aims to find out if Duke of Sussex
                          was given special treatment when his US visa was granted

                                Gordon Rayner, Associate Editor, Victoria Ward, Royal Editor

The Duke of Sussex may have to keep US authorities updated on his drug use if he is to retain visa rights to live in California,
it has emerged.

The Duke's immigration status has come under intense scrutiny after a Washington-based think tank requested the publication
of his visa application in the light of his admissions of drug-taking.

US immigration laws state that any foreigner "determined to be a drug abuser" is classed as "inadmissible"-though immigration
officials can use their discretion to waive the rule.

Sources close to The Duke of Sussex have indicated that he was truthful on his visa application, suggesting that he disclosed
his drug use, which has continued since he moved to the US in 2020.

The Heritage Foundation, the biggest conservative think tank in the US, has now used freedom of information laws to demand
the release of his visa application, saying it is in the public interest for the authorities to divulge what the Duke said about his
drug use, and the details of any waiver he was granted, including the identity of the person making the decision.

People who emigrate to the US are typically given a three-year visa, meaning Prince Harry will need to apply for a new visa,
or a Green Card, or citizenship, this year, which could be a problem in light of his recent admissions.

In his autobiography, Spare, and in television interviews, The Duke of Sussex has admitted taking cocaine, cannabis and magic
mushrooms. He owned up to taking magic mushroom chocolates-which are illegal in the US-during a party at the Friends star
Courtney Cox's home in Los Angeles.

He also spoke about his "positive" experience of the psychedelic drug ayahuasca, which is also illegal in the US, though he
did not specify where he took it.

One possibility open to immigration officials in cases where people have admitted to drug use is to require them to update
medical examiners on their drug intake over a matter of months.
Drug issue 'a huge question'



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Samuel Dewey, a lawyer who is acting on behalf of the Heritage Foundation in its freedom of information case, said: "When
there is an adjustment of status-such as an application for a Green Card-there is a requirement for a full medical examination.

"One condition of a waiver in the case of someone who has admitted drug use could be that the person has to check back with
the medical examiner, so that there is some sort of follow-up.

"But we just don't know how Prince Harry has been treated and that is why we are asking these questions."

Famous names including the cookery writer Nigella Lawson and the late singer Amy Winehouse have been denied entry to the
US in the past because of admissions of drug taking, while the tennis player Novak Djokovic has been denied entry because
he refuses to be vaccinated against Covid.

Nile Gardiner, director of the Margaret Thatcher Centre for Freedom at the Heritage Foundation, said: "The drug issue is a huge
question. Applicants to the US have to say if they have used drugs. If they say yes they have to fill out a much more detailed
form. Sometimes they will be denied entry.

"For him to have got in may have required some kind of high level intervention and we don't know where that came from.

"What we are asking is whether he was open and transparent with the application, whether there were any particular favours
given, was he treated differently to everybody else. We believe in the rule of law."
 'This is going to build and build'
Freedom of information requests have been submitted to the Department of Homeland Security, US Customs and Border
Protection and the US Citizenship and Immigration Service. They must respond by a deadline of April 12, though Mr Dewey said
that if the requests for information are turned down the Foundation, which has 500,000 members, will take the matter to court.

Mr Gardiner added: "This could potentially build into an issue of congressional interest. Immigration law is a big issue in the
coming US presidential election and Prince Harry is increasingly seen as a political activist, so I think this is going to build
and build as an issue."

A source close to the Duke and Duchess of Sussex said that Prince Harry had been truthful on his visa application, but would
not be drawn on the extent to which he detailed his drug-taking.


---- Index References ----

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